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                                                  No. 24-542

                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT
                                             ____________________

                                              KIM RHODE, ET AL.,
                                                            Plaintiffs and Appellees,

                                                       V.

                                ROB BONTA, IN HIS OFFICIAL CAPACITY AS
                             ATTORNEY GENERAL OF THE STATE OF CALIFORNIA,
                                                         Defendant and Appellant.
                                             ____________________

                             On Appeal from the United States District Court
                                 for the Southern District of California
                                       No. 3:18-cv-00802-BEN-JLB
                                 The Honorable Roger T. Benitez, Judge
                                             ____________________

                                APPELLANT’S EXCERPTS OF RECORD
                                      VOLUME 2 OF 4
                                             ____________________

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                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                                Case No.: 3:18-cv-00802-BEN-JLB
                                        Plaintiffs,
       12                                                     DECLARATION OF CLAYTON
                                v.                            CRAMER IN RESPONSE TO
       13                                                     DECLARATIONS OF DEFENDANT’S
            ROB BONTA, in his official capacity as            EXPERT WITNESSES
       14   Attorney General of the State of
       15   California,
       16                               Defendant.
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                                     DECLARATION OF CLAYTON CRAMER
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        1         I, Clayton Cramer, make this declaration of my own personal knowledge and, if
        2   called as a witness, I could and would testify competently to the truth of the matters set
        3   forth herein:
        4         1.        My M.A. in History is from Sonoma State University in California. I teach
        5   history at the College of Western Idaho. I have nine published books, mostly scholarly
        6   histories of weapons regulation. My 18 published articles (mostly in law reviews) have
        7   been cited in D.C. v. Heller, 554 U.S. 570 (2008); McDonald v. Chicago, 561 U.S. 742
        8   (2010); Jones v. Bonta, 34 F.4th 704 (9th Cir. 2022) vacated by Jones v. Bonta, 47 F.4th
        9   1124 (9th Cir. 2022)(remanded to the district court for further proceedings consistent with
       10   Bruen); Young v. Hawaii, 992 F.3d 765 (9th Cir. 2021) cert. granted by Young v. Hawaii,
       11   142 S.Ct. 2895 (judgment vacated and case remanded to the Ninth Circuit for further
       12   consideration in light of Bruen); State v. Sieyes, 168 Wash.2d 276 (Wash. 2010); Senna v.
       13   Florimont, 196 N.J. 469 (N.J. 2008); Mosby v. Devine, 851 A.2d 1031 (R.I. 2004). A
       14   comprehensive list of my scholarly works and citations can be found at
       15   https://claytoncramer.com/scholarly/journals.htm.
       16         2.        In several cases, my work has been cited in defense of laws limiting firearms
       17   ownership: State v. Roundtree (Wisc. 2021); State v. Christen (Wisc. 2021); King v.
       18   Sessions (E.D.Penn. 2018). My work was also cited by the dissent in McDonald v.
       19   Chicago, 130 S.Ct. 3022 (2010). Id. at 3132 (Breyer, J. diss.).
       20         3.        I am being compensated at an hourly rate of $150 by Plaintiffs for preparing
       21   this declaration responding to the declarations filed in support of the State of California
       22   by Robert Spitzer, Michael Vorenberg, and Jennifer M. McCutchen. My compensation is
       23   not contingent on the results of my analysis or the substance of any testimony.
       24                             Rebuttal to Declaration of Robert Spitzer
       25   I.    Historically Relevant Background Check & Licensing Laws
       26         4.        At ¶9, Spitzer claims that “Modern background checks for firearms
       27    purchases as we understand them did not begin until the 20th century. However, the
       28    absence of modern background check technologies in early America did not mean that
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                                     DECLARATION OF CLAYTON CRAMER
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        1   evaluations of those entitled to have weapons did not occur or exist.” According to
        2   Spitzer at ¶10: “Weapons licensing or permitting, which dates to the 1700s and became
        3   more wide-ranging and widespread in the 1800s and early 1900s, was a widespread and
        4   varied regulatory tool utilized in America.” As supposed evidence, Spitzer asserts at ¶28
        5   that his Exhibits B and C demonstrate “In all, a total of at least 45 states plus the District
        6   of Columbia enacted some type of licensing law from the 1700s through the early 1900s.
        7   At least 29 states enacted 62 licensing requirement laws for individuals as a pre-requisite
        8   for their weapons ownership during this time.”
        9         5.     There are, at first glance, a lot of such licensing laws in Spitzer's Exhibit B,
       10   especially if you do not look them up in Exhibit C. But few are from before 1868, the
       11   year the Fourteenth Amendment was adopted, and even many of those turn out to be less
       12   than Spitzer’s Exhibit B would suggest. In the following paragraphs, we will examine
       13   each such category of pre-1868 law in date of passage order.
       14         A.     “Carry or Have” Licensing Laws
       15         6.     None of his “Carry or Have” licensing laws predate 1868.
       16         B.     “Fire or Discharge” Licensing Laws
       17         7.     A few of his “Fire or Discharge Permit” laws predate 1868, but few are
       18   actually permit laws. Connecticut 1835 is a New London ordinance: “That no gun or
       19   pistol shall be fired at any time within the limits of said city, unless on some public day of
       20   review, and then by order of the officers of the military companies of said city, or by
       21   permission of the mayor, or one of the aldermen of said city…” This is in no way a
       22   background check or licensing law. It prohibits discharge of firearms (and fireworks)
       23   except as part of a militia exercise. It is not clear whether the “permission of the mayor”
       24   provision was anything but part of a general prohibition.
       25         8.     The following list includes all of Spitzer’s other pre-1868 ordinances
       26   prohibiting discharge of firearms, and often fireworks. While licenses might be issued by
       27   the city government, there is no language implying any sort of background check for the
       28   license to issue.
                                                  3
                                   DECLARATION OF CLAYTON CRAMER
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        1    State (from Exhibit B)       Year (from Exhibit B)        City (from Exhibit C)
        2    Connecticut                  1845                         New Haven
        3    Illinois                     1841                          Quincy
        4    Indiana                      1855                         Jeffersonville
        5    Michigan                     1848                         Detroit
        6    Minnesota                    1858                         St. Paul
        7    Missouri                     1843                         Kansas City
        8    New Hampshire                1823                         Portsmouth
        9    New York                     1824                         Schenectady
       10    Ohio                         1823                         Marietta
       11    Oregon                       1868                         Portland
       12    South Carolina               1802                         Charleston
       13    Virginia                     1859                         Richmond
       14
       15           9.    Some of the laws Spitzer cites are general fire protection measures such as
       16   St. Paul’s 1858 ordinance, which prohibited “any person to fire or discharge any cannon,
       17   gun, fowling piece, pistol or fire arms of any description, or fire, explode or set off any
       18   squib, cracker or other thing containing powder or other combustible or explosive
       19   material, or to exhibit any fire works or make or exhibit any bonfire…”
       20           10.   Other discharge license laws that Spitzer lists include a variety of nuisances
       21   of urban life such as this 1713 Philadelphia ordinance and with no provision for receiving
       22   a license:
       23                 This Act inflicts 5s penalty on persons riding a gallop and 10s
                          for persons trotting, with Drays or their Teams in the streets,
       24                 and 5th for suffering a Dog or a Bitch going at large; or firing a
                          Gun without license, or if a Negro be found in any disorderly
       25                 practices or other Misbehaviors may be whipped 21 lashes for
                          any one offence or committed to prison, which words “other
       26                 misbehaviors,” are very uncertain and give very arbitrary power
       27                 where the punishment is great. [(Summary of Statute from
                          Archive compilation)].
       28
                                                  4
                                   DECLARATION OF CLAYTON CRAMER
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        1          11.    Spitzer lists Pennsylvania as having two 1721 laws and a 1750 law on this
        2   subject. Examining primary sources1 and even his own version cited as “Act of 26th
        3   August 1721. 1721[An Act of 9th of February, 1750-51” have a 1750-51 date, not 1750.
        4   There is a similar, although not identical, 1721 statute which again is primarily a fire
        5   hazard law:
        6                 If any person or persons within the towns of Chester, Bristol,
                          Germantown, Darby or Chichester, shall set on fire their
        7                 chimneys to cleanse them, or shall suffer them or any of them
                          to take fire, and blaze out at the top, and be duly convicted
        8                 thereof, by one credible witness before any one justice of the
        9                 peace of the said counties, such person or persons shall forfeit
                          and pay for every such offence twenty shillings, for the use of
       10                 the said towns respectively, where such offence shall happen. 2.
                          SECT. IV. If any person or persons, of what sex, age, degree or
       11                 quality soever, shall fire any gun or other fire arms, or shall
       12                 make or cause to be made, or sell or utter, or offer to expose to
                          sale any squibs, rockets, or other fire works, or shall cast, throw
       13                 or fire any squibs, rockets, or other fire works, within the city of
                          Philadelphia, without the governor's special license for the
       14                 same…2
       15          12.    Spitzer’s 1824 Pennsylvania law is again a ban on firing guns or cannon, but
       16   also to “illuminate, or cause to be illuminated, any house within the regulated parts….” In
       17   other words, it is a fire-prevention law.
       18          13.    Iowa 1843: none of the Iowa laws in Exhibit C show such a year; there is an
       19   1853 Davenport ordinance similar in effect to the others.
       20          14.    Spitzer’s Exhibit B lists 45 laws requiring a “Fire or Discharge Permit,” only
       21   some of which predate 1868, and none of which shows evidence that they involved a
       22   background check. To the extent they required permission, this seems to have been a
       23   phrase allowing the city government to make special exemptions to a standard prohibition
       24   on discharge of firearms, not acquisition.
       25
       26
               1
                DIGEST OF THE LAWS OF PENNSYLVANIA FROM THE YEAR ONE THOUSAND SEVEN
       27   HUNDRED, TO THE SIXTEENTH DAY OF JUNE, ONE THOUSAND EIGHT HUNDRED AND
            THIRTY- SIX, 5th ed. 432 (1837).
       28     2
                Id., at 431.
                                                  5
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        1          C.    “Hunt Sport”
        2          15.   Spitzer lists “Hunt Sport” among his licensing laws. None predates 1868.
        3   They are hunting license laws
        4          D.    “Gunpowder Explosives Licensing”
        5          16.   Licensing of explosives is a common feature of American law. Gunpowder,
        6   especially in large quantities, is a substantial fire and explosive risk. A 1782
        7   Pennsylvania law prohibited storing more than 30 pounds of gunpowder in Philadelphia
        8   or within two miles, except in the public powder magazine.3 Minor revisions were made
        9   in 1787.4 New York limited possession in New York City to 28 pounds, separated into
       10   seven-pound containers, except in the public magazine.5 These restrictions were not
       11   intended to address crime, but rather fire hazards. See the Boston ordinance . The
       12   preamble “WHEREAS the depositing of loaded arms in the houses of the town of
       13   Boston, is dangerous to the lives of those who are disposed to exert themselves when a
       14   fire happens to break out in the said town”6
       15          17.   Ammunition is not an explosive. Even the smokeless powder that goes into
       16   manufactured ammunition or used by reloaders to make their own ammunition is not.7
       17   Federal explosives law specifically excepts “small arms ammunition and components
       18   thereof” from the definition of explosives.8
       19          E.    “Seller Registers Buyer”
       20          18.   None of Spitzer’s laws in this category predate 1868.
       21
       22
       23
       24      3
                 11 PENNSYLVANIA STATUTES AT LARGE 209-12.
       25
               4
                 12 PENNSYLVANIA STATUTES AT LARGE 416-23.
               5
                 2 LAWS OF THE STATE OF NEW-YORK 191-3 (1792).
       26      6
                 Charter and Ordinances of the City of Boston, Together with the Acts of the Legislature
            Relating to the City 142-143 (1834)
       27      7
                 Bureau of Alcohol, Tobacco, Firearms and Explosives, ATF FEDERAL EXPLOSIVES
            LAW AND REGULATIONS 69 (2007).
       28      8
                 Id., at 61.
                                                         6
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        1         F.     “Reg Tax”
        2         19.    Spitzer’s collection of laws here includes an 1867 Alabama tax on pistols
        3   and Bowie knives, and a very similar 1867 Washington Co., Mississippi ordinance. Both
        4   laws were adopted in the immediate aftermath of emancipation. While neither law is
        5   explicitly racially discriminatory, the annual tax of $3 certainly had a disparate impact on
        6   freedmen.
        7         20.    Spitzer also lists two post-1868 laws: a North Carolina 1909 law, which only
        8   licensed dealers “in pistols, guns, dirks, bowie knives, sling shots, brass or metal
        9   knuckles or other like deadly weapons with no mention of ammunition, and a South
       10   Carolina 1923 law which taxed ammunition.
       11         21.    All of his “Reg Tax” examples both before and after the Fourteenth
       12   Amendment came from states with a tradition of slavery that were trying to keep their
       13   black populations subservient with Jim Crow type laws.
       14   II.   Summary
       15         22.    Spitzer’s claims about firearms and ammunition licensing fall into two
       16   general categories: laws and ordinances passed before 1868 and laws passed after 1868.
       17   Essentially all of the statutes and ordinances he cites that predate 1868 are neither
       18   licensing nor background check laws. They are bans on behavior that qualified as a fire
       19   hazard or public nuisance. That some of these laws allowed for permission from city
       20   government to violate suggests that this terminology was a phrase that allowed for
       21   exceptional events such as public celebrations (e.g., Fourth of July).
       22         23.    Many of Spitzer’s examples, such as hunting licenses, and gun powder and
       23   explosives regulations, are simply inapposite to Proposition 63’s ammunition background
       24   check.
       25         24.    Much of Spitzer’s declaration seeks to justify background checks as part of a
       26   long tradition of weapons regulation. The same could be said of miscegenation laws,
       27   slavery, one man/one woman marriage laws, sodomy laws, and police abuse of suspect
       28   rights. I rather doubt Spitzer or any court would find that argument compelling.
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        1                          Rebuttal to Declaration of Michael Vorenberg
        2   I.       The Validity of Wartime Acts
        3            A.    War and Civil Liberties Do Not Play Well Together
        4            25.   Prof. Vorenberg’s declaration concentrates almost entirely on Civil War and
        5   postbellum loyalty oaths. I would hope that Prof. Vorenberg can distinguish California’s
        6   situation from 1861-65 where entire state governments engaged in acts of treason leading
        7   to, by the latest estimates, 750,000 dead.9 The national capital was on the frontlines of
        8   the war.
        9            Wars are never friends of civil liberties. During the Civil War:
       10                  Union generals took measures to prevent newspapers from
                           publishing battle plans and to keep Confederate sympathizers
       11                  from aiding the enemy by disseminating military information or
                           discouraging enlistments….
       12
       13                  Throughout the war, newspaper reporters and editors were
                           arrested without due process for opposing the draft,
       14                  discouraging enlistments in the Union army, or even criticizing
                           the income tax.
       15
                           Handling dissent in the North presented an unprecedented
       16                  difficulty for the Lincoln administration. From the start of
       17                  Lincoln’s presidency, the Northern press gave voice to many of
                           his critics. Newspapers argued that secession was the inevitable
       18                  consequence of his policy toward the South. As the war
                           dragged on, the opposition press grew louder, demanding
       19                  compromise with the Confederacy to halt the bloodshed.
       20                  In New York and New Jersey, two grand juries drew up
                           presentments against newspapers that had been critical of the
       21                  Union effort, which one paper called the “unholy war.” One
       22                  grand jury presented a list of newspapers that encouraged the
                           rebels, explaining, “The Grand Jury are aware that free
       23                  governments allow liberty of speech and of the press to their
                           utmost limits, there is, nevertheless, a limit. If a person in a
       24                  fortress or an army were to preach to the soldiers submission to
       25                  the enemy, he would be treated as an offender. Would he be

       26
       27        Rachel Coker, Historian revises estimate of Civil War dead,
                 9

            https://discovere.binghamton.edu/news/civilwar-3826.html, last accessed September 11,
       28   2023.
                                                        8
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        1                 more culpable than the citizen who, in the midst of the most
                          formidable conspiracy and rebellion, tells the conspirators and
        2                 rebels that they are right, encourages them to persevere in
                          resistance and condemns the effort of loyal citizens to
        3                 overcome and punish them as an ‘unholy war’?”10
        4           26.   Lincoln’s delegation to a general the authority to suspend the writ of habeas
        5   corpus “for the public safety” is well-known from Justice Taney’s opinion Ex Parte
        6   Marryman.11
        7           27.   Less well-known is the court-martial of a civilian, Clement Vallandigham,
        8   who was then deported from the United States. His crime was speaking in opposition to
        9   the War.12
       10           28.   When a majority of Maryland’s legislature turned pro-secession, and the
       11   Union government feared a special session might be called, Secretary of War Cameron
       12   directed Gen. Banks “to arrest all or any number of the members, if necessary, but in any
       13   event to do the work effectively.”13
       14           29.   If Vorenberg’s argument that Civil War violations of the Bill of Rights justify
       15   Prop. 63, then every Civil War violation of the Bill of Rights can be allowed by the states.
       16   This would lead to an extraordinary reinterpretation of the 14th Amendment.
       17           B.    Fourteenth Amendment Disqualifier
       18           30.   Vorenberg at ¶9 discussing the Fourteenth Amendment:
       19                 Indeed, loyalty was at the core of the Amendment, and was
                          enshrined in the Amendment’s third clause, which imposed
       20                 restrictions on office-holding on those who either had “engaged
       21                 in insurrection or rebellion” against the country or had “given aid
                          or comfort” to the insurrectionists. Although the language of the
       22                 Amendment’s third clause mentioned only restrictions on office-
       23
       24      10
                  David Asp, Civil War, U.S., THE FIRST AMENDMENT ENCYCLOPEDIA,
       25   https://mtsu.edu/first-amendment/article/1059/civil-war-u-s, last accessed September 11,
            2023.
       26      11
                  Ex Parte Marryman, 17 F. Cas. 144 (C.C.D. Md. 1861).
               12
                  Thomas E. Powell, ed., 1 DEMOCRATIC PARTY OF THE STATE OF OHIO 142-144
       27   (1913).
               13
                  George B. McClellan, MCCLELLAN’S OWN STORY: THE WAR FOR THE UNION 146-
       28   147 (1887).
                                                        9
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        1                holding, the congressional debates on the clause reveal that rights
                         beyond office-holding were to be restricted. The disloyal were to
        2                be denied civil rights (which would necessarily include rights of
                         firearms possession) and the loyal were to be guaranteed those
        3                rights.
        4         31.    I reviewed all four sources in Vorenberg’s footnote for this claim. On the
        5   alleged loss of civil rights including firearm possession Vorenberg cites Mark A. Graber,
        6   Punish Treason, Reward Loyalty: The Forgotten Goals of Constitutional Reform after the
        7   Civil War (Lawrence: University Press of Kansas, 2023), 111-30; Jonathan Truman
        8   Dorris, Pardon and Amnesty under Lincoln and Johnson: The Restoration of the
        9   Confederates to Their Rights and Privileges, 1861-1898 (Chapel Hill: University of
       10   North Carolina Press, 1953), 319-25. On firearms possession as a civil right included in
       11   the Fourteenth Amendment, he cites Nicholas J. Johnson, David B. Kopel, George A.
       12   Mocsary, E. Gregory Wallace, and Donald Kilmer, Firearms Law and the Second
       13   Amendment: Regulation, Rights, and Policy (3rd ed., New York: Wolters Kluwer, 2022),
       14   465-71. None of these sources support even slightly, “the congressional debates on the
       15   clause reveal that rights beyond office-holding were to be restricted. The disloyal were to
       16   be denied civil rights (which would necessarily include rights of firearms possession)…”
       17   The discussion in Dorris’ book discusses civil rights in the same paragraph as holding
       18   public office. There is no discussion of firearms possession; this is a surprising error
       19   considering Vorenberg’s supposed expertise in this period. Vorenberg’s parenthetical
       20   reference appears to be his interpolation of firearms possession as a civil right.
       21         32.    Vorenberg missed that the Fourteenth Amendment limited the punishment to
       22   permanent disqualification for future public office:
       23                No person shall be a Senator or Representative in Congress, or
                         elector of President and Vice-President, or hold any office, civil
       24                or military, under the United States, or under any State, who,
       25                having previously taken an oath, as a member of Congress, or
                         as an officer of the United States, or as a member of any State
       26                legislature, or as an executive or judicial officer of any State, to
                         support the Constitution of the United States.
       27
       28
                                                 10
                                   DECLARATION OF CLAYTON CRAMER
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        1              33.   It also was limited to those who “shall have engaged in insurrection or
        2   rebellion against the same, or given aid or comfort to the enemies thereof.” If
        3   congressional debate discussed taking away civil rights from traitors, it is odd that the
        4   language did not extend beyond disqualification from holding public office.
        5              34.   Vorenberg also tells us at ¶10 that: “Law enforcers made efforts to deny
        6   firearms to or seize firearms from those who refused to take the oath along with those
        7   who took the oath but were found by investigation to have lied under oath about their past
        8   lawfulness and loyalty.” Oddly, he cites no sources for that claim. On the other hand,
        9   Congress’ comprehensive CONSTITUTION ANNOTATED lists only one case that seems
       10   relevant to this question.14 What constitutes rebellion?15
       11              35.   It is at least arguable that Congress has made this provision irrelevant by
       12   repealing “all political disabilities imposed by the third section of the fourteenth article of
       13   amendments of the Constitution of the United States… except Senators and
       14   Representatives of the thirty-sixth and thirty-seventh Congresses, officers in the judicial,
       15   military, and naval service of the United States, heads of departments, and foreign
       16   ministers of the United States.”16
       17   II.        Summary
       18              36.   California is not engaged in a civil war (at least by my reading of news
       19   reports). Emergency measures that we can look upon later with disappointment seem a
       20   poor justification of current state laws.
       21              37.   Vorenberg’s claims derive from a period of unprecedented chaos, during
       22   which civil liberties took second place to winning a war, and focus on punishments
       23   limited to treason against the United States.
       24
       25
       26         U.S. Congress, Amdt14.S3.1 Overview of Disqualification Clause, CONSTITUTION
                  14

            ANNOTATED, https://constitution.congress.gov/browse/essay/amdt14-S3-
       27   1/ALDE_00000848/, last accessed September 12, 2023.
               15
                  United States v. Powell, 27 F. Cas. 605, 65 N. C. 709 (1871).
       28      16
                  Ch. 193, Stats. At Large, 42nd Cong., 2nd sess. (1872).
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                                   DECLARATION OF CLAYTON CRAMER
                                                                                                     18cv802
                                                       ER_46
(13 of 254), Page 13 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 13 of 254
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        1                        Rebuttal to Declaration of Jennifer M. McCutchen
        2   I.        Colonial Regulation of Guns and Gunpowder Transfers to Indigenous People
        3             38.   McCutchen in ¶30 points to the various Test Acts adopted during the
        4   Revolution that disarmed those who would not swear a loyalty oath to the Revolutionary
        5   governments. She claims that “[a]t the same time, local jurisdictions enacted laws that
        6   sought to regulate access to guns and gunpowder for “high risk” individuals, often noted
        7   in the documentary record as white men who were deemed to be insufficiently loyal to
        8   the civil government.” McCutchen should have looked up the statutes instead of relying
        9   on secondary sources, some of which are at links that are now dead.17 Had she looked up
       10   the 1776 Pa. Laws 11 statute cited in her dead link,18 she would have noticed that the
       11   Pennsylvania law says nothing about gunpowder. And only the Massachusetts Test Act
       12   provided for confiscation of ammunition.19 See also Maryland’s “An Act to collect
       13   arms,” which again does not reference ammunition, and exempts pistols from the ban.20
       14             39.   The essence of McCutchen’s claim is that the regulation of transfer of
       15   firearms and gunpowder was nearly laissez faire for whites who held to orthodox
       16   Protestant beliefs (as McCutchen’s ¶18 notes), prohibitory for blacks who were perceived
       17   as an inherently dangerous population to arm, and a regulated approach for Indians,
       18   analogous to California’s Proposition 63.
       19             40.   At ¶32, McCutchen attempts to establish that the “Act for Establishing
       20   Trading Houses” (1796) regulated transfers of firearms to the Indians: “By prohibiting
       21
       22
       23         Military Obligation: The American Tradition (1947), 23.
                 17

               https://firearmslaw.duke.edu/wp-content/uploads/2023/04/1777-PA-An-Act-
       24   toregulate-the-Militia-of-the-Common-Wealth-of-Pennsylvania-§-9-10.pdf; Pa. Laws 11,
       25   Duke Center for Firearms Law, https://firearmslaw.duke.edu
               /laws/1776-pa-laws-11-an-ordinance-respectingthe-arms-of-non-associators-§-1/.
       26      18
                   “An Ordinance Respecting the Arms of Non-Associators,” Ch. DCCXXIX, 9
            STATUTES AT LARGE OF PENNSYLVANIA FROM 1682-1801 11-12 (1903).
       27      19
                  5 ACTS AND RESOLVE, PUBLIC AND PRIVATE, OF THE PROVINCE OF THE
            MASSACHUSETTS BAY 479 (1886), ch. 21.
       28      20
                  “An Act to Collect Arms,” 203 ARCHIVES OF MARYLAND 278 (1787).
                                                       12
                                   DECLARATION OF CLAYTON CRAMER
                                                                                                  18cv802
                                                     ER_47
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        1   factory agents from purchasing firearms, gunpowder, or ammunition from Native people,
        2   U.S. officials sought to curb the sale of arms outside the purview of the federal
        3   government.” Her own quotation of the statute as well as checking the statute (which
        4   McCutchen neglects to do) shows that the regulation prohibited “factory agents from
        5   purchasing” arms and gunpowder from the Indians. This statute does not limit or regulate
        6   in any way the transfer of guns or ammunition to Indians. Her claim, “Because it was not
        7   uncommon for Native peoples to access better-quality firearms from Spanish Florida or
        8   British Canada, factory agents could acquire these weapons and re-sell them to bolster
        9   their income,” has no supporting evidence.21
       10             41.   Her only citation to defend her claim that this law limited transfers of
       11   firearms to the Indians: “Harry Toulmin, The Statutes of the Mississippi Territory,
       12   Revised and Digested by the Authority of the General Assembly, Duke Center for
       13   Firearms Law. https://firearmslaw.duke.edu/laws/harry-toulmin-the-statutes-of-the-
       14   mississippi-territory-revised-and-digested-by-the-authority-of-the-general-assembly-
       15   page-593-image-612-natchez-1807-available-at-the-making-of-modern-law-prima/.”
       16   Following the link takes you to Duke University’s selectively quoted version of what
       17   turns out not to be a Mississippi Territorial statute at all. Had McCutchen looked up that
       18   printed volume (which took me two seconds to find), she would have seen that this was
       19   in the “Federal Laws” section of that volume. It is “An Act to regulate trade and
       20   intercourse with the Indian tribes, and to preserve peace on the frontiers” (1802).22 Along
       21   with § 9’s prohibition:
       22                   That if any Articles such citizen, or other person, shall
                            purchase, or which shall receive of any Indian, in the way of
       23
       24
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       26   21
              And her secondary source states that the penalty is $50, not $100 as erroneously stated
       27   in her declaration.
                THE STATUTES OF THE MISSISSIPPI TERRITORY, REVISED AND DIGESTED BY THE AUTHORITY OF THE
                 22
       28   GENERAL ASSEMBLY 588-601 (1807).
                                                    13
                                      DECLARATION OF CLAYTON CRAMER
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        1                  trade or barter, a gun, or other article commonly used in
                           hunting…23
        2
        3           42.    § 10 uses similar language regarding horses:
                           That no such citizen, or other person, shall be permitted to
        4                  purchase any horse of an Indian, or of any white man in the
        5                  Indian territory, without special license for that purpose…24

        6           43.    Even if McCutchen’s claim that the goal of such laws was to prevent Indian
        7   agents from purchasing these weapons to “re-sell them to bolster their Income,” what
        8   explains the parallel restriction about purchasing horses “or other article commonly used
        9   in hunting”?
       10           44.    The goal of the various laws regulating trade with the Indians was to prevent
       11   whites from taking advantage of Indians. Explaining the Maine Land Claims Act:
       12   “Pursuant to those basic principles, one of the first actions by the newly formed Congress
       13   was the enactment of the Non-Intercourse Act in 1790. That statute regulated commerce
       14   with Indian tribes and prohibited transfers of tribal land unless Congress approved
       15   them.”25
       16           45.    McCutchen’s claim at ¶ 36 that governments “created laws that restricted the
       17   ability of private citizens to trade these goods to Native peoples and other potentially
       18   dangerous individuals” is clearly false, even by her own quotations. These laws restricted
       19   the ability of private citizens to exchange goods for guns and numerous other
       20   commodities such as cooking utensils and clothes; they in no way restricted transfer of
       21   guns or ammunition to Indians.
       22
       23   ///
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       25
       26      23
                  Id. at 593.
               24
                  Id.
       27      25
                  Maine Indian Tribal-State Commission, Summary of the Maine Indian Land Claims
            Settlement of 1980, https://www.mitsc.org/mitsc-narrative-summaries/summary-of-the-
       28   maine-indian-land-claims-act-of-1980, last accessed September 6, 2023.
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                                  DECLARATION OF CLAYTON CRAMER
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        1         I declare under penalty of perjury that the foregoing is true and correct. Executed
        2   within the United States on October 2, 2023.
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                                  DECLARATION OF CLAYTON CRAMER
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        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                               Case No.: 3:18-cv-00802-BEN-JLB
                                       Plaintiffs,
       12                                                    DECLARATION OF PLAINTIFF KIM
                                v.                           RHODE
       13
            ROB BONTA, in his official capacity as
       14   Attorney General of the State of
       15   California,
       16                              Defendant.
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                                DECLARATION OF PLAINTIFF KIM RHODE
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                                                     ER_51
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            Case 3:18-cv-00802-BEN-JLB Document 93-1 Filed 08/17/23 PageID.3254 Page 2 of 4



        1                         DECLARATION OF PLAINTIFF KIM RHODE
        2         1.        I, Kim Rhode, make this declaration of my own personal knowledge and, if
        3   called as a witness, I could and would testify competently to the truth of the matters set
        4   forth herein.
        5         2.        I am a resident of California and a plaintiff in this action. I am a law-abiding
        6   citizen of the United States who is not prohibited from owning or possessing firearms or
        7   ammunition under state or federal law.
        8         3.        I am a competitive double trap and skeet shooter. I have been a competitive
        9   shooter for over 30 years. I am a six-time Olympic medal winner in those disciplines for
       10   the United States of America. As such, I shoot thousands of rounds training to represent
       11   the United States.
       12         4.        Prior to the Challenged Laws taking effect, I would acquire thousands of
       13   rounds of specialized ammunition required for training and competitions that I participate
       14   in via direct shipment from the manufacturer in bulk quantities, as well as from the
       15   National Governing Body of the Olympic Committee, USA shooting. I would receive
       16   those shipments either at my home or at a range where I was competing and training.
       17   Oftentimes I received the ammunition at a range in Arizona when one of my competitions
       18   would take place there and then transport the ammunition remaining after that
       19   competition into California via a pick-up truck. Sometimes I would receive my allotment
       20   from USA Shooting in Arizona for being on the U.S. Team and transport it home after
       21   the match.
       22         5.        Because the Challenged Laws now prevent me from acquiring this
       23   ammunition directly from the manufacturer or USA Shooting in either fashion, I have had
       24   to leave a substantial amount of ammunition stored in Arizona and in Texas because I
       25   could not bring it back into California on my person.
       26         6.        I have also had to make arrangements with various shooting range locations
       27   in California to store my ammunition that is shipped to the ranges, but I cannot remove
       28   that ammunition from any range’s premises. I am constantly at the mercy of each range
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                                   DECLARATION OF PLAINTIFF KIM RHODE
                                                                                                    18cv802
                                                      ER_52
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        1   as to whether I even have that option, because a range could refuse receipt. Dealing with
        2   this is time away from my training and imposes burdens other Olympic athletes do not
        3   have to face. There are also financial burdens, as I had to spend $2,500 to $3,200 for
        4   several containers to store ammunition at various shooting ranges in California.
        5   Exacerbating the problem is that the ammunition I use for Olympic competition is not
        6   readily available for purchase at any California ammunition vendor or range and is
        7   difficult to acquire. The ammunition that I use for training and competition is specialized
        8   for exclusive use in International and Olympic matches, so it is not readily available. It
        9   has a lower amount of shot and moves faster which makes it illegal to use in other
       10   shooting competitions. If the range does not sell the ammunition that I need to train and I
       11   do not have any ammunition shipped to them, then I cannot train at that range. This limits
       12   where I can train to only a few ranges.
       13         7.     Prior to the Challenged Laws taking effect, I would also have self-defense
       14   ammunition delivered directly to my home from out-of-state vendors.
       15         8.     But for the Challenged Laws, I would have my training and self-defense
       16   ammunition shipped directly to my residence.
       17         9.     But for the Challenged Laws, I would have brought and would continue to
       18   bring ammunition that I acquired in other states back to California on my person to use
       19   for lawful purposes, including training, competition, and self-defense.
       20
       21         I declare under penalty of perjury that the foregoing is true and correct. Executed
       22   within the United States on August 17, 2023.
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                                DECLARATION OF PLAINTIFF KIM RHODE
                                                                                                 18cv802
                                                      ER_53
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            Case 3:18-cv-00802-BEN-JLB Document 93-2 Filed 08/17/23 PageID.3257 Page 1 of 3



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        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                               Case No.: 3:18-cv-00802-BEN-JLB
                                       Plaintiffs,
       12                                                    DECLARATION OF PLAINTIFF
                                v.                           GARY BRENNAN
       13
            ROB BONTA, in his official capacity as
       14   Attorney General of the State of
       15   California,
       16                              Defendant.
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                              DECLARATION OF PLAINTIFF GARY BRENNAN
                                                                                           18cv802
                                                     ER_54
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            Case 3:18-cv-00802-BEN-JLB Document 93-2 Filed 08/17/23 PageID.3258 Page 2 of 3



        1                      DECLARATION OF PLAINTIFF GARY BRENNAN
        2         1.        I, Gary Brennan, make this declaration of my own personal knowledge and,
        3   if called as a witness, I could and would testify competently to the truth of the matters set
        4   forth herein.
        5         2.        I am a resident of San Diego County, California, and a Plaintiff in this
        6   action. I am a law-abiding citizen of the United States who is not prohibited from owning
        7   or possessing firearms or ammunition under state or federal law.
        8         3.        Prior to the Challenged Laws taking effect, I would acquire the majority of
        9   my ammunition from online vendors that would send it directly to my residence. Doing
       10   so saved time and money and offered access to a wider selection of ammunition options.
       11   Since the Challenged Laws have taken effect, I have noticed an increase in the price of
       12   ammunition at stores.
       13         4.        But for the Challenged Laws, I would purchase ammunition from online
       14   vendors to have shipped directly to my residence.
       15
       16         I declare under penalty of perjury that the foregoing is true and correct. Executed
       17   within the United States on August 16, 2023.
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                                DECLARATION OF PLAINTIFF GARY BRENNAN
                                                                                                   18cv802
                                                      ER_55
(22 of 254), Page 22 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 22 of 254
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        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                               Case No.: 3:18-cv-00802-BEN-JLB
                                       Plaintiffs,
       12                                                    DECLARATION OF PLAINTIFF
                                v.                           CORY HENRY
       13
            ROB BONTA, in his official capacity as
       14   Attorney General of the State of
       15   California,
       16                              Defendant.
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                               DECLARATION OF PLAINTIFF CORY HENRY
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                                                     ER_56
(23 of 254), Page 23 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 23 of 254
            Case 3:18-cv-00802-BEN-JLB Document 93-3 Filed 08/17/23 PageID.3261 Page 2 of 3



        1                       DECLARATION OF PLAINTIFF CORY HENRY
        2         1.        I, Cory Henry, make this declaration of my own personal knowledge and, if
        3   called as a witness, I could and would testify competently to the truth of the matters set
        4   forth herein.
        5         2.        I am a resident of San Diego County, California, and a Plaintiff in this
        6   action. I am a law-abiding citizen of the United States who is not prohibited from owning
        7   or possessing firearms or ammunition under state or federal law.
        8         3.        Prior to the Challenged Laws taking effect, I would acquire the majority of
        9   my ammunition from online vendors that would send it directly to my residence. Doing
       10   so saved time and money and offered access to a wider selection of ammunition options.
       11         4.        But for the Challenged Laws, I would purchase ammunition from online
       12   vendors to have shipped directly to my residence.
       13
       14         I declare under penalty of perjury that the foregoing is true and correct. Executed
       15   within the United States on August 17, 2023.
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                                  DECLARATION OF PLAINTIFF CORY HENRY
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                                                      ER_57
(24 of 254), Page 24 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 24 of 254
            Case 3:18-cv-00802-BEN-JLB Document 93-4 Filed 08/17/23 PageID.3263 Page 1 of 4



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        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                               Case No.: 3:18-cv-00802-BEN-JLB
                                       Plaintiffs,
       12                                                    DECLARATION OF EDWARD
                                v.                           ALLEN JOHNSON
       13
            XAVIER BONTA, in his official capacity
       14   as Attorney General of the State of
       15   California,
       16                              Defendant.
       17
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                              DECLARATION OF EDWARD ALLEN JOHNSON
                                                                                               18cv802
                                                     ER_58
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            Case 3:18-cv-00802-BEN-JLB Document 93-4 Filed 08/17/23 PageID.3264 Page 2 of 4



        1                    DECLARATION OF EDWARD ALLEN JOHNSON
        2           1.   I, Edward Allen Johnson, make this declaration of my own personal
        3   knowledge and, if called as a witness, I could and would testify competently to the truth
        4   of the matters set forth herein.
        5           2.   I am a resident of San Diego County, California, and a plaintiff in this
        6   action. I am a law-abiding citizen of the United States who is not prohibited from owning
        7   or possessing firearms or ammunition under state or federal law.
        8           3.   On June 27, 2019, I submitted an “Automated Firearms System Request for
        9   Firearm Records” form to the California Department of Justice (“DOJ”) for purposes of
       10   obtaining my AFS records on file with DOJ.
       11           4.   On October 15, 2019, approximately 110 days after submission, DOJ
       12   responded to my request by providing my records via U.S. mail.
       13           5.   Between June 27, 2019 and October 15, 2019, I contacted DOJ via
       14   phone/email at least three times to request the status of my AFS records request. Each
       15   time I never received a response; the only response was when my records appeared in the
       16   mail.
       17           6.   I regularly travel to Oregon to visit my daughter who lives there. Prior to the
       18   Challenged Laws taking effect, I would purchase a significant amount of my ammunition
       19   supply while in Oregon to bring home to California because ammunition costs are
       20   generally lower there than in California. California’s requirement that any ammunition
       21   acquired out-of-state be shipped to a licensed vendor in California for processing adds
       22   time and expense that make obtaining ammunition out-of-state generally impractical. But
       23   for the Challenged Laws, I would resume purchasing ammunition in Oregon, and other
       24   states I visit, to bring back to California on my person to use for lawful purposes,
       25   including self-defense.
       26           7.   Prior to the Challenged Laws taking effect, I would acquire a significant
       27   amount of my ammunition from online vendors that would send it directly to my
       28   residence. Doing so saved time and money and offered access to a wider selection of
                                                2
                               DECLARATION OF EDWARD ALLEN JOHNSON
                                                                                                   18cv802
                                                   ER_59
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            Case 3:18-cv-00802-BEN-JLB Document 93-4 Filed 08/17/23 PageID.3265 Page 3 of 4



        1   ammunition options. Since the Challenged Laws have taken effect, I have noticed an
        2   increase in the price of ammunition at stores.
        3         8.     But for the Challenged Laws, I would acquire ammunition from online
        4   vendors to have shipped directly to my residence.
        5
        6         I declare under penalty of perjury that the foregoing is true and correct. Executed
        7   within the United States on August 17, 2023.
        8
        9
                                                   Edward Allen Johnson
       10                                          Declarant
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                              DECLARATION OF EDWARD ALLEN JOHNSON
                                                                                                18cv802
                                                   ER_60
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            Case 3:18-cv-00802-BEN-JLB Document 93-5 Filed 08/17/23 PageID.3267 Page 1 of 3



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        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                               Case No.: 3:18-cv-00802-BEN-JLB
                                       Plaintiffs,
       12                                                    DECLARATION OF PLAINTIFF
                                v.                           DENISE WELVANG
       13
            ROB BONTA, in his official capacity as
       14   Attorney General of the State of
       15   California,
       16                              Defendant.
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                            DECLARATION OF PLAINTIFF DENISE WELVANG
                                                                                           18cv802
                                                     ER_61
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            Case 3:18-cv-00802-BEN-JLB Document 93-5 Filed 08/17/23 PageID.3268 Page 2 of 3



        1                   DECLARATION OF PLAINTIFF DENISE WELVANG
        2         1.     I, Denise Welvang, make this declaration of my own personal knowledge
        3   and, if called as a witness, I could and would testify competently to the truth of the
        4   matters set forth herein.
        5         2.     I am a resident of California and a Plaintiff in this action. I am a law-abiding
        6   citizen of the United States who is not prohibited from owning or possessing firearms or
        7   ammunition under state or federal law.
        8         3.     Prior to the Challenged Laws taking effect, I would acquire the majority of
        9   my ammunition from online vendors that would send it directly to my residence. Doing
       10   so saved time and money and offered access to a wider selection of ammunition options.
       11         4.     I have observed that the price of ammunition at my local retailers has
       12   increased since the implementation of California's ammunition sales transaction
       13   requirements.
       14         5.     But for the Challenged Laws, I would acquire ammunition from online
       15   vendors to have shipped directly to my residence.
       16
       17         I declare under penalty of perjury that the foregoing is true and correct. Executed
       18   within the United States on August 16, 2023.
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                             DECLARATION OF PLAINTIFF DENISE WELVANG
                                                                                                  18cv802
                                                    ER_62
(29 of 254), Page 29 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 29 of 254
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        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                                Case No.: 3:18-cv-00802-BEN-JLB
                                        Plaintiffs,
       12                                                     DECLARATION OF JAMES
                                v.                            GILHOUSEN ON BEHALF OF
       13                                                     PLAINTIFF ABLE’S SPORTING,
            ROB BONTA, in his official capacity as            INC.
       14   Attorney General of the State of
       15   California,
       16                               Defendant.
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                                     DECLARATION OF JAMES GILHOUSEN
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        1                         DECLARATION OF JAMES GILHOUSEN
        2         1.     I, James Gilhousen, make this declaration of my own personal knowledge
        3   and, if called as a witness, I could and would testify competently to the truth of the
        4   matters set forth herein.
        5         2.     I am General Manager of Able’s Sporting, Inc. (“Able’s”), a business
        6   engaged in the retail sale of ammunition located in Huntsville, Texas, and Plaintiff in this
        7   action.
        8         3.     Following the implementation of California’s licensed ammunition vendor
        9   processing requirements on January 1, 2018, nearly 75% of California based ammunition
       10   vendors Able’s had previously done business with informed Able’s that they no longer
       11   wished for Able’s to ship ammunition to them for purposes of processing private party
       12   ammunition sales. As a result, Able’s sales (of which ammunition is a subset) to
       13   California dropped approximately 95% compared to all of 2017.
       14         4.     It costs Able’s on average $25 to ship ammunition to a customer in
       15   California. Following the implementation of California’s licensed ammunition vendor
       16   processing requirements on January 1, 2018, dozens of customer orders were returned to
       17   Able’s because the customer was unable to process the transaction at a California
       18   licensed ammunition vendor. The shipping fee incurred by Able’s was doubled as a result
       19   of such returns.
       20         5.     While Able’s maintains a restocking fee policy that would normally cover
       21   Able’s shipping and handling costs for returned orders, customers routinely contact their
       22   credit card companies to process a full refund of their purchase. Doing so automatically
       23   returns the customer’s payment from Able’s. While Able’s could challenge the full
       24   refund, doing so costs $500 for each challenged transaction. The only other alternative
       25   available to Able’s is to attempt collection of the restocking fee from the customer
       26   directly. To date, Able’s has been unable to collect this restocking fee from a single
       27   customer.
       28
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                                   DECLARATION OF JAMES GILHOUSEN
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                                                    ER_64
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        1         6.     In Q1 2017, California amounted to approximately 13% of all retail sales (of
        2   which ammunition is a subset) made by Able’s. Following the implementation of
        3   California’s licensed ammunition vendor processing requirements on January 1, 2018,
        4   California amounted to less than 0.5% of Able’s overall retail sales (of which
        5   ammunition is a subset) in Q1 2018.
        6         7.     Overall, California amounted to 14.2% of Able’s retail sales (of which
        7   ammunition is a subset) in 2017. Following the implementation of California’s licensed
        8   ammunition vendor processing requirements on January 1, 2018, California sales only
        9   amounted to approximately 0.7% of Able’s retail sales in 2018.
       10         8.     For a period following the implementation of California’s ammunition
       11   background check requirements on July 1, 2019, not a single California customer ordered
       12   ammunition from Able’s. That has changed only slightly since, with Able’s making on
       13   average a few sales a month to California consumers.
       14         9.     In my experience, most California vendors that Able’s has engaged with
       15   refuse to process orders for Able’s would-be California customers. This sometimes
       16   results in would-be California customers canceling ammunition orders from Able’s. I
       17   have also heard from California consumers who say they would have purchased
       18   ammunition from Able’s but their local shop charges too high of a fee to process the
       19   transaction and, as a result, they do not purchase from Able’s.
       20
       21         I declare under penalty of perjury that the foregoing is true and correct. Executed
       22   within the United States on August 16, 2023.
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                                  DECLARATION OF JAMES GILHOUSEN
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        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                               Case No.: 3:18-cv-00802-BEN-JLB
                                       Plaintiffs,
       12                                                    DECLARATION OF DAN WOLGIN
                                v.                           ON BEHALF OF PLAINTIFF AMDEP
       13                                                    HOLDINGS, LLC
            ROB BONTA, in his official capacity as
       14   Attorney General of the State of
       15   California,
       16                              Defendant.
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                                       DECLARATION OF DAN WOLGIN
                                                                                               18cv802
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            Case 3:18-cv-00802-BEN-JLB Document 93-7 Filed 08/17/23 PageID.3275 Page 2 of 5



        1                              DECLARATION OF DAN WOLGIN
        2           1.      I, Dan Wolgin, make this declaration of my own personal knowledge and, if
        3   called as a witness, I could and would testify competently to the truth of the matters set
        4   forth herein.
        5           2.      I am the Chief Executive Officer of AMDEP Holdings, LLC (“Ammunition
        6   Depot”), a business engaged in the retail sale of ammunition located in Boca Raton,
        7   Florida, and Plaintiff in this action.
        8           3.      Following the implementation of California’s licensed ammunition vendor
        9   processing requirements on January 1, 2018, Ammunition Depot’s sales (of which
       10   ammunition is a subset) to California dropped approximately 90% compared to all of
       11   2017.
       12           4.      In Q1 2017, California amounted to approximately 12.7% of all retail sales
       13   (of which ammunition is a subset) made by Ammunition Depot. Following the
       14   implementation of California’s licensed ammunition vendor processing requirements on
       15   January 1, 2018, California amounted to less than 1.8% of Ammunition Depot’s overall
       16   retail sales (of which ammunition is a subset) in Q1 2018.
       17           5.      Overall, California amounted to 22.2% of Ammunition Depot’s retail sales
       18   (of which ammunition is a subset) in 2017. Following the implementation of California’s
       19   licensed ammunition vendor processing requirements on January 1, 2018, California sales
       20   only amounted to approximately 2.8% of Ammunition Depot’s retail sales in 2018.
       21           6.      Following the implementation of California’s new ammunition background
       22   check requirements on July 1, 2019, sales to California amount to approximately 1.9% of
       23   Ammunition Depot’s business.
       24           7.      Between January and June 2019, California ammunition sales accounted for
       25   approximately 3.91% of all Ammunition Depot’s ammunition sales. Following the
       26   implementation of California’s ammunition background check requirements on July 1,
       27   2019, ammunition sales to California dropped to an average of around 1% per annum of
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                                        DECLARATION OF DAN WOLGIN
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        1   all Ammunition Depot’s ammunition sales, a drop of around 75%. So far in 2023,
        2   ammunition sales to California are 1.36% of all Ammunition Depot’s ammunition sales.
        3         8.     Following the implementation of California’s new ammunition background
        4   check requirements on July 1, 2019, Ammunition Depot attempted to contact the
        5   California Department of Justice (“DOJ”) to inquire if a business could legally sell
        6   ammunition direct to California customers who possess a valid Certificate of Eligibility
        7   (“COE”) issued by DOJ and a Curio & Relic Type 03 FFL (“C&R License”) issued by
        8   the Bureau of Alcohol, Tobacco, Firearms and Explosives. Ammunition Depot attempted
        9   to communicate with DOJ by contacting the listed “Customer Support Center” at (855)
       10   365-3767. On at least eight different occasions, Ammunition Depot attempted to call DOJ
       11   to speak with a DOJ representative. Six of those attempts resulted in no answer.
       12   Ammunition Depot later attempted to contact DOJ using a different phone, but this time
       13   received an automated message stating “This number is not available from your calling
       14   area.” To date, Ammunition Depot has been unable to reach DOJ for clarification, despite
       15   trying to contact DOJ at the phone number currently listed as the number for DOJ’s
       16   “Customer Support Center” on DOJ’s website: https://oag.ca.gov/firearms/dlrfaqs.
       17   Ammunition Depot has received hundreds of inquiries about this issue from California
       18   consumers but has been unable to definitively answer whether the practice is lawful, due
       19   to DOJ’s silence. Ammunition Depot has refrained from processing any sales directly to
       20   California consumers who possess a valid COE and C&R License because of DOJ’s
       21   refusal to clarify the law.
       22         9.     Following implementation of California’s new ammunition background
       23   check requirements on July 1, 2019, several California ammunition retailers contacted
       24   Ammunition Depot and instructed it to cease shipments of private customer orders of
       25   ammunition to their store, as they did not wish to process such transactions. Some
       26   California ammunition retailers have agreed to process transfers from Ammunition Depot
       27   to California consumers, but many still refuse to. My employees have heard directly from
       28   California consumers who say they would have purchased ammunition from Ammunition
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                                          DECLARATION OF DAN WOLGIN
                                                                                                 18cv802
                                                   ER_68
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        1   Depot but their local shop charges too high of a fee to process the transaction and, as a
        2   result, they do not purchase from Ammunition Depot.
        3
        4         I declare under penalty of perjury that the foregoing is true and correct. Executed
        5   within the United States on August, 17 2023.
        6
        7
        8                                                 Dan Wolgin
                                                          Declarant
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                                      DECLARATION OF DAN WOLGIN
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                                                   ER_69
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        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                                Case No.: 3:18-cv-00802-BEN-JLB

       12                               Plaintiffs,           DECLARATION OF RICHARD
                                                              MINNICH ON BEHALF OF
       13                       v.                            PLAINTIFF CALIFORNIA RIFLE &
                                                              PISTOL ASSOCIATION,
       14   ROB BONTA, in his official capacity as            INCORPORATED
       15   Attorney General of the State of
            California,
       16
                                        Defendant.
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                                     DECLARATION OF RICHARD MINNICH
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                                                      ER_70
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            Case 3:18-cv-00802-BEN-JLB Document 93-8 Filed 08/17/23 PageID.3280 Page 2 of 5



        1                         DECLARATION OF RICHARD MINNICH
        2         1.     I, Richard Minnich, am the Treasurer of the California Rifle & Pistol
        3   Association, Incorporated (CRPA), a plaintiff in this action. I make this declaration of my
        4   own personal knowledge and, if called as a witness, I could and would testify
        5   competently to the truth of the matters set forth herein.
        6         2.     CRPA is a non-profit membership organization classified under section
        7   501(c)(4) of the Internal Revenue Code and incorporated under the laws of California,
        8   with its headquarters in Fullerton, California.
        9         3.     Founded in 1875, CRPA seeks to defend the Second Amendment and
       10   advance laws that protect the rights of individual citizens. CRPA works to preserve the
       11   constitutional and statutory rights of gun ownership, including the rights to self-defense,
       12   the right to hunt, and the right to keep and bear arms. CRPA is also dedicated to
       13   promoting the shooting sports, providing education, training, and organized competition
       14   for adult and junior shooters. CRPA’s members include law enforcement officers,
       15   prosecutors, professionals, firearm experts, and members of the public.
       16         4.     In this suit, CRPA represents the interest of the tens of thousands of its
       17   members who reside in or visit the state of California, including in San Diego County,
       18   and who are too numerous to conveniently bring in this action individually. Those
       19   members’ interests include their intent to exercise their constitutionally protected right to
       20   acquire and otherwise transact in ammunition.
       21         5.     I am aware of many CRPA members who have been harmed by California’s
       22   ammunition sales restrictions being challenged in this action (“the Challenged Laws”).
       23         6.     I am aware of CRPA members who have been refused an ammunition sale
       24   because their driver’s license or identification card has a “FEDERAL LIMITS APPLY”
       25   notation and they lacked the required supplemental documentation.
       26         7.     I am aware of CRPA members who have been rejected an ammunition
       27   transaction, even though they were not prohibited from acquiring ammunition or firearms
       28   under any state or federal laws, and do not know that the CFARS website exists.
                                                  2
                                   DECLARATION OF RICHARD MINNICH
                                                                                                  18cv802
                                                    ER_71
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            Case 3:18-cv-00802-BEN-JLB Document 93-8 Filed 08/17/23 PageID.3281 Page 3 of 5



        1         8.     I am aware of CRPA members who have been rejected an ammunition
        2   transaction, even though they were not prohibited from acquiring ammunition or firearms
        3   under any state or federal laws, and because they were either unaware of the steps that
        4   they could take to overcome their rejection or alternative options to qualify for an
        5   ammunition purchase, or could not figure out how to update their records in the CFARS
        6   website, they gave up on trying to lawfully purchase ammunition in California.
        7         9.     I am aware of CRPA members who have been rejected an ammunition
        8   transaction, even though they were not prohibited from acquiring ammunition or firearms
        9   under any state or federal laws, and decided to purchase a firearm that they would not
       10   have otherwise purchased because they either believed it was their only option to get into
       11   DOJ’s system to be able to buy ammunition or to avoid having to pay the $19 Basic
       12   Check every time they purchased ammunition.
       13         10.    I am aware of CRPA members who have been rejected an ammunition
       14   transaction, even though they were not prohibited from acquiring ammunition or firearms
       15   under any state or federal laws, and because they could not determine how to correct
       16   issues with their AFS records on the CFARS website, have had to request a copy of their
       17   AFS records from DOJ and have reported waiting months for DOJ to respond with a
       18   copy of their AFS records.
       19         11.    I am aware of CRPA members who acquire ammunition outside of
       20   California, particularly on hunting trips, competitions, or training events, and leave it
       21   behind because it is impractical and costly to have it shipped to a licensed vendor in
       22   California to process.
       23         12.    I am aware of CRPA members who are not California residents and because
       24   they are not, have been unable to purchase ammunition from a licensed vendor while
       25   visiting California.
       26         13.    I am aware of CRPA members who must pay significant fees to a licensed
       27   California ammunition vendor to process ammunition transfers from out-of-state vendors
       28
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                                     DECLARATION OF RICHARD MINNICH
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            Case 3:18-cv-00802-BEN-JLB Document 93-8 Filed 08/17/23 PageID.3282 Page 4 of 5


        1
            for ammunition that the members could not locate in-state, which costs they would not
        2
            have incurred if the Challenged Laws did not prohibit direct shipping to their homes.
        3
                  14.   I am aware of CRPA members who have had licensed California
        4
            ammunition vendors refuse to process their ammunition transfers from out-of-state
        5
            vendors, as required under the Challenged Laws for a California resident to receive
        6
            ammunition from an out-of-state vendor.
        7
        8
                  I declare under penalty of perjury that the foregoing is true and correct. Executed
        9   within in the United States on August 1 ,
       10
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       12
                                                        Declarant
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                                  DECLARATION OF RICHARD MINNICH
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                                                   ER_73
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           Case 3:18-cv-00802-BEN-JLB Document 93-9 Filed 08/17/23 PageID.3284 Page 1 of 11


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        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                                Case No.: 3:18-cv-00802-BEN-JLB
                                        Plaintiffs,
       12                                                     DECLARATION OF JACK MULLIN
                                V.                            IN SUPPORT OF PLAINTIFFS
       13
            ROB BONTA, in his official capacity as
       14
            Attorney General of the State of
       15   California,

       16                               Defendant.
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                                       DECLARATION OF JACK M'ULLIN
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                                                      ER_74
(41 of 254), Page 41 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 41 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-9 Filed 08/17/23 PageID.3285 Page 2 of 11


        1                               DECLARATION OF JACK MULLIN
        2          1.       I, Jack Mullin, make this declaration ofmy own personal knowledge and, if
        3   called as a witness, I could and would testify competently to the truth of the matters set
        4   forth herein.
        5          2.       I am a resident of California and a citizen of the United States who is not
        6   prohibited from owning or possessing firearms or ammunition under state or federal law.
        7   I am a member of the California Rifle & Pistol Association, Incorporated, who is a
        8   plaintiff in this action.
        9          3.       I have lawfully purchased firearms in California through a licensed vendor. I
       10   had successfully purchased ammunition using the $1 AFS Check prior to changing
       11   residences last year.
       12          4.       Shortly after changing residences, I attempted to update my CFARS profile
       13   with my new address so that I could qualify for the $1 AFS Check when purchasing
       14   ammunition. I received a letter from the California Department of Justice, Bureau of
       15   Firearms ("DOJ''), dated November 30, 2022, informing me that my AFS records had not
       16   been updated because " identifying personal and/or firearm information provided could
       17   not be matched with records within the Department's AFS." (A true and correct copy of
       18   that letter is attached hereto as Exhibit 1). The letter explained three possible reasons for
       19   the rejection, one of which was that I did not have an AFS record, which I know is not
       20   the case. The other two reasons were that my personal information or firearm information
       21   entered into AFS was not accurate.
       22          5.       So shortly after receiving that letter from DOJ, I tried again to update my
       23   AFS record through CFARS using a different firearm. DOJ responded with an identical
       24   letter to the first, other than the serial number mentioned and it being dated December 1,
       25   2022. (A true and correct copy of that letter is attached hereto as Exhibit 2).
       26          6.       I went to purchase ammunition on August 4, 2023, to see if the issue could
       27   be resolved that way. The store clerk refused me the sale and provided me a letter from
       28 DOJ, stating that my status was "DENY/REJECT." The letter from DOJ did not provide
                                                     2
                                         DECLARATION OF JACK MULLIN
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           Case 3:18-cv-00802-BEN-JLB Document 93-9 Filed 08/17/23 PageID.3286 Page 3 of 11



        1   a reason and the clerk informed me that those details are not provided to him either. Nor
        2   did the letter explain what steps I could take to remedy the issue, other than visiting the
        3   DOJ website.
        4         7.     So after being rejected an ammunition purchase, I tried again to update my
        5 AFS record through CFARS. DOJ responded with an identical letter to the previous two,
        6   other than the serial number mentioned and it being dated August 9, 2023. ( A true and
        7   correct copy of that letter is attached hereto as Exhibit 3).
        8         8.     The DOJ form letter directs those who are unsure about their AFS records to
        9   fill out and submit to DOJ an "Automated Firearms System Request for Firearm
       10   Records" form, so that DOJ could send back all the persons' AFS records, with which
       11   one could refer for any discrepancies with their AFS information and update them. The
       12   letter does not provide any other options or guidance for someone in my position.
       13          9.    It was not until I spoke with a lawyer that I learned that I had the options of
       14   purchasing a new firearm to potentially fix my records with the Department; obtaining a
       15   COE for $71 (and $22 every year thereafter) plus a fingerprinting fee; or paying a $19 fee
       16   for a Basic Check every time I purchased ammunition. Neither the vendor nor DOJ's
       17   form letters informed me of those options. Had I not spoken with a lawyer, I would not
       18   have known of those options and would have believed that I only had the option of
       19   waiting however long it takes DOJ to process an Automated Firearms System Request for
       20   Firearm Records form to be able to acquire the ammunition I need for hunting or for self-
       21   defense.
       22          10.    In any event, despite having lawfully purchased firearms in California for
       23   which AFS records must have been created, I am currently unable to avail myself of the
       24   $1 AFS Check for some unknown reason and apparently will be unable to for the
       25   foreseeable future, unless and until I take one of the above-described costly steps to be
       26   able to do so; none of which I wish to take.
       27          11.    Prior to the challenged laws taking effect, I would acquire ammunition from
       28 online vendors who shipped directly to my residence. The challenged laws have
                                                           3
                                       DECLARATION OF JACK MULLIN
                                                                                                  18cv802
                                                     ER_76
(43 of 254), Page 43 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 43 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-9 Filed 08/17/23 PageID.3287 Page 4 of 11



        1   foreclosed that option, occasionally resulting in me being unable to obtain the
        2   ammunition I need. I have noticed ammunition prices at local gun stores increase since
        3 the Challenged Laws took effect. But for the Challenged Laws, I would acquire
        4   ammunition from online vendors to have shipped directly to my residence.
        5
        6         l declare under penalty of perjury that the foregoing is true and correct. Executed
        7   within the United States on August 17, 2023.
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                                      DECLARATION OF JACK MULLIN
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                                                   ER_77
(44 of 254), Page 44 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 44 of 254
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                                   EXHIBIT 1

                                               ER_78
(45 of 254), Page 45 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 45 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-9 Filed 08/17/23 PageID.3289 Page 6 of 11


      ROBBONTA                                                             State of California
      Attorney General                                              DEPARTMENT OF JUSTICE
                                                                                                    BUREAU OF FIREARMS
                                                                                                            P.O. BOX 820200
                                                                                               SACRAMENTO, CA 94203-0200
                                                                                                    Telephone; (916) 210-2300
                                                                                                          Fax, (916) 227-3700



                                                    November 30, 2022
        JACK MULLIN



        Re:    California Firearms Application Reporting System (CFARS) - Automated Firearms System
               Personal Information Update Rejection Notification For Serial Number<           i<IIIIII~
        Dear JACK MULLIN:
                 The California Department of Justice (the Department) was not able to process your electronic
        submission of the Automated Firearms System (AFS) Personal Information Update application. The
        identifying personal and/or firearm information provided could not be matched with records within the
        Department's AFS. As a result, your personal information has not been updated.
                Possible Reasons for Rejection
                      •   You did not provide correct or enough information in the "Personal Information at Time of
                          Purchase" section for the system to locate your record and update your information.
                          You do not have a record in the AFS.
                      •   The firearm information you entered does not match your record in the AFS.
                 If you are unsure of the personal information that is currently on your AFS record, you can request
        to obtain information on all firearms for which you are listed as the purchaser, transferee, or owner in the
        Department's records by submitting an Automated Firearms System Request for Firearm Records (BOF 053)
        application to the Department. The application can be located at https://oag.ca.gov/fireanns/forms.

                  Once your application is received, the Department will conduct a diligent search of the AFS and will
        provide you with the listing of your records via U.S. mail. Once you receive the listing, you can reference the
        personal and firearm information that was recorded at the time the firearm was purchased or transferred, and
        use it to fill out the AFS Personal Information Update application.

                If you have any questions, please contact the Bureau of Firearms Customer Support Center at
        (916) 210-2300.
                                                   Sincerely,

                                                   REPORTING AND QUALITY ASSURANCE
                                                   Bureau of Firearms

                                            For    ROBBONTA
                                                   Attorney General
     CFARS-AFSRPT04



                                                          ER_79
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                                   EXHIBIT 2

                                               ER_80
(47 of 254), Page 47 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 47 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-9 Filed 08/17/23 PageID.3291 Page 8 of 11


      ROBBONTA                                                               State of California
      Attorney General                                                DEPARTMENT OF JUSTICE
                                                                                                    BUREAU OF FIREARMS
                                                                                                          P.O. BOX 820200
                                                                                               SACRAJvlENTO, CA 94203-0200
                                                                                                    Telephone: (916) 210-2300
                                                                                                          Fax: (916) 227-3700



                                                    December 0 1, 2022
        JACK MULLIN




        Re:    California Firearms Application Reporting System (CFARS) - Automated Firearms Svstem
               Personal Information Update Rejection Notification For Serial Number< l ~
        Dear JACK MULLIN:

                 The California Department of Justice (the Department) was not able to process your electronic
        submission of the Automated Firearms System (AFS) Personal Information Update application. The
        identifying personal and/or firearm information provided could not be matched with records within the
        Department's AFS. As a result, your personal information has not been updated.
                Possible Reasons for Rejection
                      •   You did not provide correct or enough information in the "Personal Information at Time of
                          Purchase" section for the system to locate your record and update your information.

                      •   You do not have a record in the AFS.
                      •   The firearm information you entered does not match your record in the AFS.
                If you are unsure of the personal information that is currently on your AFS record, you can request
        to obtain information on all firearms for which you are listed as the purchaser, transferee, or owner in the
        Department's records by submitting an Automated Firearms System Request for Firearm Records (BOF 053)
        application to the Department. The application can be located at https://oag.ca.gov/firearms/forms.

                  Once your application is received, the Department will conduct a diligent search of the AFS and will
        provide you with the listing of your records via U.S. mail. Once you receive the listing, you can reference the
        personal and firearm information that was recorded at the time the firearm was purchased or transferred, and
        use it to fill out the AFS Personal Information Update application.

                If you have any questions, please contact the Bureau of Firearms Customer Support Center at
        (916) 210-2300.
                                                   Sincerely,

                                                   REPORTING AND QUALITY ASSURANCE
                                                   Bureau of Firearms

                                           For     ROB BONTA
                                                   Attorney General
     CFARS-AFSRPT04




                                                          ER_81
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                                   EXHIBIT3

                                               ER_82
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          Case 3:18-cv-00802-BEN-JLB Document 93-9 Filed 08/17/23 PageID.3293 Page 10 of 11


      ROBBONTA                                                               State of California
      Attorney General                                                DEPARTMENT OF JUSTICE
                                                                                                    3 UREAU OF FIREARMS
                                                                                                            P.O. BOX 820200
                                                                                               SACRAMENTO. CA 94203-0200
                                                                                                    Telephone: (916) 2!0-2300
                                                                                                          Fax: (916) 227-3700



                                                      August 09, 2023
        JACK MUl J ,IN



        Re:    California Firearms Application Reporting System (CFARS) - Automated Firearms Svstem
               Personal Information Update Rejection Notification For Serial Number<           itlllll..2:.
        Dear JACK MULLIN:

                 The California Department of Justice (the Department) was not able to process your electronic
        submission of the Automated Firearms System (AFS) Personal Information Update application. Tne
        identifying personal and/or firearm information provided could not be matched with records within the
        Department's AFS. As a result, your personal information has not been updated.
                Possible Reasons for Rttiection
                      •   You did not provide correct or enough information in the "Personal Information at Time of
                          Purchase" section for the system to locate your record and update your information.
                      •   You do not have a record in the AFS.

                      •   The firearm information you entered does not match your record in the AFS.

                 If you are unsure of the personal information that is currently on your AFS record, you can request
        to obtain information on all firearms for which you are listed as the purchaser, transferee, or owner in the
        Department's records by submitting an Automated Fireanns System Request for Firearm Records (BOF 053)
        application to the Department. The application can be located at https://oag.ca.gov/fireanns/forms.

                  Once your application is received, the Department will conduct a diligent search of the AFS and will
        provide you with the listing of your records via U.S. mail. Once you receive the listing, you can reference the
        personal and firearm information that was recorded at the time the firearm was purchased or transferred, and
        use it to fill out the AFS Personal Information Update application.

                If you have any questions, please contact the Bureau of Firearms Customer Support Center at
        (916) 210-2300.
                                                   Sincerely,

                                                   REPORTING AND QUALITY ASSURANCE
                                                   Bureau of Firearms

                                           For     ROB BONTA
                                                   Attorney General
     CFARS-AFSRPT04



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           Case 3:18-cv-00802-BEN-JLB Document 93-10 Filed 08/17/23 PageID.3295 Page 1 of 4



        1   C.D. Michel – SBN 144258
            Sean A. Brady – SBN 262007
        2   Matthew D. Cubeiro – SBN 291519
            MICHEL & ASSOCIATES, P.C.
        3   180 E. Ocean Boulevard, Suite 200
        4   Long Beach, CA 90802
            Telephone: (562) 216-4444
        5   Facsimile: (562) 216-4445
            Email: cmichel@michellawyers.com
        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                               Case No.: 3:18-cv-00802-BEN-JLB
                                       Plaintiffs,
       12                                                    DECLARATION OF KIRK WEIR IN
                                v.                           SUPPORT OF PLAINTIFFS
       13
            ROB BONTA, in his official capacity as
       14   Attorney General of the State of
       15   California,
       16                              Defendant.
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                                       DECLARATION OF KIRK WEIR
                                                                                               18cv802
                                                     ER_84
(51 of 254), Page 51 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 51 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-10 Filed 08/17/23 PageID.3296 Page 2 of 4



        1                                DECLARATION OF KIRK WEIR
        2             1.    I, Kirk Weir, make this declaration of my own personal knowledge and, if
        3   called as a witness, I could and would testify competently to the truth of the matters set
        4   forth herein.
        5             2.    I am a resident of Nevada County, California. I am a citizen of the United
        6   States who is not prohibited from owning or possessing firearms or ammunition under
        7   state or federal law. I am a permanently disabled veteran, small arms instructor, and
        8   CCW permit holder. I am a member of the California Rifle & Pistol Association,
        9   Incorporated, which is a plaintiff in this action.
       10             3.    I acquire ammunition for use in self-defense training and hunting. I also
       11   acquire it to keep for home-defense and self defense. California requires that hunters use
       12   non-lead ammunition, which is not as plentiful as lead ammunition.
       13             4.    Because local ammunition vendors regularly lack inventory of the common
       14   ammunition types that I need, especially the non-lead ammunition required for hunting in
       15   this state, and because it is a 30-minute round trip to the nearest ammunition vendor,
       16   prior to the challenged laws taking effect, I regularly acquired my ammunition from
       17   internet vendors that shipped directly to my residence. I could virtually always find the
       18   ammunition that I needed online, and often at a better price.
       19             5.    I have noticed marked price increases and scarcity of inventory of the
       20   ammunition I use at my local ammunition vendors since the challenged laws went into
       21   effect.
       22             6.    Because of the challenged laws, I cannot order online for direct shipment to
       23   my home. This has resulted in me having to spend more time and money trying to acquire
       24   the ammunition that I use from local vendors. And, on some occasions, I have been
       25   unable to find the ammunition that I need from local vendors, while it is regularly
       26   available from online vendors. But for the challenged laws, I would purchase ammunition
       27   from online vendors to have shipped directly to my residence.
       28   ///
                                                     2
                                          DECLARATION OF KIRK WEIR
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                                                      ER_85
(52 of 254),
         CasePage 52 of 254Case: 24-542, Document
               3:18-cv-00802-BEN-JLB     05/24/2024, DktEntry:
                                                  93-10  Filed14.3, Page 52
                                                               08/17/23     of 254
                                                                         PageID.3297 Page 3 of 4




      1         I declare under penalty of perjury that the foregoing is true and correct. Executed
      2   within the United States on August 15, 2023.
      3
      4                                                                        ...
                                                       Kirkeir .
      5                                                Declarant
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           Case 3:18-cv-00802-BEN-JLB Document 93-11 Filed 08/17/23 PageID.3299 Page 1 of 5



        1   C.D. Michel – SBN 144258
            Sean A. Brady – SBN 262007
        2   Matthew D. Cubeiro – SBN 291519
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        3   180 E. Ocean Boulevard, Suite 200
        4   Long Beach, CA 90802
            Telephone: (562) 216-4444
        5   Facsimile: (562) 216-4445
            Email: cmichel@michellawyers.com
        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                               Case No.: 3:18-cv-00802-BEN-JLB
                                       Plaintiffs,
       12                                                    DECLARATION OF MUHAMED EL-
                                v.                           ZOGHBI IN SUPPORT OF
       13                                                    PLAINTIFFS
            ROB BONTA, in his official capacity as
       14   Attorney General of the State of
       15   California,
       16                              Defendant.
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                                 DECLARATION OF MUHAMED EL-ZOGHBI
                                                                                               18cv802
                                                     ER_87
(54 of 254), Page 54 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 54 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-11 Filed 08/17/23 PageID.3300 Page 2 of 5



        1                       DECLARATION OF MUHAMED EL-ZOGHBI
        2         1.     I, Muhamed El-Zoghbi, make this declaration of my own personal
        3   knowledge and, if called as a witness, I could and would testify competently to the truth
        4   of the matters set forth herein.
        5         2.     I am a resident of California and a citizen of the United States who is not
        6   prohibited from owning or possessing firearms or ammunition under state or federal law.
        7   I am a U.S. Air Force veteran and a current federal employee with the U.S. Customs and
        8   Border Protection. I am a member of USA Shooting and the International Defensive
        9   Pistol Association (IDPA). I am also a member of the California Rifle & Pistol
       10   Association, Incorporated, which is a plaintiff in this action.
       11         3.     I moved to Los Angeles from Virginia in 2021. As required by law, I
       12   submitted a New Resident Report of Firearm Ownership form with the California
       13   Department of Justice (“DOJ”) for all firearms I brought from Virginia. When I contacted
       14   DOJ about my new resident registration shortly after its submission in 2021, DOJ
       15   personnel told me that I should not bother them unless a year or more had passed since
       16   my paperwork was submitted. Ultimately, it took over 14 months for DOJ to respond to
       17   my registration and process my documentation. As of the date of this declaration, I am
       18   still dealing with DOJ regarding my new resident registration for several of my firearms.
       19         4.     After the conversation with DOJ personnel about my new resident firearm
       20   registration, I knew I would not have an AFS record that would qualify me for the $1
       21   AFS Check for over a year or more. Due to my need to purchase ammunition for training
       22   and competitions, I would have been unable to wait for DOJ to process my forms. I was
       23   given no guidance by DOJ on what to do to resolve this issue.
       24         5.     When I discussed my situation with other gun owners I knew, I was advised
       25   to purchase a new firearm to create an AFS record. So in September 2021, believing that
       26   it was the only way for me to be able to purchase ammunition (because I did not know of
       27   the other options until later), I purchased a rifle that I would not have otherwise
       28   purchased solely to create an AFS record and qualify for the $1 AFS Check.
                                                 2
                                 DECLARATION OF MUHAMED EL-ZOGHBI
                                                                                                  18cv802
                                                    ER_88
(55 of 254), Page 55 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 55 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-11 Filed 08/17/23 PageID.3301 Page 3 of 5



        1         6.     I am a competitive skeet shooter (both American and international skeet). I
        2   train regularly with Plaintiff Kim Rhode at LA Clays. I need well over 2,000 rounds of
        3   shotgun shells a month to train for international skeet.
        4         7.     I also regularly train for and participate in IDPA matches and train for self-
        5   defense with pistols. On average, I use around 500 rounds of pistol ammunition every
        6   two months. This is in addition to the ammunition I acquire to keep for self-defense use.
        7         8.     To facilitate my training and self-defense needs, I buy ammunition roughly
        8   every month. Had I waited for DOJ to process my new-resident-registration paperwork to
        9   create an AFS record to qualify me for the $1 AFS Check, I would have incurred an extra
       10   expense of around $266 by utilizing the $19 Basic Check option for each purchase,
       11   merely to be able to purchase ammunition. Alternatively, I could have obtained a COE
       12   for $71, which I would have had to renew (COEs are only valid for one year) and waited
       13   who knows how long to receive. However, I was unaware of the COE option at the time
       14   because nobody informed me of such an option until recently.
       15         9.     The challenged laws continue to affect me in another costly way. As a result
       16   of the quantity and type of ammunition I purchase, I often cannot locate ammunition at
       17   local retail stores. As a result, I must seek out the ammunition I need from internet
       18   vendors. Because direct shipping of ammunition to my home is prohibited, I must have
       19   any ammunition I purchase on the internet shipped to a licensed vendor located in
       20   California to process the transaction in accordance with the challenged laws. Those
       21   vendors charge a fee to do so, as it requires employee time and store space. The best deal
       22   I could find was a local gun shop that charges 5% of the cost of the order. For example,
       23   my typical order of 2,000 shotgun shells of international skeet ammunition runs around
       24   $880 (not including sales tax), so the cheapest vendor that I know of charges me about
       25   $44 to receive that shipment. This is an expense I bear roughly every month, solely due to
       26   California’s law prohibiting direct ammunition sales.
       27   ///
       28   ///
                                                 3
                                 DECLARATION OF MUHAMED EL-ZOGHBI
                                                                                                    18cv802
                                                   ER_89
(56 of 254), Page 56 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 56 of 254
          Case 3:18-cv-00802-BEN-JLB Document 93-11 Filed 08/17/23 PageID.3302 Page 4 of 5




                                              ER_90
(57 of 254), Page 57 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 57 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-12 Filed 08/17/23 PageID.3304 Page 1 of 3



        1   C.D. Michel – SBN 144258
            Sean A. Brady – SBN 262007
        2   Matthew D. Cubeiro – SBN 291519
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        3   180 E. Ocean Boulevard, Suite 200
        4   Long Beach, CA 90802
            Telephone: (562) 216-4444
        5   Facsimile: (562) 216-4445
            Email: cmichel@michellawyers.com
        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                                Case No.: 3:18-cv-00802-BEN-JLB
                                        Plaintiffs,
       12                                                     DECLARATION OF SCOTT
                                v.                            PARKER IN SUPPORT OF
       13                                                     PLAINTIFFS
            ROB BONTA, in his official capacity as
       14   Attorney General of the State of
       15   California,
       16                               Defendant.
       17
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                                       DECLARATION OF SCOTT PARKER
                                                                                                18cv802
                                                      ER_91
(58 of 254), Page 58 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 58 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-12 Filed 08/17/23 PageID.3305 Page 2 of 3



        1                               DECLARATION OF SCOTT PARKER
        2          1.       I, Scott Parker, make this declaration of my own personal knowledge and, if
        3   called as a witness, I could and would testify competently to the truth of the matters set
        4   forth herein.
        5          2.       I am a resident of California and a citizen of the United States who is not
        6   prohibited from owning or possessing firearms or ammunition under state or federal law.
        7   I am a member of the California Rifle & Pistol Association, Incorporated, who is a
        8   plaintiff in this action.
        9          3.       On several occasions, I have been unable to acquire the ammunition I sought
       10   because I could not find it in stock locally or find an online vendor that would ship to
       11   California due to Challenged Laws. One time I found an online vendor that would ship to
       12   a local shop to process for me but the ammunition would not have arrived in time for the
       13   training class for which I was purchasing the ammunition. Even finding an ammunition
       14   vendor close to where I live that would process a transfer from an online vendor has
       15   proven difficult, especially for a reasonable fee. But for the Challenged Laws, I would
       16   purchase ammunition from online vendors to have shipped directly to my residence.
       17          4.       On several occasions, I have been in another state for a training class where I
       18   purchased ammunition and had to leave unused ammunition behind because I am not
       19   allowed to bring it back into California without shipping it to an ammunition vendor in
       20   California first, which is impractical and unduly burdensome. But for the Challenged
       21   Laws, I would have brought and would continue to bring ammunition that I purchased in
       22 other states to bring back to California on my person to use for lawful purposes, including
       23 self-defense.
       24
       25          I declare under penalty of perjury that the foregoing is true and correct. Executed
       26 within the United States on August 16, 2023.
       27
                                                             Scott Parker
       28                                                    Declarant
                                                     2
                                        DECLARATION OF SCOTT PARKER
                                                                                                   18cv802
                                                      ER_92
(59 of 254), Page 59 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 59 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-13 Filed 08/17/23 PageID.3307 Page 1 of 4



        1   C.D. Michel – SBN 144258
            Sean A. Brady – SBN 262007
        2   Matthew D. Cubeiro – SBN 291519
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        3   180 E. Ocean Boulevard, Suite 200
        4   Long Beach, CA 90802
            Telephone: (562) 216-4444
        5   Facsimile: (562) 216-4445
            Email: cmichel@michellawyers.com
        6
        7   Attorneys for Plaintiffs

        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                               Case No.: 3:18-cv-00802-BEN-JLB
                                       Plaintiffs,
       12                                                    DECLARATION OF STEPHEN
                                v.                           HOOVER IN SUPPORT OF
       13                                                    PLAINTIFFS
            ROB BONTA, in his official capacity as
       14   Attorney General of the State of
       15   California,
       16                              Defendant.
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                                     DECLARATION OF STEPHEN HOOVER
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                                                     ER_93
(60 of 254), Page 60 of 254 Case: 24-542, 05/24/2024, DktEntry: 14.3, Page 60 of 254
           Case 3:18-cv-00802-BEN-JLB Document 93-13 Filed 08/17/23 PageID.3308 Page 2 of 4



        1                         DECLARATION OF STEPHEN HOOVER
        2         1.     I, Stephen Hoover, make this declaration of my own personal knowledge
        3   and, if called as a witness, I could and would testify competently to the truth of the
        4   matters set forth herein.
        5         2.     I am a resident of the State of Florida. I am a PhD candidate at the Center for
        6   Complex Systems and Brain Sciences in the Charles E. Schmidt College of Science at
        7   Florida Atlantic University. I am a citizen of the United States who is not prohibited from
        8   owning or possessing firearms or ammunition under state or federal law. I own firearms
        9   and have a Florida-issued CCW permit. I am a member of the California Rifle & Pistol
       10   Association, Incorporated, which is a plaintiff in this action.
       11         3.     I spent a significant amount of time in California in the Summer of 2023,
       12   and I plan to return for work and/or leisure purposes. Because I am not a resident of
       13   California, I cannot lawfully purchase ammunition in the state, with the limited exception
       14   of using it exclusively on-site at a licensed shooting range. There is thus no avenue for
       15   me to acquire ammunition for defense of myself and dwelling, or other lawful purposes,
       16   while staying in California.
       17         4.     On Wednesday, July 19th, 2023, I attempted to purchase ammunition at a
       18   sporting goods store located in Monterey, California. I asked two employees to check if
       19   they could sell me ammunition. One of the two employees called someone, I assume a
       20   supervisor, over the in-store telephone. I waited while the person on the other end of the
       21   phone conferred with the employee I was speaking with. The employee then informed me
       22   that I would not be allowed to purchase ammunition because I was not a California
       23   resident.
       24         5.     But for the challenged laws, which preclude non-residents of California like
       25   me, from purchasing ammunition outside of use at a licensed shooting range, I would buy
       26   ammunition while in California during my visits in the state for defense of my person and
       27   dwelling and other lawful purposes.
       28   ///
                                                  2
                                    DECLARATION OF STEPHEN HOOVER
                                                                                                 18cv802
                                                    ER_94
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                 I declare under penalty of perjury that the foregoing is true and correct. Executed
           within the United States on August 16, 2023.



                                                        Stephen Hoover
                                                        Declarant




                                               3
                                 DECLARATION OF STEPHEN HOOVER
                                                                                               18cv802
                                                 ER_95
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        8
                                     UNITED STATES DISTRICT COURT
        9
                                 SOUTHERN DISTRICT OF CALIFORNIA
       10
       11   KIM RHODE, et al.,                                Case No.: 3:18-cv-00802-BEN-JLB
                                        Plaintiffs,
       12                                                     DECLARATION OF STEVEN
                                v.                            BAYRD IN SUPPORT OF
       13                                                     PLAINTIFFS
            ROB BONTA, in his official capacity as
       14   Attorney General of the State of
       15   California,
       16                               Defendant.
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                                                    1
                                       DECLARATION OF STEVEN BAYRD
                                                                                                18cv802
                                                      ER_96
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        1                             DECLARATION OF STEVEN BAYRD
        2         1.        I, Steven Bayrd, make this declaration of my own personal knowledge and,
        3   if called as a witness, I could and would testify competently to the truth of the matters set
        4   forth herein.
        5         2.        I am a resident of California and a citizen of the United States who is not
        6   prohibited from owning or possessing firearms or ammunition under state or federal law.
        7   I am a retired Los Angeles Sheriff’s Department Reserve Deputy Sheriff. I am a member
        8   of the California Rifle & Pistol Association, Incorporated, who is a plaintiff in this action.
        9         3.        My residence is located in a rural area of Riverside County. Because the
       10   postal service will not deliver directly to my house, I use a Post Office Box to receive
       11   mail. For that reason, my driver’s license lists my P.O. Box and not my physical address.
       12         4.        Because I do not have my residential address on my driver’s license, both
       13   ammunition vendors I have attempted to purchase ammunition from have refused to
       14   process my purchase through the State’s system because they said I lacked sufficient
       15   proof of residency to qualify to purchase ammunition under the challenged laws.
       16         5.        The local postmaster issued me a letter linking my P.O. box to my physical
       17   address. Despite providing that letter and other documentation of my physical address
       18   (bills) to them, no ammunition vendor has accepted such documentation as sufficient
       19   proof of residency to qualify for purchasing ammunition under the challenged laws.
       20         6.        As a result, I have been unable to acquire ammunition from a licensed
       21   vendor since the challenged laws took effect. But for the challenged laws, I would
       22   purchase ammunition for home defense or other lawful purposes but I am unaware of any
       23   lawful way for me to do so with my current ID under the challenged laws.
       24
       25   ///
       26   ///
       27   ///
       28   ///
                                                    2
                                       DECLARATION OF STEVEN BAYRD
                                                                                                   18cv802
                                                      ER_97
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                 official capacity as California Attorney
            9    General
           10                     IN THE UNITED STATES DISTRICT COURT
           11                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
           12                                     CIVIL DIVISION
           13
           14
                 KIM RHODE et al.,                                3:18-cv-00802-BEN-JLB
           15
                                                Plaintiffs,
           16
                             v.                                   DECLARATION OF ROBERT
           17                                                     SPITZER
           18    ROB BONTA, in his official capacity              Courtroom: 5A
                 as Attorney General of the State of              Judge:        Hon. Roger T. Benitez
           19    California, et al.,                              Action Filed: May 17, 2017
           20                                  Defendant.
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                                  Declaration of Robert Spitzer (3:18-cv-00802-BEN-JLB)
                                                  ER_99
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            1                        DECLARATION OF ROBERT SPITZER
            2         I, Robert Spitzer, declare under penalty of perjury that the following is true
            3    and correct:
            4         1.   I have been asked by the Office of the Attorney General of the California
            5    Department of Justice to prepare a declaration on the history and tradition of
            6    background checks and related restrictions in the United States. This declaration
            7    (“Declaration”) is based on my own personal knowledge and experience, and, if I
            8    am called as a witness, I could and would testify competently to the truth of the
            9    matters discussed in this Declaration.
           10                         PROFESSIONAL QUALIFICATIONS
           11         2.   I am a Distinguished Service Professor of Political Science Emeritus at
           12    the State University of New York at Cortland. I was also a visiting professor at
           13    Cornell University for thirty years. I am currently an adjunct professor at the
           14    College of William and Mary School of Law. I earned my Ph.D. in Government
           15    from Cornell University. I reside in Williamsburg, Virginia. A copy of my
           16    curriculum vitae is attached as Exhibit A to this Declaration.
           17         3.   I have been studying and writing about gun policy for over thirty years.
           18    My first publication on the subject appeared in 1985. Since then, I have published
           19    six books and over one hundred articles, papers, and essays on gun policy. My
           20    expertise includes the history of gun laws, gun policy in American politics, and
           21    related historical, legal, political, and criminological issues. My book, The Politics
           22    of Gun Control, has been in print since its initial publication in 1995. It examines
           23    firearms policy in the United States through the lenses of history, law, politics, and
           24    criminology. The eighth edition of the book was published in 2021 by Routledge
           25    Publishers. My two most recent books on gun policy, Guns across America (Oxford
           26    University Press, 2015) and The Gun Dilemma (Oxford University Press, 2023),
           27    both deal extensively with the study of historical gun laws. I am frequently
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                                                            2
                                   Declaration of Robert Spitzer (3:18-cv-00802-BEN-JLB)
                                                  ER_100
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            1    interviewed and quoted in the national and international media on gun-related
            2    matters. For over twenty years, I have been a member of the National Rifle
            3    Association and of Brady (formerly, the Brady Campaign to Prevent Gun
            4    Violence).
            5        4.    I have provided written testimony as an expert witness in the following
            6    cases (in addition to this case): Worman v. Healey, No. 1:17-10107-WGY (D.
            7    Mass.); Hanson v. District of Columbia, No. 1:22-cv-02256 (D.D.C.); Brumback v.
            8    Ferguson, No. 22-cv-3093 (E.D. Wash.); Sullivan v. Ferguson, No. 3:22-cv-05403
            9    (W.D. Wash.); Miller v. Bonta, No. 3:19-cv-1537 (S.D. Cal.); Duncan v. Bonta,
           10    No. 17-cv-1017 (S.D. Cal.); Fouts v. Bonta, No. 19-cv-1662 (S.D. Cal.); Rupp v.
           11    Bonta, No. 17-cv-00746 (C.D. Cal.); Gates v. Polis, No. 1:22-cv-01866 (D. Colo.);
           12    Oakland Tactical Supply LLC v. Howell Township, No. 18-cv-13443 (E.D. Mich.);
           13    State v. Misch, No. 173-2-19 Bncr (Vt. Super. Ct. Bennington Cnty.); Nat’l Ass’n
           14    for Gun Rights, Inc. v. City of Highland Park, No. 22-cv-4774 (N.D. Ill.); Nat’l
           15    Ass’n for Gun Rights & Capen v. Campbell, No. 22-cv-11431 (D. Mass.); Nat’l
           16    Ass’n for Gun Rights v. Lopez, No. 1:22-cv-00404 (D. Haw.); Abbot v. Lopez,
           17    No. 20-00360 (D. Haw.); Santucci v. City & Cnty. of Honolulu, No. 1:22-cv-00142
           18    (D. Haw.); Yukutake v. Lopez, No. 1:22-cv-00323 (D. Haw.); Baird v. Bonta,
           19    No. 19-cv-00617 (E.D. Cal.); Nichols v. Newsom, No. 11-cv-9916 (C.D. Cal.); Del.
           20    State Sportsmen’s Ass’n, Inc. v. Del. Dep’t of Safety & Homeland Sec., No. 1:22-
           21    cv-00951(D. Del.); Mark Fitz, Grayguns, Inc. v. Rosenblum, No. 22-cv-01859 (D.
           22    Or.); Harrel v. Raoul, No. 23-141 (S.D. Ill.); Mitchell v. Atkins, No. 19-cv-5106
           23    (W.D. Wash.); Keneally v. Raoul, No. 23-cv-50039 (N.D. Ill.); McGregor v. Cnty.
           24    of Suffolk, No. 2:23-cv-01130 (E.D.N.Y.); Lane v. James, No. 22-cv-10989
           25    (S.D.N.Y.); Rocky Mountain Gun Owners v. Town of Superior, No. 22-cv-02680
           26    (D. Colo.); Wiese v. Bonta, No. 17-cv-00903 (E.D. Cal.); Langley v. Kelly, No. 23-
           27    cv-192-NJR (S.D. Ill.); Barnett v. Raoul, No. 23-cv-209-RJD (S.D. Ill.); Fed.
           28    Firearms Licensees of Ill. v. Pritzker, No. 23-cv-215-NJR (S.D. Ill.); Herrera v.
                                                           3
                                  Declaration of Robert Spitzer (3:18-cv-00802-BEN-JLB)
                                                 ER_101
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            1    Raoul, No. 23-cv-532 (N.D. Ill.); Banta v. Ferguson, No. 23-cv-00112 (E.D.
            2    Wash.); Hartford v. Ferguson, No. 23-cv-05364 (W.D. Wash.).
            3         5.   I have co-authored amicus briefs in numerous cases, including Nordyke v.
            4    King, U.S. Court of Appeals for the Ninth Circuit, 319 F.3d 1185 (2003); Republic
            5    of Iraq v. Beaty, U.S. Supreme Court, 556 U.S. 848 (2009); McDonald v. Chicago,
            6    U.S. Supreme Court, 561 U.S. 742 (2010); Ezell v. Chicago, U.S. Court of Appeals
            7    for the Seventh Circuit, 651 F.3d 684 (2011); and People of the State of Illinois v.
            8    Aguilar, Illinois Supreme Court, No. 08 CR 12069 (2012).
            9         6.   I have also presented written testimony to the U.S. Congress on “The
           10    Second Amendment: A Source of Individual Rights?” submitted to the Judiciary
           11    Committee, Subcommittee on the Constitution, Federalism, and Property Rights,
           12    U.S. Senate, Washington, D.C., September 23, 1998; “Perspectives on the ‘Stand
           13    Your Ground’ Movement,” submitted to the Judiciary Committee, Subcommittee
           14    on the Constitution, Civil Rights and Human Rights, U.S. Senate, Washington,
           15    D.C., October 29, 2013; and “The Hearing Protection Act to Deregulate Gun
           16    Silencers,” submitted to Committee on Natural Resources, Subcommittee on
           17    Federal Lands, the U.S. House of Representatives, Hearings on the Sportsmen’s
           18    Heritage and Recreational Enhancement Act (SHARE Act), Washington, D.C.,
           19    September 12, 2017.
           20         7.   I have been retained by the California Department of Justice to render
           21    expert opinions in this case. I am being compensated at a rate of $500 per hour.
           22                                            OPINIONS
           23    I.   INTRODUCTION
           24         8.   This Declaration examines the history of background checks for firearms
           25    purchases and permits, as well as two types of historical weapons regulations that
           26    are similar to the modern regulatory technique of background checks: licensing
           27    laws and laws relating to weapons confiscation.
           28
                                                           4
                                  Declaration of Robert Spitzer (3:18-cv-00802-BEN-JLB)
                                                  ER_102
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            1          9.   Modern background checks for firearms purchases as we understand
            2    them did not begin until the 20th century. However, the absence of modern
            3    background check technologies in early America did not mean that evaluations of
            4    those entitled to have weapons did not occur or exist.
            5          10. Weapons licensing or permitting, which dates to the 1700s and became
            6    more wide-ranging and widespread in the 1800s and early 1900s, was a widespread
            7    and varied regulatory tool utilized in America. These laws were and are predicated
            8    on a process whereby a license applicant provides or submits some kind of
            9    information which is then judged to be acceptable or not. If the judgment is
           10    affirmative, the license is granted. By its nature, then, licensing contemplates some
           11    kind of evaluation that resembles what in modern parlance is called a background
           12    check.
           13          11. Weapons confiscation laws further buttress the tradition of using
           14    background facts or information to regulate firearms and ammunition ownership.
           15    From the 1600s to the early 1900s, numerous weapons laws provided for weapons
           16    confiscation for various behaviors, infractions, or reasons—in particular as seen in
           17    violations of weapons carry laws and hunting laws—as discussed below.
           18          12. Since our country’s earliest beginnings, there were numerous and varied
           19    laws restricting weapons ownership, possession, or use. These early restrictions on
           20    who could lawfully acquire and possess firearms were precursors to more targeted
           21    licensing and confiscation laws in the 19th and 20th centuries and, eventually, the
           22    institution of background checks in the 20th century.
           23          13. After discussing modern background checks, their antecedents in
           24    licensing restrictions and weapons confiscation laws will be examined in turn.
           25    II.   GUN PURCHASE BACKGROUND CHECKS
           26          14. Gun purchase background checks as they are understood and
           27    implemented today did not exist early in the country’s history. No special wisdom
           28    is required to discern why.
                                                            5
                                   Declaration of Robert Spitzer (3:18-cv-00802-BEN-JLB)
                                                  ER_103
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            1         15. In the modern era, gun and ammunition purchases can be made easily
            2    and rapidly from tens of thousands of licensed gun dealers,1 private sales, gun
            3    shows, and through internet sales. This modern sales system was key to the
            4    enactment of modern background checks. Modern technology allows for wide-
            5    ranging and rapid background checks. No similar technologies existed earlier in our
            6    history. Indeed, rapid, convenient gun-sale processes did not exist in the U.S. until
            7    the end of the nineteenth century, when mass production techniques, improved
            8    technology and materials, and escalating marketing campaigns all made guns
            9    relatively cheap, prolific, reliable, and easy to get.
           10         16. As Kennett and Anderson note, “By the 1880s gunmaking had completed
           11    the transition from craft to industry.”2 The rise of handgun mail-order purchasing
           12    through such companies as Montgomery Ward and Sears in the 1870s and 1880s
           13    brought cheap handguns to buyers’ doors.3 When the adverse consequences of the
           14    spread of cheap handguns began to be felt, states enacted numerous gun-carry
           15    restrictions in the late 1800s and early 1900s.4 This is but one example of a broader
           16    trend in the history of weapons regulations in America: that regulation occurred
           17    when new weapons or weapons technologies entered civilian life and were then
           18
           19
                 1
           20     As of 2021, there were over 52,900 dealer licensees and over 7,000 licensed
                 pawnbrokers. http://www.atf.gov/about/foia/ffl-list.html; “Gun Dealers,” Giffords
           21    Law Center, https://giffords.org/lawcenter/gun-laws/policy-areas/gun-sales/gun-
           22    dealers/#footnote_1_5597.
                 2
           23     Lee Kennett and James LaVerne Anderson, The Gun in America (Westport, CT:
                 Greenwood Press, 1975), 97.
           24    3
                   Kennett and Anderson, The Gun in America, 99-100. Sears ended handgun catalog
           25    sales in 1924, and other companies followed as pressure for government
           26    intervention rose. Ibid., 194.
                 4
                  Robert J. Spitzer, “Gun History in the United States and Second Amendment
           27
                 Rights,” Law and Contemporary Problems 80 (2017), 59-60, 63-67.
           28
                                                             6
                                   Declaration of Robert Spitzer (3:18-cv-00802-BEN-JLB)
                                                   ER_104
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            1    associated with harm, disorder, crime, or related threats to public safety and good
            2    order.
            3           17. This aside, the absence of modern background check technologies in
            4    early America did not mean that evaluations of those entitled to have or own
            5    weapons did not occur or exist. Since our country’s earliest beginnings, numerous
            6    and varied laws were enacted to restrict weapons ownership, possession, or use
            7    pertaining to various individuals and groups, including Indigenous people, the
            8    enslaved and free persons of color (before the Civil War), those who refused to
            9    swear an oath of loyalty to the government or who expressed unpopular views,
           10    vagrants, non-residents, those who were inebriated, minors, those of poor moral
           11    character, and people of unsound mind.5 Obviously some of these categories are
           12    considered abhorrent in modern society, but they are important to recognize both
           13    because the only thing worse than acknowledging them would be to ignore them,
           14    and because they shed important light on the broader principle that gun and
           15    weapons restrictions existed in prolific and varied types from the nation’s earliest
           16    days.
           17           18. Modern background checks are generally traced to an “innovative
           18    provision”6 of the New York State Sullivan Law of 1911,7 which established a
           19    system of permitting for those wishing to possess a handgun, extending to their
           20    sale, possession, and carrying. It barred gun dealers from selling concealable
           21    firearms to anyone who did not already have a state-issued permit, and required
           22    dealers to keep and maintain records pertaining to gun sales. Dealers were required
           23    to “keep a register in which shall be entered at the time of sale, the date of sale,
           24    name, age, occupation and residence of every purchaser of such a pistol, revolver or
           25    5
                     Spitzer, “Gun History in the United States and Second Amendment Rights.”
           26    6
                     Adam Winkler, Gunfight (NY: W.W. Norton, 2011), 205.
           27    7
                     1911 N.Y. Laws ch. 195.
           28
                                                             7
                                    Declaration of Robert Spitzer (3:18-cv-00802-BEN-JLB)
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            1    other firearm, together with the calibre, make, model, manufacturer’s number or
            2    other mark of identification on such pistol, revolver or other firearm.”8 It also made
            3    it a felony to carry a pistol without a license.9 Yet as the account to come will show,
            4    gun permitting and licensing schemes predated the 1911 law by many decades.10
            5           19. The first significant national gun law, the National Firearms Act of
            6    1934,11 imposed detailed regulations on those seeking to own certain highly
            7    destructive gangster-type weapons, including fully automatic firearms, sawed-off
            8    shotguns and rifles, silencers, and “any other weapons” with certain firing
            9    capabilities. Firearms importers, manufacturers, and dealers were required to be
           10    registered and maintain proper records of any such firearms sales or transfers.
           11    Those seeking such weapons were (and are) required to pay a $200 fee and have the
           12    weapon’s serial number, along with the other collected information kept by the
           13    appropriate federal agency.12 The Federal Firearms Act of 193813 was “a licensing
           14    and record-keeping law for gun dealers,” and it “also barred felons from receiving
           15    firearms.”14
           16           20. The contemporary uniform federal background check system was
           17    established by the Brady Handgun Violence Prevention Act of 1993. The law also
           18    included a five business day waiting period that was phased out in 1998 and
           19    replaced with an instant background check system. Under this system, persons
           20    8
                  1911 N.Y. Laws 444-45, An Act to Amend the Penal Law, in Relation to the Sale
           21    and Carrying of Dangerous Weapons, ch. 195, § 2.
           22    9
                  Lee Kennett and James LaVerne Anderson, The Gun in America (Westport, CT:
                 Greenwood Press, 1975), 174-79.
           23
                 10
                      Kennett and Anderson, The Gun in America, 169-73.
           24
                 11
                      48 Stat. 1236.
           25    12
                      National Firearms Act of 1934, 48 Stat. 1236.
           26    13
                      52 Stat. 1250.
           27    14
                      Winkler, Gunfight, 204.
           28
                                                                8
                                       Declaration of Robert Spitzer (3:18-cv-00802-BEN-JLB)
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            1    attempting to purchase a gun through a licensed firearms dealer complete an ATF
            2    form. The dealer contacts NICS electronically or by phone and passes on the
            3    information on the form. NICS personnel complete the background check. As long
            4    as the applicant does not fall into a prohibited category of persons, such as having a
            5    criminal record, the purchase is approved.15
            6         21. The “instant” element of the background check system was made
            7    possible through computerization and the rise of the internet, both of which only
            8    developed and became widely available in the 1990s. Indeed, as early as 1991, an
            9    instant background check system was proposed for the Brady bill in Congress
           10    instead of a waiting period, but the idea of swapping an instant background check
           11    system for a waiting period was rejected because in 1991 only ten states had the
           12    necessary automation of records; eight states still handled files manually, and nine
           13    states did not even maintain the necessary felony records. Further, the time lapse
           14    between the closing of a criminal case and its logging in state records ran from
           15    weeks to months.16 Eventually, these limitations were overcome by 1998. As of
           16    today 21 states plus the District of Columbia have background check systems that
           17    go beyond the federal standard, and 14 states plus D.C. have a universal
           18    background check system extending to all sales, including private sales, that cover
           19    all firearm purchases.17
           20         22. Before the 1990s, states that issued pistol carry permits generally had
           21    some kind of background check process. For example, as of 1981, 29 states were
           22    “may issue” concealed carry permit states, meaning that carry licenses were issued
           23    15
                    “Firearms Checks (NICS),” https://www.fbi.gov/how-we-can-help-you/more-fbi-
           24    services-and-information/nics.
                 16
                    107 Stat. 1536. Robert J. Spitzer, The Politics of Gun Control, 8th ed. (NY:
           25    Routledge, 2021), 213.
           26    17
                   “Universal Background Checks,” Giffords Law Center,
                 https://giffords.org/lawcenter/gun-laws/policy-areas/background-checks/universal-
           27
                 background-checks/#footnote_15_4119.
           28
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            1    to applicants subject to a discretionary review process by local officials. Two states
            2    were “shall issue” states, meaning that the states had to issue carry licenses as long
            3    as the applicants did not fall into a prohibited category, such as being a convicted
            4    felon or judged mentally incompetent. One state (Vermont) did not require carry
            5    permits for citizens to carry handguns, and 19 states (including D.C.) barred any
            6    civilian concealed gun carrying.18 Among those states that did issue carry licenses,
            7    part of the consideration was to bar from permitting those with criminal
            8    backgrounds, which could only be determined through some kind of background
            9    check process. For example, an analysis of pistol licensing and permitting
           10    published in 1938 noted the necessity of a “careful examination of each [license]
           11    applicant”19 that would include “a report of a search of the files for the [pistol
           12    permit/license] applicant's prior criminal record and of interviews with his
           13    employers and neighbors.”20 According to this 1938 study, as of that time only two
           14    states (Minnesota and Vermont) did not have a pistol licensing system in place.21
           15    As of this writing in 2023, 27 states have eliminated all required permitting for
           16    concealed handgun carrying (although 26 of these 27 states do still provide permits
           17    for those seeking them), with 23 states (plus D.C.) retaining a “shall issue”
           18    system.22
           19         23. The discussion below examines two types of historical gun laws
           20    analogous to modern background check laws: historical weapons licensing laws,
           21    and early laws that called for weapons confiscation.
           22    18
                    Rick Schmitt, “How the NRA Pushed the Right to Pack Heat Anywhere,” Mother
           23    Jones, November 15, 2011,
                 https://www.motherjones.com/politics/2011/11/concealed-guns-laws/.
           24    19
                    Sam B. Warner, “The Uniform Pistol Act,” Journal of Criminal Law and
                 Criminology 29(Winter 1938): 541.
           25    20
                    Warner, “The Uniform Pistol Act,” 542.
           26    21
                    Warner, “The Uniform Pistol Act,” 530.
           27
                 22
                    “Concealed Carry, Giffords Law Center, https://giffords.org/lawcenter/gun-
                 laws/policy-areas/guns-in-public/concealed-carry/.
           28
                                                            10
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            1   III. HISTORICAL WEAPONS LICENSING LAWS
            2         24. Weapons licensing or permitting was a widespread and varied regulatory
            3    tool utilized in America. By one definition, licensing is the “permission by
            4    competent authority to do an act which, without such permission, would be illegal
            5    . . . .”23 Despite the difference of hundreds of years, licensing in early America
            6    functioned similarly to the way it functions today.
            7         25. Historical weapons licensing and permitting laws were and are predicated
            8    on a process whereby a license applicant provides or submits some kind of
            9    information which is then judged to be acceptable or not. If the judgment is
           10    affirmative, the license is granted. By its nature, then, licensing contemplates some
           11    kind of evaluation that resembles what in modern parlance is called a background
           12    check.
           13         26. In addition, like background checks, licensing generally represented a
           14    more mature and nuanced form of regulation that in many instances succeeded or
           15    supplemented more rigid but less complicated laws (see discussion below).
           16         27. State and local laws encompassing the licensing, permitting, or
           17    registration of dangerous weapons and substances date to the 1700s and became
           18    more wide-ranging and widespread in the 1800s and early 1900s. These laws
           19    mostly pertained to those weapons that posed a threat to public safety: concealable
           20    weapons, including handguns, fighting knives, various types of clubs, and
           21    explosives (ranging from firecrackers and gun powder to nitroglycerine after its
           22    invention).
           23         28. In all, a total of at least 45 states plus the District of Columbia enacted
           24    some type of licensing law from the 1700s through the early 1900s. At least 29
           25    states enacted 62 licensing requirement laws for individuals as a pre-requisite for
           26    their weapons ownership during this time (see Exhibits B and C for enacting
           27    23
                   Henry C. Black, Black’s Law Dictionary, 6th ed. (St. Paul, MN: West Publishing,
           28    1991), 634.
                                                            11
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            1    jurisdictions and years of enactment); 16 of those states did so in the 1800s. At least
            2    26 states enacted laws to regulate firearms discharging through licensing, with 13 of
            3    those states doing so from the 1700s up to the start of the Civil War, and another 20
            4    states doing so between the end of the Civil War and 1900 (some states enacted
            5    laws in both periods). At least 12 states licensed hunting with firearms from the
            6    post-Civil War period through the early 1900s. At least 21 states licensed the
            7    commercial sale, transport, or firing of weapons at locations like shooting galleries.
            8    At least 21 states licensed the possession, handling, or transport of gunpowder and
            9    other explosives. At least 15 states required those selling or otherwise providing
           10    weapons to individuals to record and keep information pertaining to the buyers of
           11    weapons.
           12         29. At least 14 states imposed licensing requirements on specified
           13    marginalized groups (variously including Native Americans, felons, non-citizens,
           14    non-state residents, or minors). In the pre-Civil War period, at least 12 states
           15    imposed licensing on enslaved persons or free Blacks.
           16         30. Most weapons licensing laws pertaining to weapons carrying, discharge,
           17    commercial sales, and gunpowder licensing generally were applied at first to
           18    populated areas, since misuse of weapons posed a far greater risk to public safety in
           19    areas where larger numbers of people lived in close proximity to each other.
           20         31. With regard to concealed carry of pistols and other dangerous weapons,
           21    for example, from the 1700s through the early 1900s virtually every state in the
           22    country restricted or criminalized such carrying.24 With the spread of licensing
           23    requirements in the post-Civil War nineteenth century, however, governing units
           24    began to allow legal weapons carrying through licensing, subject to the review
           25    criteria as conducted by local officials who were empowered to grant carry licenses.
           26
           27     Robert J. Spitzer, “Gun Law History in the United States and Second
                 24

           28    Amendment Rights,” Law and Contemporary Problems 80 (2017), 63-67.
                                                            12
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            1    The criteria for the granting of these licenses were generally discretionary for the
            2    individuals or bodies granting them. In some laws, no criteria were specified; in
            3    others, the criteria were vague or broad, but often included wording that the
            4    applicants must be persons of good character or sound judgment, again
            5    emphasizing the determinative judgment of those granting the licenses. For
            6    example, an 1881 permitting system for New York City said that permits would be
            7    issued to “a proper and law abiding person.”25 An 1898 Oregon City law called for
            8    carry permits to be issued if the magistrate believed it “necessary or prudent to
            9    grant such permission.”26 Permit laws usually set a time limit for permit duration,
           10    ranging from a month to a year (see below).
           11         32. Regarding hunting licenses, many earlier laws criminalized various
           12    hunting practices, dating back to the 1600s, for reasons related to protection of
           13    private property and lands, conservation, and safety.27 The hunting related laws
           14    listed here are all instances where hunting was allowed through permitting by a
           15    government entity, meaning that the permits or licenses could be withdrawn if the
           16    licensees violated whatever rules the laws imposed (such as hunting out of season,
           17    or hunting certain types of game). Licensing related to Indigenous people, enslaved
           18    persons, and free persons of color is discussed in more detail below. All of these
           19    types of laws are detailed in Exhibits B and C.
           20         33. Many of these licensing laws were instances where the prevailing legal
           21    standard had often been to ban the activity or practice outright—banning concealed
           22
                 25
                   Elliott Fitch Shepard, Ordinances of the Mayor, Aldermen and Commonalty of
           23    the City of New York, in Force January 1, 1881; Adopted by the Common Council
           24    and Published by Their Authority Page 214-15, Image 214-15 (1881).
                 26
           25      The Charter of Oregon City, Oregon, Together with the Ordinances and Rules of
                 Order Page 259, Image 261 (1898); An Ordinance Providing for the Punishment of
           26    Disorderly Persons, and Keepers and Owners of Disorderly Houses, § 2.
           27    27
                   Spitzer, “Gun Law History in the United States and Second Amendment Rights,”
           28    73-74.
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            1    carrying, banning weapons discharge in cities and towns, banning weapons from
            2    marginalized groups, etc. The jurisdictions enacting licensing for these activities
            3    were now allowing firearms or other dangerous weapons or substances to be used
            4    or possessed with the granting of a license to do so, when their possession or use
            5    would otherwise be subject to criminal penalties. The proliferation of licensing
            6    represented in most instances a new and more mature form of government
            7    regulation of the activities in question—by tailoring prohibitions to address public-
            8    safety threats posed by firearms-related activities rather than banning those
            9    activities outright, and by utilizing regulatory techniques that require more of those
           10    involved in the licensing process, including the gathering and keeping of relevant
           11    information—though traditional laws that simply penalized weapons carrying or
           12    use remained in many if not most places. Like licensing, background checks seek to
           13    limit (and not categorically prohibit) those who may engage in certain firearms-
           14    related activities.
           15           A.     Licensing of Weapons Carrying or Possession
           16         34. In 1871, Missouri enacted a measure to license the otherwise illegal
           17    practice of concealed carrying of handguns and other named weapons, including
           18    “any other dangerous or deadly weapon” in St. Louis by means of “written
           19    permission from the Mayor.”28 St. Louis enacted its own municipal version of this
           20    law in 1892.29 A similar measure was enacted for Kansas City, Missouri, in 1880.30
           21    28
                   Everett Wilson Pattison, The Revised Ordinance of the City of St. Louis,
           22    Together with the Constitution of the United States, and of the State of Missouri;
           23    the Charter of the City; and a Digest of the Acts of the General Assembly, Relating
                 to the City Page 491-92, Image 499-500 (1871).
           24    29
                   The Municipal Code of St. Louis (St. Louis: Woodward 1901), 738, Sec. 1471.
           25    1892; Chapter 18. Of Misdemeanors, Sec. 1471.
                 30
           26      An Ordinance in the Revision of the Ordinances Governing the City of Kansas
                 (Kansas City, MO; Isaac P. Moore’s Book and Job, 1880), p. 264, Sec. 3. 1880;
           27
                 Chapter XXXIV. Public Safety, Sec. 3.
           28
                                                                14
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            1    Jersey City, New Jersey enacted a licensing scheme in 1871 for concealed weapons
            2    carrying of pistols and other dangerous weapons, defined in the law as “any gun,
            3    pistol, cannon, or fowling piece or other fire-arms . . . .”31 As this wording makes
            4    clear, this extended to long guns as well (a fowling piece is a long-barreled shotgun
            5    for shooting small animals32). Jersey City’s 1873 law laid out a broadly
            6    discretionary set of criteria for granting licenses, described below (as determined by
            7    the city’s municipal court), that bears great similarity to contemporary gun
            8    licensing schemes:
            9
                         The Municipal Court of Jersey City may grant permits to carry any of the
           10            weapons named in the first section to such persons as should, from the nature
           11            of their profession, business or occupation, or from peculiar circumstances,
                         be allowed so to do; and may, in granting such permits, impose such
           12            conditions and restrictions in each case as to the court shall seem proper.33
           13    The Jersey City ordinance added that carry permits would not be granted “to any
           14    person until the court is satisfied that such person is temperate, of adult age, and
           15    capable of exercising self-control.”34
           16           35. Hyde Park, Illinois enacted a similar licensing law for concealed
           17    weapons carrying, including handguns, in 1876. In this instance, the licenses were
           18
           19    31
                   Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1,
           20    1871, under the Act Entitled “An Act to Re-organize the Local Government of
                 Jersey City,” passed March 31, 1871, and the Supplements Thereto Page 46, Image
           21    46 (1874) available at The Making of Modern Law: Primary Sources. 1871.
           22    32
                      https://www.thefreedictionary.com/fowling+piece.
           23    33
                   Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1,
                 1871, under the Act Entitled “An Act to Re-organize the Local Government of
           24
                 Jersey City,” Passed March 31, 1871, and the Supplements Thereto Page 86-87,
           25    Image 86-87 (1874) available at The Making of Modern Law: Primary Sources.
           26    1873.
                 34
                   Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1,
           27
                 1871.
           28
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            1    granted “by written permission of the Captain of Police.”35 Evanston, Illinois’s
            2    concealed carry licensing law of 1893 granted licensing issuance authority to the
            3    city mayor.36
            4           36. New York City criminalized the carrying of “a pistol of any description
            5    concealed on his person” in 1881 but provided for a legal carry license exception:
            6            Any person, except as provided in this article, who has occasion to carry a
            7            pistol for his protection, may apply to the officer in command at the station-
                         house of the precinct where he resided, and such officer, if satisfied that the
            8            applicant is a proper and law abiding person, shall give said person a
            9            recommendation to the superintendent of police, or the inspector in command
                         at the central office in the absence of the superintendent, who shall issue a
           10            permit to the said person allowing him to carry a pistol of any description.37
           11    This provision also allowed for non-residents who had occasional business in the
           12    city to apply for permits as well.
           13           37. An 1884 New York state law barred the carrying or possession of named
           14    weapons, including fighting knives and types of clubs, from those under eighteen,
           15    unless they possessed a license to do so. Licenses could only be granted for up to
           16    one year and were subject to revocation “at the pleasure of the mayor.”38 A year
           17    35
                   Consider H. Willett, Laws and Ordinances Governing the Village of Hyde Park
           18    Together with Its Charter and General Laws Affecting Municipal Corporations;
           19    Special Ordinances and Charters under Which Corporations Have Vested Rights in
                 the Village. Also, Summary of Decisions of the Supreme Court Relating to
           20    Municipal Corporations, Taxation and Assessments Page 64, Image 64 (1876)
           21    available at The Making of Modern Law: Primary Sources. 1876. Misdemeanors,
                 § 39.
           22    36
                   George W. Hess, Revised Ordinances of the City of Evanston: Also Special Laws
           23    and Ordinances of General Interest Page 131-32, Image 143-44 (1893) available at
                 The Making of Modern Law: Primary Sources.
           24
                 37
                   Elliott Fitch Shepard, Ordinances of the Mayor, Aldermen and Commonalty of
           25
                 the City of New York, in Force January 1, 1881; Adopted by the Common Council
           26    and Published by Their Authority Page 214-15, Image 214-15 (1881) available at
                 The Making of Modern Law: Primary Sources.
           27
                 38
                      George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of
           28
                                                             16
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            1    later, the law was extended to all cities in the state and included “any pistol or other
            2    firearms of any kind.”39 (This would have included long guns as it did not specify
            3    only concealed carry.) In 1891, the state extended permitting to Buffalo covering
            4    handguns and other dangerous weapons.40
            5         38. Wheeling, West Virginia enacted a law in 1881 making it “unlawful for
            6    any person to carry” various named weapons, including a “colt” revolver, or to
            7    “carry about his person, hid from common observation” any pistol or other named
            8    weapon without a permit from the mayor.41 Under the heading “License,” an 1882
            9    law applying to St. Paul, Minnesota criminalized any concealed weapons carrying,
           10    absent such licensing.42
           11         39. An 1888 Salt Lake City, Utah ordinance barred the carrying of “any
           12    concealed weapon” unless the person obtained a permit from the city mayor.43 New
           13    Haven, Connecticut enacted a similar anti-carry law in 1890, extending to pistols,
           14    unless the person first obtained a permit either from the mayor or police
           15
           16
                 the State of New York as Amended 1882-5 Page 172, Image 699 (1885) available
           17
                 at The Making of Modern Law: Primary Sources. 1884.
           18    39
                   George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of
           19    the State of New York as Amended 1882-5. Fourth Edition Page 298, Image 824
                 (1885) available at The Making of Modern Law: Primary Sources.
           20
                 40
                   1891 N.Y. Laws 129, 177, An Act to Revise the Charter of the City of Buffalo,
           21    ch. 105, tit. 7, ch. 2, § 209.
           22    41
                   Laws and Ordinances for the Government of the City of Wheeling, West Virginia
           23    (Wheeling, WV: W. Va. Printing 1891), p. 206, SEC. 14. 1881.
                 42
                   W. P. Murray, The Municipal Code of Saint Paul: Comprising the Laws of the
           24
                 State of Minnesota Relating to the City of Saint Paul, and the Ordinances of the
           25    Common Council; Revised to December 1, 1884 Page 289, Image 295 (1884)
           26    available at The Making of Modern Law: Primary Sources. 1882.
                 43
                    The Revised Ordinances of Salt Lake City, Utah, Chapter XXVI, Misdemeanors,
           27
                 p. 283 Sec. 14 (1888), Dangerous and Concealed Weapons. SEC. 14.
           28
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            1    superintendent.44 Oakland, California enacted a similar law in 1890 making it
            2    unlawful “to wear or carry concealed about his person” a pistol or other listed
            3    weapon unless the person obtained a permit from the mayor. The permit was good
            4    for up to a year, and could be granted to “any peaceable person whose profession or
            5    occupation may require him to be out at late hours of the night to carry a concealed
            6    deadly weapon upon his person.”45 The California cities of Stockton (1891)46 and
            7    Fresno (1896)47 did the same.
            8           40. A law passed by the U.S. Congress in 1892 for the District of Columbia
            9    criminalized the concealed carry of “any deadly or dangerous weapons,” including
           10    pistols, unless granted a permit by a judge of the police court “for a period of not
           11    more than one month at any one time, upon satisfactory proof to him of the
           12    necessity for the granting thereof. . . .”48 Florida’s 1893 law made it “unlawful to
           13    carry or own a Winchester or other repeating rifle without first taking out a license
           14    from the County Commissioner. . . .”49 In addition, the law specified that the
           15    applicant “shall give a bond running to the Governor of the State in the sum of one
           16    hundred dollars, conditioned on the proper and legitimate use of the gun with
           17
                 44
           18      Charles Stoers Hamilton, Charter and Ordinances of the City of New Haven,
                 Together with Legislative Acts Affecting Said City Page 164, Image 167 (1890)
           19
                 available at The Making of Modern Law: Primary Sources.
           20    45
                   Fred L. Button, ed., General Municipal Ordinances of the City of Oakland,
           21    California (Oakland, CA; Enquirer, 1895), p. 218, Sec. 1, An Ordinance to Prohibit
                 the Carrying of Concealed Weapons, No. 1141. 1890.
           22
                 46
                   Charter and Ordinances of the City of Stockton (Stockton, CA: Stockton Mail
           23    Printers and Bookbinders, 1908), p. 240, Ordinance No. 53. 1891.
           24    47
                   L. W. Moultrie, Charter and Ordinances of the City of Fresno Page 30, Image 28
           25    (1896) available at The Making of Modern Law: Primary Sources.
                 48
           26         Washington D.C. 27 Stat. 116 (1892), ch. 159.
                 49
                   1893 Fla. Laws 71-72, An Act to Regulate the Carrying of Firearms, ch. 4147,
           27
                 §§ 1-4.
           28
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            1    sureties to be approved by the County Commissioners,” along with “a record of the
            2    name of the person taking out such license, the name of the maker of the firearm so
            3    licensed to be carried and the caliber and number of the same.”50
            4         41. Montana enacted a wide-ranging state licensing law in 1895 that
            5    threatened imprisonment and fines for anyone “who brings into this state an armed
            6    person or armed body of men for the preservation of the peace or the suppression of
            7    domestic violence, except at the solicitation and by the permission of the legislative
            8    assembly or of the governor . . . .”51
            9         42. A state law in Nebraska granted the mayor of Lincoln the authority to
           10    issue concealed carry weapons licenses good for a year “at his pleasure” in 1895.52
           11    The city of Spokane, Washington criminalized the concealed carrying of “either a
           12    revolver, pistol or other fire-arms” unless persons obtained a “special written permit
           13    from the Superior Court” to do so.53 Milwaukee, Wisconsin enacted a permitting
           14    system in 1896 for persons to carry various otherwise barred dangerous weapons
           15    including “any pistol or colt.” The city police chief granted a license if “it is
           16    necessary for the personal safety of such person or for the safety of his property or
           17
           18
           19    50
                   1893 Fla. Laws 71-72, An Act to Regulate the Carrying of Firearms, ch. 4147,
           20    §§ 1-4.
                 51
           21      Decius Spear Wade, The Codes and Statutes of Montana. In Force July 1st, 1895.
                 Including the Political Code, Civil Code, Code of Civil Procedure and Penal Code.
           22    As Amended and Adopted by the Fourth Legislative Assembly, Together with
           23    Other Laws Continued in Force Page 873, Image 914 (Vol. 2, 1895) available at
                 The Making of Modern Law: Primary Sources. 1895. Crimes Against the Public
           24    Peace, § 759.
           25    52
                  1869 Neb. Laws 53, An Act to Incorporate Cities of the First Class in the State of
           26    Nebraska, § 47.
                 53
                   Rose M. Denny, ed., The Municipal Code of the City of Spokane, Washington
           27
                 (Spokane, WA; W.D. Knight, 1896), p. 309-10, Ordinance No. A544, Sec. 1. 1895.
           28
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            1    of the property with which he may be entrusted, to carry such weapon.” The chief
            2    could also “revoke such permit at any time.”54
            3           43. In the twentieth century, permitting accelerated, spread, and broadened.
            4    In 1905, New Jersey enacted a state law licensing concealed weapons carrying for a
            5    year “unless sooner revoked by the officer or body granting the same.” 55 Licensing
            6    was extended to long guns—machine guns and automatic rifles—in New Jersey in
            7    192756 and 1934.57 In 1906, a Massachusetts state law noted that prosecution for
            8    carrying “a loaded pistol or revolver” did not apply to those with a license. 58 It
            9    extended licensing to a variety of guns in 1927.59 In 1908, Virginia enacted a
           10    dangerous weapons concealed carry permit law, with permits granted for one year
           11    “upon a written application and satisfactory proof of the good character and
           12    necessity of the applicant to carry concealed weapon.”60 It extended the permitting
           13    process in 1926.61 Georgia enacted a detailed handgun permitting system in 1910.62
           14
                 54
           15      Charles H. Hamilton, ed., The General Ordinances of the City of Milwaukee to
                 January 1, 1896: With Amendments Thereto and an Appendix (Milwaukee, WI: E.
           16    Keough, 1896), pp.692-93, Sec. 25. Chapter XX. Misdemeanors. Section 25.
           17    55
                   1905 N.J. Laws 324-25, A Supplement to an Act Entitled “An Act for the
           18    Punishment of Crimes,” ch. 172, § 1.
                 56
                   1927 N.J. Laws 180-81, A Supplement to an Act Entitled “An Act for the
           19
                 Punishment of Crimes,” ch. 95, §§ 1-2.
           20    57
                   1934 N.J. Laws 394-95, A Further Supplement to an Act Entitled “An Act for the
           21    Punishment of Crimes,” ch. 155, §§ 1-5.
                 58
           22     1906 Mass. Acts 150, ch. 172, An Act to Regulate by License the Carrying of
                 Concealed Weapons.
           23    59
                   1927 Mass. Acts 413, An Act Relative to Machine Guns and Other Firearms,
           24    ch. 326, §§ 1-2 (amending §§ 121, 123).
           25    60
                   1908 Va. Laws 381, An Act To Amend And Re-Enact Section 3780 Of The Code
           26    In Relation To Carrying Concealed Weapons, § 3780.
                 61
                      1926 Va. Acts. 285-87, ch. 158.
           27
                 62
                      Orville Park, Park’s Annotated Code of the State of Georgia 1914, Penal Code,
           28
                                                             20
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            1    As discussed earlier, New York State established comprehensive handgun licensing
            2    in 1911.63
            3         44. A paradigmatic example of a modern permitting system was enacted in
            4    Montana in 1918:
            5          every person within the State of Montana, who owns or has in his possession
            6          any fire arms or weapons shall make a full, true, and complete verified report
                       upon the form hereinafter provided to the sheriff of the County in which such
            7          person lives, of all fire arms and weapons which are owned or possessed by
            8          him or her or are in his or her control, and on sale or transfer into the
                       possession of any other person such person shall immediately forward to the
            9          sheriff of the County in which such person lives the name and address of that
           10          purchaser and person into whose possession or control such fire arm or
                       weapon was delivered.64
           11
           12    Thereafter, permitting was enacted in states (not including those that enacted

           13    permitting in the 1800s, most of which also enacted permitting laws in the 1900s as

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           21
           22
           23    Article 3, Carrying pistols without license, § 348(a)-(d). 1910.
                 63
                   1911 N.Y. Laws 442-43, An Act to Amend the Penal Law, in Relation to the Sale
           24
                 and Carrying of Dangerous Weapons. ch. 195, §§1-2.
           25    64
                   1918 Mont. Laws 6-7, 9, An Act Entitled “An Act Providing for the Registration
           26    of All Fire Arms and Weapons and Regulating the Sale Thereof and Defining the
                 Duties of Certain County Officers and Providing Penalties for a Violation of the
           27
                 Provisions of This Act,” ch. 2, §§ 1, 3, 8.
           28
                                                           21
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            1    well) including Hawaii,65 Indiana,66 Michigan,67 New Hampshire,68 North
            2    Carolina,69 North Dakota,70 Ohio,71 Oregon,72 Pennsylvania,73 Rhode Island,74 and
            3    South Carolina.75
            4
            5
            6    65
                   1927 Haw. Sess. Laws 209-17, AN ACT Regulating the Sale, Transfer and
                 Possession of Certain Firearms and Ammunitions, and Amending Sections 2136,
            7
                 2137, 2138, 2139, 2140, 2141, 2142, 2143, 2146 and 2147 of the Revised Laws of
            8    Hawaii 1925 (the “Small Arms Act”), §§ 10-11, § 17; 1933 Haw. Sess. Laws 39,
            9    An Act Regulating the Sale, Transfer, and Possession of Firearms and Ammunition,
                 § 8, 10-16.
           10    66
                      1925 Ind. Acts 495, 495-98.
           11    67
                   1925 Mich. Pub. Acts 47, An Act to Regulate the Possession and Sale of Pistols,
           12    Revolvers and Guns; to Provide a Method of Licensing Those Carrying Such
                 Weapons Concealed; and to Provide Penalties for Violations of Such Regulations,
           13    § 7; 1927 Mich. Pub. Acts 888-89, 91, An Act to Regulate and License the Selling,
           14    Purchasing, Possessing and Carrying of Certain Firearms, §§ 3, 9.
                 68
           15         1923 N.H. Laws 138.
                 69
           16     1919 N.C. Sess. Laws 397-99, Pub. Laws, An Act to Regulate the Sale of
                 Concealed Weapons in North Carolina, ch. 197, §§1, 5.
           17    70
                   1915 N.D. Laws 96, An Act to Provide for the Punishment of Any Person
           18    Carrying Concealed Any Dangerous Weapons or Explosives, or Who Has the Same
                 in His Possession, Custody or Control, unless Such Weapon or Explosive Is Carried
           19
                 in the Prosecution of a Legitimate and Lawful Purpose, ch. 83, §§ 1-3, 5; 1923 N.D.
           20    Laws 379, 380-82 ch. 266; 1925 N.D. Laws 216–17, Pistols and Revolvers,
                 ch. 174, § 2; 1931 N. D. Laws 305-06, An Act to Prohibit the Possession, Sale and
           21
                 Use of Machine Guns, Sub-Machine Guns, or Automatic Rifles and Defining the
           22    Same . . . , ch. 178, §§ 1-2.
                 71
           23      1933 Ohio Laws 189-90, Reg. Sess., An Act. . . Relative to the Sale and
                 Possession of Machine Guns, § 1.
           24
                 72
                      1913 Or. Laws 497; 1917 Or. Sess. Laws 804-808; 1925 Or. Laws 468, 469-71.
           25    73
                      1929 Pa. Laws 777; 1931 PA. Laws 498, No. 158.
           26    74
                      1927 (January Session) R.I. Pub. Laws 256.
           27    75
                      1934 S.C. Acts 1288.
           28
                                                              22
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            1             B.    Permits for Discharge of Firearms or Use of Explosives and
                                Licensing of Gunpowder
            2
                        45. Laws pertaining to the licensing or permitting of firearm discharges, the
            3
                 use of explosives, and gunpowder are similar to requiring background checks for
            4
                 firearm ammunition, in that they extend licensing beyond the firearms themselves
            5
                 to the firing processes or implements.
            6
                        46. As noted above, at least 26 states enacted licensing mechanisms to allow
            7
                 firearms and like discharges under certain circumstances. Generally speaking,
            8
                 firearms discharge licensing pertained to any firearm, not just handguns. From the
            9
                 1700s to 1860, at least 13 states enacted discharge licensing authority to local
           10
                 officials. The earliest were in Pennsylvania. In 1713, Philadelphia penalized various
           11
                 activities in the city including “firing a Gun without license.”76 An act pertaining to
           12
                 the entire colony from 1721 imposed “penalties and forfeitures” to anyone who
           13
                 engaged in various activities including firing “any gun or other fire arm” or selling
           14
                 or setting off various types of fireworks “without the governor’s special license.”77
           15
                 Another Philadelphia ordinance to prevent “mischief [that] may happen by shooting
           16
                 of guns” or setting off fireworks, criminalized such activities unless individuals first
           17
                 obtained a “governor’s special license.”78 A 1750 law did the same for the District
           18
           19
           20    76
                   Pennsylvania Archives. Selected And Arranged From Original Documents In The
           21    Office Of The Secretary Of The Commonwealth, Conformably To Acts Of The
                 General Assembly, February 15, 1851, & March 1, 1852 Page 160, Image 162
           22    (1852) available at The Making of Modern Law: Primary Sources. 1713.
           23    77
                      Act of 26th August 1721. [An Act of 9th of February, 1750-51], § 1.
                 78
           24      John C. Lowber, Ordinances of the Corporation of the City of Philadelphia; to
                 Which are Prefixed, the Original Charter, the Act of Incorporation, and Other Acts
           25
                 of Assembly Relating to the City; with an Appendix, Containing the Regulation of
           26    the Bank of the River Delaware, the Portraiture of the City, as Originally Laid Out
                 by the Proprietor, &c. &c. Page 15-16, Image 18-19 (1812) available at The
           27
                 Making of Modern Law: Primary Sources. 1721.
           28
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            1    of Southwark (Penn.),79 as did a colony-wide law also in 1750.80 In 1824,
            2    permission from the president of the board of commissioners was required for
            3    anyone seeking to test through firing any gun, cannon, or similar weapons in certain
            4    sections of Philadelphia.81
            5           47. Charleston, South Carolina enacted an ordinance in 1802 similar to those
            6    of Philadelphia where Commissioners of the Streets would grant a license for gun
            7    firing and fireworks “at times of public rejoicing” and at specified locations.82 New
            8    Hampshire enacted a discharge permit system for Portsmouth in 1823.83 New York
            9    State enacted a law in 1824 that allowed the Schenectady mayor or other city
           10    officials to grant permission for discharge of any gun or various fireworks.84
           11    Marietta, Ohio enacted a discharge licensing law in 1823 because of concern that
           12    “the quiet of any of the inhabitants may be disturbed, or their lives and safety
           13    endangered.”85 New London, Connecticut singled out “some public day of review”
           14
                 79
                  Ordinances of the Corporation of the District of Southwark and the Acts of
           15
                 Assembly Relating Thereto Page 49, Image 47 (1829) available at The Making of
           16    Modern Law: Primary Sources. 1750.
                 80
           17         1750 Pa. Laws 208.
                 81
           18      An Act of Incorporation for that Part of the Northern Liberties, Lying between
                 the Middle of Sixth Street and the River Delaware, and between Vine Street and
           19    Cohocksink Creek, with Ordinances for the Improvement of the Same Page 51,
           20    Image 52 (1824) available at The Making of Modern Law: Primary Sources. 1824.
                 82
           21      Alexander Edwards, Ordinances of the City Council of Charleston, in the State of
                 South-Carolina, Passed since the Incorporation of the City, Collected and Revised
           22    Pursuant to a Resolution of the Council Page 289, Image 299 (1802) available at
           23    The Making of Modern Law: Primary Sources. 1802.
                 83
                   1823 N.H. Laws 73-74, An Act to Establish a System of Police in the Town of
           24
                 Portsmouth, and for Other Purposes, ch. 34, § 4.
           25    84
                   Laws of the State of New-York, Relating to the City of Schenectady: And the
           26    Laws and Ordinances of the Common Council of the City of Schenectady Page 58,
                 Image 58 (1824) available at The Making of Modern Law: Primary Sources.
           27
                 85
                      The Act of Incorporation, and the Ordinances and Regulations of the Town of
           28
                                                             24
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            1    in an 1835 law as a permissible reason for issuing a discharge permit,86 and New
            2    Haven enacted a similar law in 1845.87 The same was enacted for Quincy, Illinois
            3    in 1841,88 Jeffersonville, Indiana in 1855,89 and Richmond, Virginia in 1859.90
            4    Another 20 states enacted such laws from the end of the Civil War up to the end of
            5    the 1800s (not including states that enacted laws both before and after the Civil
            6    War: Alabama, Arkansas, California, Colorado, Louisiana, New Jersey, Oregon,
            7    Texas, Vermont, Washington State, West Virginia, Wisconsin, and Wyoming).
            8    Most of them applied to specified cities and towns within their states (see Exhibits
            9    B and C).
           10           48. In addition, gunpowder was widely and extensively regulated in the
           11    colonies and states. In fact, with one exception, every state in the country enacted
           12    one or more gunpowder laws from the seventeenth century through the start of the
           13    twentieth century.91 One element of this regulation was gunpowder licensing; at
           14
                 Marietta, Washington County, Ohio Page 17-18, Image 17-18 (1837) available at
           15
                 The Making of Modern Law: Primary Sources. 1823.
           16    86
                  The By-Laws of the City of New London, with the Statute Laws of the State of
           17    Connecticut Relative to Said City Page 47-48, Image 47-48 (1855) available at The
                 Making of Modern Law: Primary Sources. 1835.
           18
                 87
                   1845 Conn. Acts 10, An Act Prohibiting the Firing of Guns and Other Fire Arms
           19    in the City of New Haven, ch. 10.
           20    88
                   Samuel P. Church, The Revised Ordinances of the City of Quincy, Ill. to Which
           21    are Prefixed the Charter of the City of Quincy, and the Amendment Thereto Page
                 47, Image 47 (1841) available at The Making of Modern Law: Primary Sources.
           22    1841.
           23    89
                   W. G. Armstrong, The Ordinances and Charter of the City of Jeffersonville Page
                 15-17, Image 15-17 (1855) available at The Making of Modern Law: Primary
           24
                 Sources. 1855.
           25    90
                   The Charters and Ordinances of the City of Richmond, with the Declaration of
           26    Rights, and Constitution of Virginia Page 227, Image 274 (1859) available at The
                 Making of Modern Law: Primary Sources. 1859.
           27
                 91
                      Mark Anthony Frassetto, “The Duty to Bear Arms: Historical Militia Law, Fire
           28
                                                             25
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            1    least 21 states enacted such licensing from the 1700s through the early 1900s (see
            2    Exhibits B and C).
            3          C.     Commercial Licensing and Recording
            4         49. A number of licensing and recording laws demonstrate a tradition of
            5    placing requirements on vendors, in addition to the purchasers themselves.
            6         50. As noted, a total of at least 21 states enacted commercial licensing laws
            7    with 16 states doing so throughout the 1800s, and 9 states doing so in the early
            8    1900s (some states enacted laws in both centuries).
            9         51. The earliest commercial licensing law was an 1814 Illinois measure that
           10    made it unlawful for whites to engage in commercial activities with Native
           11    Americans unless they obtained a license from the governor.92 A century later, a
           12    Chicago ordinance imposed a licensing requirement both on persons or entities to
           13    sell concealable weapons, and also a licensing requirement to those seeking to buy
           14    them.93 An 1854 law for San Francisco, California licensed commercial shooting
           15
           16
           17
                 Prevention Law, and the Modern Second Amendment” (January 12, 2022), 8, in
           18    New Histories of Gun Rights and Regulation: Essays on the Place of Guns in
           19    American Law and Society (eds. Jacob Charles, Joseph Blocher & Darrell Miller)
                 (Oxford University Press, Forthcoming), available at SSRN:
           20    https://ssrn.com/abstract=4007491 or http://dx.doi.org/10.2139/ssrn.4007491; Saul
           21    Cornell and Nathan DeDino, “A Well Regulated Right: The Early American
                 Origins of Gun Control,” Fordham Law Review 73(2004): 510; Winkler, Gunfight,
           22    116-17, 286.
           23    92
                   An Act concerning the Kaskaskia Indians, in Nathaniel Pope, Laws of the
                 Territory of Illinois (1815). 1814. This law is placed under this category because it
           24
                 pertained to white settler commerce; it was not a law that licensed Natives to
           25    engage in commerce.
                 93
           26       Samuel A. Ettelson, Opinions of the Corporation Counsel and Assistants from
                 May 1, 1915, to June 30, 1916 Page 458-59, Image 458-59 (Vol. 7, 1916) available
           27
                 at The Making of Modern Law: Primary Sources. 1914.
           28
                                                           26
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            1    galleries.94 Indeed, at least 10 of the states in this category enacted shooting gallery
            2    licensing requirements.
            3          D.     Weapons Sellers Recording Purchases
            4         52. Aside from direct licensing of weapons purchasers by a government
            5    official or entity, at least 15 states required those who sold or otherwise transferred
            6    guns (mostly handguns) or other weapons to others to record information about the
            7    buyer, with that information to be maintained and subject to possible later
            8    examination. This regulatory mechanism put the burden of information collection
            9    and maintenance on the seller or dealer, rather than directly on the government,
           10    though it served the same purpose: to acquire and maintain information about those
           11    who obtained the weapons in question and when, for future reference or inspection
           12    by government officials or others. In some instances these requirements existed
           13    along with direct governmental licensing.
           14         53. In 1885, Illinois enacted this registration requirement for weapons
           15    dealers:
           16          All persons dealing in deadly weapons, hereinbefore mentioned, at retail
           17          within this State shall keep a register of all such weapons sold or given away
                       by them. Such register shall contain the date of the sale or gift, the name and
           18          age of the person to whom the weapon is sold or given, the price of the said
           19          weapon, and the purpose for which it is purchased or obtained. The said
                       register shall be in the following form. [Form of Register] Said register is to
           20          be kept open for inspection of the public. . . .95
           21
           22    With minor variations, this law was typical of such requirements. For example, a
           23    1911 Colorado law offered this detailed set of instructions:
           24    94
                   Ordinances and Joint Resolutions of the City of San Francisco; Together with a
           25    List of the Officers of the City and County, and Rules and Orders of the Common
                 Council Page 220, Image 256 (1854) available at The Making of Modern Law:
           26    Primary Sources. 1854.
           27    95
                   Merritt Starr & Russell H. Curtis, Annotated Statutes of the State of Illinois in
           28    Force (1885), Criminal Code, ch. 38, ¶ 90.
                                                            27
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            1
            2             Every individual, firm or corporation engaged . . . in the- retail sale, rental or
                          exchange of firearms, pistols or revolvers, shall keep a record of each pistol
            3             or revolver sold, rented or exchanged at retail. Said record shall be made at
            4             the time of the transaction in a book kept for that purpose and shall include
                          the name of the person to whom the pistol or revolver is sold or rented, or
            5             with whom exchanged; his age, occupation, residence, and, if residing in a
            6             city, the street and number therein where he resides; the make, calibre and
                          finish of said pistol, or revolver, together with its number and serial letter, if
            7             any; the date of the sale, rental or exchange of said revolver; and the name of
            8             the employee or other person making such sale, rental or exchange. Said
                          record-book shall be open at all times to the inspection of any duly
            9             authorized police officer.96
           10           54. The 1911 New York law discussed earlier required every person selling
           11    any handgun to maintain a register “at the time of sale, the date of sale, name, age,
           12    occupation and residence of every purchaser of such a pistol, revolver or other
           13    firearm, together with the calibre, make, model, manufacturer’s number or other
           14    mark of identification on such pistol, revolver or other firearm.”97 The purchaser
           15    also had to produce a permit at the time of the transaction, with the seller to note the
           16    permit information.
           17             E.    Licensing Pertaining to Named Groups
           18           55. The licensing of “Named Groups” referenced in Exhibit B includes the
           19    granting of weapons licenses to non-state residents, non-citizens, minors, felons, the
           20    intoxicated (who stood to lose their licenses), and Native Americans/Indigenous
           21    people. Licensing the sale of weapons to Native Americans might seem
           22    paradoxical, since white leaders fought protracted conflicts with Natives from the
           23    1600s through the end of the nineteenth century. But whites also traded arms with
           24    Natives throughout this entire period, as they sought profitability, access to highly
           25
           26    96
                      1911 Colo. Sess. Laws 408, § 3.
           27    97
                   1911 N.Y. Laws 444-45, An Act to Amend the Penal Law, in Relation to the Sale
           28    and Carrying of Dangerous Weapons. ch. 195, § 2.
                                                              28
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            1    desired goods made available by Indigenous people, and security alliances with
            2    some Indians through the supplying of weapons. This steady and enduring trade
            3    revealed “the high degree of interdependence between Indians and Euro-
            4    Americans.”98
            5           56. As for licensing related to enslaved persons and free African Americans
            6    (listed separately in Exhibit B), found in Southern and border states, it is well
            7    understood that white racist regimes before the Civil War were frantic to keep
            8    weapons out of the hands of enslaved persons.99 The laws listed here, however, are
            9    all instances when enslaved persons or free persons of color were allowed to have
           10    possession of weapons under listed, restricted circumstances through licensing in
           11    the pre-Civil War era. Some whites who owned enslaved persons sought the
           12    convenience of allowing the enslaved to carry weapons for hunting or other
           13    purposes designated by, and often under the supervision of, the white owners.
           14           57. The fact that groups treated as marginalized in prior centuries—
           15    especially African Americans and Native Americans—were authorized to gain
           16    limited access to dangerous weapons through licensing may seem incompatible
           17    with an otherwise racist tradition aimed at subjugating these groups, but such
           18    measures reflect the fact that it was in the interest of whites to allow weapons
           19    acquisition to these groups under limited circumstances.
           20   IV. WEAPONS CONFISCATION/FORFEIT LAWS
           21           58. As discussed, a background check system exists to provide for some kind
           22    of process to examine or evaluate an individual seeking a firearm, or related
           23    information, or for other similar purposes. It naturally suggests circumstances
           24    where the check may produce information that might prevent the completion of,
           25    say, a weapons sale. But in the exploration of analogous weapons laws, what about
           26    98
                   David J. Silverman, Thundersticks (Cambridge, MA: Harvard University Press,
           27    2016), 15-16 and passim.
           28
                 99
                      Carl T. Bogus, Madison’s Militia (NY: Oxford University Press, 2023).
                                                             29
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            1    circumstances where an individual who owns a firearm is actually deprived of that
            2    weapon for various behaviors, infractions, or reasons? The most common penalties
            3    for firearms violations in historic gun laws, including violations of weapons
            4    carrying restrictions, were some combination of fines and incarceration. But as the
            5    account below demonstrates, numerous old weapons laws also provided for
            6    weapons confiscation (usually in addition to fines and imprisonment). That
            7    weapons could be confiscated as a penalty for something in an individual’s life or
            8    behavior demonstrates the tradition—carried out today through background
            9    checks—of limiting possession based on those enumerated traits. The account
           10    below details gun confiscation penalties in at least two broad circumstances:
           11    violation of weapons carrying laws, and violation of hunting laws.
           12           A.    Weapons Confiscation for Violating Carry and Related Laws
           13          59. Weapons confiscation was by no means a ubiquitous penalty, but it was a
           14    remarkably frequent penalty for violating weapons carrying laws. From the 1600s
           15    to the early 1900s, at least 35 states had such laws. Of those, 5 states adopted
           16    confiscation laws only applied to enslaved persons or persons of color (these were
           17    Southern states before the Civil War100). Subtracting those 5 leaves 30 states with
           18    confiscation laws. Broken down by century, 5 of the remaining states had weapons
           19    confiscation laws in the 1700s. In the 1800s, 20 states had such laws. In the 1900s,
           20    13 states had such laws (note that some states enacted laws in more than one
           21    century) (see Exhibits D and E).
           22          60. Among the earliest of these laws was one from Virginia in 1633 which
           23    called for anyone who sold or bartered with Native Americans “any arms or
           24    ammunition” to forfeit “all the goods and chattels” owned by the individual found
           25
           26
                 100
                   Alabama (1805), Georgia (1768), Kentucky (1798), Louisiana (1806), and
           27
                 Missouri (1818). See Exhibit D.
           28
                                                            30
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            1    bartering with Natives (which, one assumes, would include any firearms).101 In
            2    1642, Virginia enacted a similar law punishing any who would sell or barter with
            3    any Native any “piece, powder and shot . . . shall forfeit his whole estate.”102 A
            4    1651 Virginia law called for “all ammunition, powder and arms, other than for
            5    private use” to “be delivered up, security being given to make satisfaction for it,” a
            6    measure apparently aimed at insuring weapons availability for community use.103
            7           61. The Massachusetts colony enacted a law in 1637 that required named
            8    individuals who expressed “opinions & revelations” that “seduced & led into
            9    dangerous errors many of the people” of New England to turn in all “guns, pistols,
           10    swords, powder, shot, & match as they shalbee owners of, or have in their custody”
           11    and it further barred them from “buy[ing] or borrow[ing]” any of the same until
           12    such time as the local court said otherwise. If those disarmed admitted to their
           13    “seditious libel” to two magistrates, they could have their weapons restored.104
           14           62. In 1708, New Hampshire enacted a law that punished any “who shall go
           15    armed offensively, or put his Majesty’s subjects in fear, by menaces or threatening
           16    speeches.” The penalty, in part, was that “the arms or weapons so used by the
           17    offender, to be taken away, which shall be forfeited and sold for his Majesty’s
           18    use.”105 A 1746 Massachusetts law called for the seizure of “any gun or pistol”
           19    discharged in Boston or anywhere near the harbor.106 A 1783 Massachusetts law
           20    101
                   1633 Va. Acts 219, Acts Made by the Grand Assembly, Holden At James City,
           21    August 21st, 1633, An Act That No Arms or Ammunition Be Sold To The Indians,
                 Act X.
           22
                 102
                       1642 Va. Acts 255, Acts of March 2nd, 1642, Act XXIII.
           23    103
                       1651 Va. Acts 365, Articles At The Surrender Of The Country, art. 13.
           24    104
                   I RECORDS OF THE GOVERNOR AND COMPANY OF THE MASSACHUSETTS BAY IN
           25    NEW ENGLAND 211–12, enacted November 20, 1637 (Nathaniel B. Shurtleff ed.,
           26    1853).
                 105
                       New Hampshire Public Carry Prohibition (1708).
           27
                 106
                       1746 Mass. Acts 208, An Act to Prevent the Firing of Guns Charged with Shot
           28
                                                             31
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            1    subjected to seizure “any cannon, swivel, mortar, howitzer, cohorn, or fire arm,
            2    loaded with or having gunpowder in the same” if found in any dwelling or other
            3    building or structure in Boston.107 A 1786 Virginia law called for any who “ride
            4    armed by night nor by day, in fair or markets, or in other places, in terror of the
            5    county” to “forfeit his armour” (i.e. weaponry). This law also applied the same
            6    penalty to any who would come before local officials with “force and arms.” 108
            7           63. Pennsylvania enacted a law at the start of the Revolutionary War in 1776
            8    that provided for local militias to confiscate firearms from any who refused to
            9    pledge loyalty to the new government.109 Massachusetts enacted a similar law in
           10    1776,110 as did Virginia in 1777.111 These were not penalties for anti-carry law
           11    violations, and as Scott Paul Gordon notes, those from whom the guns were taken
           12    were typically law-abiding and peaceful.112 Still, these were gun confiscation laws
           13    for those viewed as disloyal (unwilling to pledge loyalty), as was a 1756 Maryland
           14
           15    or Ball in the Town of Boston, ch. 11, § 1.
                 107
           16       1783 Mass. Acts 37, An Act in Addition to the Several Acts Already Made for
                 the Prudent Storage of Gun Powder within the Town of Boston, § 2.
           17
                 108
                       1786 Va. Acts 35. (Ch. 49, An Act Forbidding and Punishing Affrays).
           18
                 109
                    1776 Pa. Laws 11, An Ordinance Respecting The Arms Of Non-Associators,
           19    § 1; also 1778 Pa. Laws 123, An act for the further security of the government, ch.
           20    LXI, §1; 1779 Pa. Laws 193, An Act. . . for Disarming Persons Who Shall not Have
                 Given Attestations of Allegiance and Fidelity to this State, §§ 4-5.
           21    110
                       Act of Mar. 14, 1776, ch. VII, 1775-1776 Mass. Act at 31–32, 35.
           22    111
                    Act of May 5, 1777, ch. 3, in 9 HENING’S STATUTES AT LARGE 281, 281-
           23    82 (1821). Winkler reported that ten of the colonies impressed firearms that were
                 privately owned to be used during the Revolutionary war. Gunfight, 113.
           24
                 112
                    Scott Paul Gordon, “A Moravian Rifle Goes to War: Disarming and Arming
           25
                 Pennsylvanians, 1775–1776,” Pennsylvania History 90 (April 2023),
           26    https://scholarlypublishingcollective.org/psup/pa-
                 history/article/90/2/155/352020/A-Moravian-Rifle-Goes-to-War-Disarming-and-
           27
                 Arming.
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            1    law that stripped “Papists” (i.e. Catholics) of their “Armour, Gunpowder, and
            2    Ammunition.”113
            3          64. Aside from firearms, other early laws called for confiscation of
            4    gunpowder in individuals’ possession (though gunpowder was of course
            5    indispensable to the firing of guns well into the nineteenth century). A
            6    Massachusetts law from 1719 directed that any gunpowder found on board any
            7    vessel docked at the port of Boston was subject to confiscation.114 The concern over
            8    gunpowder led Massachusetts to enact a more sweeping measure in 1801 directing
            9    that all gunpowder entering Boston that was not promptly stored in a designated
           10    Powder House would be confiscated.115 Similar New Hampshire laws in 1786 and
           11    1793 said that any container or building which housed ten pounds of gunpowder or
           12    more in Portsmouth would be subject to seizure.116 A 1795 Pennsylvania law
           13    imposed a series of testing, transport, storage, and sale requirements on gunpowder
           14    113
                     An Act to Prevent Popery within this Province, Votes and Proceedings of the
           15    Lower House of Assembly of the Province of Maryland (22 May, 1756). At the
           16    time, Catholics were perceived as potentially more loyal to the Pope in Rome than
                 to local governmental authorities. Maryland was established as a haven for English
           17    Catholics, but they were soon outnumbered by Protestants, who feared a replication
           18    of Catholic-Protestant warfare in England. And antagonists France and Spain were
                 both Catholic countries, all of which sparked repressive measures against Catholics
           19    in the colony. “The Founding of Maryland,” Bill of Rights Institute,
           20    https://billofrightsinstitute.org/essays/the-founding-of-maryland.
                 114
           21      1719 Mass. Acts 348, An Act In Further Addition To An Act For Erecting A
                 Powder House In Boston, ch. III, § 1.
           22    115
                    1801 Mass. Acts 507, An Act to Provide for the Storing and Safe Keeping of
           23    Gun Powder in the Town of Boston, and to Prevent Damage from the Same,
                 ch. XX.
           24
                 116
                    1786 N.H. Laws 383-84, An Act to Prevent the Keeping of Large Quantities of
           25
                 Gun-Powder in Private Houses in Portsmouth, and for Appointing a Keeper of the
           26    Magazine Belonging to Said Town; 1793 N.H. Laws 464-65, An Act to Prevent the
                 Keeping of Large Quantities of Gun-Powder in Private Houses in Portsmouth, and
           27
                 for Appointing a Keeper of the Magazine Belonging to Said Town.
           28
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            1    that called for the confiscation of any powder over twenty-five pounds to be sold in
            2    Philadelphia if not inspected first.117
            3          65. An ordinance for Columbia, South Carolina in 1817 penalized firearms
            4    discharging with a fine, but for minors or others who had no “ostensible property”
            5    against which the fine could be levied would find their gun or pistol seized.118 An
            6    1859 ordinance for Georgetown, District of Columbia, provided that anyone found
            7    carrying various concealed dangerous weapons, including pistols, would pay a fine
            8    and also that “all such weapons named above shall be taken away from the persons
            9    on whom they may be found.”119 An 1867 Mississippi law imposed a tax on “every
           10    gun and pistol which may be in the possession of any person” in Washington
           11    County. Those who failed to pay the tax would have their guns seized and sold.120
           12    Lexington, Virginia enacted an ordinance, also in 1867, that subjected anyone
           13    found carrying concealed any of several listed weapons, including pistols, to a fine
           14    and confiscation of the weapons in question.121 An 1869 ordinance for Baltimore,
           15    Maryland said that if any collection of firearms or other weapons or ammunition
           16
                 117
           17      Laws of the Commonwealth of Pennsylvania, from the Fourteenth Day of
                 October, One Thousand Seven Hundred, to the Twentieth Day of March, One
           18    Thousand Eight Hundred and Ten Page 240-44, Image 284-88 (1810) available at
           19    The Making of Modern Law: Primary Sources. 1795.
                 118
           20       Ordinances, of the Town of Columbia, (S. C.) Passed Since the Incorporation of
                 Said Town: To Which are Prefixed, the Acts of the General Assembly, for
           21    Incorporating the Said Town, and Others in Relation Thereto Page 61-61, Image
           22    61-62 (1823) available at The Making of Modern Law: Primary Sources. 1817.
                 119
           23      An Ordinance Prohibiting the Carrying of Firearms, Ordinances of the
                 Corporation of Georgetown (1859).
           24    120
                   1867 Miss. Laws 327-28, An Act To Tax Guns And Pistols in The County Of
           25    Washington, ch. 249, § 1.
                 121
           26       Staunton, The Charter and General Ordinances of the Town of Lexington,
                 Virginia Page 87, Image 107 (1892) available at The Making of Modern Law:
           27
                 Primary Sources, 1867.
           28
                                                            34
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            1    was discovered in the vicinity of any election polling places for the purpose of
            2    intimidation or otherwise believed to be for “interfering with the freedom or peace
            3    of any election,” they would be seized and appropriately disposed of.122 A state law
            4    was enacted for Baltimore in 1884 that called for weapons confiscation for anyone
            5    charged with any offense.123
            6           66. An 1871 Texas law said that anyone found “carrying on or about his
            7    person, saddle, or in his saddle bags” any pistol or other named weapon would be
            8    fined and also forfeit the weapon or weapons to the county where the violation
            9    occurred.124 Texas enacted a similar law in 1879.125 The town of Front Royal,
           10    Virginia enacted an ordinance to penalize the carrying of various concealed
           11    weapons, including pistols, by levying a fine and confiscation of the weapons in
           12    question.126 The same measure was enacted statewide in Virginia in 1887.127 South
           13    Carolina enacted a weapons seizure law for concealed carry of named weapons,
           14
                 122
                    The Baltimore City Code: Comprising the Statutes and Ordinances Relating to
           15
                 the City of Baltimore, at 171 – Art. XVI, Section 27 (1869).
           16    123
                   John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
           17    General Assembly of Maryland March 14, 1888. Including also the Public Local
                 Acts of the Session of 1888 Incorporated Therein Page 522-23, Image 531-32
           18    (Vol. 1, 1888), 1884.
           19    124
                    1871 Tex. Laws 25, An Act to Regulate the Keeping and Bearing of Deadly
           20    Weapons, § 1; George Washington Paschal, A Digest of the Laws of Texas:
                 Containing Laws in Force, and the Repealed Laws on Which Rights Rest [Carefully
           21    Annotated] Page 1322-24, Image 292-94 (Vol. 2, 1873) available at The Making of
           22    Modern Law: Primary Sources, 1871, An Act to Regulate the Keeping and Bearing
                 of Deadly Weapons, Art. 6512.
           23    125
                       1879 Tex. Crim. Stat. tit. IX, ch. 4.
           24    126
                    Charter and Ordinances of the Town of Front Royal, Va. Page 18, Image 18
           25    (1899) available at The Making of Modern Law: Primary Sources, 1884.
                 127
           26      The Code of Virginia: With the Declaration of Independence and the
                 Constitution of the United States; and the Constitution of Virginia Page 897, Image
           27
                 913 (1887); Offences Against the Peace, § 3780.
           28
                                                               35
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            1    including pistols, in 1880.128 Arizona enacted a state-wide law in 1889 that called
            2    for weapons seizure for anyone found carrying named weapons including pistols.129
            3    The U.S. Congress enacted a similar concealed carry weapons seizure law for the
            4    District of Columbia that included pistols in 1892.130 Rhode Island added weapons
            5    seizure in addition to other penalties in an 1893 law for any caught carrying a
            6    concealed weapon, including any kind of firearm, if the individual were charged
            7    with any offense.131 Three years later, Rhode Island extended weapons confiscation
            8    to anyone found simply carrying a concealed weapon.132 St. Paul, Minnesota
            9    enacted a penalty of weapons confiscation for anyone found carrying a concealed
           10    pistol or other weapon in 1882,133 as did the city of New Ulm (Minn.) in 1888.134
           11    Many other cities did the same, including Walla Walla, Washington in 1878,135
           12
           13
           14
                 128
           15          1880 S.C. Acts 448, § 1, as codified in S.C. Rev. Stat. (1894). § 129 (2472.).
                 129
           16          Act of Mar. 18, 1889, 1889 Ariz. Sess. Laws 16-17.
                 130
                    Washington D.C. 27 Stat. 116 (1892), ch. 159.–An Act to punish the carrying or
           17
                 selling of deadly or dangerous weapons within the District of Columbia, and for
           18    other purposes.
                 131
           19      1893 R.I. Pub. Laws 231, An Act Prohibiting The Carrying Of Concealed
                 Weapons, ch. 1180, § 1.
           20
                 132
                    General Laws of the State of Rhode Island and Providence Plantations to Which
           21    are Prefixed the Constitutions of the United States and of the State Page 1010-11,
           22    Image 1026-27 (1896); Offences Against Public Policy, § 23.
                 133
           23      Concealed Weapons-License, Article 18, §§ 1-9, The Municipal Code of Saint
                 Paul (1884), 1882.
           24    134
                   Ordinance No. 22: An Ordinance Relating to the Promotion of the Public Peace,
           25    Feb. 7, 1888, reprinted in Charter and Ordinances of the City of New Ulm,
           26    Minnesota 110–11 (Jos. A. Eckstein ed., 1888).
                 135
                    Wall Walla City Ordinance No. 2. An Ordinance Defining Offenses and Fixing
           27
                 the Punishment Thereof, §27 (16 Aug., 1878).
           28
                                                              36
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            1    Wisconsin state laws for Nicolet (1883),136 Oshkosh (1883),137 and La Crosse
            2    (1888),138 Danville, Illinois (1883),139 Nashville, Tennessee (1893),140 and Fairfield,
            3    Nebraska (1899).141
            4          67. Also in the 1800s those who violated gunpowder transport, storage or
            5    related laws faced seizure of the powder in various states and localities.142
            6
            7
                 136
                    1883 Wis. Sess. Law 1034, An Act to Incorporate the City of Nicolet, ch. 351,
            8
                 § 32, pt. 45.
            9    137
                   1883 Wis. Sess. Laws 713, vol. 2, An Act to Revise, Consolidate and Amend the
           10    Charter of the City of Oshkosh, the Act Incorporating the City, and the Several Acts
                 Amendatory Thereof, ch. 6, § 3, pt. 56.
           11
                 138
                    Charter and Ordinances of the City of La Crosse, with the Rules of the Common
           12    Council Page 176, Image 179 (1888) available at The Making of Modern Law:
           13    Primary Sources.
                 139
           14      Revised Ordinances of the City of Danville [Illinois] Page 66, Image 133 (1883);
                 Ordinances of the City of Danville. Concealed Weapons. § 22.
           15    140
                    Claude Waller, Digest of the Ordinances of the City of Nashville, to Which are
           16    Prefixed the State Laws Incorporating, and Relating to, the City, with an Appendix
           17    Containing Various Grants and Franchises Page 364-65, Image 372-73 (1893),
                 Ordinances of the City of Nashville, § 738.
           18    141
                    Compiled Ordinances of the City of Fairfield, Clay County, Nebraska Page 34,
           19    Image 34 (1899), Ordinance No. 20, An Ordinance to Prohibit the Carrying of
                 Concealed Weapons and Fixing a Penalty for the violations of the same. Be it
           20
                 ordained by the Mayor and Council of the City of Fairfield, Nebraska: § 1.
           21    142
                    E.g. The Charter and Ordinances of the City of Providence, Together with the
           22    Acts of the General Assembly Relating to the City Page 89-96, Image 89-96 (1854)
                 Available at The Making of Modern Law: Primary Sources, 1821; Chas. Ben.
           23    Darwin, Ordinances of the City of Burlington, with Head Notes and an Analytic
           24    Index Page 72-73, Image 72-73 (1856) available at The Making of Modern Law:
                 Primary Sources, 1847; Offenses Affecting Public Safety, Ordinances of the City
           25
                 Council of Memphis, ch.14, Art. 3, §1 (1867); Asa Fowler, The General Statutes of
           26    the State of New-Hampshire; to Which are Prefixed the Constitutions of the United
                 States and of the State. With a Glossary and Digested Index Page 206, Image 227
           27
                 (1867), 1854, Safe-Keeping of Gunpowder, § 1.
           28
                                                            37
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            1           68. In the early 1900s, gun seizure laws, pertaining mostly to violations of
            2    laws against concealed weapons carrying, were enacted by Arizona (1901),143
            3    Arkansas (1931, 1935),144 California (1917),145 Hinsdale, Illinois (1912),146 Indiana
            4    (1905, 1925),147 Maine (1909),148 Massachusetts (allowing for seizure of an
            5    “unreasonable number” of guns or ammunition located “in a particular house or
            6    place” upon receipt of a complaint, 1919),149 Anaconda, Montana (1905),150 New
            7    Hampshire (1923),151 North Dakota (1923),152 Oregon (1925, 1933),153 Washington
            8    State (1933),154 and West Virginia (1925).155 Finally, Pennsylvania enacted a law in
            9    1810 that penalized any found participating in a duel to “forfeit and be deprived of
           10    all the rights of citizenship” for seven years.156
           11
                 143
                   Laws regulating weapons in certain places, Title 11, §§ 381, 387, 388, & 391 in
           12    The Revised Statutes of Arizona Territory (1901).
           13    144
                   Act of Mar. 26, 1931, No. 225, §§ 1-6, Ark. Acts 705-06; Uniform Machine Gun
           14    Act, Act No. 80, §§ 1-14, 1935 Ark. Acts 171-75; ACT 80.
                 145
           15          1917 Cal. Sess. Laws 221-25.
                 146
                   Ch. 26—Concealed Weapons, §§ 1-8, in, Revised Ordinances of the Village of
           16
                 Hinsdale, Illinois (1912).
           17    147
                   1905 Ind. Acts 687–88, Weapon—Carrying Dangerous § 449; 1925 Ind. Acts
           18    495, 495-98.
                 148
           19          1909 Me. Laws 141.
                 149
           20          1919 Mass. Acts 139.
                 150
                    Chapter 22—Concealed Weapons, §§ 526-534 in Codified Ordinances of the
           21
                 City of Anaconda (1905).
           22    151
                       1923 N.H. Laws 138.
           23    152
                       1923 N.D. Laws 380, Pistols and Revolvers, ch. 266, § 6.
           24    153
                    1925 Or. Laws 468, 469-71; 1933 Or. Laws 489, An Act to Amend Sections
           25    72-201, 72-202, 72-207, Oregon Code 1930, ch. 315, §§ 3-4.
                 154
           26          1933 Wash. Sess. Laws 335-36.
                 155
                       1925 W.Va. Acts 30-31.
           27
                 156
                       Laws of the Commonwealth of Pennsylvania, from the Fourteenth Day of
           28
                                                             38
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            1           69. Many of these laws pertained to cities or towns for the obvious reason
            2    that irresponsible gun carrying or use had far greater consequences in places where
            3    large numbers of people lived in close proximity to each other. But what they all
            4    have in common is the penalty of confiscation, an action viewed by some in the
            5    modern era as draconian, but that was one type of punishment for various weapons
            6    infractions earlier in our history.
            7             B.    Hunting Law Violations and Gun Confiscation
            8           70. At least 9 states enacted hunting-related laws where a violation could
            9    lead to, or include, gun confiscation. Of these, 3 states enacted such laws in the
           10    1700s, 4 states did so in the 1800s, and 3 states in the early 1900s (one state enacted
           11    laws in more than one century).
           12           71. In 1717, Massachusetts enacted a law that barred anyone caught hunting
           13    any kind of waterfowl from any kind of boat from using a gun to engage in that
           14    activity for three years.157 While not a confiscation law, it prohibited use of the
           15    weapon for the activity in question—a deprivation of gun use. A 1771 New Jersey
           16    law penalized non-New Jersey residents caught hunting on others’ property with a
           17    fine and also forfeiting of the gun.158 Two North Carolina deer hunting laws
           18    included gun confiscation in 1768. One penalized any person found hunting who
           19    had “no settled habitation, or not tending five thousand corn hills.”159 The other
           20    called for gun forfeiture of anyone found to be deer hunting if they did not have “a
           21    October, One Thousand Seven Hundred, to the Twentieth Day of March, One
           22    Thousand Eight Hundred and Ten Page 182, image 226 (Vol. 3, 1810).
                 157
           23          1717 Mass. Acts 336, An Act For The Better Regulation Of Fowling.
                 158
                   Charles Nettleton, Laws of the State of New-Jersey Page 26, Image 53 (1821),
           24
                 1771.
           25
                   1756-1776 N.C. Sess. Laws 168, An Act To Amend An Act Entitled, “An
                 159

           26    Additional Act To An Act, Entitled, An Act To Prevent Killing Deer At
                 Unseasonable Times, And For Putting A Stop To Many Abuses Committed By
           27
                 White Persons Under Pretense Of Hunting, ch. 13, 1768.
           28
                                                             39
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            1    freehold of one hundred acres of land within this province, or tending ten thousand
            2    corn hills, at least five feet distance each.”160
            3          72. An 1834 Kentucky law penalized deer hunting at night by firelight by a
            4    fine, but included gun confiscation as a penalty if the hunters were Indians.161 An
            5    1839 Virginia law penalized any who would hunt waterfowl from a skiff in
            6    Accomack or Fairfax counties by confiscating both their guns and their boats.162
            7    The state did the same in an 1852 law that applied state-wide.163 A more wide-
            8    ranging 1865 state law criminalized hunting on private land without the owners’
            9    permission, or shooting “along any public road, or in the streets of any town or
           10    village” anywhere in the state with part of the penalty to include forfeiting of “his
           11    gun and shooting apparatus.”164 An 1875 Virginia law that criminalized the
           12    shooting of wild fowl in the counties bordering the Potomac and Rappahannock
           13    rivers “with any gun which cannot be conveniently discharged from the shoulder at
           14    arm’s length without a rest.” Any such guns were to be confiscated and
           15    destroyed.165
           16    160
                    John. A Haywood, Manual of the Laws of North-Carolina, Arranged under
           17    Distinct Heads in Alphabetical Order. With References from One Head to Another,
                 When a Subject is Mentioned in Any Other Part of the Book Than under the
           18    Distinct Where It is Placed Page 178, Image 186 (1801), 1768.
           19    161
                    A Digest of the Statute Laws of Kentucky, of a Public and Permanent Nature,
           20    from the Commencement of the Government to the Session of the Legislature,
                 Ending on the 24th February, 1834. With References to Judicial Decisions Page
           21    788, Image 794 (Vol. 1, 1834).
           22    162
                    Virginia State Laws 1839 ch. 80. – An ACT to prevent the destruction of wild
           23    fowl in the counties of Accomack and Fairfax (Passed April 9, 1839).
                 163
                   1852 Va. Acts 133, An Act Amending The Twentieth Section Of Chapter . . .
           24
                 Concerning Wild Fowl, § 20.
           25    164
                   Third Edition of the Code of Virginia: Including Legislation to January 1, 1874
           26    Page 802-03, Image 821-22 (1873), 1865.
                 165
           27      1875 Va. Acts 109, An Act To Amend And Re-enact Section Twelve, Chapter
                 Ninety-nine, Code of Eighteen Hundred And Seventy-Three, for the Protection Of
           28
                                                             40
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            1           73. In 1863, Delaware enacted a law making it a crime for any non-state
            2    residents to hunt fish or geese on any waters of the state. The penalty included
            3    confiscation of any guns used along with any other tackle or apparel.166 An 1893
            4    state law levied a fine against any who shot birds or game on the lands of another
            5    without the owners’ permission, but any who failed to pay the fine would face gun
            6    forfeit.167 An 1882 Maryland law punished any caught “in the act of hunting or
            7    shooting crippled ducks, or in purloining ducks that have been killed by other
            8    persons.” Those so caught would pay a fine and also “forfeit the gun, pistol or other
            9    firearm” used.168 An 1890 Maryland state law penalized any who would shoot or
           10    hunt “with dog or gun on the Lord’s day, commonly called ‘Sunday’” with a fine
           11    and forfeiting of the “pistol or other firearm used in such violation.”169
           12           74. In the 1900s, Arizona (1936) confiscated guns and silencers if used or
           13    possessed to kill “any song or insectivorous bird” while hunting. Kentucky (1904)
           14    authorized game wardens to “destroy or confiscate such guns” or other devices if
           15    used to hunt in violation of state fish, game, and bird hunting laws. 170 A 1905 New
           16
                 Wild Fowl in the Counties Bordering on the Potomac And Rappahannock, ch. 100,
           17
                 § 12.
           18    166
                    1863 Del. Laws 365, An Act to Amend Chapter 55 of the Revised Code of the
           19    State of Delaware, Entitled “For The Protection Of Fish, Oysters and Game,”
                 ch. 328, § 10.
           20
                 167
                    1893 Del. Laws 410, For the Protection Of Fish, Oysters, and Game, ch. 422,
           21    § 16.
           22    168
                   1882 Md. Laws 257, An Act to . . . Exempt All That Portion of the Waters of the
           23    Chesapeake Bay Lying Northward of a Certain Line Therein Described from the
                 Operation and Effect of Sections One and Three . . ., ch. 180, § 8.
           24    169
                       1890 Md. Laws 297, Sabbath Breaking, ch. 290, § 1.
           25    170
                    1904 Ky. Acts 150-51, An Act Creating the Offices of Fish and Game Wardens
           26    and Defining the Powers and Duties and Fixing the Compensation of such Officers,
                 and for the Further Protection and Preservation of Fish, Game and Birds in the State
           27
                 of Kentucky, ch. 68, § 3.
           28
                                                             41
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            1    Hampshire law called for confiscation and destruction of “any punt gun swivel gun,
            2    or other gun not fired from the shoulder, or of larger bore than ten gauge” if used to
            3    hunt any game birds.171
            4          75. This range of hunting laws varies as to their particulars, including types
            5    of game being hunted, locations of hunting or firearms discharges, and other
            6    circumstances undoubtedly unique to the particular problems faced by these states
            7    and localities. But the sheer number and variety of hunting laws that included gun
            8    confiscation as a penalty make clear that it was a well established and accepted
            9    penalty for the otherwise routine and relatively common activity of hunting. Thus,
           10    it demonstrates a tradition that is carried through in modern point-of-sale
           11    background checks that prevent a purchase at the outset of a gun sale.
           12    V. CONCLUSION
           13          76. Early weapons licensing and permitting laws are best understood as the
           14    ancestors of modern background check laws, as the very purpose of licensing was
           15    and is to provide permission to do something subject to some kind of process or
           16    procedure. Background checks today are commonly employed in areas such as
           17    employment, granting of credit or loans, insurance, rental housing, and college
           18    admissions. Applying the same technique to gun and ammunition purchases serves
           19    a similar purpose as is the case with past licensing schemes pertaining to weapons
           20    acquisition or use, as discussed here. The existence of weapons confiscation laws
           21    goes a step further—actual weapon deprivation for various infractions, purposes, or
           22    circumstances. The fact that such latter activities were utilized by state and local
           23    governments in America’s past demonstrates a tradition of using certain facts in, or
           24    information about, a person’s background to remove weapons from their possession
           25
           26
           27    171
                    1905 N.H. Laws 515, An Act to Prohibit the Use of Swivel and Punt Guns,
           28    ch. 98, § 1.
                                                            42
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            1    and buttresses the utilization of contemporary background checks for firearms and
            2    ammunition to confirm the same.
            3        I declare under penalty of perjury that the foregoing is true and correct.
            4        Executed on August 15, 2023 at Williamsburg, VA.
            5
            6
                                                                Robert Spitzer
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                                           EXHIBIT B

                        TABLE OF WEAPONS LICENSING LAWS




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                                            TABLE OF WEAPONS LICENSING LAWS*
            STATE         CARRY FIRE OR   HUNT COMMERCIAL GUNPOWDER SELLER      NAMED                           PRE-   REG
                          OR    DISCHARGE SPORT WEAPON     EXPLOSIVES REGISTERS GROUPS#                         CIVIL  TAX†
                          HAVE  PERMIT          SALE FIRE  LICENSING  BUYER                                     WAR
                                                TRANSPORT                                                       BLACKS
            Alabama             1879            1892, 1898                                                      1805   1867
            Alaska
            Arizona
            Arkansas               1871                  1882                                                   1838
            California    1890,    1869                  1854            1883, 1889    1917,1923,
                          1891,                                                        1931
                          1896,
                          1917,
                          1923
            Colorado               1875                                                1911
            Connecticut   1890,    1835, 1845,           1923            1775, 1827,                1665
                          1923     1869, 1877                            1874, 1901,
                                                                         1909
            Delaware                                     1911            1911          1911         1909        1797,
                                                                                                                1832,
                                                                                                                1841,
                                                                                                                1843
            District of   1892,
            Columbia      1932
            Florida       1893,                          1887, 1895                                 1847
                          1931
            Georgia       1910                           1902                                                   1768
            Hawaii        1925,                  1870,   1927, 1933                    1927,1933,
                          1927,                  1933                                  1933
                          1933



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            Idaho
            Illinois      1876,    1841, 1869           1814, 1914      1851, 1869    1885
                          1893,
                          1914,
                          1917,
                          1931
            Indiana       1925     1855                 1895, 1925      1847                       1925
            Iowa                   1853, 1880           1887            1873
            Kansas
            Kentucky                                                    1864, 1874
            Louisiana              1870                 1857                                                    1848
            Maine                                                       1848, 1873,
                                                                        1874
            Maryland                            1876,                                              1882         1806
                                                1882
            Massachusetts 1906,                                         1651, 1895,                1769,1884
                          1927                                          1898                       1922
            Michigan      1925,    1848, 1895                                         1913,1925,
                          1927                                                        1927
            Minnesota     1882     1858                                 1858, 1889
            Mississippi                                 1906                                                    1804       1867
            Missouri      1871,    1843, 1894           1888, 1921      1899          1921         1844         1818,
                          1880,                                                                                 1854
                          1892,
                          1921
            Montana       1895                                                        1918         1913
            Nebraska      1895                                          1869
            Nevada
            New           1917,    1823, 1870                           1820                       1917, 1923
            Hampshire     1923
            New Jersey    1873,    1871         1902                                               1914, 1916
                          1905,




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                           1927,
                           1934
            New Mexico                           1915
            New York       1881,   1824, 1881,   1923                   1885, 1890,   1911        1680,1884
                           1885,   1898                                 1903                      1885,1911,
                           1891                                                                   1923
            North          1919                         1919                          1919                     1840        1909
            Carolina
            North Dakota   1915,                                                      1923
                           1923,
                           1925,
                           1931
            Ohio           1933    1823, 1855,                          1835,1878,
                                   1856                                 1884,1889,
                                                                        1900,1902
            Oklahoma                                    1890
            Oregon         1898,   1868, 1879                           1872          1913,1917
                           1913,
                           1917,
                           1925
            Pennsylvania   1929,   1713,1721,                                                     1763,1903
                           1931    1721,1750,
                                   1750,1824
            Rhode Island   1927                  1907                   1821, 1902
            South          1934    1802                 1890, 1893                                             1740        1923
            Carolina
            South Dakota                         1899
            Tennessee                                   1863, 1879
            Texas                  1898          1919   1872,1880,
                                                        1899
            Utah           1888                  1905                   1875                      1850,1905
            Vermont                1890, 1895    1908                   1891,1894
            Virginia       1908,   1859                                               1926                     1792,       1926



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                                1926                                                                                                      1805,
                                                                                                                                          1806
                Washington      1895       1890                     1892                1881,1881,                         1911
                State                                                                   1883
                West Virginia   1881,      1875           1909      1876                                   1925
                                1925
                Wisconsin       1896       1888                                         1888
                Wyoming                    1893           1899,                                            1933            1915
                                                          1913
                TOTAL           29         26             12        21                  21                 15              14             11       5
                STATES
                TOTAL           62         45             15        31                  44                 22              24             17       5
                LAWS


            * Source: https://firearmslaw.duke.edu/repository/search-the-repository/
            #
             Includes non-state residents, non-citizens, minors, felons, the intoxicated (who stood to lose their licenses), and Native
            Americans/Indigenous people.
            †
                “Reg Tax” refers to “regulatory taxes.




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                                           EXHIBIT C

                               LICENSE AND LICENSING LAWS




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                                               EXHIBIT C

                                 LICENSE AND LICENSING LAWS

           ALABAMA

           Harry Toulmin, A Digest of the Laws of the State of Alabama : Containing the
           Statutes and Resolutions in Force at the End of the General Assembly in January,
           1823. To which is Added an Appendix; Containing the Declaration of
           Independence; the Constitution of the United States; the Act authorizing the People
           of Alabama to form a Constitution and State Government; and the Constitution of
           the State of Alabama Page 627, Image 655 (1823) available at The Making of
           Modern Law: Primary Sources. 1805
           Negroes and Mulattoes, Bond and Free – 1805, Chapter I, An Act respecting
           Slaves. – Passed March 6, 1805: Sec. 4. And be it further enacted, that no slave
           shall keep or carry any gun, powder, shot, club, or other weapon whatsoever,
           offensive or defensive, except the tools given him to work with, or that he is
           ordered by his master, mistress, or overseer, to carry the said articles from one
           place to another, but all and every gun , weapon, or ammunition, found in the
           possession or custody of any slave, may be seized by any person, and upon due
           proof made thereof, before any justice of the peace of the county or corporation
           where such seizure shall be made, shall, by his order, be forfeited to the seizer, for
           his own use; and moreover, every such offender shall have and receive, by order of
           such justice, any number of lashes, not exceeding thirty-nine, on his bare back for
           every such offense : Provided nevertheless, That any justice of the peace may
           grant, in his proper county, permission in writing to any slave, on application of his
           master or overseer, to carry and use a gun and ammunition within the limits of his
           said master’s or owner’s plantation, for a term not exceeding one year, and
           revocable at any time within such term, at the discretion of the said justice, and to
           prevent the inconveniences arising from the meeting of slaves.

           [REGULATORY TAX] The Revised Code of Alabama Page 169, Image 185
           (1867) available at The Making of Modern Law: Primary Sources. 1867
           Taxation, § 10. On All pistols or revolvers in the possession of private persons not
           regular dealers holding them for sale, a tax of two dollars each; and on all bowie
           knives, or knives of the like description, held by persons not regular dealers, as
           aforesaid, a tax of three dollars each; and such tax must be collected by the
           assessor when assessing the same, on which a special receipt shall be given to the


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           tax payer therefor, showing that such tax has been paid for the year, and in default
           of such payment when demanded by the assessor, such pistols, revolvers, bowie
           knives, or knives of like description, must be seized by him, and unless redeemed
           by payment in ten days thereafter, with such tax, with an additional penalty of fifty
           per cent., the same must be sold at public outcry before the court house door, after
           five days notice; and the overplus remaining, if any, after deducting the tax and
           penalty aforesaid, must be paid over to the person from whom the said pistol,
           revolver, bowie knife, or knife of like description, was taken, and the net amount
           collected by him must be paid over to the collector every month, from which, for
           each such assessment and collection, the assessor shall be entitled to fifty cents,
           and when the additional penalty is collected, he shall receive fifty per cent.
           additional thereto.

           J. M. Falkner, The Code of Ordinances of the City Council of Montgomery, with
           the Charter Page151, Image 151 (1879) available at The Making of Modern Law:
           Primary Sources. 1879
           [Ordinances of the City of Montgomery,] § 449. Any person who fires or
           discharges, or causes to be fired or discharged, any pistol, gun, cannon, anvil, or
           anything of like kind or character; or who lets off or discharges any rocket, fire-
           crackers, squib or other fire-works, without first having obtained permission of the
           Mayor, who shall designate the place where such firing may be done, must, on
           conviction, be fined not less than one nor more than one hundred dollars.

           William Logan Martin, Commissioner, The Code of Alabama, Adopted by Act of
           the General Assembly of the State of Alabama, Approved February 16, 1897,
           Entitled “An Act to Adopt a Code of Laws for the State Alabama ” with Such
           Statutes Passed at the Session of 1896-97, as are Required to be Incorporated
           Therein by Act Approved February 17, 1897; and with Citations to the Decisions
           of the Supreme Court of the State Construing or Mentioning the Statutes Page
           1137, Image 1154 (Vol. 1, 1897) available at The Making of Modern Law:
           Primary Sources. 1892
           [License Taxes; From Whom and For What Business Required; Prices; County
           Levy,] Taxation, § 27. For dealers in pistols, or pistol cartridges, or bowie-knives,
           or dirk-knives, whether principal stock in trade or not, three hundred dollars. Any
           cartridges, whether called rifle or pistol cartridges, or by any other name, that can
           be used in a pistol, shall be deemed pistol cartridges within the meaning of this
           subdivision. Any person or firm who orders for another, or delivers any cartridges
           within this state, shall be deemed a dealer under this provision.




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           1898 Ala. Acts 190, An Act To Amend The Revenue Laws Of The State Of
           Alabama, pt. 66-67.
           66th. For dealers in pistol, bowie or dirk knives, whether principal stock in trade or
           not, one hundred dollars. 67th. For wholesale dealers in pistol or rifle cartridges in
           towns or cities of twenty thousand or more inhabitants, ten dollars. In all other
           places, five dollars: Provided, That the wholesale dealers license shall entitle them
           to sell at retail.

           ARKANSAS

           Revised Statutes of the State of Arkansas, Adopted at the October Session of the
           General Assembly of Said State, A. D. 1837, in the Year of Our Independence the
           Sixty-second, and of the State of Second Year Page 587, Image 602 (1838)
           available at The Making of Modern Law: Primary Sources. 1838
           Negroes and Mulattoes, § 17. No free negro shall be suffered to keep or carry any
           gun or rifle, or weapon of any kind, or any ammunition without a license first had
           and obtained, for that purpose, from some justice of the peace of the county in
           which such free negro or mulatto resides, and such license may be granted and
           revoked by any justice of the peace of the county. §18. Every gun, rifle, or weapon
           of any kind, or ammunition, found in the possession or custody of any free negro
           or mulatto, not having a license as required by the preceding section, may be
           seized by any person, and upon due proof thereof made before some justice of the
           peace of the county in which such seizure was made, shall by order of such justice
           be forfeited to the use of the person making the seizure, and such justice shall also
           impose a fine on such negro or mulatto, for the use of the county, not exceeding
           twenty dollars.

           George Eugene Dodge, A Digest of the Laws and Ordinances of the City of Little
           Rock, with the Constitution of State of Arkansas, General Incorporation Laws, and
           All Acts of the General Assembly Relating to the City Page 231, Image 231 (1871)
           available at The Making of Modern Law: Primary Sources. 1871
           [Offenses Affecting the Public Safety, § 288. No person shall fire or discharge any
           cannon, gun, fowling piece, pistol, or fire-arms, of any description, or fire,
           explode, or set off any squibs, cracker, or other thing containing powder or other
           combustible or explosive material, without permission from the may which
           permission shall limit the time of such firing, and shall be subject to be revoked by
           the mayor at any time after it has been granted. Any violation hereof shall subject
           the party to a fine of not less than two nor more than ten dollars.]




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           John H. Herry, Digest of the Laws and Ordinances of the City of Little Rock, with
           the Constitution of the State of Arkansas; General Incorporation Laws; and All
           Acts of the General Assembly Relating to the City; in Force March 10, 1882 Page
           149, Image 334 (1882) available at The Making of Modern Law: Primary Sources.
           1882
           [Ordinances of the] City of Little Rock, [§ 344. That it shall be unlawful for any
           person to engage in, exercise or pursue any of the following avocations or business
           without first having obtained and paid for a license therefor from the proper city
           authorities the amount of which licenses are hereby fixed as follows, to wit: . . . ]§
           27. Shooting galleries, or pistol galleries, $25 per annum, in advance.

           CALIFORNIA

           Ordinances and Joint Resolutions of the City of San Francisco; Together with a
           List of the Officers of the City and County, and Rules and Orders of the Common
           Council Page 220, Image 256 (1854) available at The Making of Modern Law:
           Primary Sources. 1854
           Ordinances of the [City of San Francisco], § 13. Every person, house, or firm
           engaged in keeping a pistol or rifle shooting gallery, shall pay for a license to carry
           on the same, the sum of ten dollars per quarter, in addition to the amount of the
           powder license.

           General orders of the Board of Supervisors providing regulations for the
           government of the City and County of San Francisco. 1869
           [Discharge of Cannon: Permit to be given by Mayor, and filed in office of Chief of
           Police. Discharge of Fire Arms prohibited within certain limits.]Sec. 22. No person
           shall discharge any cannon within that portion of this city and county lying
           between Larkin and Ninth Streets and the outer line of the streets forming the
           water-front, except by special permission, in writing, from the Mayor, which
           permit shall designate the time and particular locality of the firing, and the number
           of discharges which are authorized. A copy of such permit shall be filed by the
           person obtaining the same, in the office of the Chief of Police, at least two hours
           before the time of such firing; and the person or persons engaged in the discharge
           of such cannon, shall, on the demand of any citizen or peace officer, exhibit the
           permit by which such firing is authorized; and no person shall discharge any fire-
           arm of any other description in that portion of the city and county bounded by
           Devisadero, Ridley, Market, and Ninth streets, and the outer line of the streets
           forming the water-front, or within three hundred yards of any public highway, or
           upon any ground set apart as a cemetery, or public square, or park, or within three
           hundred yards of any dwelling-house. But this section shall not be construed so as


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           to prohibit any person from shooting destructive animals within or upon his own
           inclosure. Any person who shall violate any of the provisions of this section shall
           be deemed guilty of a misdemeanor; and upon conviction thereof, shall be
           punished by a fine of not less than one hundred dollars, or by imprisonment in the
           county jail out more than thirty days.

           1883 Cal. Stat. 156, § 153.
           The Municipal Council shall provide by ordinance, for the payment into a
           “Fireman’s Charitable Fund” of such city, or city and county, of all moneys
           received for licenses for the storage, manufacture, or sale of gunpowder, blasting
           powder, gun cotton, fireworks, nitro-glycerine, dualine, or any explosive oils or
           compounds, or as a municipal tax upon the same; also all fines collected in the
           police court for violations of fire ordinances.

           Nathan Newmark, The Political Code of the State of California. As Enacted in
           1872, and Amended in 1889. With Notes and References to the Decisions of the
           Supreme Court Page 963 (1889) available at The Making of Modern Law: Primary
           Sources. 1889
           [Political Code of the State of California,] Charitable Fund, §153. The Municipal
           Council shall provide, by ordinance, for the payment into a “Fireman’s Charitable
           Fund” of such city, or city and county, of all moneys received for licenses for the
           storage, manufacture, or sale of gunpowder, blasting powder, gun cotton,
           fireworks, nitro-glycerine, dualine, or any explosive oils or compounds, or as a
           municipal tax upon the same; also, all fines collected in the Police Court for
           violations of fire ordinances. Said fund shall be under the direction and control of
           and subject to such regulations as may be prescribed by the Board of Fire
           Commissioners.

           Fred L. Button, ed., General Municipal Ordinances of the City of Oakland,
           California (Oakland, CA; Enquirer, 1895), p. 218, Sec. 1, An Ordinance to Prohibit
           the Carrying of Concealed Weapons, No. 1141. 1890
           Section 1 . It shall be unlawful for any person in the City of Oakland, not being a
           public officer or a traveler actually engaged in making a journey, to wear or carry
           concealed about his person without a permit, as hereinafter provided, any pistol,
           slung-shot, brass or iron knuckles, sand club, dirk or bowie knife, or iron bar or
           other dangerous or deadly weapon, or any sling or other contrivance by which shot
           or other missiles are or may be hurled or projected. A written permit may be
           granted by the Mayor for a period of not to exceed one year to any peaceable
           person whose profession or occupation may require him to be out at late hours of
           the night to carry a concealed deadly weapon upon his person.


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           Charter and Ordinances of the City of Stockton (Stockton, CA: Stockton Mail
           Printers and Bookbinders, 1908), p. 240, Ordinance No. 53. 1891
           Be it ordained by the City Council of the City of Stockton as follows:
           One-Concealed Weapons, Burglars’ Tools.
           Section 1. It shall be unlawful and a misdemeanor: 1. For any person not being a
           peace officer or actually prosecuting a journey to or from the town, city or county
           of his residence, to wear or carry concealed about his person any pistol, dirk,
           bowie-knife, slungshot, sand-club, metallic knuckles or any other deadly or
           dangerous weapon, except he first have a written permit to so do from the Mayor
           of the City of Stockton.

           L. W. Moultrie, Charter and Ordinances of the City of Fresno Page 30, Image 28
           (1896) available at The Making of Modern Law: Primary Sources. 1896
           Ordinances of the City of Fresno, § 8. Any person excepting peace officers and
           travelers, who shall carry concealed upon his person any pistol or firearm,
           slungshot, dirk or bowie-knife, or other deadly weapon, without a written
           permission (revocable at any time) from the president of the board of trustees, is
           guilty of a misdemeanor.

           1917 Cal. Sess. Laws 221-225, An act relating to and regulating the carrying,
           possession, sale or other disposition of firearms capable of being concealed upon
           the person; prohibiting the possession, carrying, manufacturing and sale of certain
           other dangerous weapons and the giving, transferring and disposition thereof to
           other persons within this state; providing for the registering of the sales of
           firearms; prohibiting the carrying or possession of concealed weapons in municipal
           corporations; providing for the destruction of certain dangerous weapons as
           nuisances and making it a felony to use or attempt to use certain dangerous
           weapons against another, §§ 3-4.
           SEC. 3. Every person who carries in any city, city and county, town or municipal
           corporation of this state any pistol, revolver, or other firearm concealed upon his
           person, without having a license to carry such firearm as hereinafter provided in
           section six of this act, shall be guilty of a misdemeanor, and if he has been
           convicted previously of any felony, or of any crime made punishable by this act, he
           is guilty of a felony.
           SEC 4. The unlawful possessing or carrying of any of the instruments, weapons, or
           firearms enumerated in section one to section three inclusive of this act, by any
           person other than those authorized and empowered to carry or possess the same as
           hereinafter provided, is a nuisance, and such instruments, weapons or firearms are
           hereby declared to be nuisances, and when any of said articles shall be taken from


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           the possession of any person the same shall be surrendered to the magistrate before
           whom said person shall be taken, except that in any city, city and county, town or
           other municipal corporation the same shall be surrendered to the head of the police
           force, or police department thereof. The officers to whom the same may be so
           surrendered, except upon certificate of a judge of a court of record, or of the
           district attorney of any county that the preservation thereof is necessary or proper
           to the ends of justice, shall proceed at such time or times as he deemds proper, and
           at least once in each year to destroy or cause to be destroyed such instruments,
           weapons, or other firearms in such manner and to such extent that the same shall
           be and become wholly and entirely ineffective and useless for the purpose for
           which it was manufactured.
           SEC 6. It shall be lawful for the board of police commissioners, chief of police,
           city marshal, town marshal, or other head of the police department of any city, city
           and county, town, or other municipal corporation of this state, upon proof before
           said board, chief, marshal or head, that the person applying therefor is of good
           moral character, and that good cause exists for the issuance thereof, to issue to
           such person a license to carry concealed a pistol, revolver or other fire-arm;
           provided, however, that the application to carry concealed such firearm shall be
           filed in writing and shall state the name and residence of the applicant, the nature
           of applicant’s occupation, the business address of applicant, the nature of the
           weapon sought to be carried and the reason for the filing of the application to carry
           the same.

           1923 Cal. Stat. 696, An Act to Control and Regulate the Possession, Sale and Use
           of Pistols, Revolvers, and Other Firearms Capable of Being Concealed Upon the
           Person; To Prohibit the Manufacture, Sale, Possession or Carrying of Certain Other
           Dangerous Weapons Within this State; To Provide for Registering All Sales of
           Pistols, Revolvers or Other Firearms Capable of Being Concealed Upon the
           Person; To Prohibit the Carrying of Concealed Firearms Except by Lawfully
           Authorized Persons; To Provide for the Confiscation and Destruction of Such
           Weapons in Certain Cases; To Prohibit the Ownership, Use or Possession of Any
           of Such Weapons by Certain Classes of Persons; To Prescribe Penalties for
           Violations of This Act and Increased Penalties for Repeated Violations Hereof; To
           Authorize, In Proper Cases, The Granting of Licenses or Permits to Carry Firearms
           Concealed Upon the Person; To Provide for Licensing Retail Dealers in Such
           Firearms and Regulating Sales Thereunder; And To Repeal Chapter One Hundred
           Forty-Five of California Statutes of 1917, Relating to the Same Subject, ch. 339, §
           3, 8.
           Sec. 2. On and after the date upon which this act takes effect, no unnaturalized
           foreign born person and no person who has been convicted of a felony against the


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           person or property of another or against the government of the United States or of
           the State of California or of any political subdivision thereof shall own or have in
           his possession or under his custody or control any pistol, revolver or other firearm
           capable of being concealed upon the person. The terms “pistol,” “revolver,” and
           “firearms capable of being concealed upon the person” as used in this act shall be
           construed to apply to and include all firearms having a barrel less than twelve
           inches in length. Any person who shall violate the provisions of this section shall
           be guilty of a felony and upon conviction thereof shall be punishable by
           imprisonment in a state prison for not less than one year nor for more than five
           years.
           Sec. 3. If any person shall commit or attempt to commit any felony within this state
           while armed with any of the weapons mentioned in section one hereof or while
           armed with any pistol, revolver or other firearm capable of being concealed upon
           the person, without having a license or permit to carry such firearm as hereinafter
           provided, upon conviction of such felony, he shall in addition to the punishment
           prescribed for the crime of which he has been convicted, be punishable by
           imprisonment om a state prison for not less than five nor more than ten years…
           Sec. 8. It shall be lawful for the sheriff of a county, and the board of police
           commissioners, chief of police, city marshal, town marshal, or other head of the
           police department of any city, city and county, town, or other municipal
           corporation of this state, upon proof before said board, chief, marshal or other
           police head, that the person applying therefor is of good moral character, and that
           good cause exists for the issuance thereof, to issue such person a license to carry
           concealed a pistol, revolver or other firearm for a period of one year from the date
           of such license…

           1923 Cal. Stat. 698–99, An Act to Control and Regulate the Possession, Sale and
           Use of Pistols, Revolvers, and Other Firearms Capable of Being Concealed Upon
           the Person; To Prohibit the Manufacture, Sale, Possession or Carrying of Certain
           Other Dangerous Weapons Within this State; To Provide for Registering All Sales
           of Pistols, Revolvers or Other Firearms Capable of Being Concealed Upon the
           Person; To Prohibit the Carrying of Concealed Firearms Except by Lawfully
           Authorized Persons; To Provide for the Confiscation and Destruction of Such
           Weapons in Certain Cases; To Prohibit the Ownership, Use or Possession of Any
           of Such Weapons by Certain Classes of Persons; To Prescribe Penalties for
           Violations of This Act and Increased Penalties for Repeated Violations Hereof; To
           Authorize, In Proper Cases, The Granting of Licenses or Permits to Carry Firearms
           Concealed Upon the Person; To Provide for Licensing Retail Dealers in Such
           Firearms and Regulating Sales Thereunder; And To Repeal Chapter One Hundred
           Forty-Five of California Statutes of 1917, ch. 339, § 8.


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           Sec. 8. It shall be lawful for the sheriff of a county, and the board of police
           commissioners, chief of police, city marshal, town marshal, or other head of the
           police department of any city, city and county, town, or other municipal
           corporation of this state, upon proof before said board, chief, marshal or other
           police head, that the person applying therefor is of good moral character, and that
           good cause exists for the issuance thereof, to issue such person a license to carry
           concealed a pistol, revolver or other firearm for a period of one year from the date
           of such license…

           1931 Cal. Stat. 2317, An Act to Control and Regulate the Possesion, Sale and Use
           of Pistols, Revolvers and Other Firearms Capable of Being Concealed Upon the
           Person, ch. 1098, §9.
           Every person in the business of selling, leasing, or otherwise transferring a pistol,
           revolver or other firearm, of a size capable of being concealed upon the person,
           whether such seller, lessor or transferor is a retail dealer, pawnbroker, or otherwise,
           except as hereinafter provided, shall keep a register in which shall be entered the
           time of sale, the date of sale, the name of the salesman making the sale, the place
           where sold, the make, model, manufacturer’s number, caliber, or other marks of
           identification on such pistol, revolver or other firearm. Such register shall be
           prepared by and obtained from the state printer and shall be furnished by the state
           printer to such dealers on application at a cost of three dollars per one hundred
           leaves in triplicate . . . [t]he purchaser of any firearm capable of being concealed
           upon the person shall sign, and the dealer shall require him to sign his name and
           affix his address to said register in triplicate, and the salesman shall affix his
           signature in triplicate as a witness to the signature of the purchaser. . . [t]his section
           shall not apply to wholesale dealers in their business intercourse with retail dealers.

           COLOLRADO

           Thomas M. Patterson, The Charter and Ordinances of the City of Denver, as
           Adopted Since the Incorporation of the City and Its Organization, November,
           1861, to the First Day of February, A.D., 1875, Revised and Amended, Together
           with an Act of the Legislature of the Territory of Colorado, in Relation to
           Municipal Corporations, Page 78, Image 78 (1875) available at The Making of
           Modern Law: Primary Sources. 1875
           [City of Denver,] Charter and Ordinances: Offenses Affecting Public Safety, § 1. If
           any person shall, within this city, fire or discharge any cannon, gun, fowling piece,
           pistol or fire arms of any description, or fire, explode or set off any squib, cracker,
           or other thing containing powder or other combustible or explosive material,
           without permission from the Mayor (which permission shall limit the time of such


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           firing, and shall be subject to be revoked by the Mayor or City Council at any time
           after the same has been granted), every such person shall, on conviction, be fined
           in a sum not less than one dollar and not exceeding one hundred dollars: Provided,
           that no permission shall be granted to any person or persons to hold or conduct any
           shooting match or competitive trial of skill with fire arms within the limits of this
           city.

           1911 Colo. Sess. Laws 408
           Section 3. Every individual, firm or corporation engaged, within this
           commonwealth, in the- retail sale, rental or exchange of firearms, pistols or
           revolvers, shall keep a record of each pistol or revolver sold, rented or exchanged
           at retail. Said record shall be made at the time of the transaction in a book kept for
           that purpose and shall include the name of the person to whom the pistol or
           revolver is sold or rented, or with whom exchanged; his age, occupation, residence,
           and., if residing in a city, the street and number therein where he resides; the make,
           calibre and finish of said pistol, or revolver, together with its number and serial
           letter, if any; the date of the sale, rental or exchange of said revolver; and the name
           of the employee or other person making such sale, rental or exchange. Said record-
           book shall be open at all times to the inspection of any duly authorized police
           officer.
           Section 4. Every individual, firm or corporation fail- ng to keep the record
           provided for in the first section of this act, or who shall refuse to exhibit such
           record when requested by a police officer, and any purchaser, lessee or exchanger
           of a pistol or revolver, who shall, in connection with the making of such record,
           give false information, shall be guilty of a Misdemeanor, and shall, upon
           conviction, be punished by a fine of not less than twenty-five, nor more than one
           hundred dollars, or by imprisonment in the county jail for a term not exceeding one
           year, or by both such fine and imprisonment.

           CONNECTICUT

           The Public Records Of The Colony Of Connecticut, Prior To The Union With New
           Haven Colony, May, 1665 Page 79, Image 91 (1850) available at The Making of
           Modern Law: Primary Sources. 1665
           It is ordered, that no man within this Jurisdiction shall directly or indirectly amend,
           repair, or cause to be amended or repaired, any gun small or great belonging to any
           Indian, nor shall endure the same, nor shall sell or give to any Indian, directly or
           indirectly, any such gun or gunpowder, or shot, or lead, or mold, or military
           weapons, or armor, nor shall make any arrow heads, upon pain of a ten pound fine
           for every offense at least, nor sell nor barter any guns, powder, bullets or lead,


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           whereby this order might be evaded, to any person inhabiting out of this
           Jurisdiction, without license of this or the particular court, or some two
           magistrates, upon pain of ten pound for every gun, five pound for every pound of
           powder, 40s for every pound of bullets or lead, and so proportionately for any
           greater or lesser quantity.

           The Public Records Of The Colony Of Connecticut. Hartford, 1890 Page 190-192,
           Image 194-196, available at The Making of Modern Law: Primary Sources. 1775
           An Act for Encouraging the Manufacture of Salt Petre and Gun Powder. . .Be it
           enacted, That no salt petre, nitre or gun-powder made and manufactured, or that
           shall be made and manufactured in this Colony, shall be exported out of the same
           by land or water without the license of the General Assembly or his Honor the
           Governor and Committee of Safety, under the penalty of twenty pounds for every
           hundred weight of such salt petre, ntire or gun-powder, and proportionately for a
           greater or lesser quantity so without license exported; to be recovered by bill,
           plaint, or information, in any court of record in this Colony by law proper to take
           cognizance thereof. . . Be it further enacted by the authority aforesaid, That no
           powder-mill shall be erected in this Colony for the manufacture of gun-powder
           without the license of the general assembly, or in their recess the Governor and
           Council, first had and obtained under the penalty of thirty pounds for every such
           offence; to be recovered as the other forgoing personalities in this act are above
           directed to be recovered.

           Charter and By-Laws of the City of New Haven, November, 1848 Page 48-49,
           Image 48-49 (1848) available at The Making of Modern Law: Primary Sources.
           1827
           A By-Law Relative to the Storage and Sale of Gunpowder. Be it ordained by the
           Mayor, Aldermen, and Common Council of the city of New Haven, in Court of
           Common Council assembled, 1st. That hereafter no person or persons shall, within
           the limits hereafter described, either directly or indirectly, sell and deliver any
           gunpowder, or have, store, or keep any quantity of gunpowder greater than one
           pound weight, without having obtained a license for that purpose from said Court
           of Common Council, in the manner herein prescribed. Provided, that nothing in
           this by-law contained shall be construed to prevent any person or persons from
           having or keeping in his or their possession, a greater quantity of powder than one
           pound weight, during any military occasion or public celebration, while acting
           under any military commander, and in obedience to his orders, or under permission
           and authority therefor, first had and obtained of the Mayor or some one of the
           Aldermen of said city. Provided also, That any person or persons purchasing
           gunpowder, shall be allowed between the rising and setting of the sun, sufficient


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           time to transport the same from any place without said limits, through said limits to
           any place without the same. 2d. The Court of Common Council aforesaid, shall
           have power, on application to them made, to grant and give any meet person or
           persons a license to sell gunpowder, and for that purpose to have, store, and keep
           gunpowder in quantity not exceeding at any one time seven pounds weight, and
           that well secured in a tin canister or canisters, and at such place or places within
           said limits and for such term of time, not exceeding one year, as said Court shall
           deem fit; which license shall be signed by the Clerk of said Court, and shall be in
           the form following, viz — Whereas the Mayor, Aldermen, and Common Council
           of the City of New Haven, in Court of Common Council convened, have approved
           of ___, as a suitable and proper person to keep, store, and sell gunpowder within
           the City of New Haven: We do therefore give license to said ____, to sell
           gunpowder at (describe the place) and for the purpose aforesaid, to have, keep, and
           store in said building any quantity of gunpowder not exceeding at any one time
           seven pounds weight, until the ___ day of ___. Dated, Signed per order, A.B.,
           Clerk. For which license the person receiving the same shall pay the City Clerk
           twenty-five cents; and the same shall be by said Clerk recorded at full length. And
           before any license shall be given as aforesaid, the person or persons receiving the
           same shall pay to the Clerk aforementioned, for the use of said city, a sum after the
           rate of five dollars per annum. 3d. Before any shall proceed to sell or to store or
           keep gun-powder by virtue of any such license so given as aforesaid, such person
           shall put in a conspicuous place upon the front part of the building in which such
           powder is to be stored or sold, a sign, with the following words plainly and legibly
           inscribed thereon, viz., “Licensed to keep Powder,” and shall continue the same
           during the time he shall keep, store, or sell gunpowder in said building. 4th section
           repealed. 5th. That no person or persons shall put or receive or have any quantity
           of gunpowder on board of any steamboat, for transportation therein in any of the
           waters within the limits of said city. 6th. If any person shall sell, keep, or store any
           gunpowder within the limits aforesaid, contrary to the true intent and spirit of this
           by-law, or without complying with all the pre-requisites enjoined thereby; or if any
           person or persons shall put or receive, or have on board of any steamboat for
           transportation on any of the waters within the limits of said city, any quantity of
           gunpowder, such person or persons shall forfeit and pay the sum of thirty-four
           dollars, one half to him who shall give information, and the other half to the use of
           the city.

           The By-Laws of the City of New London, with the Statute Laws of the State of
           Connecticut Relative to Said City Page 47-48, Image 47-48 (1855) available at The
           Making of Modern Law: Primary Sources. 1835



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           Chapter 26. A ByLaw in relation to the Firing of Guns and Pistols, within the
           limits of the city of New-London, and making parents and guardians, and masters,
           liable for breaches of by-laws by minors and apprentices. Be it ordained by the
           mayor and aldermen, and common council and freemen of the city of New-
           London, That no gun or pistol shall be fired at any time within the limits of said
           city, unless on some public day of review, and then by order of the officers of the
           military companies of said city, or by permission of the mayor, or one of the
           aldermen of said city; and whosoever shall fire any gun or pistol, contrary to the
           form and effect of this by-law, shall for every such offence, forfeit and pay the sum
           of two dollars, to be recovered by due process in any court in said city, proper to
           try the same. § 2. And whereas the firing of guns and pistols, crackers, or other fire
           works is most frequently done by apprentices and minors under age, who are
           unable to pay the forfeiture incurred by the by-law of this city – be it also ordained
           that where any minor or apprentice shall be guilty of any breach of the by-laws
           relating to the firing of guns, pistols, crackers, or other fire-works, the parent,
           guardian, or master of such minor or apprentice, shall be liable to pay the
           forfeitures incurred by said by-law, and the same shall be recoverable of any
           parent, guardian or master, by action of debt brought on said by law, before any
           court in said city proper to try the same. And it shall be the duty of the city attorney
           and lawful for any other person to prosecute for said penalty; and one-half of said
           penalty shall go to the informer, or the person prosecuting for the same, and the
           other half to the use of the city.

           1845 Conn. Acts 10, An Act Prohibiting the Firing of Guns and Other Fire Arms in
           the City of New Haven, chap. 10.
           [E]very person who shall fire any gun or other fire-arm of any kind whatever
           within the limits of the city of New Haven, except for military purposes, without
           permission first obtained from the mayor of said city, shall be punished by fine not
           exceeding seven dollars, or by imprisonment in the county jail not exceeding thirty
           days.

           Charles L. Upham, The Charter and By-Laws of the City of Meriden. With
           Extracts from the Public and Private Acts of the State of Connecticut, Applicable
           to the City of Meriden; Together with Certain Votes of the Common Council; the
           Rules and Regulations of the Board of Water Commissioners, and of the Police
           Department; and the Rules of Order of the Common Council of the City of
           Meriden Page 135, Image 140 (1875) available at The Making of Modern Law:
           Primary Sources. 1869
           A by-law concerning the discharge of fire-arms and fire-works [, City of Meriden,
           Conn.], § 1. Be it enacted by the Court of Common Council of the City of


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           Meriden, § 1. That no person shall discharge any pistol, gun, cannon, or other fire-
           arm of any sort or description, within the limits of said city, unless on occasion of
           some public festivity, and then by permission of the mayor or one of the aldermen
           of said city, or unless on occasion of military exercises and parade, and then by
           order of some military officer; and whoever shall discharge any pistol, gun,
           cannon, or other fire-arm of any sort, contrary to the form and effect of this by-law,
           shall, for every such offense, forfeit and pay, for the use of the treasury of said city,
           a fine of five dollars.

           Charter and Ordinances of the City of Bridgeport: as Amended and Adopted Page
           194 (1874) available at The Making of Modern Law: Primary Sources. 1874
           An Ordinance Relative to Gunpowder and Explosive Substances. Be it ordained by
           the Common Council of the City of Bridgeport, § 1. No person shall have, or keep
           for sale or for any other purpose, within the limits of this city, any quantity of
           gunpowder or gun-cotton, exceeding one pound in weight; no person shall have,
           keep for sale, use, or other purpose, within the city limits, any quantity of nitro-
           glycerine, or other explosive substances or compounds exceeding six ounces,
           without special license thereof from the common council. No person shall transport
           any gunpowder through said city without a permit first had and obtained from the
           fire marshal, and in accordance with such rules and regulations as may be
           established by said fire marshal. No person shall, within said city, place, receive, or
           have any gunpowder on board of any steamboat used for the carrying of
           passengers, with intent to transport the same therein.

           J. M. Meech, Charter and Revised Ordinances of the City of Norwich With the
           Amendments Thereto, and Statutes of the State Relating to Municipal
           Corporations, in Force January 1st, 1877 Page 178, Page 185 (1876) available at
           The Making of Modern Law: Primary Sources. 1877
           Ordinances of Norwich. § 15. No person or persons shall fire any swivel, musket,
           fowling-piece, pistol, or other gun of any description within said city at a less
           distance than fifty rods from any dwelling house, or public highway, or street
           without written permission from the Mayor or one of the aldermen of said city; and
           every person so offending shall, for every such offence, forfeit and pay for the use
           of said city the sum of three dollars: Provided always, that nothing herein
           contained shall be construed to extend to the members of any military company
           when under the command of any military officer, not to prevent the firing of any
           gun or guns for the destruction of any noxious birds or animals by any person or
           persons upon his or their premises.




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           Charles Stoers Hamilton, Charter and Ordinances of the City of New Haven,
           Together with Legislative Acts Affecting Said City Page 164, Image 167 (1890)
           available at The Making of Modern Law: Primary Sources. 1890
           Good Order and Decency § 192. Every person who shall carry in said City, any
           steel or brass knuckles, pistol, or any slung shot, stiletto or weapon of similar
           character, or shall carry any weapon concealed on his person without permission of
           the Mayor or Superintendent of Police in writing, shall, on conviction, pay a
           penalty of not less than five, nor more than fifty dollars for every such offense.

           1901 Conn. Pub. Acts 602, § 20.
           The warden and burgesses, when assembled according to law, shall have power to
           make, alter, repeal, and enforce such bylaws, orders, ordinances, and enactments as
           they deem suitable and proper, not inconsistent with this resolution or contrary to
           the laws of this state or of the United States, for the following purposes: . . . to
           license, regulate, or prohibit the manufacture, keeping for sale, or use of fireworks,
           torpedoes, firecrackers, gunpowder, petrolemn, dynamite, or other explosive or
           inflammable substance, and the conveyance thereof through any portion of the
           borough . . . .

           1923 Conn. Acts 3707, An Act Concerning the Possession Sale and Use of Pistols
           and Revolvers, ch. 252, §2.
           No person shall advertise, sell, deliver, offer or expose for sale or delivery or have
           in his possession with intent to sell or deliver any pistol or revolver at retail
           without having a permit therefor issued as hereinafter provided.

           1930 Conn. Stat. 903, Dealing in Explosives; License., ch. 147, § 2644. 1909
           No person shall manufacture, store, sell, or deal in gunpowder or any material or
           compound . . . unless he shall first obtain from the commissioner of state police or
           the fire marshal of the town where such business is conducted a written license
           therefor . . . which license shall specify the building where such business is to be
           carried on or such material deposited or used.

           1923 Conn. Pub. Acts 3707, An Act Concerning the Possession, Sale and Use of
           Pistols and Revolvers, ch. 252, § 2, 3.
           No person shall advertise, sell, deliver, offer or expose for sale or delivery or have
           in his possession with intent to sell or deliver any pistol or revolver at retail
           without having a permit therefor issued as hereinafter provided.
           The chief of police or, where there shall be no chief of police, the warden of the
           borough of the first selectman of the town, as the case may be, may, upon the
           application of any person, issue a permit in such form as may be prescribed by the


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           superintendent of state police for the sale at retail of pistols and revolvers within
           the jurisdiction of the authority issuing such permit. Upon the application of any
           person having a bona fide residence or place of business within the jurisdiction of
           any such authority or, upon the application of any bona fide resident of the United
           States having a permit or license to carry any firearm issued by the authority of any
           state or sub-division of the United States, such chief of police, warden or selectmen
           may issue a permit to such person to carry a pistol or revolver within the
           jurisdiction of the authority issuing the same, provided such authority shall find
           that such applicant intends to make no use of the pistol or revolver thereunder
           other than a proper use and that such person is a suitable person to receive such
           permit. The superintendent of state police may, upon application, issue to any
           holder of any permit to carry any pistol or revolver hereinbefore provided for, a
           permit to carry a pistol or a revolver within the state . . . .
           Sec. 5. No sale of any pistol or revolver shall be made except in the room, store or
           place described in the permit for the sale of pistols and revolvers, and such permit
           or a copy thereof certified by the authority issuing the same shall be exposed to
           view within the room, store or place where pistols or revolvers shall be sold or
           offered or exposed for sale, and no sale or delivery of any pistol or revolver shall
           be made unless the purchaser or person to whom the same is to be delivered shall
           be personally known to the vendor of such pistol or revolver or the person making
           delivery thereof or unless the person making such purchase or to whom delivery
           thereof is to lic made shall provide evidence of his identity. The vendor of any
           pistol or revolver shall keep a record of every pistol or revolver sold in a book kept
           for that purpose, which record shall be in such form as shall be prescribed by the
           superintendent, of state police and shall include the date of the sale, the caliber,
           make, model and manufacturer’s number of such pistol or revolver and the name,
           address and occupation of the purchaser thereof, which record shall be signed by
           the purchaser and by the person making the sale, each in the presence of the other,
           and shall be preserved by the vendor of such pistol or revolver for a period of at
           least six years.
           Sec. 7. No person, firm or corporation shall sell at retail, deliver or otherwise
           transfer any pistol or revolver to any alien, nor shall any person deliver any pistol
           or revolver at retail except upon written application therefor and no sale or delivery
           of any pistol or revolver shall be mode upon the date of the filing or receipt of any
           written application for the purchase thereof, and when any pistol or revolver shall b
           delivered in connection with the sale or purchase, such pistol or revolver shall be
           enclosed in a package, the paper or wrapping of which shall be securely fastened,
           and no pistol or revolver when delivered on tiny sale or purchase shall be loaded or
           contain therein any gunpowder or other explosive or any bullet, ball or shell. Upon
           the delivery of any pistol or revolver the purchaser shall sign in triplicate a receipt


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           for such pistol or revolver which shall contain the name, address and occupation of
           such purchaser, the date of sale, caliber, make, model and manufacturer’s number
           and a general description thereof. One of such triplicate receipts shall, within
           twenty-four hours thereafter, be forwarded by the vendor of such pistol or revolver
           to the superintendent of state police and one to the authority issuing the permit for
           the sale of such pistol or revolver and the other shall be retained by such vendor for
           at least six years.
           Sec. 8. No person shall make any false statement or give any false information
           connected with any purchase, sale or delivery of any pistol or revolver, and no
           person shall sell, barter, hire, lend, give or deliver to any minor under the age of
           eighteen years any pistol or revolver.

           DELAWARE

           1797 Del. Laws 104, An Act For the Trial Of Negroes, ch. 43, §6.
           And be it further enacted by the authority aforesaid, That if any Negro or Mulatto
           slave shall presume to carry any guns, swords, pistols, fowling pieces, clubs, or
           other arms and weapons whatsoever, without his master’s special license for the
           same, and be convicted thereof before a magistrate, he shall be whipped with
           twenty-one lashes, upon his bare back.

           1832 Del. Laws 208, A Supplement to an Act to Prevent the Use of Firearms by
           Free Negroes and Free Mulattoes, and for Other Purposes, chap. 176, § 1.
           . . . it shall not be lawful for free negroes and free mulattoes to have, own, keep or
           possess any gun, pistol, sword or any warlike instruments whatsoever: Provided
           however, that if upon application of any such free negro or free mulatto to one of
           the justices of the peace of the county in which such free negro or free mulatto
           resides, it shall satisfactorily appear upon the written certificate of five or more
           respectable and judicious citizens of the neighborhood, that such free negro or free
           mulatto is a person of fair character, and that the circumstances of his case justify
           his keep and using a gun, then and in every such case it shall and may be lawful for
           such justice to issue a license or permit under his hand and authorizing such free
           negro or free mulatto to have use and keep in his posession a gun or fowling piece.

           1841 Del. Laws 430, An Act Concerning Fees, ch. 368, § 1.
           Justices of the Peace shall receive . . . For licenses to negroes to keep a gun, twenty
           five cents.




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           9 Del. Laws 552 (1843), A Further Supplement To An Act Entitled “An Act To
           Prevent The Use Of Fire-arms By Free Negroes And Free Mulattoes And For
           Other Purposes, § 1. 1843
           That the proviso in the first section of the act to which this is a further supplement,
           and all and every the provisions of the said act, or any other supplemental act
           thereto, which authorizes the issuing, by a justice of the peace, of a license or
           permit to a free negro or free mulatto to have, use and keep in his possession, a gun
           or fowling piece, be and the same are hereby repealed, made null and void.

           1909 Del. Laws 577, House Joint Resolution Providing for Increase in Non-
           Resident Gunners License Fee, ch. 271.
           Whereas, there are numerous gunners from other States who make it a practice to
           gun in this State, and under existing laws a license fee of Five Dollars is collected
           from them. And Whereas, our neighboring States charge non-resident gunners a
           license fee of more than Five Dollars. Therefore be it resolved by the Senate and
           House of Representatives of the State of Delaware in General Assembly met: That
           from and after the passage of this Resolution up to and including April 30th, 1911,
           all non-resident gunners shall be required to pay a license fee of Ten Dollars per
           annum, said license fee to be collected in the same manner and by the same agency
           as non-resident gunners’ licenses are now collected.

           Vol. 26 Del. Laws 28, 28- 29 (1911)
           Section 1. That from and after the first day of June, in the year of our Lord, one
           thousand nine hundred and eleven, it shall be unlawful for any person or persons,
           firm, company or corporation, to sell, or expose to sale, any pistol or revolver, or
           revolver or pistol cartridges, stiletto, steel or brass knuckles, or other deadly
           weapons made especially for the defense of one’s person, without first having
           obtained a license therefor, which license shall be known as “Special License to
           Sell Deadly Weapons;” provided, however, that this provision shall not relate to
           toy pistols, pocket knives, or knives used in the domestic household, or surgical
           instruments or tools of any kind.
           Section 2. Any person or persons, firm, company or corporation, desiring to
           engage in the business of selling revolvers, pistols, or revolver or pistol cartridges,
           stilettos, steel or brass knuckles, or other weapons made for the defense of one’s
           person, shall, after the above mentioned date, apply to the Clerk of the Peace of the
           County in which it is desired to conduct such business and shall obtain a license
           therefor, for which he, they, or it shall pay the sum of twenty-five dollars, which
           said license shall entitle the holder thereof to conduct said business for the term of
           one year from its date.



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           Section 3. It shall be unlawful for any person or per- sons, or a member of any
           firm, or the agents or officers of any corporation to sell to a minor, or any
           intoxicated person, any revolver, pistol, or revolver or pistol cartridges, stiletto,
           steel or brass knuckles, or other deadly weapons, made especially for the defense
           of one’s person.
           Section 4. It shall be the duty of any person or persons, firm, company or
           corporation, desiring to engage in the business aforesaid, to keep and maintain in
           his place of business at all times, a book which shall be furnished him by the Clerk
           of the Peace of the County wherein he does business in which said book he shall
           enter the date of the sale, the name and address of the person purchasing any such
           deadly weapon, the number and kind of deadly weapon so pur- chased, the color of
           the person so purchasing the same, and the apparent age of the purchaser; and no
           sale shall be made weapon, etc. until the purchaser has been positively identified.
           This book shall at all times be open for inspection by any Judge, Justice of the
           Peace, Police Officer, Constable, or other Peace Officer of this State.

           DISTRICT OF COLUMBIA

           Washington D.C. 27 Stat. 116 (1892)
           CHAP. 159.–An Act to punish the carrying or selling of deadly or dangerous
           weapons within the District of Columbia, and for other purposes.
           Be it enacted by the Senate and House of Representatives of the United States of
           America in Congress assembled, That it shall not be lawful for any person or
           persons within the District of Columbia, to have concealed about their person any
           deadly or dangerous weapons, such as daggers, air-guns, pistols, bowie-knives,
           dirk knives or dirks, blackjacks, razors, razor blades, sword canes, slung shot, brass
           or other metal knuckles.
           SEC. 2. That it shall not be lawful for any person or persons within the District of
           Columbia to carry openly any such weapons as hereinbefore described with intent
           to unlawfully use the same, and any person or persons violating either of these
           sections shall be deemed guilty of a misdemeanor, and upon conviction thereof
           shall, for the first offense, forfeit and pay a fine or penalty of not less than fifty
           dollars nor more than five hundred dollars, of which one half shall be paid to any
           one giving information leading to such conviction, or be imprisoned in the jail of
           the District of Columbia not exceeding six months, or both such fine and
           imprisonment, in the discretion of the court: Provided, That the officers, non-
           commissioned officers, and privates of the United States Army, Navy, or Marine
           Corps, or of any regularly organized Militia Company, police officers, officers
           guarding prisoners, officials of the United States or the District of Columbia
           engaged in the execution of the laws for the protection of persons or property,


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           when any of such persons are on duty, shall not be liable for carrying necessary
           arms for use in performance of their duty: Provided, further, that nothing contained
           in the first or second sections of this act shall be so construed as to prevent any
           person from keeping or carrying about his place of business, dwelling house, or
           premises any such dangerous or deadly weapons, or from carrying the same from
           place of purchase to his dwelling house or place of business or from his dwelling
           house or place of business to any place where repairing is done, to have the same
           repaired, and back again: Provided further, That nothing contained in the first or-
           second sections of this act shall be so construed as to apply. to any person who
           shall have been granted a written permit to carry such weapon or weapons by any
           judge of the police court of the District of Columbia, and authority is hereby given
           to any such judge to grant such permit for a period of not more than one month at
           any one time, upon satisfactory proof to him of the necessity for the granting
           thereof; and further, upon the filing with such judge of a bond, with sureties to be
           approved by said judge, by the applicant for such permit, conditioned to the United
           States in such penal sum as said judge shall require for the keeping of the peace,
           save in the case of necessary self defense by such applicant during the continuance
           of said permit, which bond shall be put in suit by the United States for its benefit
           upon any breach of such condition.
           SEC. 3. That for the second violation of the provisions of either of the preceding
           sections the person or persons offending shall be proceeded against by indictment
           in the supreme court of the District of Columbia, and upon conviction thereof shall
           be imprisoned in the penitentiary for not more than three years.
           SEC. 4. That all such weapons as hereinbefore described which may be taken from
           any person offending against any of the provisions shall, upon conviction of such
           person, be disposed of as may be ordered by the judge trying the case, and the
           record shall show any and all such orders relating thereto as a part of the judgment
           in the case.
           SEC. 5. That any person or persons who shall, within the District of Columbia,
           sell, barter, hire, lend or give to any minor under the age of twenty-one years any
           such weapon as hereinbefore described shall be deemed guilty of a misdemeanor,
           and shall, upon conviction thereof, pay a fine or penalty of not less than twenty
           dollars nor more than one hundred dollars, or be imprisoned in the jail of the
           District of Columbia not more than three months. No person shall engage in or
           conduct the business of selling, bartering, hiring, lending, or giving any weapon or
           weapons of the kind hereinbefore named without having previously obtained from
           the Commissioners of the District of Columbia a special license authorizing the
           conduct of such business by such person, and the said Commissioners are hereby
           authorized to grant such license, without fee therefor, upon the filing with them by
           the applicant therefor of a bond with sureties, to be by them approved, conditioned


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           in such penal sum as they shall fix to the United States for the compliance by said
           applicant with all the provisions of this section; and upon any breach or breaches
           of said condition said bond shall be put in suit by said United States for its benefit,
           and said Commissioners may revoke said license. Any person engaging in said
           business without having previously obtained said special license shall be guilty of
           a misdemeanor and upon conviction thereof shall be sentenced to pay a fine of not
           less than one hundred dollars nor more than five hundred dollars, of which one half
           shall be paid to the informer, if any, whose information shall lead to the conviction
           of the person paying said fine. All persons whose business it is to sell barter, hire,
           lend or give any such weapon or weapons shall be and they hereby, are, required to
           keep a written register of the name and residence of every purchaser, barterer,
           hirer, borrower, or donee of any such weapon or weapons, which register shall be
           subject to the inspection of the major and superintendent of Metropolitan Police of
           the District of Columbia, and further to make a weekly report, under oath to said
           major and superintendent of all such sales, barterings, hirings, lendings or gifts.
           And one half of every fine imposed under this section shall be paid to the informer,
           if any, whose information shall have led to the conviction of the person paying said
           fine. Any police officer failing to arrest any person guilty in his sight or presence
           and knowledge, of any violation of any section of this act shall be fined not less
           than fifty nor more than five hundred dollars.
           SEC 6. That all acts or parts of acts inconsistent with the provisions of this act be,
           and the same hereby are, repealed.

           Washington D.C. 47 Stat. 650, 651-652 (1932)
           CARRYING CONCEALED WEAPONS
           SEC. 4. No person shall within the District of Columbia carry concealed on or
           about his person, except in his dwelling house or place of business or on other land
           possessed by him, a pistol, without a license therefor issued as hereinafter
           provided, or any deadly or
           dangerous weapon.
           EXCEPTIONS
           SEC. 5. The provisions of the preceding section shall not apply to marshals,
           sheriffs, prison or jail wardens, or their deputies, policemen or other duly
           appointed law-enforcement officers, or to members of the Army, Navy, or Marine
           Corps of the United States or of the National Guard or Organized Reserves when
           on duty, or to the regularly enrolled members of any organization duly authorized
           to purchase or receive such weapons from the United States, provided such
           members are at or are going to or from their places of assembly or target practice,
           or to officers or employees of the United States duly authorized to carry a
           concealed pistol, or to any person engaged in the business of manufacturing,


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           repairing or dealing in firearms, or the agent or representative of any such person
           having in his possession, using, or carrying a pistol in the usual or ordinary course
           of such business or to any person while carrying a pistol unloaded and in a secure
           wrapper from the place of purchase to his home or place of business or to a place
           of repair or back to his home or place of business or in moving goods from one
           place of abode or business to another.
           ISSUE OF LICENSES TO CARRY
           SEC. 6. The superintendent of police of the District of Columbia may, upon the
           application of any person having a bona fide residence or place of business-within
           the District of Columbia or of any person having a bona fide residence or place of
           business within the United States and a license to carry a pistol concealed upon his
           person issued by the lawful authorities of any State or subdivision of the United
           States, issue a license to such person to carry a pistol within the District of
           Columbia for not more than one year from date of issue, if it appears that the
           applicant has good reason to fear injury to his person or property or has any other
           proper reason for carrying a pistol and that he is a suitable person to be so licensed.
           The license shall be in duplicate, in form to be prescribed by the Commissioners of
           the District of Columbia and shall bear the name, address, description, photograph,
           and signature of the licensee and the reason given for desiring a license. The
           original thereof shall be delivered to the licensee, and the duplicate shall be
           retained by the superintendent of police of the District of Columbia and preserved
           in his office for six years.
           SELLING TO MINORS AND OTHERS
           SEC. 7. No person shall within the District of Columbia sell any pistol to a person
           who he has reasonable cause to believe is not of sound mind, or is a drug addict, or
           is a person who has been convicted in the District of Columbia or elsewhere of a
           crime of violence or, except when the relation of parent and child or guardian and
           ward exists, is under the age of eighteen years.

           FLORIDA

           Leslie A. Thompson, A Manual or Digest of the Statute Law of the State of
           Florida, of a General and Public Character, in Force at the End of the Second
           Session of the General Assembly of the State, on the Sixth Day of January, 1847
           Page 547, Image 582 (1847) available at The Making of Modern Law: Primary
           Sources. 1847
           For the Prevention of Indians Roaming at Large Throughout the State, § 1. From
           and after the passage of this act, if any male Indian of the years of discretion,
           venture to roam or ramble beyond the boundary lines of the reservations, which
           have been assigned to the tribe or nation to which said Indian belongs, it shall and


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           may be lawful for any person or persons to apprehend, seize, and take said Indian,
           and carry him before some Justice of the Peace, who is hereby authorized,
           empowered, and required, to direct (if said Indian have not a written permission
           from the agent to do some specific act) not exceeding thirty-nine stripes, at the
           discretion of the Justice, to be laid on the bare back of said Indian; moreover, to
           cause the gun of said Indian (if he has one) to be taken from him, and deposited
           with the colonel of the county, or captain of the district, in which said Indian may
           be taken, subject to the order of the superintendent of Indian Affairs.

           1887 Fla. Laws 164-165, An Act to Establish the Municipality of Jacksonville
           Provide for its Government and Prescribe it’s jurisdiction and powers, chap. 3775,
           § 4.
           The Mayor and City Council shall within the limitations of this act have power by
           ordinance to . . . regulate and license the sale of firearms and suppress the carrying
           of concealed weapons.

           1893 Fla. Laws 71-72, An Act to Regulate the Carrying of Firearms, chap. 4147,
           §§ 1-4. 1898
           § 1. That in each and every county of this State, it shall be unlawful to carry or
           own a Winchester or other repeating rifle or without first taking out a license from
           the County Commissioner of the respective counties, before such persons shall be
           at liberty to carry around with him on his person and in his manual possession such
           Winchester rifle or other repeating rifle. § 2. The County Commissioners of the
           respective counties in this State may grant such licenses at any regular or special
           meeting. § 3. The person taking out such license shall give a bond running to the
           Governor of the State in the sum of one hundred dollars, conditioned on the proper
           and legitimate use of the gun with sureties to be approved by the County
           Commissioners, and at the same time there shall by kept by the County
           Commissioners granting the same a record of the name of the person taking out
           such license, the name of the maker of the firearm so licensed to be carried and the
           caliber and number of the same. § 4. All persons violating the provisions of
           Section 1 of this Act shall be guilty of a misdemeanor, and on conviction shall be
           fined not exceeding one hundred dollars or imprisonment in the county jail not
           exceeding sixty days.

           1895 Fla. Laws 14
           Fourteenth. No merchant, store-keeper or dealer shall keep for sale or sell pistols,
           Springfield rifles, repeating rifles, bowie knives or dirk knives, without first paying
           a license tax of ten dollars; Provided, Said pistols, Springfield rifles, repeating
           rifles, bowie knives or dirk knives, shall not be sold to minors. Every violation of


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           this paragraph shall be punished by a fine of fifty dollars, or by imprisonment in
           the county jail not more than six months.

           1931 Fla. Laws 2069, § 7.
           The village shall have the following rights and powers . . . To license, tax, regulate,
           or prohibit, within the village or any part thereof . . . explosives, guns, pistols and
           other weapons . . . .

           GEORGIA

           A Digest of the Laws of the State of Georgia. From Its First Establishment as a
           British Province down to the Year 1798, Inclusive, and the Principal Acts of 1799:
           In Which is Comprehended the Declaration of Independence; the State
           Constitutions of 1777 and 1789, with the Alterations and Amendments in 1794.
           Also the Constitution of 1798 Page 153-154, Image 160-161 (1800) available at
           The Making of Modern Law: Primary Sources. 1768
           Laws of Georgia, An Act to amend and Continue “An Act for the Establishing and
           Regulating Patrols, and for Preventing any Person from Purchasing Provisions or
           any Other Commodities from, or Selling Such to any Slave, Unless Such Slave
           Shall Produce a Ticket from His or Her Owner, Manager or Employer . . . Be it
           enacted, That immediately from and after passing of this act, it shall not be lawful
           for any slave, unless in the presence of some white person, to carry or make use of
           fire arms, or any offensive weapon whatsoever, unless such slave shall have a
           ticket or license in writing from his master, mistress, or overseer, to hunt and kill
           game, cattle, or mischievous birds or beasts of prey, and that such license be
           renewed every week, or unless there be some white person of the age of sixteen
           years or upwards in the company of such slave when he is hunting or shooting, or
           that such slave be actually carrying his master’s arms to or from his master’s
           plantation by a special ticket for that purpose, or unless such slave be found in the
           day-time, actually keeping off birds within the plantation to which such slave
           belongs, loading the same gun at night, within the plantation to which such slave
           belongs, loading the same gun at night, within the dwelling house of his master,
           mistress or white overseer: Provided always, That no slave shall have liberty to
           carry any gun, cutlass, pistol, or other offensive weapon, abroad at any time
           between Saturday evening after sunset and Monday morning before sun rise,
           notwithstanding a license or ticket for so doing. II. And be it further enacted, That
           in case any or either of the patrols, established or to be established within this
           province, by virtues of the said act, on searching and examining any negro house
           for offensive weapons, fire arms and ammunition, shall find any such, or in case
           any person shall find any slave using or carrying fire arms or other offensive


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           weapons, contrary to the intent and meaning of this act, such patrol, or person or
           persons, may lawfully seize and take away such offensive weapons, fire arms, and
           ammunition, but before the property thereof shall be vested in the person or
           persons who shall seize the same, such person or persons shall, within three days
           next after such seizure, go before a justice of the peace, and shall make oath of the
           manner of taking thereof, and if such justice of the peace, after such oath made, or
           upon due examination, shall be satisfied that the said fire arms, offensive weapon,
           or ammunition, shall have been seized according to the directions, and agreeable to
           the true intent and meaning of this act, the said justice shall, by certificate under his
           hand and seal, declare them forfeited, that the property is lawfully vested in the
           person or persons who seized the same.

           1902 Ga. Laws 434-35, § 16.
           Be it further enacted by the authority aforesaid, That the mayor and aldermen of
           the said city of Forsyth shall have full power to license, regulate and control by
           ordinance all . . . gun shops, dealers in guns or pistols . . . .

           Orville Park, Park’s Annotated Code of the State of Georgia 1914, Penal Code,
           Article 3, Carrying pistols without license, § 348(a)-(d). 1910
           § 348 (a). Carrying pistols without license. [It shall be unlawful for any person to
           have or carry about his person, in any county in the State of Georgia, any pistol or
           revolver without first taking out a license from the ordinary of the respective
           counties in which the party resides, before such person shall be at liberty to carry
           around with him on his person, or to have in his manual possession outside of his
           own home or place of business: Provided that nothing in this law shall be
           construed to alter, affect, or amend any laws now in force in this State relative to
           the carrying of concealed weapons on or about one’s person, and provided further,
           that this shall not apply to sheriffs, deputy sheriffs, marshals, or other arresting
           officers of this State or United States, who are now allowed, by law, to carry
           revolvers; nor to any of the militia of said State while in service or upon duty; nor
           to any students of military colleges or schools when they are in the discharge of
           their duty at such colleges.] § 348 (b). License, how obtained. [The ordinary of the
           respective counties of this State in which the applicant resides may grant such
           license, either in term time or during vacation, upon the application of party or
           person desiring to apply for such license; provided applicant shall be at least
           eighteeen years old or over, and shall give a bond payable to the Governor of the
           State in the sum of one hundred dollars, conditioned upon the proper and
           legitimate use of said weapon with a surety approved by the ordinary of said
           county, and the ordinary granting the license shall keep a record of the name of the
           person taking out such license, the name of the maker of the fire-arm to be carried,


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           and the caliber and number of the same.] § 348 (c). Fee for license. [The person
           making such application and to whom such license is granted, shall pay to the
           ordinary for granting said license the sum of fifty cents, which license shall cover a
           period of three years from date of granting same.] § 348 (d). Punishment. [Any
           person violating any of the provisions of the three preceding sections shall be
           punished as for a misdemeanor, as prescribed in section 1065 of this Code.]

           HAWAII

           1870 Haw. Sess. Laws 26, An Act to License the Carrying of Fowling Pieces and
           Other Firearms, chap. 20, §§ 1 to 3.
           Lawrence McCully, Compiled Laws of the Hawaiian Kingdom Page 539, Image
           545 (1884) available at The Making of Modern Law: Primary Sources. 1870
           An Act to License the Carrying of Fowling Pieces and Other Fire-Arms. Whereas,
           the Act for the protection of Kolea or Plover and other useful birds, approved on
           the 20th day of April, A.D. 1859, has proved ineffectual for the purposes intended
           thereby, and Whereas, The general and indiscriminate use of fire-arms, which are
           frequently used for the destruction of useful, imported and migratory insectivorous
           birds and their progeny, is an injury to the agricultural and pastoral interests of this
           Kingdom, therefore, Be it Enacted by the King and Legislative Assembly of the
           Hawaiian Islands in the Legislature of the Kingdom assembled: § 1. That the
           Minister of the Interior may at any time license for a term of one year, any
           applicant for such license, to use and carry fire-arms for sporting purposes, in the
           District of Kona, Island of Oahu, on receiving for such license the sum of five
           dollars. § 2. Any person in said district who shall use or carry for sporting
           purposes, any gun, carbine, rifle, pistol, or other fire-arms, without having at first
           obtained a license as hereinbefore provided, shall, upon conviction therefor, before
           any police or district justice, be fined in a sum not to exceed fifty dollars for every
           such offense, and in default of payment of such sum, shall be imprisoned at hard
           labor, until such fine and costs are paid, according to law. § 3. All such licenses
           shall be signed by the Minister of the Interior, numbered according to their
           respective dates and impressed with the seal of his department, and no such license
           shall be transferable.

           Revised Laws of Hawaii 1925, 791-92 (1925).
           Section 2137. Form or report. It shall be the duty of the sheriff to prepare and
           furnish to all persons applying therefor [meaning applying under Section 18 of
           1927 Haw. Sess. Laws 209-217], proper blanks upon which such information shall
           be furnished, in the following form: [requiring name of owner, name of possessor,



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           number, description, makers name, factory number, and number disposed of and
           date].

           1927 Haw. Sess. Laws 209-217, AN ACT Regulating the Sale, Transfer and
           Possession of Certain Firearms and Ammunitions, and Amending Sections 2136,
           2137, 2138, 2139, 2140, 2141, 2142, 2143, 2146 and 2147 of the Revised Laws of
           Hawaii 1925 (the “Small Arms Act”), §§ 10-11, § 17.
           Section 1. Definitions. “Pistol” or “revolver” as used in this Act, means any
           firearm with barrel less than twelve inches in length. “Crime of Violence”, as used
           in this Act means any of the following crimes, namely, murder, manslaughter,
           rape, mayhem, assault to do great bodily harm, robbery, larceny, burglary and
           house-breaking. Section 2. Committing crime when armed. If any person, when
           armed with a pistol or revolver, shall commit or attempt to commit an act
           constituting a crime of violence, he may in addition to the punishment otherwise
           provided for the crime, be punished by imprisonment for not more than one year or
           by a fine of not more than one thousand dollars ($1,000.00) or by both; provided,
           that the act aforesaid be one which is capable of being committed or facilitated by
           means of a pistol or revolver. Section 3. Being armed prima facie evidence of
           intent. In the trial of a person for committing or attempting to commit a crime of
           violence, the fact that he was armed with a pistol or revolver and had no license to
           carry the same, shall be prima facie evidence of his intention to commit said crime
           of violence; provided, that the criminal act committed or attempted be one which is
           capable of being committed or facilitated by means of a pistol or revolver.
           Section 5. Carrying or keeping small arms by unlicensed persons. Except as
           otherwise provided in Sections 7 and 11 hereof in respect of certain licensees, no
           person shall carry, keep, possess, or have under his control a pistol or revolver;
           provided, however, that any person who shall have lawfully acquired the
           ownership or possession of a pistol or revolver may, for purposes of protection and
           with or without a license, keep the same in the dwelling house or business office
           personally occupied by him, and, in case of an unlawful attack upon any person or
           property in said house or office, said pistol or revolver may be carried in any
           lawful, hot pursuit of the assailant.
           Section 6. Exceptions. The provisions of the preceeding section shall not apply to
           marshals, sheriffs, prison or jail wardens or their deputies, policemen, mail
           carriers, or other duly appointed law enforcement officers, or to members of the
           Army, Navy, or Marine Corps of the United States, or of the National Guard, when
           on duty, or of organizations by law authorized to purchase or receive such weapons
           from the United States or this territory, or to officers or employees of the United
           States authorized by law to carry a concealed pistol or revolver, or to duly
           authorized military organizations when on duty, or to the members thereof when at


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           or going to or from their customary places of assembly, or to the regular and
           ordinary transportation of pistols or revolvers as merchandise, or to any person
           while carrying a pistol or revolver unloaded in a wrapper from the place of
           purchase to his home or place of business, or to a place of repair or back to his
           home or place of business or in moving goods from one place of abode or business
           to another.
           Section 9. Transfers regulated. No person shall transfer by way of sale, gift, loan or
           otherwise, a pistol or revolver unless the prospective transferee, when he applies
           for the transfer, presents a permit duly granted under Section 2141 of the Revised
           Laws of Hawaii 1925; nor shall he make such transfer unless the transferee be a
           person in respect of whom there is no reasonable cause, known to the transferor,
           for believing that such transferee has committed or attempted, or has been
           convicted of committing or attempting, a crime of violence. No seller shall in any
           event deliver a pistol or revolver on the day when the application to purchase and
           the statement hereinafter mentioned shall be made. When delivered, said pistol or
           revolver shall be securely wrapped and shall be unloaded. Before a delivery be
           made the purchaser shall sign in triplicate and deliver to the seller a statement
           containing his full name, address, occupation, race, nationality, color and place of
           birth, the date of sale, the caliber, make, model, and manufacturer’s number of the
           weapon, and stating that he has never been convicted of a crime of violence. The
           seller shall promptly sign and forward by registered mail one copy thereof to the
           treasurer of the territory, and one copy thereof to the sheriff of the county or city
           and county of which the seller is a resident, and shall retain the other copy for six
           years. A statement shall be deemed promptly forwarded if it is forwarded within
           seven days, unless a shorter time is provided therefor in regulations established by
           the Governor.
           Section 10. Dealers to be licensed. No retail dealer or selling agent shall sell or
           otherwise transfer, or expose for sale or transfer, or have in his possession with
           intent to sell, or otherwise transfer, any pistol or revolver without being licensed as
           hereinafter provided.
           Section 11. Dealers’ Licenses; by whom granted, and conditions thereof. The duly
           constituted licensing authorities of any political subdivision of this territory may
           grant licenses in form prescribed by the treasurer of the territory, effective for not
           more than one year from date of issue, permitting the licensee to sell at retail
           within the said city or town or political subdivision, pistols and revolvers, subject
           to the following conditions, for breach of any of which the license shall be subject
           to forfeiture:
           1. The business shall be carried on only in the building designated in the license.
           2. The license or a copy thereof, certified by the issuing authority, shall be
           displayed on the premises where it can easily be read.


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           3. No pistol or revolver shall be delivered unless the purchaser either is personally
           known to the seller or shall present clear evidence of his identity.
           4. The seller shall faithfully comply with the requirements of Section 9 hereof and
           with all other provisions of this Act and of Chapter 128, Revised Laws of Hawaii
           1925. A copy of the statement required by Section 9 hereof shall be entered by the
           seller in a book of record to be kept in his place of business and to be always open
           to the inspection of the officers and authorized representatives of the territorial
           government, including the police. Said book shall be preserved for six years.
           5. No pistol or revolver, or imitation thereof, or placard advertising the sale or
           other transfer thereof, shall be displayed in any part of said premises where it can
           readily be seen from the outside.
           No license to sell at retail shall be granted to anyone except as provided in this
           section.
           Section 12. False information forbidden. No person shall, in purchasing or
           otherwise securing delivery of a pistol or revolver, or in applying for a license to
           carry the same, give false information or offer false evidence of his identity.
           Section 17. Penalties. Any violation of any provision of this Act shall constitute an
           offense punishable by a fine of not more than one thousand dollars ($1,000.00) or
           imprisonment for not more than one year, or both.
           Section 25. Section 2143 of the Revised Laws of Hawaii 1925, is hereby amended
           by inserting, after the first sentence in said section [“The permit mentioned in
           section 2141 shall not be issued to any alien until the applicant has filed with the
           sheriff or a deputy sheriff of the county or city and county a request in writing,
           signed by two responsible citizens requesting that such permit be issued, and
           recommending and vouching for the applicant.”], the following: “The request
           aforesaid shall include (1) an expression of the belief of such citizens that the
           applicant has never committed or attempted a crime of violence, as that phrase is
           defined in the Small Arms Act; that he has never been convicted thereof anywhere
           and that he is not likely to commit or attempt any such crime and (2) a brief
           statement of the facts relating to the age, character, nativity and personal history of
           the applicant, insofar as these facts are within the personal knowledge of such
           responsible citizens. Such facts as are within the personal knowledge of one of
           them, only, shall be included in a supplemental written statement signed by the
           person having such knowledge.” [The rest of Section 2143 reads: “Aliens
           obtaining a permit as prescribed by the above section shall be required to secure an
           annual license from the treasurer of the county or city and county, and to pay to the
           treasurer an annual license tax of five dollars; provided, however, that to aliens
           who must necessarily use fire-arms in carrying on their business, such as rice
           planting, such license shall be issued free of charge upon a certificate from the
           sheriff of the county or city and county in which they carry on such business to the


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           effect that the fire-arms and ammunition mentioned in their permit are necessary to
           the conduct of their business.”]
           Section 26. Section 2146 of the Revised Laws of Hawaii 1925, is hereby amended
           to read as follows: “Section 2146. Penalties. Any person who shall be found in the
           possession of any firearm or firearms or any ammunition without having complied
           with the provisions of this chapter, or who shall fail to give, file or forward
           required information, reports or statements, or who shall otherwise violate the
           provisions of this chapter in matters not covered by Section 2142 hereof, shall be
           deemed guilty of a misdemeanor and upon conviction thereof, shall be fined by the
           court of appropriate jurisdiction in a sum of not more than five hundred dollars
           ($500.00). Any person, firm, corporation, copartnership, failing to file any
           information herein required to be filed, shall be deemed guilty of a misdemeanor
           and upon conviction shall be fined by the court of appropriate jurisdiction not more
           than five hundred dollars ($500.00).
           The divulging of official information recorded or on file in a public office shall be
           punishable in like manner; provided, however, that where the information divulged
           has not tended, or been designed to encourage, or to render formidable armed
           resistance to the law, the fine shall not exceed twenty-five dollars ($25.00).”

           1933 Haw. Sess. Laws 36-37, An Act Regulating the Sale, Transfer, and
           Possession of Firearms and Ammunition, § 3.
           Every person residing or doing business or temporarily sojourning within the
           Territory on the effective date of this Act who possesses a firearm of any
           description, whether usable or unusable, serviceable or unserviceable, modern or
           antique, not already registered in the name of the present possessor, or who
           possesses ammunition of any kind or description, except shotgun ammunition,
           shall, within ten days of said effective date, register the same with the chief of
           police of the city and county of Honolulu or the sheriff of the county, other than
           the city and county of Honolulu, wherein is his place of business, or if there be no
           place of business, his residence, or if there be neither place of business nor
           residence, his place of sojourn. Every person arriving in the Territory after the
           effective date of this Act, who brings with him firearms or ammunition of the type
           and description set out in this section, shall register the same in similar manner
           within forty-eight hours after arrival. The registration shall be on such forms as
           may be designated by the bureau of crime statistics and shall include a description
           of the class of firearm or firearms and ammunition owned by him, or in his
           possession, together with the name of the maker and the factory number, if known
           or ascertainable, and the source from which possession was obtained. Within sixty
           days after the effective date of this Act, the chief of police of the city and county of
           Honolulu and the sheriffs of the several counties, other than the city and county of


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           Honolulu, shall furnish the bureau of crime statistics a record of all registrations
           now on file in their respective offices. Within ten days after the end of each month
           the chief of police of the city and county of Honolulu and the sheriffs of the several
           counties, other than the city and county of Honolulu, shall furnish to the bureau of
           crime statistics duplicate copies of all registrations made during the preceding
           month. No fee shall be charged for such registration. Any person who fails to
           comply with the provisions of this section shall he punished by a fine of not more
           than two hundred and fifty dollars ($250.00).

           1933 Haw. Sess. Laws 37-38, An Act Regulating the Sale, Transfer, and
           Possession of Firearms and Ammunition, § 4.
           § 4. No person residing or doing business or temporarily sojourning within the
           Territory shall take possession of any fire arm of any description, whether usable
           or unusable, serviceable or unserviceable, modern or antique, registered under
           prior Acts or unregistered, or of any ammunition of any kind or description, except
           shotgun ammunition, either through sale, gift, loan, bequest, or otherwise, whether
           procured in the Territory or imported by mail, express, freight, or otherwise, until
           he shall first have procured from the chief of police of the city and county of
           Honolulu or the sheriff of the county, other than the city and county of Honolulu,
           wherein is his place of business, or if there be no place of business, his residence,
           or if there be neither place of business nor residence, his place of sojourn, a permit
           to acquire as prescribed herein. The chief of police of the city and county of
           Honolulu or the sheriffs of the several counties, other than the city and county of
           Honolulu, are hereby authorized, within their discretion, to issue permits, within
           their respective jurisdictions, to acquire rifles, pistols, and revolvers to citizens of
           the United States, of the age of twenty years or more, and to duly accredited
           official representatives of foreign nations. Permits to acquire ammunition for rifles,
           pistols and revolvers acquired prior to the effective date of this Act and registered
           in accordance with the provisions hereof, may be granted persons [sic] of the age
           of twenty years or more irrespective of citizenship. Permits to acquire shotguns
           may be granted to persons of the age of sixteen years or more, irrespective of
           citizenship. Applications for such permits shall be signed by the applicant upon
           forms to be specified by the bureau of crime statistics, and shall be signed by the
           issuing authority. One copy of such permit shall be retained by the issuing
           authority, as a permanent official record. Such permit shall be void unless used
           within ten days after the date of issue. In all cases where possession is acquired
           from another person in the Territory the permit shall be signed in ink by the holder
           thereof and shall thereupon he delivered to and taken up by the person selling,
           loaning, giving or delivering the firearm or ammunition, who shall make entry
           thereon setting forth in the space provided therefor the name of the person to


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           whom the firearm or ammunition was delivered, and the make, style, caliber, and
           number, as applicable. He shall then sign it in ink and cause it to he delivered or
           sent by registered mail to the issuing authority within forty-eight hours. In case
           receipt of such firearms or ammunition is had by mail, express, freight, or
           otherwise, from sources outside the Territory, the person to whom such permit has
           been issued, shall make the prescribed entries thereon, sign in ink, and cause it to
           be delivered or sent by registered mail to the issuing authority within forty-eight
           hours after taking possession of the firearms or ammunition. No person shall sell,
           give, loan, or deliver into the possession of another any firearm or ammunition
           except in accordance with the Provisions of this section. Any person acquiring a
           firearm or ammunition under the provisions of this section shall, within five days
           of acquisition, register same in the manner prescribed by Section 3 of this Act. No
           fee shall be charged for permits under this section. Any person who violates any
           provision of this section shall be punished by a fine of not more than five hundred
           dollars ($500.00) or imprisonment for not more than one year, or by both.

           1933 Haw. Sess. Laws 38, An Act Regulating the Sale, Transfer, and Possession of
           Firearms and Ammunition, § 5. 1933
           Any person who has procured a hunting license under the provisions of Sections
           2028-2032, inclusive, of the Revised Laws of Hawaii 1925, as amended, shall,
           while actually engaged in hunting or while going to or from the place of hunting,
           be authorized to carry and use any lawfully acquired rifle or shotgun and suitable
           ammunition therefor.

           1933 Haw. Sess. Laws 39, An Act Regulating the Sale, Transfer, and Possession of
           Firearms and Ammunition, § 8, 10-16.
           § 8. In an exceptional case, when the applicant shows good reason to fear injury to
           his person or property, the chief of police of the city and county of Honolulu or the
           sheriff of a county, other than the city and county of Honolulu, may grant a license
           to a citizen of the United States or a duly accredited official representative of a
           foreign nation, of the age of twenty years or more, to carry concealed on his person
           within the city and county or the county in which such license is granted, a pistol
           or revolver and ammunition therefor. Unless renewed, such license shall
           automatically become void at the expiration of one year from date of issue. No
           such license shall issue unless it appears that the applicant is a suitable person to be
           so licensed, and in no event to a person who has been convicted of a felony, or
           adjudged insane, in the Territory or elsewhere. All licenses to carry concealed
           weapons heretofore issued shall expire at midnight on the effective date of this
           Act. No person shall carry concealed on his person a pistol or revolver or
           ammunition therefor without being licensed so to do under the provisions of this


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           section. For each such license there shall he charged a fee of ten dollars ($10.00),
           which shall be covered into the treasury of the city and county or the county in
           which such license is granted. Any person violating this section shall be punished
           by a fine of not more than one thousand dollars ($1,000.00) or by imprisonment for
           not more than one year, or by both.

           1933 Haw. Special Sess. Laws 117, An Act . . . Regulating The Sale, Transfer And
           Possession Of Certain Firearms, Tear Gas And Ammunition: § 2.
           Except as permitted under the provisions of this Act, no person, firm or corporation
           shall own, possess, sell, offer for sale or transport any firearm of the kind
           commonly known as a machine gun or any shell cartridge or bomb containing or
           capable of emitting tear gas or any other noxious gas. Provided, however, that
           nothing in this Act contained shall prohibit the sale to, purchase by, or possession
           of such firearms by any city and county, county, territorial or federal officer where
           such firearms are required for professional use in the discharge of his duties, nor to
           the transportation of such firearms for or on behalf of police departments and
           members thereof, sheriffs, or the military or naval forces of this Territory or of the
           United States and “Provided, further that nothing in this Act shall prohibit police
           departments and members thereof, sheriffs, or the military or naval forces of the
           territory or of the United States from possessing or transporting such shells,
           cartridges or bombs for professional use in the discharge of their duties. “The term
           ‘shell, cartridge or bomb’, as used in this Act shall be construed to apply to and
           include all shells, cartridges, or bombs capable of being discharged or exploded
           through or by the use of percussion caps, fuses, electricity, or otherwise, when such
           discharge or explosion will cause or permit the release or emission of tear gases.
           The term ‘machine gun’ as used in this Act shall be construed to apply to and
           include machine rifles, machine guns and submachine guns capable of
           automatically and continuously discharging loaded ammunition of any caliber in
           which the ammunition is fed to such guns from or by means of clips, disks, drums,
           belts or other separable mechanical device.”

           ILLINOIS

           An Act concerning the Kaskaskia Indians, in Nathaniel Pope, Laws of the Territory
           of Illinois (1815). 1814
           That it shall not be lawful for any person whatever without license from the
           Governor or some sub-agent appointed by him to purchase or receive by gift or
           other wise of any of the before mentioned Indians, any horse, mare, gun,
           tomohawk, knife, blanket, shrouding, calico, saddle, bridle, or any goods wares or
           merchandize whatever, that all such sales or gifts shall be considered as fraudulent


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           on the part of the buyer or receiver and that any white person or free person of
           coulour whatever so buying or receiving any such articles of any one of those
           Indians shall be liable to pay a fine of twenty dollars to be recovered before a
           justice of the peace . . . .”

           Samuel P. Church, The Revised Ordinances of the City of Quincy, Ill. to Which
           are Prefixed the Charter of the City of Quincy, and the Amendment Thereto Page
           47, Image 47 (1841) available at The Making of Modern Law: Primary Sources.
           1841
           [An Ordinance Regulating the Police of the City of Quincy], § 5. Be it further
           ordained by the City Council of the City of Quincy, That no person shall, within
           the limits of said city, fire or discharge any cannon, musket, rifle, fowling piece, or
           other fire arms, or air-gun, except in cases of necessity, or in the performance of a
           public or lawful act of duty, or discharge or set of any cracker, rocket, torpedo,
           squib, or other fire works, within the limits of said city, without permission first
           obtained from the Mayor or one of the Aldermen, or Marshal of said city; and
           every person so offending shall forfeit and pay, for the use of said city, not less
           than one dollar, nor more than three dollars, for every such offense.

           George Manierre, The Revised Charter and Ordinances of the City of Chicago: To
           Which are Added the Constitutions of the United States and State of Illinois Page
           123-125, Image 131-133 (1851) available at The Making of Modern Law: Primary
           Sources. 1851
           Ordinances of the City of Chicago: Regulating the Keeping and Conveying Gun
           Powder and Gun Cotton; § I. (Be it ordained by the Common Council of the city of
           Chicago) That no person shall keep, sell, or give away gun powder or gun cotton in
           any quantity without permission of the common council or mayor in writing,
           signed by the mayor and clerk and sealed with the corporate seal, under a penalty
           of twenty-five dollars for every offence. § II. All applications for permits shall be
           addressed to the common council or mayor in writing, signed by the applicant. Not
           exceeding four permits shall be granted in any block. When the number of
           applications in any block shall at any time exceed the number to be granted, the
           requisite number shall be chosen by ballot. When issued the clerk shall make an
           entry thereof in a register to be provided for the purpose which entry shall state the
           name and place of business and date of permit. Persons to whom permits may be
           issued shall not have or keep at their place of business or elsewhere within the city,
           a greater quantity of gun powder or gun cotton than fifty pounds at one time, and
           the same shall be kept in tin canisters or cases containing not to exceed thirteen
           pounds each, and in a situation remote from fires or lighted lamps, candles or gas
           from which they may be easily removed in case of fire. Nor shall any person sell or


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           weigh any gun powder or gun cotton after the lighting of lamps in the evening,
           unless in sealed canisters or cases. It shall be the duty of every person to whom a
           permit shall be given to keep a sign at the front door of his place of business with
           the words “gun powder and gun cotton” painted or printed theron in large letters. A
           violation of any clause of this section shall subject the offender to a fine of not less
           than ten dollars nor exceeding one hundred dollars. § III. No person shall convey
           or carry any gun or carry any gun powder or gun cotton, (exceeding one pound in
           quantity), through any street or alley in the city, in any cart, carriage, wagon, dray,
           wheelbarrow, or otherwise, unless the gun powder or gun cotton be secured in tight
           cases or kegs well headed and hooped, and put into and entirely covered with a
           leather bag or case, sufficient to prevent such gun powder or gun cotton from being
           spilled or scattered under a penalty of one hundred dollars. IV. No vessel, laden in
           whole or in part with gun powder or gun cotton, shall land at, or make fast to any
           dock or wharf upon the Chicago river, or either branch thereof, between the south
           line of the school section and Chicago avenue, or to discharge such gun powder or
           gun cotton within said limits. If any master, or owner of any vessel, or other person
           shall violate any provision of this section, he shall be subject to a fine of not less
           then twenty-five dollars and not exceeding one hundred dollars. § V. The mayor
           shall have power to cause any vessel to be removed form the limits mentioned in
           the previous section, to any place beyond the same, by a written order, which shall
           be executed by the marshal or some other member of the police. If any person shall
           neglect or refuse to obey such order, or shall resist any officer in the execution of
           the same, he shall be subject to a penalty of one hundred dollars. § VI. Al
           permissions granted under this ordinance shall expire on the tenth day of June each
           year. And no permit shall be granted to any retailer of intoxicating liquors or to any
           intemperate person. The clerk shall be entitled to a fee of one dollar for every
           permit so issued. § VII. It shall be the duty of the officers of the police department,
           fire-wardens, and firemen, to report all violations of this ordinance which may
           come to the knowledge of the city attorney for prosecution.

           James M. Cunningham, The City Charter and the Revised Ordinances of the City
           of Peoria, Illinois; Also, the Original City Charter, and the Several Amendments
           Thereto, and the State Laws Relating to the City or Specially Affecting Its
           Interests; Together with the Rules of Order and Business for the Government of the
           City Council. Arranged, Revised, and Published, Under the Authority of the City
           Council, in the Year 1869 Page 254, Image 284 (1869) available at The Making of
           Modern Law: Primary Sources. 1869
           Revised Ordinances [of the City of Peoria: Public Safety and Convenience], § 1.
           That it shall not be lawful for any person in said city, without permission from the
           mayor or superintendent of police, to fire or discharge any cannon, musket, rifle,


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           fowling-piece, pistol, or other fire-arms or air guns, except it is done in cases of
           necessity, or in the performance of a public act of lawful duty, or by military
           companies when on parade or in the discharge of duty; and every person violating
           the provisions of this section shall, on conviction, forfeit and pay not less than one
           dollar nor more than one hundred dollars for every offense.

           Revised Ordinances of the City of Galesburg, the Charter and Amendments, State
           Laws Relating to the Government of Cities and Appendix Page 122-123, Image
           127-128 (1869) available at The Making of Modern Law: Primary Sources. 1869
           Revised Ordinances [of Galesburg, Ill.], Gunpowder-Fires, Fire-Arms, § 1. The
           keeping for sale or selling gunpowder, without a license therefor, is prohibited, and
           no license shall be issued allowing the keeping in store more than twenty-five
           pounds of gun powder at any one time, unless kept in some secure magazine or
           fire-proof powder house, located at least one hundred feet from any other occupied
           building, and when kept in a store or place for retail it shall be kept in tin or other
           metallic canisters or cases, and in a part of the building remote from any fire, lamp,
           candle or burning matter liable to produce explosion, and whoever shall violate this
           section, or any provision of it, shall be subject to a penalty of twenty dollars. § 2.
           Each person licensed to sell gunpowder shall keep a sign, with the words
           “Gunpowder for Sale,” in plain letters, in some conspicuous place in the front of
           the building where such powder is kept. And no sales of gunpowder, except in
           unopened cans shall be sold after night, and any person convicted of violation of
           any of the provisions of this section shall be subject to a penalty of ten dollars. § 3.
           Whoever shall bring or cause to be brought into the city any gunpowder concealed
           in any box or other package, or in any package marked as containing other articles,
           in which such powder is contained, shall be subject to a penalty of twenty-five
           dollars. §4. The carrying gunpowder through the streets or other public places, in a
           careless or negligent manner, or the remaining with such powder in any place
           longer than necessary for the transportation of the same from one place to another,
           shall subject the party offending to a penalty of not less than five dollars. . .

           Consider H. Willett, Laws and Ordinances Governing the Village of Hyde Park
           Together with Its Charter and General Laws Affecting Municipal Corporations;
           Special Ordinances and Charters under Which Corporations Have Vested Rights in
           the Village. Also, Summary of Decisions of the Supreme Court Relating to
           Municipal Corporations, Taxation and Assessments Page 64, Image 64 (1876)
           available at The Making of Modern Law: Primary Sources. 1876
           Misdemeanors, § 39. No person, except peace officers, shall carry or wear under
           their clothes, or concealed about their person, any pistol, revolver, slung-shot,



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           knuckles, bowie-knife, dirk-knife, dirk, dagger, or any other dangerous or deadly
           weapon, except by written permission of the Captain of Police.

           Merritt Starr & Russell H. Curtis, Annotated Statutes of the State of Illinois in
           Force (1885), Criminal Code Ch. 38, para. 90.
           All persons dealing in deadly weapons, hereinbefore mentioned, at retail within
           this State shall keep a register of all such weapons sold or given away by them.
           Such register shall contain the date of the sale or gift, the name and age of the
           person to whom the weapon is sold or given, the price of the said weapon, and the
           purpose for which it is purchased or obtained. The said register shall be in the
           following form. [Form of Register] Said register is to be kept open for inspection
           of the public, and all persons who may wish to examine the same may do so at all
           reasonable times during business hours. A failure to keep such register, or to allow
           an examination of the same, or to record therein any sale or gift of a deadly
           weapon, or the keeping of a false register, shall be a misdemeanor, and shall
           subject the offender to a fine of not less than twenty-five dollars ($25) nor more
           than two hundred dollars ($200).

           George W. Hess, Revised Ordinances of the City of Evanston : Also Special Laws
           and Ordinances of General Interest Page 131-132, Image 143-144 (1893) available
           at The Making of Modern Law: Primary Sources. 1893
           Concealed Weapons, §531. It shall be unlawful for any person within the limits of
           the city of Evanston to carry or wear under his clothes or concealed about his
           person, any pistol, colt or slung shot, cross knucklet, or knuckles of lead, brass or
           other metal, or bowie knife, dirk, dagger, or any other dangerous or deadly
           weapon. . . § 537. The Mayor may grant to so many and such persons as he may
           think proper, licenses to carry concealed weapons, and may revoke any and all
           such licenses at his pleasure. § 538. Applications for such licenses shall be made to
           the city clerk, and when granted, the applicant therefor shall pay to the said clerk,
           for the use of the city, the sum of two dollars. § 539. Every such license shall state
           the name, age and occupation and residence of the person to whom it is granted.

           Samuel A. Ettelson, Opinions of the Corporation Counsel and Assistants from May
           1, 1915, to June 30, 1916 Page 458-459, Image 458-459 (Vol. 7, 1916) available at
           The Making of Modern Law: Primary Sources. 1914
           Ordinance of May 25, 1914, § 4a. It shall be unlawful for any person, firm or
           corporation to sell, barter or give away to any person within the City of Chicago,
           any pistol, revolver, derringer, bowie knife, dirk or other weapon of like character
           which can be concealed on the person, except to licensed dealers and to persons
           who have secured a permit for the purchase of such articles from the general


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           superintendent of police as hereinafter required; provided, this section shall not
           apply to sales made of such articles which are delivered or furnished outside the
           City of Chicago. § 5. It shall be unlawful for any person to purchase any pistol,
           revolver, derringer, bowie knife, dirk or other weapon of like character, which can
           be concealed on the person, without first securing from the General Superintendent
           of Police a permit so to do. Before any such permit is granted, an application in
           writing shall be made therefor, setting forth in such application the name, address,
           age, height, weight, complexion, nationality and other elements of identification, of
           the person desiring such permit, and the applicant shall present such evidence of
           good character as the General Superintendent of Police in his discretion may
           require. § 6. It shall be the duty of the General Superintendent of Police to refuse
           such permit to (a) All persons having been convicted of any crime. (b) all minors.
           “Otherwise, in case he shall be satisfied that the applicant is a person of good
           moral character, it shall be the duty of the General Superintendent of Police to
           grant such permit, upon the payment of a fee of one dollar. § 8. Any person, firm
           or corporation violating any of the provisions of this ordinance, shall be fined not
           less than Fifty Dollars ($50.00) nor more than Two hundred Dollars ($200.00) for
           each offense, and every purchase, sale or gift of any weapon mentioned in this
           ordinance shall be deemed a separate offense.

           Samuel Irwin, Reports of Cases At Law And In Chancery 566 (vol. #278, Chicago,
           Ill, 1917).
           1917
           It shall be the duty of the general superintendent of police to refuse such permit to
           (a) all persons having been convicted of any crime; (b) all minors. Otherwise, in
           case he shall be satisfied that the applicant is a person of good moral character, it
           shall be the duty of the general superintendent of police to grant such permit upon
           the payment of a fee of one dollar.

           1931 Ill.Laws 453, An Act to Regulate the Sale, Possession and Transportation of
           Machine Guns, § 4.
           Every manufacturer or merchant shall keep a register of all machine guns
           manufactured or handled by him. This register shall show the date of the sale, loan,
           gift, delivery or receipt of any machine gun, the name, address and occupation of
           the person to whom the machine gun was sold, loaned, given or delivered, or from
           whom it was received, and the purpose for which the person to whom the machine
           gun was sold, loaned, given or delivered, purchased or obtained said machine gun.
           Upon demand, every manufacturer or merchant shall permit any sheriff or deputy
           sheriff, or any police officer to inspect his entire stock of machine guns, parts and
           supplies therefor, and shall produce the register herein required and all written


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           permits to purchase or possess a machine gun, which he has retained and filed in
           his place of business for inspection by such officer.

           INDIANA

           1847 Ind. Acts 93, An Act to Reduce the Law Incorporating the City of Madison,
           and the Several Acts Amendatory Thereto Into One Act, and to Amend the Same,
           chap 61, § 8, pt. 4.
           To regulate and license, or provide by ordinance for regulating and licensing . . .
           the keepers of gunpowder and other explosive compounds . . . .

           W. G. Armstrong, The Ordinances and Charter of the City of Jeffersonville Page
           15-17, Image 15-17 (1855) available at The Making of Modern Law: Primary
           Sources. 1855
           Ordinances [of Jeffersonville], § 3, Pt. 11. It shall also be a nuisance and unlawful .
           . . To discharge or cause to be discharged any fire arms, squibs, bombs or fire
           works of any kind without license being first obtained therefor.

           Revision of 1895. The General Ordinances of the City of Indianapolis. Containing
           also, Acts of the Indiana General Assembly so far as they Control Said City, to
           which Prefixed a Chronological Roster of Officers from, 1832 to 1895 and Rules
           Governing the Common Council Page 290-291, Image 372-373 (1895) available at
           The Making of Modern Law: Primary Sources.
           1895
           Laws and Ordinances [of the City of Indianapolis], An Ordinance Licensing Rifle
           and Pistol Practice in the City of Indianapolis, § 1. Be it ordained by the Common
           Council and Board of Aldermen of the City of Indianapolis, That it shall hereafter
           be unlawful for any person to conduct or carry on any shooting gallery or room
           where rifle or pistol shooting is practiced, in the City of Indianapolis, without first
           having procured a license so to do, as hereinafter provided. § 2. A license fee of
           twenty-five dollars for six months and fifty dollars for one year shall be paid by the
           person conducting such business. Upon the payment of twenty-five dollars to the
           City Treasurer by any person desiring to carry on such a gallery or room, the City
           Treasurer shall issue to him a receipt therefor, designating therein what said money
           is paid for; and upon the surrender thereof to the City Clerk [Comptroller] that
           officer shall issue to such person a license for the said term of six months; and
           likewise, upon the payment of fifty dollars, a license for one year shall issue. The
           Clerk [Comptroller] shall be entitled to charge one dollar for the issue of every
           such license. Said license shall be in the usual form. § 3. Any person opening or
           carrying on such a gallery or room without such license shall be fined in any sum


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           not exceeding fifty dollars; and every day’s continuance shall constitute a spate
           offense.

           1925 Ind. Acts 495, 495-98
           Pistols and Revolvers Defined.
           SECTION 1. Be it enacted by the general assembly of the State of Indiana, That
           the term “pistol or revolver,” as used in this act, shall be construed as meaning any
           firearm with a barrel less than twelve inches in length.
           Crime-Committing When Armed With Pistol or Revolver.
           SEc. 2. If any person shall, within the State of Indiana, commit or attempt to
           commit a crime, when armed with a pistol or revolver, and having no permit to
           carry the same, he shall, in addition to the punishment provided for the crime, be
           guilty of a felony and shall be punished by imprisonment for not less than one year
           and not more than five years.
           Subsequent Offenses.
           SEc. 3. The judge shall have the power to sentence any person who may be
           convicted for a second or third, or other subsequent offense under section 2 of this
           act, to double or triple the penalty imposed thereby.
           Felony-Conviction For-Prohibited From Possessing Pistol.
           SEC. 4. No person who has been convicted of a felony committed against the
           person or property of another shall own or have in his possession or under his
           control, within the State of Indiana, a pistol or revolver. A violation of this section
           shall constitute a felony and be punishable by imprisonment for not less than one
           year, and not more than five years.
           Pistol or Revolver-Possession Without Permit.
           SEc. 5. No person shall carry, within the State of Indiana, a pistol or revolver
           concealed in any vehicle or upon his person, except in his dwelling house or place
           of business, without a permit therefor as hereinafter provided. Violations of this
           section shall constitute a misdemeanor and be punished by a line of one hundred
           dollars ($100.00), to which may be added imprisonment for not more than one
           year, and upon conviction the pistol or revolver shall be confiscated and destroyed
           by the sheriff on order of the court.
           Persons Exempt From Act.
           SEc. 6. The provisions of the preceding section shall not apply to marshals,
           sheriffs, deputy sheriffs, policemen or any other duly appointed peace officers, nor
           the pistols or revolvers of any bank, trust company, or common carriers, or to the
           officers or employes of any bank, trust company, or common carriers, while such
           officers or employes are guarding money or valuables within the line of their duties
           as such employes, nor to the regular and ordinary transportation of pistols or
           revolvers as merchandise, nor to members of the army, navy, or marine corps or


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           the mail service of the United States, or the national guard, when on duty, or
           organizations by law authorized to purchase or receive such weapons from the
           United States, or the State of Indiana, nor to duly authorized military or civil
           organizations when parading, nor to the members thereof when at .or going to or
           from their customary places of assembly.
           Permits-Clerk of Circuit Court-Application-Form Fee.
           SEC. 7. The clerk of any circuit court of the State of Indiana, shall, upon
           application of any citizen having a bona fide residence or place of business within
           the State of Indiana, or of any person having a bona fide residence or place of
           business within the United States, and a permit to carry a firearm concealed upon
           his person issued by the authorities of any other state or subdivision of the United
           States, issue a permit to such citizen to carry a pistol or revolver within the State of
           Indiana, during the period of one year or until revoked, as herein provided. Such
           application for permit Shall be signed by two resident householders and
           freeholders of the county in which the applicant lives, and it shall appear from such
           application that the applicant is a suitable person to be granted a
           permit under the law. The permit shall be in duplicate, in form to be prescribed by
           the adjutant general of the State of Indiana, and shall bear the name, address,
           description and signature of the applicant and reason given for desiring a permit.
           The original thereof shall be delivered to the applicant, the duplicate shall be
           preserved for six years by the clerk of the circuit court issuing the same. For each
           permit so issued, the applicant shall pay the sum of one dollar ($1.00).
           Minors-Sale of Pistols or Revolvers to Prohibited.
           SEc. 8. Any person or persons who shall, within the State of Indiana, sell, barter,
           hire, lend, or give to any minor under the age of twenty-one years, any pistol or
           revolver shall be deemed guilty of a misdemeanor and shall upon conviction
           thereof be fined not more than one hundred dollars ($100.00), or be imprisoned for
           not more than three months, or both, except for uses as hereinbefore provided.
           Sale of Pistols and Revolvers-Record-Penalty.
           SEc. 9. No person shall within the State of Indiana sell, deliver or otherwise
           transfer a pistol or revolver to a person who he has reasonable cause to believe
           either is not a citizen or has been convicted of a felony against the person or
           property of another, nor in any event shall he deliver a pistol or revolver on the day
           of the application for the purchase thereof, and when delivered said pistol or
           revolver shall be securely wrapped and shall be unloaded. Before a delivery be
           made, the purchaser or his duly authorized agent and the seller or his duly
           authorized agent shall in the presence of each other sign in duplicate a statement
           containing the purchaser’s full name, age, dress, place of birth, and nationality, the
           date of sale, the caliber, make, model, and manufacturer’s number of the weapon.
           The seller shall, within seven days, forward by registered mail, to the clerk of the


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           circuit court of the county in which the seller resides, one copy thereof and shall
           retain the other copy for six years. This section shall not apply to sales at
           wholesale. Where neither party to the transaction holds a dealer’s license, no
           person shall sell or otherwise transfer a pistol or revolver to any person not
           personally known to him. Violations of this section shall constitute a misdemeanor
           and shall be punished by a fine of not less than one hundred dollars ($100.00), or
           by imprisonment for not more than one year, or by both such fine and
           imprisonment.
           Pistols and Revolvers-Sale Without License.
           SEC. 10. Whoever, within the State of Indiana, without being licensed as
           hereinafter provided, sells, delivers, transfers, advertises, or exposes for sale, or has
           in his possession with intent to sell, pistols or revolvers, shall be deemed guilty of a
           felony and upon conviction thereof shall be punished by imprisonment for not less
           than one year nor more than two years.
           Dealers’ Licenses-Conditions on Which Sold-Record Advertisement.
           SEC. 11. The clerk of the circuit court of any county may grant licenses, to any
           reputable, established dealer, on forms to be prescribed by the adjutant general,
           permitting the licensee to sell at retail within the State of Indiana pistols and
           revolvers, subject to the following conditions, for breach of any of which the
           license shall be subject to forfeiture:
           1. The business shall be carried on only in the building designated in the license.
           2. The license or a copy thereof, certified by the issuing authority, shall be
           displayed on the premises where it can easily be read.
           3. No pistol or revolver shall be delivered: (a) On the day of the application for the
           purchase, and when delivered shall be unloaded and securely wrapped; nor, (b)
           Unless the purchaser either is personally known to the seller or shall present clear
           evidence of his identity; nor, (c) If the seller has reasonable cause to believe that
           the purchaser is an unnaturalized foreign-born person or has been convicted of a
           felony against the person or property of another.
           4. A true record, in duplicate, shall be made of every pistol or revolver sold, said
           record to be made in a book kept for the purpose, the form of which shall be
           prescribed by the adjutant general and shall be signed by the purchaser and by the
           person effecting the sale, and in the presence of each other, and shall include the
           date of sale, the caliber, make, model, and manufacturer’s number of the weapon,
           the name, address, age, place of birth, nationality of the purchaser. One copy of
           said record shall,
           within seven days, be forwarded by registered mail to the clerk of the circuit court
           of the county in which the seller resides, and the other copy shall be retained by the
           seller for six years.



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           5. No pistol or revolver, or placard advertising the sale thereof, or imitation
           thereof, shall be displayed in any part of said premises where it can readily be seen
           from the outside.
           False Information.
           SEC. 12. If any person in purchasing or otherwise securing delivery of a pistol or
           revolver or applying for a permit to carry same within the State of Indiana shall
           give false information or offer false evidence of his identity he shall be deemed
           guilty of a felony and upon conviction shall be punished by imprisonment for not
           less than one year nor more than five years.
           Obliteration of Make, Model, Number-Penalty.
           SEC. 13. No person shall within the State of Indiana, change, alter, remove, or
           obliterate the name of the maker, model, manufacturer’s number, or other mark of
           identification on any pistol or revolver. Possession of any such firearms upon
           which the same shall have been changed, altered, removed, or obliterated, shall be
           prima facie evidence that such possessor has changed, altered, removed, or
           obliterated the same. Violations of this section shall be a misdemeanor and shall be
           punished by imprisonment for not less than six months nor more than one year.
           Felony-Possession of Revolver Prima Facie Evidence.
           SEC. 14. In the trial of a person charged with committing or attempting to commit
           a felony against the person or property of another while armed with a pistol or
           revolver, without having a permit to carry such firearm as hereinbefore provided,
           the fact that such person was so armed shall be prima facie evidence of his intent to
           commit such felony.
           Weapons Exempt.
           SEC. 15. This act shall not apply to antique pistols or revolvers incapable of use as
           a deadly weapon.
           Prior Licenses.
           SEC. 16. Any or all licenses heretofore issued to carry or possess revolver or pistol
           shall be revoked and rendered null and void on and after thirty days from the
           taking effect of this act.
           Revocation of License.
           SEC. 17. Hereafter in any court of record upon trial of any person for a penal
           offense, and upon a showing that such person is not a fit person to carry concealed
           weapons, the court may enter an order revoking such person’s license to carry
           concealed weapons and such fact shall be communicated to the public officer
           issuing the same.
           Licensed Dealers-Statement–Penalty.
           SEC. 17 1/2. It shall be unlawful from and after the taking effect of this act, for any
           person, firm or corporation to receive or have in his or its possession within the
           State of Indiana any pistol or revolver purchased or acquired after the taking effect


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           of this act, except a licensed dealer, who shall not have signed and forwarded to the
           clerk of the county in which he resides the statements provided for in section 9 of
           this act, before or at the time of taking possession of such pistol or revolver.
           Whoever shall violate the provisions of this section of this act shall be deemed
           guilty of a misdemeanor and shall upon conviction thereof be- fined not more than
           $100, to which may be added imprisonment for not more than sixty days.
           Repeal.
           SEC. 18. All laws and parts of laws in conflict herewith are hereby repealed.
           Unconstitutional Provisions.
           SEC. 19. If any provision or section of this act shall be held void or
           unconstitutional, all other provisions and all other sections of this act, which are
           not expressly held to be void or unconstitutional, shall remain in full force and
           effect.

           IOWA

           John F. Dillon, The Revised Ordinances of the City of Davenport, Revised and
           Digested by Order of the City Council, Containing the Original and Amended City
           Charters, with Notes and References to Judicial Decisions Page 145, Image 145
           (1866) available at The Making of Modern Law: Primary. 1855
           [Ordinances of Davenport Iowa,] Chapter 19, An Ordinance to Prohibit the
           Discharge of fire-arms, fire-crackers, and rockets within the city, § 1. No person
           shall discharge any gun, pistol or other fire-arms, or use or discharge any fire-
           crackers, rockets, or any other description of fire-works, within the limits of said
           city, without permission in writing from the Mayor. § 2. Any person violating any
           provision of this ordinance, shall pay a fine of not less than two dollars nor more
           than ten dollars for each offense.

           The Code: Containing All the Statutes of the State of Iowa, of a General Nature,
           Passed at the Adjourned Session of the Fourteenth General Assembly Page 76-77,
           Image 88-89 (1873) available at The Making of Modern Law: Primary Sources.
           1873
           Cities and Incorporated Towns, Powers, § 456. They shall have power to prevent
           injury or annoyance from anything dangerous offensive or unhealthy, and to cause
           any nuisance to be abated; to regulate the transportation and keeping of gunpowder
           or other combustible, and to provide or license magazines for the same; to prevent
           and punish fast or immoderate riding through the streets; to regulated the speed of
           trains and locomotives on railways running over the streets or through the limits of
           the city or incorporated town by ordinance, and enforce the same by a fine not
           exceeding one hundred dollars: to establish and regulate markets; to provide for the


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           measuring or weighing of hay, coal, or any other article of sale; to prevent any
           riots, noise, disturbance, or disorderly assemblages; to suppress and restrain
           disorderly houses, houses of ill fame, billiard tables, nine or ten pin alleys, or
           tables and ball alleys, and to authorize the destruction of all instruments or devices
           used for purposes of gaming, and to protect the property of the corporation and its
           inhabitants and to preserve peace and order therein.

           E. E. Aylesworth, Compiled Ordinances of the City of Council Bluffs; Containing
           the Original and Amended City Charter, with Statutes, Notes and References to
           Judicial Decisions Page 175, Image 175 (1880) available at The Making of Modern
           Law: Primary Sources. 1880
           [Ordinances of the] City of Council Bluffs, [Misdemeanors,] § 16. Whoever shall
           discharge any cannon, gun, pistol or other fire-arms in or across any street or other
           public place, or in or across any private lot, tract of land or other place not of his
           own property, without first obtaining a permit to do so from the Mayor of the city,
           if in a public place, or from the owner of the lot or land if in a private place, shall
           be deemed guilty of misdemeanor, and on conviction thereof shall be punished by
           a fine of not less than three nor more than thirty dollars.

           Geoffrey Andrew Holmes, Compiled Ordinances of the City of Council Bluffs, and
           Containing the Statutes Applicable to Cities of the First-Class, Organized under the
           Laws of Iowa Page 168-169, Image 171-172 (1887) available at The Making of
           Modern Law: Primary Sources. 1887
           Ordinances, City of Council Bluffs, Shooting Gallery, § 5. No person shall carry
           on or take part in carrying on any pistol gallery or shooting gallery without license
           therefor from said city, and the charge for such license shall be ten dollars per
           month, or fifty dollars per annum. §6. No licensee or his employee, or any person
           in charge of any pin alley, ball alley, pistol gallery or shooting gallery, shall at any
           time, without gain or profit, permit or allow any minor to be or remain in or about
           the same to play thereat, under penalty of the same fine and forfeiture as set forth
           in section 2 of this chapter.

           KENTUCKY

           Charter of the City of Covington, and Amendments Thereto up to the Year 1864,
           and Ordinances of Said City, and Amendments Thereto, up to the Same Date Page
           148-149, Image 148-149 (1864) available at The Making of Modern Law: Primary
           Sources. 1864
           Ordinances of the City of Covington, An Ordinance Regulating the Sale of Powder
           in the City of Covington, § 1. Be it ordained by the City Council of Covington,


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           That it shall not be lawful for any person or persons to erect, within the limits of
           the corporation, any powder magazine, or any other building for the purpose of
           storing gun powder in greater quantities than is hereinafter specified; and any
           person violating the provision of this section, shall, on conviction before the
           Mayor, forfeit and pay a fine of one hundred dollars, and ten dollars for every
           twenty-four hours said building shall be used or occupied for the storage of more
           than twenty-five pounds of powder. § 2. Be it further ordained, That it shall not be
           lawful for any person to keep, in storage or for sale, more than one hundred pounds
           of powder in any one house in said city, at any one time: and that amount, or any
           part thereof, shall be securely and carefully kept, and closed up in a good and
           sufficient safe, so that it can not by any means be exposed. A violation of this
           section shall subject the person to a fine, on conviction, of five dollars for every
           offense. § 3. Be it further ordained, That no person or persons shall sell, or keep for
           sale, in said city, any gun powder without having first obtained a permission so to
           do from the Mayor of said city, who shall, before said license is granted, be fully
           assured and satisfied that the applicant has good and sufficient safes to keep
           powder in, in conformity with the second section of this ordinance; and when the
           Mayor is satisfied that the license may be granted, without too much risk to the
           community at large, he shall issue said license to the applicant, upon his paying
           into the City Treasury the sum of twenty dollars for one year’s license, and to the
           Mayor fifty cents, and to the City Clerk twenty-five cents, for their certificates.
           Any person who shall sell any gun powder in said city from and after the passage
           of this ordinance, without having first obtained a license therefor, shall, for each
           and every offense, forfeit, pay, on conviction, the sum of five dollars and costs.

           1874 Ky. Acts 327, An Act to Revise and Amend the Charter of the City of
           Newport, § 6.
           To prohibit the manufacture of gunpowder or other explosive, dangerous, or
           noxious compounds or substances in said city, and to regulate their sale and
           storage by license.

           LOUISIANA

           John C. White, Digest of the Laws and Ordinances of the Parish of East Feliciana,
           Adopted by the Police Jury of the Parish Page 68, Image 70 (1848) available at
           The Making of Modern Law: Primary Sources. 1848
           [Ordinances of the Parish of East Feliciana,] Of Slaves, § 5. No slave shall carry a
           gun to hunt, except on the plantation of his master or mistress; nor then unless
           accompanied by the overseer or some other free white member of the family, or
           has a written permit from his owner or overseer, which permit shall state for what


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           said slave is hunting: Any person having the charge of slaves, who shall permit this
           section to be violated, shall pay a fine of twenty dollars, for the use of the parish,
           upon information to any Justice, whose duty it is to take cognizance of the case.

           Henry Jefferson Leovy, The Laws and General Ordinances of the City of New
           Orleans, Together with the Acts of the Legislature, Decisions of the Supreme
           Court, and Constitutional Provisions, Relating to the City Government. Revised
           and Digested, Pursuant to an Order of the Common Council Page 242, Image 268
           (1857) available at The Making of Modern Law: Primary Sources.
           1857
           [Ordinances of the City of New dueOrleans,] Revenue – Taxes and Licenses, § No.
           680. Every keeper of a pistol gallery, the whole tax being levied on each and every
           gallery, sixty dollars.

           Henry Jefferson Leovy, The Laws and General Ordinances of the City of New
           Orleans, Together with the Acts of the Legislature, Decisions of the Supreme
           Court. And Constitutional Provisions Relating to the City Government. Revised
           and Digested, Pursuant to an Order of the Common Council Page 257, Image 257
           (1870) available at The Making of Modern Law: Primary Sources.
           1870
           [Ordinances of the City of New Orleans,] Offences and Nuisances, § 635. No
           person shall fire or discharge any gun, pistol, fowling piece or fire-arms, within the
           limits of the city, or set fire to, or discharge any rocket, cracker, squib or serpent,
           or shall throw any lighted rocket, cracker, squib or serpent, within the limits of the
           city, without the license of the common council; Provided, that nothing herein
           contained shall apply to military reviews or to the lawful use of weapons in self
           defense.


           MAINE

           The Revised Ordinances of the City of Portland, 1848 Page 22, Image 22 (1848)
           available at The Making of Modern Law: Primary Sources.
           [Ordinances of the City of Portland,] Of Gunpowder, § 1. No person not licensed
           to keep and sell gunpowder shall keep or have in his shop, store, dwelling house or
           other tenement, at any one time, a larger quantity of gunpowder than one pound. §
           2. No person licensed to keep and sell gunpowder shall have or keep in his store,
           shop, dwelling house or in any other tenement or place whatever at any one time, a
           larger quantity of gunpowder then twenty-five pounds. § 3. Every person licensed
           to keep and sell gunpowder shall provide himself with a strongly made copper


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           chest or box with a copper cover well secured, with hinges and a lock of the same
           material, and the keg or canister in which said powder may be, shall be kept in said
           copper chest or box, which shall at all times be placed near the outer door of the
           building in which it is kept, in convenient place to remove in case of fire. § 4. No
           person shall haul unto, or lay at any wharf in the city, any vessel having on board a
           quantity of gunpowder exceeding twenty-five pounds, or receive gunpowder on
           board exceeding twenty-five pounds, without first having obtained a permit from
           the mayor and aldermen, and said permit shall designate the wharf at which said
           powder may be landed, or received on board.

           The Charter, Amendments, and Acts of the Legislature Relating to the Municipal
           Court, and the Ordinances of the City of Lewiston, Together with the Boundaries
           of the Several Wards, Regulations Respecting Gunpowder, and an Abstract of the
           Laws Relating to the Powers and Duties of Cities and Towns Page 43, Image 43
           (1873) available at The Making of Modern Law: Primary Sources. 1873
           Regulations Relating to Gunpowder, § 1. No person shall keep or have in any shop,
           store, dwelling house or tenement, in the city of Lewiston, at any one time a larger
           quantity of gun-powder than one pound, unless he is licensed by the mayor and
           aldermen to keep and sell gunpowder, or except as hereinafter provided. § 2. It
           shall not be lawful for any person or persons to sell any gunpowder which may at
           the time be within said city, in any quantity, by wholesale or retail, without having
           first obtained from the mayor and aldermen a license to sell gunpowder, and every
           license shall be written or printed, and duly signed by the mayor, on a paper upon
           which shall be written or printed a copy of the rules and regulations established by
           the city relative to keeping, selling and transporting gunpowder within said city;
           and every such license shall be in force one year from the date thereof, unless
           revoked by the mayor and aldermen; but such license may, prior to its expiration,
           be renewed by an endorsement thereon by the mayor, for the further term of one
           year, and so from year to year, provided, always, that it may at any time be
           rescinded or revoked by the mayor and aldermen, for good and sufficient reasons.
           § 3. Every person who shall receive a license to sell gunpowder, as aforesaid, shall
           pay for the same to the treasurer of the city the sum of three dollars, and for each
           renewal of the same, the sum of one dollar.

           A.G. Davis, City Clerk, Charter and Ordinances, and Rules and Orders of the City
           Council. Revised February 1874 Page 52, Image 53 (1874) available at The
           Making of Modern Law: Primary Sources. 1874
           City Ordinances, § 4. No person shall haul unto, or lay at any wharf in the city, any
           vessel having on board more than twenty-five pounds of gun-powder, nor
           discharge or receive on board exceeding that quantity, without having first


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           obtained from the Mayor a permit therefor, designating the wharf at which said
           powder may be landed or received on board.

           MARYLAND

           1806 Md. Laws 44, An Act To Restrain The Evil Practices Arising From Negroes
           Keeping Dogs, And To Prohibit Them From Carrying Guns Or Offensive
           Weapons, ch. 81
           …it shall not be lawful for any negro or mulatto within this state to keep any dog,
           bitch or gun , except he be a free negro or mulatto, and in that case he may be
           permitted to keep one dog, provided such free negro or mulatto shall obtain a
           license from a justice of the peace for that purpose, and that the said license shall
           be in force for one year, and no longer, and if any dog or bitch owned by any
           negro, not possessed of such license, shall be seen going at large, it shall be lawful
           for any person to kill the same, and in case of any suit instituted therefor, the
           person or persons killing the said dog or bitch may plead the general issue, and
           give this act in evidence. II. …it shall not be lawful for any free negro or mulatto to
           go at large with any gun, or other offensive weapon; and in case any free negro or
           mulatto shall be seen going at large carrying a gun, or other offensive weapon, he
           shall be liable to be carried before any magistrate, in virtue of a warrant to be
           issued by any justice of the peace, directed to a constable of the county, and on
           conviction of having violated the provisions of this section of the act, such
           offender shall thereupon forfeit, to the use of the informant, such gun, or other
           offensive weapon, which shall thus have been found in his or her possession, and
           be subject to the payment of the costs which shall have accrued in such
           prosecution; provided, that nothing in this act shall extend to prevent any free
           negro or mulatto from carrying a gun, or other offensive weapon, who shall, at the
           time of his carrying the same, have a certificate from a justice of the peace, that he
           is an orderly and peacable person, which certificate shall be in force for one year
           from the date thereof and no longer.

           Lewis Mayer, Revised Code of the Public General Laws of the State of Maryland,
           with the Constitution of the State Page 173, Image 202 (1879) available at The
           Making of Modern Law: Primary Sources. 1876
           Wild Fowl and Game, § 23. The clerk of the Circuit Court for Harford county, and
           the clerk of the Circuit Court for Cecil county, shall upon the application of any
           resident of the State of Maryland, being the owner of any sink-box, craft or sneak-
           boat, such as is allowed by this act to be used and employed in shooting at wild
           water fowl therefrom; and giving satisfactory evidence to said clerk that the said
           applicant is a resident of the State of Maryland, and is the bona fide owner of the


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           sink-box, craft, or sneak-boat, grant a license under the seal of his court, to such
           applicant to gun after and shoot at wild water-fowl from such sink-box or sneak-
           boat northward of the line named and described in first section of this act from the
           first day of November in each and every year to the thirty-first day of March next
           succeeding thereafter in each and every year; provided that such license shall not
           authorize any person using such sink-box or sneak-boat to gun after or shoot at
           wild water-fowl therefrom within a less distance than half a mile from any shore in
           Harford or Cecil County, or southward of the line particularly described in the first
           section of this act.

           1882 Md. Laws 257, An Act to . . . Exempt All That Portion of the Waters of the
           Chesapeake Bay Lying Northward of a Certain Line Therein Described from the
           Operation and Effect of Sections One and Three . . ., ch. 180, § 8
           . . . the special police appointed by this act are authorized to arrest any person or
           persons who may be discovered in the act of hunting or shooting crippled ducks, or
           in purloining ducks that have been killed by other persons having a proper license
           to shoot, as well as other persons violating the provisions of this section, and upon
           conviction thereof before any justice of the peace of Cecil or Harford Counties, the
           license of such persons or persons shall be revoked, and such persons or persons,
           whether licensed or not, shall be fined not less than twenty dollars for each offense,
           and shall forfeit the boat and gun or guns, and material so employed in violation of
           the provisions of this section, which boat and gun or guns, and material shall be
           sold, and the proceeds of such fine and sale, after the costs of prosecution have
           been paid, shall go to the officer or officers making the arrest. . .

           1882 Md. Laws 656
           Section 1. Be it enacted by the General Assembly of Maryland, That it shall be
           unlawful for any person or persons within the State of Maryland to manufacture or
           sell, barter or give away the cartridge toy pistol to any one whomsoever Sec. 2. Be
           it enacted, That it shall be unlawful for any person, be he or she licensed dealer or
           not, to sell, barter or give away any firearm whatsoever or other deadly weapons,
           except shotgun, fowling pieces and rifles, to any person who is a minor under the
           age of twenty-one years. Any person or persons violating any of the provisions of
           this act shall, on conviction thereof, pay a fine of not less than fifty nor more than
           two hundred dollars, together with the cost of prosecution, and upon failure to pay
           said fine and cost, be committed to jail and confined therein until such fine and
           costs are paid, or for the period of sixty days, whichever shall first occur.

           MASSACHUSETTS



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           William Henry Whitmore, The Colonial Laws of Massachusetts: Reprinted From
           the Edition of 1672, with the Supplements Through 1686: Containing Also, a
           Bibliographical Preface and Introduction, Treating of All the Printed Laws From
           1649 to 1686: Together with the Body of Liberties of 1641, and the Records of the
           Court of Assistants, 1641-1644 Page 126, Image 330 (1890) available at The
           Making of Modern Law: Primary Sources. 1651
           Prescriptions, (1651) § 2. And it is further ordered; that no person (except for the
           defence of themselves and their vessels at Sea) shall transport any gunpowder out
           of this jurisdiction, without license first obtained from some two of the
           Magistrates, upon penalty of forfeiting all such powder as shall be transporting or
           transported, or the value thereof.

           A Collection Of Original Papers Relative To The History Of The Colony Of
           Massachusetts-Bay Page 492, Image 497 (1769) available at The Making of
           Modern Law: Primary Sources. 1769
           Laws of the Colony of Massachusetts, That notwithstanding the ancient law of the
           country, made in the year 1633, that no person should sell any arms or ammunition
           to any Indian upon penalty of 10l. for every gun, 5l. for a pound of powder, and
           40s. for a pound of shot, yet the government of the Massachusetts in the year 1657,
           upon the design to monopolize the whole Indian trade did publish and declare that
           the trade of furs and peltry with the Indians in their jurisdiction did solely and
           properly belong to their commonwealth and not to every indifferent person, and
           did enact that no person should trade with the Indians for any fort or peltry, except
           such as were authorized by the court, under the penalty of 100l. for every offence,
           giving liberty to all such as should have license from them to sell, unto any Indian,
           guns, swords, powder and shot, paying to the treasurer 3d. for each gun and for
           each dozen of swords; 6d. for a pound of powder and for every ten pound of shot,
           by which means the Indians have been abundantly furnished with great store of
           arms and ammunition to the utter ruin and undoing of many families in the
           neighboring colonies to enrich some few of their relations and church members.

           The Revised Ordinances of 1885, of the City of Boston, as Passed and Approved
           December 14, 1885. (With Amendments Thereto, Passed and Approved, to May 1,
           1886): Being the Ninth Revision. To Which are Added the Revised Standing
           Regulations of the Board of Aldermen. 9th Rev. Page 172, Image 182 (1886)
           available at The Making of Modern Law: Primary Sources. 1884
           Ordinances of the City of Boston. Of Fire-Arms, Bonfires, and Brick-Kilns. § 4.
           No person shall sell to any child under the age of sixteen years without the written
           consent of a parent or guardian of such child, any cartridge or fixed ammunition of
           which any fulminate is a component part, or any gun, pistol, or other mechanical


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           contrivance arranged for the explosion of such cartridge, or of any fulminate. But
           the provisions of this section shall not apply to paper caps of which the only
           component parts are chlorate of potash and sulphide of antimony, nor to any
           appliance for exploding the same. The provisions of this section shall be inserted in
           every license granted for the sale of gunpowder.

           Revised Ordinances of 1892, of the City of Boston, and the Revised Regulations of
           1892, of the Board of Aldermen of the City of Boston, Being the Eleventh
           Revision, Third Edition, Containing All Ordinances Passed Between March 3,
           1892, and February 1, 1895, and All Regulations of the Board of Aldermen Passed
           Between July 22, 1892, and February 1, 1895 Page 115, Image 129 (1895)
           available at The Making of Modern Law: Primary Sources. 1895
           Ordinances of Boston, Prohibitions and Penalties, § 91. No person shall
           manufacture or sell, or expose for sale, any guncotton, nitro-glycerine, or any
           compounds of the same, nor any fulminate or substance, except gunpowder,
           intended to be used by exploding or igniting it, in order to produce a force to
           propel missiles, or to rend substances apart, except in accordance with a permit
           from the board of fire commissioners; nor shall any person send or carry through
           the public streets any such substance, except in the manner and in the quantities
           allowed by statute or ordinance.

           Revised Ordinances of the City of Woburn. Revised Woburn, Massachusetts Page
           91 Image 91 (1898) available at The Making of Modern Law: Primary Sources.
           1898
           License to Sell Gunpowder in the City of Woburn. No person shall sell any
           gunpowder within the city, without such license. Every license shall be in force
           one year from the date thereof; provided, that any license may be rescinded by the
           City Council, at their discretion. § 3. Every person so licensed shall keep a sign
           over and outside of the principal entrance from the street of the building in which
           the powder is kept, in which shall be printed in capitals the words: “License to
           keep and sell gunpowder” § 4. The city clerk shall keep a record of all licenses,
           and of the places designated therein, which places shall not be changed, unless by
           consent of the City Council, in writing. Every person who receives a license shall
           sign his name to a copy of the rules prescribed in this chapter, as evidence of his
           assent thereto. §5. The provisions of the foregoing four sections shall not apply or
           extend to the keeping or storing of metallic cartridges in fire proof magazines, nor
           to cartridge manufacturers, so long as they shall keep their powder in canisters, as
           prescribed in section one, and in fire proof magazines, located and built to the
           satisfaction of the City Council so long as such manufacturers allow no more than



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           one hundred pounds of gunpowder in any magazine, or five pounds of gunpowder
           not made into cartrdiges, in any workshop at any one time.

           1906 Mass. Acts 150, ch. 172, An Act to Regulate by License the Carrying of
           Concealed Weapons
           Section 2. Whoever, except as provided by the laws of this Commonwealth, carries
           on his person a loaded pistol or revolver, without authority or permission as
           provided in section one of this act, or whoever carries any stiletto, dagger, dirk-
           knife, slung-shot or metallic knuckles, shall upon conviction be punished by a fine
           of not less than ten nor more than one hundred dollars, or by imprisonment for a
           term not exceeding one year, or by both such fine and imprisonment.

           1922 Mass. Acts 563, ch. 485, An Act Relative to the Sale and Carrying of
           Firearms, ch. 485, § 8 (amending § 130)
           § 8 (amending § 130). Whoever sells or furnishes to a minor under the age of
           fifteen, or to an unnaturalized foreign born person who has who has not a permit to
           carry firearms under section one hundred and thirty-one, any firearm, air gun or
           other dangerous weapon or ammunition therefor shall be punished by a fine of not
           less than ten nor more than fifty dollars, but instructors and teachers may furnish
           military weapons to pupils for instruction and drill.

           1927 Mass. Acts 413, An Act Relative to Machine Guns and Other Firearms, ch.
           326, §§ 1-2 (amending §§ 121, 123)
           In sections one hundred and twenty-two to one hundred and twenty-nine, inclusive,
           “firearms” includes a pistol, revolver or other weapon of any description, loaded or
           unloaded, from which a shot or bullet can be discharged and of which the length of
           barrel, not including any revolving, detachable or magazine breach, does not
           exceed twelve inches, and a machine gun, irrespective of the length of the barrel.
           Any gun of small arm calibre designed for rapid fire and operated by a mechanism,
           or any gun which operates automatically after the first shot has been fired, either
           by gas action or recoil action, shall be deemed to be a machine gun for the
           purposes of said sections, and of sections one hundred and thirty–one and one
           hundred and thirty one B. . . § 2. . . Eighth, That no pistol or revolver shall be sold,
           rented or leased to a person who has not a permit, then in force, to purchase, rent or
           lease the same issued under section one hundred and thirty-one A, and that no
           machine gun shall be sold, rented or leased to a person who has not a license to
           possess the same issued under section one hundred and thirty-one. . .

           MICHIGAN



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           The Revised Charter and Ordinances of the City of Detroit Page 150, Image 151
           (1848) available at The Making of Modern Law: Primary Sources. 1848
           [Ordinances of Detroit,] Prevention of Fires, § 9. No person shall fire or set off any
           squib, cracker, gunpowder or fire works, or fire any gun or pistol in any part of this
           city, unless by written permission of the Mayor or two Aldermen, which
           permission shall limit the time of such firing, and shall be subject to be revoked at
           any time by the Common Council; and any person or persons violating any of the
           provisions of this section, shall forfeit the penalty of five dollars for each and every
           offence. § 10. Every person firing a cannon within this city, unless by permission
           of the Mayor or two Aldermen, shall forfeit the penalty of twenty-five dollars:
           Provided, that nothing in this or the preceding section shall be construed to prohibit
           any military company from firing any gun or cannon when authorized by their
           commanding officer or officers.

           1895 Mich. Local Acts 596, § 44
           SEC. 44. No person shall fire or discharge any gun or pistol firearms or fireworks.
           or carry firearms, or throw stones or other missiles within said park or boulevard,
           nor shall any person fire, discharge or set off any rocket, cracker, torpedo, squib or
           other fireworks or things containing any substance of any explosive character on
           said park or boulevard, without the permission of said commissioners, and then
           only under such regulations as they shall prescribe.

           1913 Mich. Pub. Acts 472, An Act Providing for the Registration of the Purchasers
           of Guns, Pistols, Other Fire-arms and Silencers for Fire-arms and Providing a
           Penalty for Violation, § 1-2.
           Every person, firm or corporation engaged in any way or to any extent in the
           business of selling at retail guns, pistols, other fire-arms and silencers for fire-arms
           shall keep a register in which shall be entered the name, age, occupation and
           residence (if residing in the city with the street number of such residence) of each
           and every purchaser of such guns, pistols, other fire-arms or silencers for fire-arms
           together with the number or other mark of identification, if any, on such gun,
           pistol, other fire-arms or silencer for firearms which said register shall be open to
           the inspection of all peace officers at all times. § 2. Every person violating any of
           the provisions of this act shall be deemed guilty of a misdemeanor and shall upon
           conviction be subject to a fine of not more than fifty dollars or to imprisonment in
           the county jail for not more than ten days or to both such fine and imprisonment in
           the discretion of the court.

           1925 Mich. Pub. Acts 473, An Act to Regulate the Possession and Sale of Pistols,
           Revolvers and Guns; to Provide a Method of Licensing Those Carrying Such


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           Weapons Concealed; and to Provide Penalties for Violations of Such Regulations,
           § 2-4.
           § 2. Any person who shall commit or attempt to commit a felony when armed with
           a pistol, revolver or gun, as defined in section one, shall, in addition to the
           punishment provided for committing the crime, be punished by imprisonment for
           not less than two nor more than five years within the discretion of the court. § 3.
           The court shall have power to sentence any person who may be convicted of a
           second offense to double the addition penalty imposed under section two thereof
           for carrying such concealed weapon without a license. § 4. In the trial of a person
           for the commission of murder, assault with intent to do great bodily harm, robbery,
           larceny, or any attempt to commit any of such offenses, the fact that he was armed
           with a pistol, revolver or gun as herein defined and had no permit to carry the
           same, shall be prima facie evidence of his intention to commit the crime with
           which he is charged[.]
           No person shall carry a pistol, revolver or gun concealed on or about his person or
           in any vehicle owned or operated by him, except in his dwelling house, place of
           business or on his premises, without a license therefor, as hereinafter provided. The
           provisions of this section, however, shall not apply to the regular and ordinary
           transportation of pistols, revolvers or guns as merchandise, or to any member of
           the army, navy or marine corps of the United States, or to the national guard when
           on duty, or organizations by law authorized to purchase or receive such weapons
           from the United States or from this state, nor to duly authorized military
           organizations when on duty, nor to the members thereof when going to or returning
           from their customary places of assembly, nor to wholesale or retail dealers therein,
           nor to peace officers of the state.

           1925 Mich. Pub. Acts 47, An Act to Regulate the Possession and Sale of Pistols,
           Revolvers and Guns; to Provide a Method of Licensing Those Carrying Such
           Weapons Concealed; and to Provide Penalties for Violations of Such Regulations,
           § 7.
           No person shall deliver or otherwise transfer a pistol, revolver or gun as defined in
           this act, to a person unless it be securely wrapped and unloaded. Before the same is
           delivered to the purchaser, he shall sign in triplicate and deliver to the seller a
           statement containing his full name, address, occupation, nationality, the date of
           sale, the caliber, make, model and manufacturer’s number of the weapon. The
           seller shall, within thirty days thereafter, sign and mail by registered letter one
           copy thereof to the secretary of state, one copy to the chief of police of the city or
           village in which the same was sold or to the sheriff of the county of which the
           seller is a resident and shall retain the other copy. This section shall not apply to
           sales at wholesale. Any person convicted of wilfully violating the provisions of this


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           section shall be punished by a fine of not less than one hundred dollars or by
           imprisonment of not more than one year or by both such fine and imprisonment in
           the discretion of the magistrate.

           1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling,
           Purchasing, Possessing and Carrying of Certain Firearms, § 3.
           It shall be unlawful within this state to manufacture, sell, offer for sale, or possess
           any machine gun or firearm which can be fired more than sixteen times without
           reloading, or any muffler, silencer or device for deadening or muffling the sound of
           a discharged firearm, or any bomb or bombshell, or any blackjack, slung shot,
           billy, metallic knuckles, sandclub, sandbag or bludgeon. Any person convicted of a
           violation of this section shall be guilty of a felony and shall be punished by a fine
           not exceeding one thousand dollars or imprisonment in the state prison not more
           than five years, or by both such fine and imprisonment in the discretion of the
           court. . . .

           1927 Mich. Pub. Acts 891, An Act to Regulate and License the Selling,
           Purchasing, Possessing and Carrying of Certain Firearms, § 9.
           SEC. 9. On or before the first day of November, nineteen hundred twenty-seven,
           any person within this state who owns or has in his possession a pistol as defined
           in this act, shall, if he reside in an incorporated city or an incorporated village
           having an organized police department, present such weapon for safety inspection
           to the commissioner or chief of police of such city or village; if such person reside
           in a part of the county not included within the corporate limits of such city or
           village he shall so present such pistol for safety inspection to the sheriff of such
           county. Any person owning or coming into possession of a pistol after the first day
           of November, nineteen hundred twenty-seven, shall forthwith present such pistol
           for safety inspection in the manner provided in this section. A certificate of
           inspection shall thereupon be issued in triplicate on a form provided by the
           commissioner of public safety, containing the name, age, address, description and
           signature of the person presenting such pistol for inspection, together with a full
           description thereof; the original of such certificate shall be delivered to the
           registrant; the duplicate thereof shall be mailed to the commissioner of public
           safety and field and indexed by him and kept as a permanent official record for a
           period of six years, and the triplicate of such certificate shall be retained and filed
           in the office of said sheriff, or commissioner or chief of police, as the case may be.
           The provisions of this section shall not apply to wholesale or retail dealers in
           firearms or to collections of pistols kept solely for the purpose of display, as relics,
           souvenirs, curios or antiques, nor to weapons heretofore registered under the
           provisions of section eleven of act number three hundred thirteen of the public acts


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           of nineteen hundred twenty-five. Any person who fails to comply with the
           provision of this section shall be guilty of a misdemeanor and shall be punished by
           a fine not exceeding one hundred dollars or imprisonment in the county jail not
           exceeding ninety days, or by both such fine and imprisonment in the discretion of
           the court.

           MINNESOTA

           Henry John Horn, The Charter and Ordinances of the City of St. Paul, Together
           with Legislative Acts Relating to the City, and the State Constitution, in an
           Appendix Page 113, Image 114 (1858) available at The Making of Modern Law:
           Primary Sources. 1858
           Revised Ordinances [of the City of St. Paul], An Ordinance to Restrain the Use of
           Fire Arms and the Exhibition of Fire Works. The Common Council of the City of
           Saint Paul do ordain as follows: § 1. It shall not be lawful for any person to fire or
           discharge any cannon, gun, fowling piece, pistol or fire arms of any description, or
           fire, explode or set off any squib, cracker or other thing containing powder or other
           combustible or explosive material, or to exhibit any fire works or make or exhibit
           any bonfire, within the limits of said city, without permission from the Common
           Council or written permission from the Mayor, which permission shall limit the
           time of such firing, and shall be subject to be revoked by the Common Council at
           any time after it has been granted. §2. Any person violating any provision of this
           ordinance, shall on conviction thereof, be punished by a fine not exceeding one
           hundred dollars.

           The Charter and Ordinances of the City of St. Paul, (To August 1st, 1863,
           Inclusive,) Together with Legislative Acts Relating to the City. Page 166-167,
           Image 167-168 (1863) available at The Making of Modern Law: Primary Sources.
           1858
           Ordinances of the City of St. Paul, An Ordinance to Regulate the Sale of
           Gunpowder, § 1. No person shall keep, sell or give away gunpowder or guncotton
           in any quantity without first having paid into the City Treasurer the sum of five
           dollars, and obtain from the Common Council a permission in writing, signed by
           the Mayor and Clerk, and sealed with the corporate seal, under a penalty not
           exceeding fifty dollars, for every offence, provided any person may keep for his
           own use not exceeding one pound of powder or one pound of gun cotton, at one
           and the same time. § 2. All applications for permits shall be addressed to the
           Common Council, in writing, signed by the applicant. Not exceeding four permits
           shall be granted in any one block; when the number of applications in any block
           shall at any time exceed the numbers to be granted, the requisite number shall by


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           chosen by ballot. When issued, the Clerk shall make an entry thereof in a register
           to be provided for the purpose which entry shall state the name and place of
           business, and date of permits. Persons to whom permits may be issued, shall not
           have or keep at their place of business or elsewhere within the city, a greater
           quantity of gunpowder or guncotton than fifty pounds at one time, and the same
           shall be kept in tin canisters or cans, or kegs securely looped and headed,
           containing not to exceed twenty-five pounds each and in a situation remote from
           fires or lighted lamps, candles or gas, from which they may be easily removed in
           case of fire. Nor Nor shall any person sell or weigh any gunpowder or guncotton,
           after the lighting of lamps in the evening, unless in sealed canisters or cans. It shall
           be the duty of every person to whom a permit shall be given to keep a sign at the
           front door of his place of business, with the word “gunpowder” painted or printed
           thereon in large letters. Any person violating any clause of this section, shall, upon
           conviction therof be punished by a fine of not less than ten, nor more than one
           hundred dollars. § 3. No person shall convey or carry any gunpowder or guncotton,
           exceeding (one pound in quantity) through any street or alley in the city, in any
           cart, carriage, wagon, dray, wheelbarrow, or otherwise, unless the said gunpowder
           or guncotton be secured in tight cans or kegs well headed and hooped, sufficient to
           prevent such gunpowder or guncotton from being spilled or scattered, under a
           penalty of fifty dollars. § 4. All permissions granted under this ordinance shall
           expire on the second Tuesday of May in each year; and no permit shall be granted
           to any retailer of intoxicating liquors, or to any intemperate person. The clerk shall
           be entitled to a fee of one dollar for every permit which may be issued.

           W. P. Murray, The Municipal Code of Saint Paul: Comprising the Laws of the
           State of Minnesota Relating to the City of Saint Paul, and the Ordinances of the
           Common Council; Revised to December 1, 1884 Page 289, Image 295 (1884)
           available at The Making of Modern Law: Primary Sources. 1882
           Concealed Weapons – License, § 1. It shall be unlawful for any person, within the
           limits of the city of St. Paul, to carry or wear under his clothes, or concealed about
           his person, any pistol or pistols, dirk, dagger, sword, slungshot, cross-knuckles, or
           knuckles of lead, brass or other metal, bowie-knife, dirk-knife or razor, or any
           other dangerous or deadly weapon. § 2. Any such weapons or weapons, duly
           adjudged by the municipal court of said city to have been worn or carried by any
           person, in violation of the first section of this ordinance, shall be forfeited or
           confiscated to the said city of St. Paul, and shall be so adjudged. § 3. Any
           policeman of the city of St. Paul, may, within the limits of said city, without a
           warrant, arrest any person or persons, whom such policeman may find in the act of
           carrying or wearing under their clothes, or concealed about their person, any pistol
           or pistols, dirk, dagger, sword, slungshot, cross-knuckles, or knuckles of lead,


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           brass or other metal, bowie-knife, dirk-knife or razor, or any other dangerous or
           deadly weapon, and detain him, her or them in the city jail, until a warrant can be
           procured, or complaint made for the trial of such person or persons, as provided by
           the charter of the city of St. Paul, for other offenses under said charter, and for the
           trial of such person or persons, and for the seizure and confiscation of such of the
           weapons above referred to, as such person or persons may be found in the act of
           carrying or wearing under their clothes, or concealed about their persons.

           George Brooks Young. General Statutes of the State of Minnesota in Force January
           1, 1889 Page 1006, Image 1010 (Vol. 2, 1888) available at The Making of Modern
           Law: Primary Sources. 1888.
           Making, Selling, etc., Dangerous Weapons, § 333. A person who manufactures, or
           causes to be manufactured, or sells, or keeps for sale, or offers or gives or disposes
           of any instrument or weapon of the kind usually known as slung-shot, sand-club, or
           metal knuckles, or who, in any city of this state, without the written consent of a
           magistrate, sells or gives any pistol or fire-arm to any person under the age of
           eighteen years, is guilty of a misdemeanor. Carrying, using, etc., certain Weapons,
           § 334. A person who attempts to use against another, or who, with intent so to use,
           carries, conceals, or possesses any instrument or weapon of the kind commonly
           known as a slung-shot, sand-club, or metal knuckles, or a dagger, dirk, knife, pistol
           or other fire-arm, or any dangerous weapon, is guilty of a misdemeanor.

           Harry Toulmin, Ordinances of the City of Saint Paul, from May, 1887, to July,
           1889 Page 90, Image 90 (1889) available at The Making of Modern Law: Primary
           Sources. 1889
           Ordinances of the City of St. Paul, [Establishing and Fixing the License to be Paid
           to the City of St. Paul for Conducting, Managing or Carrying on Either or any of
           the Different Branches of Business Hereinafter Mentioned and Limiting the
           Duration Thereof, and Also Repealing Certain Ordinances Herein Named,] § 2.
           The different and various kinds of business, employments and avocations for
           which licenses are hereby fixed and established, and the sum and amount of the
           license for each separate one are as follows, to wit: Gun powder …$15.00.

           MISSISSIPPI

           1804 Miss. Laws 90-91, An Act Respecting Slaves, § 4.
           [Slaves not to carry offensive or defensive weapons]. [N]o Slave shall keep or
           carry any gun, powder, shot, club or other weapon whatsoever offensive or
           defensive, except tools given him to work with, or that he is ordered by his master,
           mistress or overseer to carry the said articles from one place to another, but all, and


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           every gun, weapon or ammunition found in the possession or custody of any slave,
           may be seized by any person, and upon due proof thereof made before any justice
           of the peace of the county or corporation, where such seizure shall be made, by his
           order, be forfeited to the seizer for his own use; and moreover, every such offender
           shall have and receive by order of such justice, any number of lashes not exceeding
           thirty nine, on his bare back for every such offence: Provided nevertheless, That
           any justice of the peace may grant, in his proper county, permission in writing, to
           any slave, on application of his master, or overseer to carry and use a gun and
           ammunition within the limits of his said master’s or owner’s plantation, for a term
           not exceeding one year, and recoverable, at any time within such term, at the
           discretion of said justice.

           [REGULATORY TAX] 1867 Miss. Laws 327-28, An Act To Tax Guns And
           Pistols in The County Of Washington, ch. 249, § 1.
           [A] tax of not less than five dollars or more than fifteen dollars shall be levied and
           assessed annually by the board of Police of Washington county upon every gun
           and pistol which may be in the possession of any person in said county, which tax
           shall be payable at any time on demand, by the Sheriff, and if not so paid, it shall
           be the duty of the Sheriff to forthwith distrain and seize such gun or pistol, and sell
           the same for cash at the door of the Court House, after giving ten days notice by
           advertisement, posted in front of said Court House, and out of the proceeds of such
           sale, there shall be paid the amount of such tax and the cost of sale, and if any
           surplus remains, it shall be paid to the owner of such gun or pistol. The amount of
           the tax so assessed and collected, shall be paid to the county Treasurer, and shall
           constitute a part of the bridge fund of said county.

           1906 Miss. Laws 367, Privilege Taxes, ch. 114, § 3887.
           Dealers in Deadly Weapons: On each person or firm dealing in pistols, dirk knives,
           sword canes, brass or metallic knuckles, or other deadly weapons (shotguns and
           rifles excepted) – 100.00. And which shall be in addition to all and any other taxes
           or privileges paid. On each firm or dealer selling air guns, target or flobert rifles
           (and this shall apply even if the same has a license to sell merchandise, pistols or
           cartridges) – $25.00.

           MISSOURI

           Henry S. Geyer, A Digest of the Laws of Missouri Territory. Comprising: An
           Elucidation of the Title of the United States to Louisiana:-Constitution of the
           United States:-Treaty of Session:-Organic Laws:-Laws of Missouri Territory,
           (Alphabetically Arranged):-Spanish Regulations for the Allotment of Lands:- Laws


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           of the United States, for Adjusting Titles to Lands, &c. to Which are Added, a
           Variety of Forms, Useful to Magistrates Page 374, Image 386 (1818) available at
           The Making of Modern Law: Primary Sources. 1818
           Slaves, § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder,
           shot, club or other weapon whatsoever, offensive or defensive; but all and every
           gun weapon and ammunition found in the possession or custody of any negro or
           mulatto, may be seized by any person and upon due proof made before any justice
           of the peace of the district [county] where such seizure shall be, shall by his order
           be forfeited to the seizor, for his own use, and moreover, every such offender shall
           have and receive by order of such justice any number of lashes not exceeding thirty
           nine on his or her bare back well laid on for every such offence. § 4. Every free
           negro or mulatto, being a housekeeper may be permitted to keep one gun, powder
           and shot; and all negroes or mulattoes bond or free, living at any frontier
           plantation, may be permitted to keep and use guns, powder shot and weapons,
           offensive and defensive, by license from a justice of the peace of the district
           [county] wherein such plantation lies, to be obtained upon the application of free
           negroes or mulattoes or of the owners of such as are slaves.

           Adam B. Chambers, The Revised Ordinances of the City of Saint Louis, Revised
           and Digested by the Fifth City Council during the First Session, Begun and Held in
           the City of St. Louis, on the Second Monday of May, A. D. 1843. with the
           Constitutions of the United States and the State of Missouri, and the City Charter
           Page 304, Image 305 (1843) available at The Making of Modern Law: Primary
           Sources. 1843
           [Ordinances of Kansas City,] Misdemeanors, § 10. Every person who shall
           discharge any cannon or other ordinance, or fire off any carbine, fusil, rifle,
           musket, gun, pistol, or other arms, or set off any squib or cracker, or fly any kite in
           the air, within the city, shall be deemed guilty of a misdemeanor. This section shall
           not apply to the firing of salutes by any military corps, or to the firing of salutes
           upon any occasion of general public interest. Provided, such firing be caused by
           persons, associations or companies, volunteers or otherwise, who may be engaged
           in lawful celebrations of public rejoicings, or in the lawful military exercises of
           said companies or volunteers; nor to prevent any manufacturer from trying or
           proving the articles manufactured by him within the limits of the city, provided the
           same be done without danger or injury to the neighborhood. § 11. Every person
           who shall fire any heavy cannon, or set off any rockets or fire works, or illuminate
           in any unusual manner any house or building, without first having obtained written
           permission from the Mayor, specifying the time and place, when and where the
           same shall be allowed, shall be deemed guilty of a misdemeanor.



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           1844 Mo. Laws 577, An Act To Restrain Intercourse With Indians, ch. 80, § 4.
           No person shall sell, exchange or give, to any Indian, any horse, mule, gun,
           blanket, or any other article or commodity whatever, unless such Indian shall be
           traveling through the state, and leave a written permit from the proper agent, or
           under the direction of such agent in proper person.

           1854 Mo. Laws 1094, An Act Concerning Free Negros and Mulattoes, ch. 114, §§
           2-3.
           § 2. No free negro or mulatto shall be suffered to keep or carry any firelock, or
           weapon of any kind, or any ammunition, without license first had and obtained for
           the purpose, from a justice of the peace of the county in which such free negro or
           mulatto resides, and such license may be revoked at any time by the justice
           granting the same or by any justice of the county. § 3. Any gun, firelock, or
           weapon of any kind, or any ammunition, found in the possession of any free negro
           or mulatto not having a license, as required by the last preceding section, may be
           seized by any person, and upon due proof thereof, before any justice of the peace
           of the county in which such seizure shall have been made, shall be forfeited by
           order of such justice, to the person making the seizure, for his own use.

           Everett Wilson Pattison, The Revised Ordinance of the City of St. Louis, Together
           with the Constitution of the United States, and of the State of Missouri; the Charter
           of the City; and a Digest of the Acts of the General Assembly, Relating to the City
           Page 491-492, Image 499-500 (1871) available at The Making of Modern Law:
           Primary Sources. 1871
           Ordinances of the City of St. Louis, Misdemeanors, § 9. Hereafter it shall not be
           lawful for any person to wear under his clothes, or concealed about his person, any
           pistol, or revolver, colt, billy, slung shot, cross knuckles, or knuckles of lead, brass
           or other metal, bowie knife, razor, dirk knife, dirk, dagger, or any knife resembling
           a bowie knife, or any other dangerous or deadly weapon, within the City of St.
           Louis, without written permission from the Mayor; and any person who shall
           violate this section shall be deemed guilty of a misdemeanor, and, upon conviction
           thereof, be fined not less than ten nor more than five hundred dollars for each and
           every offence. § 10. Nothing in the preceding section shall be so construed as to
           prevent any United States, State, county or city officer, or any member of the city
           government, from carrying or wearing such weapons as may be necessary in the
           proper discharge of his duties.

           An Ordinance in the Revision of the Ordinances Governing the City of Kansas
           (Kansas City, MO; Isaac P. Moore’s Book and Job, 1880), p. 264, Sec. 3. 1880
           Chapter XXXIV. Public Safety. . . .


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           Sec. 3. No person shall, in this city, wear under his clothes or concealed about his
           person, any pistol or revolver, except by special permission from the Mayor; nor
           shall any person wear under his clothes, or concealed about his person, any slung-
           shot, cross knuckles, knuckles of lead, brass or other metal, or any bowie knife,
           razor, billy, dirk, dirk-knife or dagger, or any knife resembling a bowie knife, or
           any other dangerous or deadly weapon. Any person, violating any provision or
           requirement of this section, shall be deemed guilty of a misdemeanor, and, upon
           conviction thereof before the City Recorder, shall be fined not less than fifty
           dollars nor more than five hundred dollars : Provided, however, That this section
           shall not be so construed as to prevent any United States, State, County or City
           officer, or any member of the City government, from carrying such weapons as
           may be necessary in the proper discharge of his duties.

           Henry Smith Kelley, Laws Applicable to and Governing the City of Saint Joseph,
           Mo., As a City of the Second Class, Contained in the Revised Statutes of 1879, and
           Subsequent Legislative Enactments; Also the General Ordinances Now in Force,
           Revised and Made to Conform to the Laws Governing Such Cities Page 192,
           Image 222 (1888) available at The Making of Modern Law: Primary Sources. 1888
           General Ordinances [of the City of St. Joseph], [Amusement-Shows,] Shooting
           Gallery; license for. — § 3. No person shall carry on or take part in carrying on,
           any pistol gallery or shooting gallery, without a license therefor from said city; and
           the charge for such license shall be five dollars per month.

           The Municipal Code of St. Louis (St. Louis: Woodward 1901), p.738, Sec. 1471.
           1892
           Chapter 18. Of Misdemeanors.
           Sec. 1471. Concealed weapons – carrying of, prohibited.
           Hereafter it shall not be lawful for any person to wear under his clothes, or
           concealed about his person, any pistol or revolver, colt, billy, slung shot, cross
           knuckles, or knuckles of lead, brass or other metal, bowie knife, razor, dirk knife,
           dirk, dagger, or any knife resembling a bowie knife or any other dangerous or
           deadly weapon, within the City of St. Louis, without written permission from the
           mayor; and any person who shall violate this section shall be deemed guilty of a
           misdemeanor, and upon conviction thereof, be fined not less than ten nor more
           than five hundred dollars for each and every offense.

           The Revised Ordinances of the City of Huntsville, Missouri, of 1894. Collated,
           Revised, Printed and Published by Authority of the Mayor and Board of Aldermen
           of the City of Huntsville, Missouri, Under an Ordinance of the Said City, Entitled:
           “An Ordinance in Relation to Ordinances, and the Publication Thereof.” Approved


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           on the 11th Day of June, 189 Page 58-59, Image 58-59 (1894) available at The
           Making of Modern Law: Primary Sources. 1894
           Ordinances of the City of Huntsville, An Ordinance in Relation to Carrying Deadly
           Weapons, § 1. If within the city any person shall carry concealed upon or about his
           person any deadly or dangerous weapon, or shall go into any church or place where
           people have assembled for religious worship, or into any school room or place
           where people are assembled for educational, literary or social purposes, or to any
           election precinct on any election day, or into any court room during the sitting of
           court, or into any other public assemblage of persons met for any lawful purpose
           other than for militia drill or meetings called under militia law of the state, having
           upon or about his person any kind of fire arms, bowie-knife, dirk, dagger, sling-
           shot, or other deadly weapon or shall in the presence of one or more persons
           exhibit any such weapon in a rude, angry or threatening manner, or shall have or
           carry any such weapon upon or about his person when intoxicated or under the
           influence of intoxicating drinks, he shall be deemed guilty of a misdemeanor, and
           upon conviction thereof, shall be punished by a fine of not less than five nor more
           than one hundred dollars, or by imprisonment in the city prison not exceeding
           thirty days nor less than five days or by both such fine and imprisonment;
           provided, the Mayor may grant permission to any person to discharge gun, pistol or
           other firearms under the proper circumstances shown to him. § 2. The next
           preceding section shall not apply to police officers, nor to any officer or person
           whose duty it is to exercise process or warrants, or to suppress breaches of the
           peace or to make arrests, nor to persons moving or travelling peaceably through
           this state; and it shall be good defense to the charge of carrying such weapon, if the
           defendant shall show that he has been threatened with great bodily harm, or had
           good reason to carry the same in the necessary defense of his home, person or
           property.

           Francis M. Wilson, The Revised Statutes of the State of Missouri, 1899. To This
           Volume are Annexed the Acts of Congress in Relation to the Election of United
           States Senators, in Relation to Fugitives from Justice, Concerning Naturalization
           and the Authentication of Public Records; an Appendix Containing the Scheme
           and Charter of and Laws Specially Applicable to the City of St. Louis and the Acts
           Establishing the Criminal Court of the Fifteenth Circuit, the Criminal Court of
           Jackson County, the Criminal Court of Buchana County, the Criminal Court of
           Greene County, the Louisiana Court of Common Pleas, the Hannibal Court of
           Common Pleas, the Cape Girardeau Court of Common Pleas and the Sturgeon
           Court of Common Pleas. Revised and Promulgated by the Fortieth General
           Assembly Page 1752, Image 645 (Vol. 2, 1899) available at The Making of
           Modern Law: Primary Sources. 1899


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           [Permit to Keep Explosives, § 7457. No person, corporation or joint-stock
           company shall, on and after ten days after this article shall take effect, have retain
           or keep in his possession or under his or her control, nor sell, give away or in any
           manner or way dispose of dynamite, giant powder, nitro-glycerine or any explosive
           substance, except gunpowder and blasting powder for ordinary purposes, without
           first obtaining a permit authorizing the same from the clerk of the county court, or
           mayor of the city of St. Louis, in whichever county or city such applicant may
           desire to do such business, nor without first making and delivering the affidavit
           required by the next succeeding section of this article.]

           1921 Mo. Laws 691, 692
           Section 1. Pistol, revolver or firearms to be plainly marked. No wholesaler or
           dealer therein shall have in his possession for the purpose of sale, or shall sell, any
           pistol, revolver, or other firearm of a size which may be concealed upon the
           person, which does not have plainly and permanently stamped ,upon the metallic
           portion thereof, the trademark or name of the maker, the model and the serial
           factory number thereof, which number shall not be the same as that of any other
           such weapon of the same model made by the same maker, and the maker, and no
           wholesale or retail dealer therein shall have in his possession for the purpose of
           sale, or shall sell, any such weapon unless he keep a full and complete record of
           such description of such weapon, the name and address of the person from whom
           purchased and to whom sold, the date of such purchase or sale, and in the’ case of
           retailers the date of the permit and the name of the circuit clerk granting the same,
           which record shall be open to inspection at all times by any police officer or other
           peace officer of this state.
           Sec. 2. Shall secure permit to acquire weapon.-No person, other than a
           manufacturer or wholesaler thereof to or from a wholesale or retail dealer therein,
           for the purposes of commerce, shall directly or indirectly buy, sell, borrow, loan,
           give away, trade, barter; deliver or receive, in this state, any pistol, revolver or
           other firearm of a size which may be concealed upon the person, unless the buyer,
           borrower or person receiving such weapon shall first obtain and deliver to, and the
           same be demanded and received by, the seller, loaner, or person delivering such
           weapon, within thirty days after the issuance thereof, a permit authorizing such
           person to acquire such weapon. Such permit shall be issued by the circuit clerk of
           the county in which the applicant for a permit resides in this state, if the sheriff be
           satisfied that the person applying for the same is of good moral character and of
           lawful age, and that the granting of the same will not endanger the public safety.
           The permit shall recite the date of the issuance thereof and that the same is invalid
           after thirty days after the said date, the -name and address of the person to whom
           granted and of the person from whom such weapon is to be acquired, the nature of


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           the transaction, and a full description of such weapon, and shall be countersigned
           by the person to whom granted in the presence of the circuit clerk. The circuit clerk
           shall receive therefor a fee of $0.50. If the permit be used, the person receiving the
           same shall return it to the circuit clerk within thirty days after its expiration, with a
           notation thereon showing the date and manner of the disposition of such weapon.
           The circuit clerk shall keep a record of all applications for such permits and his
           action thereon, and shall preserve all returned permits. No person shall in any
           manner transfer, alter or change any such permit or make a false notation thereon
           or obtain the same upon any false representation to the circuit clerk granting the
           same, or use or attempt to use a permit granted to another.
           Sec. 3. Weapons must be stamped.-No person within this state shall lease, buy or
           in anywise procure the possession from any person, firm or corporation within or
           without the state, of any pistol, revolver or other firearm of a size which may be
           concealed upon the person, that is not stamped as required by section 1 of this act;
           and no person shall buy or otherwise acquire the possession of any such article
           unless he shall have first procured a written permit so to do from the circuit clerk
           of the county in which such person resides, in the manner as provided in section 2
           of this act.
           Sec. 4. Manufacture not prohibited.-Nothing herein contained shall be considered
           or construed as forbidding or making it unlawful for a dealer in or manufacturer of
           pistols, revolvers or other firearms of a size which may be concealed upon the
           person, located in this state, to ship into other states or foreign countries, any such
           articles whether stamped as required by this act or not so stamped.

           MONTANA

           Decius Spear Wade, The Codes and Statutes of Montana. In Force July 1st, 1895.
           Including the Political Code, Civil Code, Code of Civil Procedure and Penal Code.
           As Amended and Adopted by the Fourth Legislative Assembly, Together with
           Other Laws Continued in Force Page 873, Image 914 (Vol. 2, 1895) available at
           The Making of Modern Law: Primary Sources. 1895
           Crimes Against the Public Peace, § 759: Every person who brings into this state an
           armed person or armed body of men for the preservation of the peace or the
           suppression of domestic violence, except at the solicitation and by the permission
           of the legislative assembly or of the governor, is punishable by imprisonment in
           the state prison not exceeding ten years and by a fine not exceeding ten thousand
           dollars.

           1913 Mont. Laws 53, An Act to Provide that Aliens Shall Pay a Gun License, and
           Providing a Penalty for Failure to Obtain License; to Provide for and Regulate the


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           Duties of the Game and Fish Warden and His Deputies, and to Provide for the
           Disposition of the Fines so Collected, ch. 38, § 1.
           There is hereby created a gun license for aliens. No person not a bona fide citizen
           of the United States shall own or have in his possession, in the State of Montana,
           any gun, pistol or other firearm without first having obtained from the Game and
           Fish Warden a license therefor, which said license shall cost the owner of said
           firearm the sum of Twenty-five ($25) Dollars, and shall expire one year from date
           of issuance thereof; provided, however, that this section shall not apply to one who
           has obtained the Twenty-five ($25) Dollar hunting license required by the laws of
           Montana; provided, further, that the provisions of this section shall not apply to
           any alien who is a bona fide resident of the State of Montana and the owner of not
           less than one hundred and sixty acres of land therein, nor shall it apply to any
           settler on the public lands of the State of Montana who shall have begun to acquire
           land under the laws of the United States by filing thereon, nor shall it apply to
           persons engaged in tending or herding sheep or other animals, held in herd.

           1918 Mont. Laws 6-7,9, An Act Entitled “An Act Providing for the Registration of
           All Fire Arms and Weapons and Regulating the Sale Thereof and Defining the
           Duties of Certain County Officers and Providing Penalties for a Violation of the
           Provisions of This Act,” ch. 2, §§ 1, 3, 8.
           § 1. Within thirty days from the passage and approval of this Act, every person
           within the State of Montana, who owns or has in his possession any fire arms or
           weapons shall make a full, true, and complete verified report upon the form
           hereinafter provided to the sheriff of the County in which such person lives, of all
           fire arms and weapons which are owned or possessed by him or her or are in his or
           her control, and on sale or transfer into the possession of any other person such
           person shall immediately forward to the sheriff of the County in which such person
           lives the name and address of that purchaser and person into whose possession or
           control such fire arm or weapon was delivered. § 3. Any person signing a fictitious
           name or address or giving any false information in such report shall be guilty of
           misdemeanor, and any person failing to file such report as in this Act provided,
           shall be guilty of a misdemeanor. § 8. For the purpose of this Act a fire arm or
           weapon shall be deemed to be any revolver, pistol, shot gun, rifle, dirk, dagger, or
           sword.

           NEBRASKA

           1869 Neb. Laws 53, An Act to Incorporate Cities of the First Class in the State of
           Nebraska, § 47.
           The City Council shall have power to license all . . . vendors of gunpowder[.]


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           1895 Neb. Laws 210, Laws of Nebraska Relating to the City of Lincoln, An
           Ordinance Regulating and Prohibiting the Use of Fire-arms, Fire-works and
           Cannon in the City of Lincoln . . . Prescribing Penalties for Violation of the
           Provisions of This Ordinance, and Repealing Ordinances in Conflict Herewith, Art.
           XVI, § 6.
           The Mayor may grant to so many and such persons as he may think proper,
           licenses to carry concealed weapons, and may revoke any and all of such licenses
           at his pleasure. Every such license shall state the name, age, occupation, and
           residence, of the person to whom granted, and shall be good for one year. A fee of
           fifty cents shall be paid therefor to the City Treasurer, and by him placed in the
           police fund.

           NEW HAMPSHIRE

           1820 N.H. Laws 274-76, An Act to Provide for the Appointment of Inspectors and
           Regulating the Manufacture of Gunpowder, ch. 25, §§ 1-9.
           § 1. [T]he Governor . . . is hereby authorized to appoint an inspector of gunpowder
           for every public powder magazine, and at every manufactory of gunpowder in this
           state, and such other places as may by him thought to be necessary[.] § 2. [F]rom
           and after the first day of July next, all gunpowder which shall be manufactured
           within this state shall be composed of the following proportions and quality of
           materials . . . § 3. It shall be the duty of each of said inspectors to inspect, examine
           and prove all gunpowder which after the first day of July shall not be deposited at
           any publick [sic] powder magazine, or manufactory of this state . . . § 4. [N]o
           gunpowder within this state shall be considered to be of proof unless one ounce
           thereof, placed in a chamber of a four and an half inch howitzer, with the howitzer
           elevated so as to form an angle of forty-five degrees with the horizon, will, upon
           being fired throw a twelve pound shot seventy-five yards at the least. § 5.
           [W]henever any of said inspectors shall discover any gunpowder, deposited at any
           public powder magazine, or any other place within this state, which is not well
           manufactured or which is composed of impure materials . . . the inspector in such
           case, shall mark each cask containing such impure, ill manufactured, or deficient
           gunpowder, with the word “Condemned” on both heads of the cask . . . § 6. [I]f
           any person shall knowingly sell any condemned gunpowder . . . every such person,
           so offending, shall forfeit and pay not less than two hundred nor more than five
           hundred dollars . . . § 7. [E]ach inspector . . . be sworn to the faithful and impartial
           discharge of the duties of his office, and each inspector shall be allowed one cent
           for each pound of gunpowder, by him examined, inspected and proved . . . to be
           paid by the owner or owners of the gunpowder. § 8. [I]f any manufacturer of


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           gunpowder shall sell or dispose of, or shall cause or permit to be sold or disposed
           of, or shall export or cause to be exported withou the limits of this state, any
           powder of his manufacture, before the same has been inspected and marked
           agreeably to the provisions of this act, he shall forfeit and pay the sum of fifty
           cents for every pound of powder so sold, disposed of, or exported, to be recovered
           in the manner provided in the sixth section of this act. § 9. [I]f any person with
           within this state . . shall knowingly sell, expose, or offer for sale, within this state,
           any gunpowder which is not well manufactured, or which is composed of impure
           materials, and which shall not be composed of the proof herein before required,
           shall forfeit and pay not less than five dollars nor more than fifty dollars for each
           and every offence, to be recovered in the manner provided in the sixth section of
           this act.

           1823 N.H. Laws 73-74, An Act to Establish a System of Police in the Town of
           Portsmouth, and for Other Purposes, ch. 34, § 4.
           That if any person or persons shall within the compact part of the town of
           Portsmouth, that is to say, within one mile of the courthouse, fire or discharge any
           cannon, gun, pistol or other fire arms, or beat any drum, (except by command of a
           military officer, having authority therefor) or fire or discharge any rockets, squibs,
           crackers, or any preparation of gunpowder, (except by the permission of the police
           officers, or of a major part of them first had in writing) . . . every such person, for
           every such act shall be taken and deemed to be an offender against the police of
           Portsmouth, and shall be liable to the penalties hereinafter expressed.

           The Charter, with Its Amendments and the General Ordinances of the City of
           Dover Page 32, Image 32 (1870) available at The Making of Modern Law: Primary
           Sources. 1870
           General Statutes [Ordinances of the City of Dover, [New Hampshire] Offences
           Against the Police of Towns,] § 5. No person shall, within the compact part of any
           town, fire or discharge any cannon, gun, pistol, or other fire-arms, or beat any
           drum, except by command of a military officer having authority therefor, or fire or
           discharge any rockets, squibs, crackers, or any preparation of gunpowder, except
           by permission of a majority of the police officers or selectmen in writing, or make
           any bonfire, or improperly use or expose any friction matches, or knowingly raise
           or repeat any false cry of fire.

           1917 N.H. Laws 727-28, An Act for the Regulation of the Sale and Use of
           Explosives and Firearms, ch. 185, §§ 1-3, 6.
           § 1. No person shall manufacture, sell, or deal in firearms or in gunpowder,
           dynamite, nitro-glycerine, or other form of high explosive, unless he shall first


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           obtain, from the selectmen of the town or the chief of police of the city where such
           business is to be conducted, a written license therefor, and no person shall conduct
           such business within the state but outside the limits of any organized town or city,
           unless he shall first obtain such license from the county commissioners of the
           county in which such business is to be conducted; which license shall specify the
           building where such business is to be carried on or material deposited or used. § 2.
           No such licensed person shall sell or deliver firearms to any person not a citizen of
           the United States, unless he shall have legally declared his intention of becoming a
           citizen, or any such explosive material or compound to any person, except upon
           presentation of a permit such as is hereinafter provided for, nor unless satisfied that
           the same is to be used for a lawful purpose. § 3. Every person so licensed shall
           keep, on blanks to be furnished by the secretary of state, a record of the names and
           residences of all persons to whom he shall sell or deliver firearms or any such
           explosive material or compound, the purpose of which the same is to be used¸ the
           date of sale, the amount paid, the date of the purchaser’s permit, the name and title
           of the person by whom the permit was issued, and, within five days after such sale
           or delivery, shall file such record thereof with the clerk of the city or town wherein
           he sale or delivery was made, or with the county commissioners in case of sales or
           deliveries within the state, but outside the limits of any organized city or town. The
           records thus filed shall at all times be open to the inspection of the police
           departments, or other public authorities. He shall also affix to the receptacle
           containing such explosive material or compound a label with the name of the
           compound, his own name, and the date of sale.
           § 6. No person not a citizen of the United States or one who has legally declared
           his intention of becoming such a citizen shall have in his possession any firearm or
           firearms of whatsoever kind or description unless he has a written permit to have
           such possession issued and signed as hereinafter provided. Any such person
           desiring to possess a firearm or firearms for any lawful purpose shall first make
           written application to the chief of police or selectmen of the town wherein he
           resides . . . stating the purposes for which the possession of the firearm or firearms
           is desired and a description of the firearm or firearms. The applicant shall also state
           his full name, occupation, place of residence and if in a city the street and number.
           If such chief of police or selectmen or county commissioners are satisfied that the
           applicant intends to use the firearm or firearms in a lawful manner and as set forth
           in his application, a permit shall be issued, signed by the chief of police of the city,
           a selectmen of the town, or county commissioners, as the case may be, giving to
           the applicant the right to have in his possession such firearm or firearms. The
           holder of any such permit shall keep the permit on his person at all times when he
           is in possession of the firearm or firearms as authority for such possession and
           shall exhibit the same when so requested by any person.


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           1917 N.H. Laws 728-29, An Act for the Regulation of the Sale and Use of
           Explosives and Firearms, ch. 185, § 6.
           No person not a citizen of the United States or one who has legally declared his
           intention of becoming such a citizen shall have in his possession any firearm or
           firearms of whatsoever kind or description unless he has a written permit to have
           such possession issued and signed as hereinafter provided. Any such person
           desiring to possess a firearm or firearms for any lawful purpose shall first make
           written application to the chief of police or selectmen of the town wherein he
           resides . . . stating the purposes for which the possession of the firearm or firearms
           is desired and a description of the firearm or firearms. The applicant shall also state
           his full name, occupation, place of residence and if in a city the street and number.
           If such chief of police or selectmen or county commissioners are satisfied that the
           applicant intends to use the firearm or firearms in a lawful manner and as set forth
           in his application, a permit shall be issued, signed by the chief of police of the city,
           a selectmen of the town, or county commissioners, as the case may be, giving to
           the applicant the right to have in his possession such firearm or firearms. The
           holder of any such permit shall keep the permit on his person at all times when he
           is in possession of the firearm or firearms as authority for such possession and
           shall exhibit the same when so requested by any person.

           1923 N.H. Laws 138
           SECTION 1. Pistol or revolver, as used in this act shall be construed as meaning
           any firearm with a barrel less than twelve inches in length.
           SECT. 2. If any person shall commit or attempt to commit a crime when armed
           with a pistol or revolver, and having no permit to carry the same, he shall in
           addition to the punishment provided for the crime, be punished by imprisonment
           for not more than five years.
           SECT. 3. No unnaturalized foreign-born person and no person who has been
           convicted of a felony against the person or property of another shall own or have in
           his possession or under his control a pistol or revolver, except as hereinafter
           provided. Violations of this section shall be punished by imprisonment for not
           more than two years and upon conviction the pistol or revolver shall be confiscated
           and destroyed.
           SECT. 4. No person shall carry a pistol or revolver concealed in any vehicle or
           upon his person, except in his dwelling house or place of business, without a
           license therefor as hereinafter provided. Violations of this section shall be punished
           by a fine of not more than one hundred dollars or by imprisonment not exceeding
           one year or by both fine and imprisonment.



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           SECT. 5. The provisions of the preceding sections shall not apply to marshals,
           sheriffs, policemen, or other duly appointed peace and other law enforcement
           officers, nor to the regular and ordinary transportation of pistols or revolvers as
           merchandise, nor to members of the army, navy, or marine corps of the United
           States, nor to the national guard when on duty, nor to organizations by law
           authorized to purchase or receive such weapons, nor to duly authorized military or
           civil organizations when parading, or the members thereof when at or going to or
           from their customary places of assembly.
           SECT. 6. The selectmen of towns or the mayor or chief of police of cities may,
           upon application of any person issue a license to such person to carry a loaded
           pistol or revolver in this state, for not more than one year from date of issue, if it
           appears that the applicant has good reason to fear an injury’ to his person or
           property or for any other proper purpose, and that he is a suitable person to be
           licensed. The license shall be in duplicate and shall bear the name, address,
           description, and signature of the licensee. The original thereof shall be delivered to
           the licensee, the duplicate shall be preserved by the selectmen of towns and the
           chief of police of the cities wherein issued for a period of one year.
           SECT. 7. Any person or persons who shall sell, barter, hire, lend or give to any
           minor under the age of twenty-one years any pistol or revolver shall be deemed
           guilty of a misdemeanor and shall upon conviction thereof be fined not more than
           one hundred dollars or be imprisoned not more than three months, or both. This
           section shall not apply to fathers, mothers, guardians, administrators, or executors
           who give to their children, wards, or heirs to an estate, a revolver.
           SECT. 8. No person shall sell, deliver, or otherwise transfer a pistol or revolver to
           a person who is an unnaturalized foreign-born person or has been convicted of a
           felony against the person property of another, except upon delivery of a written
           permit to purchase, signed by the selectmen of the town or the mayor or chief of
           police of the city. Before a delivery be made the purchaser shall sign in duplicate
           and deliver to the seller a statement containing his full name, address, and
           nationality, the date of sale, the caliber, make, model, and manufacturer’s number
           of the weapon. The seller shall, within seven days, sign and forward to the chief of
           police of the city or selectmen of the town one copy thereof and shall retain the
           other copy for one year. This section shall not apply to sales at wholesale. Where
           neither party to the transaction holds a dealer’s license, no person shall sell or
           otherwise transfer a pistol or revolver to any person not personally known to him.
           Violations of this section shall be punished by a fine of not more than one hundred
           dollars or by imprisonment for not more than one year, or by both such fine and
           imprisonment.




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           SECT. 9. Whoever, without being licensed as hereinafter provided, sells,
           advertises, or exposes for sale, or has in his possession with intent to sell, pistols or
           revolvers, shall be punished by imprisonment for not more than two years.
           SECT. 10. The selectmen of towns and the chief of police of cities may grant
           licenses, the form of which shall be prescribed by the secretary of state, effective
           for not more than one year from date of issue, permitting the licensee to sell at
           retail pistols and revolvers subject to the following conditions, for breach of any of
           which the license shall be subject to forfeiture:
           1. The business shall be carried on only in the building designated in the license.
           2. The license or a copy thereof, certified by the issuing authority, shall be
           displayed on the premises where it can easily be read.
           3. No pistol or revolver shall be delivered (a) to a purchaser not personally known
           to the seller or who does not present clear evidence of his identity; nor (b) to an
           unnaturalized foreign-born person or a person who has been convicted of a felony
           and has no permit as required by section 8 of this act.
           A true record, in duplicate, shall be made of every pistol or revolver sold, said
           record to be made in a book kept for the purpose, the form of which shall be
           prescribed by the secretary of state and shall be signed by the purchaser and by the
           person effecting the sale, and shall include the date of sale, the caliber, make,
           model, and manufacturer’s number of the weapon, the name, address, and
           nationality of the purchaser. One copy of said record shall, within seven days, be
           forwarded to the selectmen of the town or the chief of police of the city and the
           other copy retained for one year.
           SECT. 11. If any person in purchasing or. otherwise securing delivery of a pistol or
           revolver shall give false information or offer false evidence of his identity he shall
           be punished by imprisonment punished, for not more than two years.
           SECT. 12. No person shall change, alter, remove, or obliterate the name of the
           maker, model, manufacturer’s number, or other mark of identification on any pistol
           or revolver. Possession of any such firearms upon which the same shall have been
           changed, altered, removed, or obliterated, shall be presumptive evidence that such
           possessor has changed, altered, removed or obliterated the same. Violations of this
           section shall be punished by a fine of not more than two hundred dollars or by
           imprisonment for not more
           than one year, or both.
           SECT. 13. All licenses heretofore issued within the state permitting the carrying of
           pistols or revolvers upon the person shall expire at midnight of July 31, 1923.
           SECT. 14. This act shall not apply to antique pistols or revolvers incapable of use
           as such.
           SECT. 15. All acts and parts of acts inconsistent herewith are hereby repealed, and
           this act shall take effect upon its passage.


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           NEW JERSEY

           Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
           under the Act Entitled “An Act to Re-organize the Local Government of Jersey
           City,” Passed March 31, 1871, and the Supplements Thereto Page 46, Image 46
           (1874) available at The Making of Modern Law: Primary Sources. 1871
           [Ordinances of Jersey City, NJ, In Relation to the Sidewalks, Public Grounds and
           Streets in Jersey City,] § 26. No person shall, within this city, fire or discharge any
           gun, pistol, cannon, or fowling piece or other fire-arms, unless in defense of his
           property or person; nor let off any squibs, crackers or other fireworks, unless by
           permission of the city authorities, under the penalty of ten dollars for each and
           every offense; provided, however, that this section of the ordinance shall not apply
           to the Fourth of July.

           Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
           under the Act Entitled “An Act to Re-organize the Local Government of Jersey
           City,” Passed March 31, 1871, and the Supplements Thereto Page 86- 87, Image
           86-87 (1874) available at The Making of Modern Law: Primary Sources. 1873
           An Ordinance In Relation to the Carrying of Dangerous Weapons. The Mayor and
           Aldermen of Jersey City do ordain as follows: § 1. That with the exceptions made
           in the second section of this ordinance, no person shall, within the limits of Jersey
           City, carry, have or keep on his or her person concealed, any slung-shot, sand-club,
           metal knuckles, dirk or dagger not contained as a blade of a pocket knife, loaded
           pistol or other dangerous weapon. § 2. That policemen of Jersey City, when
           engaged in the performance of police duty, the sheriff and constables of the County
           of Hudson, and persons having permits, as hereinafter provided for, shall be and
           are excepted from the prohibitions of the first section of this ordinance. § 3. The
           Municipal Court of Jersey City may grant permits to carry any of the weapons
           named in the first section to such persons as should, from the nature of their
           profession, business or occupation, or from peculiar circumstances, be allowed so
           to do; and may, in granting such permits, impose such conditions and restrictions
           in each case as to the court shall seem proper. All applications for permits shall be
           made in open court, by the applicant in person, and in all cases the court shall
           require a written endorsement of the propriety of granting a permit from at least
           three reputable freeholders; nor shall any such permit be granted to any person
           until the court is satisfied that such person is temperate, of adult age, and capable
           of exercising self-control . Permits shall not be granted for a period longer than one
           year, and shall be sealed by the seal of the court. The possession of a permit shall
           not operate as an excuse unless the terms of the same are strictly complied with. In


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           cases of emergency, permits may be granted by a single Justice of the Municipal
           Court, or by the Chief of Police, to be in force not longer than thirty days, but such
           permit shall not be renewable. §4. That no person shall, within the limits of Jersey
           City, carry any air gun or any sword cane. § 5. The penalty for a violation of this
           ordinance shall be a fine not exceeding fifty dollars, or imprisonment in the city
           prison not exceeding ten days, or both fine and imprisonment not exceeding the
           aforesaid amount and time, in the discretion of the court.

           1902 N.J. Laws 780, An Act to Require Non-residents to Secure Licenses before
           Hunting or Gunning within the State of New Jersey and Providing Penalties for
           Violation of Its Provisions, ch. 263, § 1.
           Every non-resident of this state shall be required to take out a license before he
           shall begin hunting or gunning in this state, which license the several county clerks
           of this state, and each of them, are hereby authorized and required to issue upon the
           payment by the applicant of a license fee of ten dollars, and an issuance fee of fifty
           cents to the county clerk issuing the same; such license shall be a certificate of
           permission to hunt and gun within the state of New Jersey and shall include the
           name, age and place of residence and business of the applicant with his description
           as nearly as may be[.]

           1905 N.J. Laws 324-25, A Supplement to an Act Entitled “An Act for the
           Punishment of Crimes,” ch. 172, § 1.
           Any person who shall carry any revolver, pistol or other deadly, offensive or
           dangerous weapon or firearm or any stiletto, dagger or razor or any knife with a
           blade of five inches in length or over concealed in or about his clothes or person,
           shall be guilty of a misdemeanor, and upon conviction thereof shall be punishable
           by a fine not exceeding two hundred dollars or imprisonment at hard labor, not
           exceeding two years, or both; provided, however, that nothing in this act shall be
           construed to prevent any sheriff, deputy sheriff, police officer, constable, state
           detective, member of a legally organized detective agency or any other peace
           officer from carrying weapons in the discharge of his duty; nor shall this act apply
           to any person having a written permit to carry such weapon, firearm, stiletto, razor,
           dagger or knife, from the mayor of any city, borough or other municipality, having
           a mayor, or from the township committee or other governing body of any township
           or other municipality not having a mayor, which permits such officers and
           governing bodies are hereby authorized to grant; said permits shall be issued at the
           place of residence of the person obtaining the same and when issued shall be in
           force in all parts of the state for a period of one year from date of issue unless
           sooner revoked by the officer or body granting the same; and provided further, that
           nothing contained herein shall prevent any person from keeping or carrying about


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           his or her place of business, dwelling house or premises any such weapon, firearm,
           stiletto, dagger, razor or knife, or from carrying the same from any place of
           purchase to his or her dwelling house, or place of business, or from his or her
           dwelling house or place of business to any place where repairing is done to have
           the same repaired and returned; and provided further, that nothing in this act shall
           be construed to make it unlawful for any person to carry a gun, pistol, rifle or other
           firearm or knife in the woods or fields or upon the waters of this state for the
           purpose of hunting; a fee of twenty-five cents may be lawfully charged by such
           officer or body granting such permit.

           1914 N.J. Laws 65, Supplement to an Act Entitled “An Act to License Citizens of
           this State to Hunt and Pursue Wild Animals and Fowl,” ch. 43, § 1.
           No license to hunt, pursue or kill with a gun or any fire-arm any of the game birds¸
           wild animals or fowl of this State, shall be issued to any person under the age of
           fourteen years, and if any applicant for license shall misrepresent his age he shall
           be liable to a penalty of twenty dollars, to be sued for and recovered as other
           penalties under the fish and game laws.

           1916 N.J. Laws 275-76, An Act to Prohibit Any Person from Going into the
           Woods or Fields with a Gun or Other Firearm when Intoxicated, or under the
           Influence of any Drug or Intoxicating Liquor, ch. 130, §§ 1-2.
           1. It shall be unlawful for any person to go into the woods or fields at any time
           with a gun or firearm when intoxicated or under the influence of any drug or drugs
           or of intoxicating liquor. 2. Any person violating any of the provisions of this act
           shall be liable to a penalty of fifty dollars for each offense, to be sued for and
           recovered in the manner provided and by the persons authorized to sued for and
           recover penalties. . . . Upon the conviction of any person for violating the
           provisions of this act, the license to hunt and fish of such person issued to him . . .
           shall become void, and the justice of the peace, District Court judge, or police
           magistrate before whom such conviction is had, shall take from the person so
           convicted the license, mark the same “revoked” and send it to the Board of Fish
           and Game Commissioners. If such conviction is reversed on appeal the license
           shall be restored to the defendant. Any license to hunt or fish issued to any person
           convicted of a violation of this act during the calendar year in which such offense
           occurred shall be null and void.

           1927 N.J. Laws 180-81, A Supplement to an Act Entitled “An Act for the
           Punishment of Crimes,” ch. 95, §§ 1-2.
           1. The term “machine gun or automatic rifle,” as used in this act, shall be construed
           to mean any weapon, mechanism or instrument not requiring that the trigger be


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           pressed for each shot and having a reservoir, belt or other means of storing and
           carrying ammunition which can be loaded into the said weapon, mechanism or
           instrument and fired therefrom at a rate of five or more shots to the second. 2. Any
           person who shall sell, give, loan, furnish or deliver any machine gun or automatic
           rifle to another person, or any person who shall purchase, have or possess any
           machine gun or automatic rifle, shall be guilty of a high misdemeanor; provided,
           the provisions of this section shall not apply to any person who has procured and
           possesses a license to purchase, have and possess a machine gun or automatic rifle
           as hereinafter provided for; nor to the authorized agents and servants of such
           licensee; or to the officers and members of any duly authorized military
           organization; nor to the officers and members of the police force of any
           municipality, nor to the officers and members of the State Police force; nor to any
           sheriff or undersheriff; nor to any prosecutor of the pleas, his assistants, detectives
           and employees.

           1927 N.J. Laws 742
              No retail dealer shall sell or expose for sale, or have in his possession with intent
           to use, any of the firearms or instruments enumerated in section one hereof without
           being licensed as hereafter provided. The Common Pleas judge of any court of this
           State, by the Secretary of State, effective for not more than one year from date of
           issue, permitting the licensee to sell at retail within the said city or town or
           political-division, pistols or revolvers, subject to the follow-ing conditions, for
           breach of any of which the license shall be subject to forfeiture:
           1. The business shall be carried on only in the building or buildings designated in
           the license.
           2. The license or a copy thereof certified by the issuing authority shall be displayed
           in a conspicuous place on the premises where it can be easily read.
           3. No pistol or revolver, or imitation thereof, or placard advertising the sale
           thereof, shall be placed in any window or in any part of said premises where it can
           be readily seen from the outside.
           4. No pistol or revolver shall be delivered (a) unless the purchaser shall have
           obtained a permit to purchase days shall have elapsed after the application for the
           permit; (c) unless the purchaser either is personally known to the seller or shall
           present evidence of his identity; (d) unless the pistol or revolver shall be unloaded
           and securely wrapped; provided, however, a permit to cover a pistol or revolver
           shall, for the purposes of this section and of section nine of this act, be equivalent
           to a permit to purchase a pistol or revolver. 5. A true record of every pistol shall be
           made in a book kept for the purpose, the form of which shall be prescribed by the
           Secretary of State and shall be personally signed by the person effecting the sale,



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           and shall contain the date of the sale, the calibre, make, model, and manufacturer’s
           number of the weapon, and the name, address and permit number of the purchaser.
              Any person who shall knowingly sell any of the firearms or instruments
           enumerated in section one hereof to a minor under the age of eighteen years, or to a
           person not of sound mind, or to a drug addict, or to a person who has been
           convicted of committing or attempting to commit any of the crimes enumerated in
           section two hereof when armed with any of the firearms or instruments enumerated
           in section one hereof, shall he guilty of misdemeanor.
              No person shall sell a pistol or revolver to another person unless the purchaser
           has first secured a permit to purchase or carry a pistol or revolver. No person of
           good character and who is of good repute in the community in which he lives, and
           who is not subject to any of the disabilities set forth in other sections of this act,
           shall be denied a permit to purchase a pistol or revolver. The judge of any court
           within this State (except, however, justices of the peace), the sheriff of a county or
           the chief of police of a city, town or municipality shall upon application issue-to
           any person qualified under the provisions of this section a permit to purchase a
           pistol or revolver, and the Secretary of State shall have concurrent jurisdiction to
           issue such permit in any case, notwithstanding it has been refused by any other
           licensing official, if in his opinion the applicant is qualified.
           Applications for such permits shall be in form as prescribed by the Secretary of
           State and shall set forth the name, residence, place of business, age, occupation,
           sex, color, and physical description of the applicant, and shall state whether the
           applicant is a citizen, and whether he has ever been convicted of any of the crimes
           enumerated in section two hereof as defined in this act. Such application shall he
           signed by the applicant and shall contain as reference the names and addresses of
           two reputable citizens personally acquainted with him. Application blanks shall be
           obtainable from the Secretary of State and from any other officers authorized to
           grant such permit.. and may be obtained from licensed retail dealers. The
           application, together with a fee of fifty cents. shall be delivered or forwarded to the
           licensing authority who shall investigate the same, and unless food cause for the
           denial thereof shall appear, shall rant said permit within seven days from the date
           of the receipt of the application. The permit shall be in form prescribed by the
           Secretary of State and shall be issued to the applicant in triplicate. The applicant
           shall deliver to the seller the permit in triplicate and the seller shall indorse on the
           back of each copy the make, model, calibre and serial number of the pistol or
           revolver, sold tinder the permit. One copy shall then be returned to the purchaser
           with the pistol or revolver, one copy shall be kept by the seller as a permanent
           record, and the third copy shall be forwarded by the seller within three days to the
           Secretary of State. If the permit is not granted, the fee shall be returned to the
           applicant.


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           All fees for permits shall be paid into the general fund of the State if the permit be
           issued by the Secretary of State; to the municipality if the permit be issued by a
           municipal officer; in all other instances to the general fund of the county wherein
           the officer acts or the licensee resides or does business.
           A person shall not be restricted as to the number of pistols or revolvers he may
           purchase, if he applies for and obtains permits to purchase the same, but only one
           pistol or revolver shall be purchased or delivered on each permit.

           1934 N.J. Laws 394-95, A Further Supplement to an Act Entitled “An Act for the
           Punishment of Crimes,” ch. 155, §§ 1-5.
           1. A gangster is hereby declared to be an enemy of the state. 2. Any person in
           whose possession is found a machine gun or a submachine gun is declared to be a
           gangster; provided, however, that nothing in this section contained shall be
           construed to apply to any member of the military or naval forces of this State, or to
           any police officer of the State or of any county or municipality thereof, while
           engaged in his official duties. 3. Any person, having no lawful occupation, who is
           apprehended while carrying a deadly weapon, without a permit so to do and how
           has been convicted at least three times of being a disorderly person, or who has
           been convicted of any crime, in this or in any other State, is declared to be a
           gangster. 4. Any person, not engaged in any lawful occupation, known to be a
           member of any gang consisting of two or more persons, who has been convicted at
           least three times of being a disorderly person, or who has been convicted of any
           crime, in this or in any other State, is declared to be a gangster; provided, however,
           that nothing in this section contained shall in any wise be construed to include any
           participant or sympathizer in any labor dispute. 5. Any person convicted of being a
           gangster under the provisions of this act shall be guilty of a high misdemeanor, and
           shall be punished by a fine not exceeding ten thousand dollars ($10,000.00), or by
           imprisonment not exceeding twenty years, or both.

           NEW MEXICO

           1915 N.M. Law 153, An Act to Amend Sections . . . of Chapter 85 of the Laws of
           1912 Relative to the Protection of Game and Fish, ch. 101, §7.
           . . . No person shall at any time shoot, hunt or take in any manner any wild animals
           or birds or game fish as herein defined in this state without first having in his or her
           possession a hunting license as hereinafter provided for the year in which such
           shooting, fishing or hunting is done. The presence of any person in any open field,
           prairie or forest, whether enclosed or not with traps, gun or other weapon for
           hunting, without having in possession a proper hunting license as herein provided,
           shall be prima facie evidence of the violation of this section.


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           NEW YORK

           The Colonial Laws Of New York From The Year 1664 To The Revolution,
           Including The Charters To The Duke Of York, The Commissions And Instructions
           To Colonial Governors, The Dukes Laws, The Laws Of The Dongan And Leisler
           Assemblies, The Charters Of Albany And New York And The Acts Of The
           Colonial Legislatures From 1691 To 1775 Inclusive Page 40-41, Image 62-63
           (1896) available at The Making of Modern Law: Primary Sources. 1680.
           Laws of the Colony of New York, Indians. No person shall sell, give or barter
           directly or indirectly any gun or guns, powder, bullet, shot, lead nor any vessel or
           burthen, or row boat, canoes only excepted without license first had and obtained
           under the governors hand and seal to any Indian whatsoever, nor to any person
           inhabiting out of this Government, nor shall amend or repair any gun belonging to
           any Indian, nor shall sell any armor or weapons, upon penalty of ten pounds for
           every gun, armor, weapon, vessel, or boat so sold given or bartered, five pounds
           for every for every pound of powder, and forty shillings for every pound of shot or
           lead and proportionately for any greater or lesser quantity.

           Laws of the State of New-York, Relating to the City of Schenectady: And the
           Laws and Ordinances of the Common Council of the City of Schenectady Page 58,
           Image 58 (1824) available at The Making of Modern Law: Primary Sources. 1824
           [Ordinances of the City of Schenectady,] XI. And be it further ordained, That if
           any person shall fire or discharge any gun, pistol, rocket, cracker, squib or other
           fire works, in any street, lane or alley, or in any yard, garden or other enclosure, or
           in any place which persons frequent to walk within the limits aforesaid, without
           permission of the mayor or one of the aldermen or assistants of this city, such
           person shall forfeit for every such offence the sum of one dollar…

           Elliott Fitch Shepard, Ordinances of the Mayor, Aldermen and Commonalty of the
           City of New York, in Force January 1, 1881; Adopted by the Common Council
           and Published by Their Authority Page 214-215, Image 214-215 (1881) available
           at The Making of Modern Law: Primary Sources. 1881
           Carrying of Pistols, § 264. Every person except judges of the federal, state and city
           courts, and officers of the general, state and municipal governments authorized by
           law to make arrests, and persons to whom permits shall have been issued, as
           hereinafter provided, who shall have in his possession within the city of New York
           a pistol of any description concealed on his person, or not carried openly, shall be
           deemed guilty of a misdemeanor, and shall be punished, on conviction by a fine
           not exceeding ten dollars, or, in default of payment of such fine by imprisonment


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           not exceeding ten days. § 265. Any person, except as provided in this article, who
           has occasion to carry a pistol for his protection, may apply to the officer in
           command at the station-house of the precinct where he resided, and such officer, if
           satisfied that the applicant is a proper and law abiding person, shall give said
           person a recommendation to the superintendent of police, or the inspector in
           command at the central office in the absence of the superintendent, who shall issue
           a permit to the said person allowing him to carry a pistol of any description. Any
           non-resident who does business in the city of New York, and has occasion to carry
           a pistol while in said city, must make application for permission to do so to the
           officer in command of the station-house of the police precinct in which his so does
           business, in the same manner as is required by residents of said city, and shall be
           subject to the same conditions and restrictions.

           Charles Wheeler, By-Laws of the Village of Mechanicville. Adopted by the
           Trustees October 18, 1881 Page 7, Image 8 (1881) available at The Making of
           Modern Law: Primary Sources. 1881
           [Ordinances of the Village of Mechanicville, NY,] Fires and Their Prevention, Fire
           Arms and Fire Works, § 20. No person, except on the anniversary of our national
           independence, and on that day only, at such place or places as the President or
           Trustees shall permit, shall fire, discharge or set off, in the village, any gun,
           cannon, pistol, rocket, squib, cracker or fire ball, under the penalty of five dollars
           for each offense.

           George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the
           State of New York as Amended 1882-5 Page 172, Image 699 (1885) available at
           The Making of Modern Law: Primary Sources. 1884
           Carrying, Using, Etc., Certain Weapons, § 410. A person who attempts to use
           against another, or who, with intent so to use, carries, conceals or possesses any
           instrument or weapon of the kind commonly known as the slung-shot, billy, sand –
           club or metal knuckles, or a dagger, dirk or dangerous knife, is guilty of a felony.
           Any person under the age of eighteen years who shall have, carry or have in his
           possession in any public street, highway or place in any city of this state, without a
           written license from a police magistrate of such city, any pistol or other fire-arm of
           any kind, shall be guilty of a misdemeanor. This section shall not apply to the
           regular and ordinary transportation of fire-arms as merchandise, or for use without
           the city limits. § 411. Possession, Presumptive Evidence. The possession, by any
           person other than a public officer, of any of the weapons specified in the last
           section, concealed or furtively carried on the person, is presumptive evidence of
           carrying, or concealing, or possessing, with intent to use the same in violation of
           that section.


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           George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the
           State of New York as Amended 1882-5. Fourth Edition Page 298, Image 824
           (1885) available at The Making of Modern Law: Primary Sources. 1885
           An Act to Limit the Carrying and Sale of Pistols and other fire arms in the cities of
           this state. Chap. 375, § 1. No person under the age of eighteen years shall have,
           carry or have in his possession in any public street, highway or place in any of the
           cities of this state, any pistol or other firearms of any kind, and no person shall in
           such cities sell or give any pistol or other fire-arms to any person under such age. §
           2. Any person violating any of the provisions of this act shall be guilty of a
           misdemeanor, and in all trials or examinations for said offense the appearance of
           the person so alleged or claimed to be under the age of eighteen years shall be
           evidence to the magistrate or jury as to the age of such person. § 3. Nothing herein
           contained shall apply to the regular and ordinary transportation of pistols or fire-
           arms as articles of merchandise in said cities, or to the carrying of a gun or rifle
           through a street or highway of any city, with the intent to use the same outside the
           said city; nor to any person under such age carrying an pistol or firearms under
           license given by the mayor of said cities; but no license so given shall be in force
           more than one year from its date; and all such licenses may be revoked at the
           pleasure of the mayor, and a full complete and public record shall be kept by the
           mayor of said cities of all such licenses and the terms and date thereof.

           Charter and Ordinances of the City of Syracuse: Together with the Rules of the
           Common Council, the Rules and Regulations of the Police and Fire Departments,
           and the Civil Service Regulations Page 184, Image 185 (1885) available at The
           Making of Modern Law: Primary Sources. 1885
           Ordinances of [the City of Syracuse,] Gunpowder, Etc. § 1. No person except when
           on military duty in the public service of the United States, or of this State, or in
           case of public celebration with permission of the mayor or common council, shall
           have, keep or possess in any building, or carriage, or on any dock, or in any boat or
           other vessel, or in any other place within the city limits, gun-powder, giant-
           powder, nitro-glycerine, dynamite or other explosive material, in quantity
           exceeding one pound, without written permission from the chief engineer of the
           fire department. Any person violating any of the provisions of this section shall be
           liable to a fine of not less than ten nor more than one hundred dollars, or to
           imprisonment in the penitentiary of the county for not less than thirty days nor
           more than three months, for each offense.

           Mark Ash, The New York City Consolidation Act, as in Force in 1891: With Notes
           Indicating the Statutory Sources, References to Judicial Decisions, and All Laws


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           Relating to New York City, Passed Since January 1, 1882, Together with an
           Appendix of the Royal English Colonial Charters of New York City Page 209,
           Image 233 (Vol. 1, 1891) available at The Making of Modern Law: Primary
           Sources. 1890
           Ordinances of the City of New York, § 455. No person shall manufacture, have,
           keep, sell, or give away any gunpowder, blasting powder, gun-cotton, niro-
           glycerine, dualin, or any explosive oils or compounds, within the corporate limits
           of the city of New York, except in the quantities limited, in the manner, and upon
           the conditions herein provided, and under such regulations as the board of fire
           commissioners shall prescribe : and said board shall make suitable provision for
           the storage and safe keeping of gunpowder and other dangerous and explosive
           compounds or articles enumerated under this title, beyond the interior line of low
           water-mark in the city and county of New York. The said board may issue licenses
           to persons desiring to sell gunpowder or any of the articles mentioned under this
           section at retail, at a particular place in said city to be named in said license
           (provided that the same shall not be in a building used in any part thereof as a
           dwelling unless specially authorized by said license), and persons so licensed may
           on their premises, if actually kept for sale, persons so licensed may have on their
           premises, if actually kept for sale, a quantity not exceeding at any one time, of
           nitro-glycerine, five pounds; of gun-cotton, five pounds of gunpowder, fourteen
           pounds; blasting powder, twenty-five pounds. . .

           1891 N.Y. Laws 129, 177, An Act to Revise the Charter of the City of Buffalo, ch.
           105, tit. 7, ch. 2, § 209.
           No person other than members of the police force, regularly elected constables, the
           sheriff of Erie county, and his duly appointed deputies, shall, in the city, carry
           concealed upon or about his person, any pistol or revolver, or other dangerous
           weapon or weapons, without first obtaining a permit, as hereinbefore provided; and
           such permit shall be produced and exhibited by any person holding the same, upon
           the request of a member of the police force. A violation of any of the provisions of
           this section shall be a misdemeanor and punishable as such; and all fines imposed
           and collected for such violations shall be deposited to the credit of said pension
           fund by the clerk of the court imposing the same.

           Rules, By-Laws and Ordinances of the Village of Wappingers Falls. Adopted
           September 13, 1898 Page 34, Image 32.(Wappingers Falls, 1898) available at The
           Making of Modern Law: Primary Sources. 1898
           Ordinances of Wappinger Falls. Park Ordinances. § 1. No person or persons shall
           fire or discharge any gun or pistol or other firearm, or any rocket torpedo, or other
           fireworks of any description, nor send up any balloon, nor throw stones or missiles,


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           nor play ball within the limits of Mesier Park, without the permission obtained of
           the Park Commissioners at a meeting of the Board.

           An Ordinance to regulate the government of parks and other public pleasure
           grounds of The City of New York, at 600 (1903). 1903
           Be it Ordained by the Board of Aldermen of The City of New York, as follows: All
           persons are forbidden . . .
           XXIV. No one shall fire or carry any firearm, fire cracker, torpedo or fire-works,
           nor make a fire, nor make any oration, nor conduct any religious or other meeting
           or ceremony within any of the parks, parkways, squares or places in The City of
           New York under the jurisdiction of the Department of Parks without special
           permission from the Commissioner having jurisdiction.

           1911 N.Y. Laws 442-43, An Act to Amend the Penal Law, in Relation to the Sale
           and Carrying of Dangerous Weapons. ch. 195, §1.
           Section . . . eighteen hundred and ninety-seven . . . [is] hereby amended to read as
           follows: § 1897. Carrying and use of dangerous weapons. A person who attempts
           to use against another, or who carries, or possesses any instrument or weapon of
           the kind commonly known as a blackjack, slunghsot, billy, sandclub, sandbag,
           metal knuckles or bludgeon, or who with intent to use the same unlawfully against
           another, carries or possesses a dagger, dirk, dangerous knife, razor, stiletto, or any
           other dangerous or deadly instrument or weapon, is guilty of a felony. Any person
           under the age of sixteen years, who shall have, carry, or have in his possession, any
           of the articles named or described in the last section, which is forbidden therein to
           offer, sell, loan, lease or give to him, shall be guilty of a misdemeanor. . . . Any
           person over the age of sixteen years, who shall have or carry concealed upon his
           person in any city, village, or town of this state, any pistol, revolver, or other
           firearm without a written license therefor, theretofore issued to him by a police
           magistrate of such city or village, or by a justice of the peace of such town, or in
           such manner as may be prescribed by ordinance of such city, village or town, shall
           be guilty of a felony.

           1911 N.Y. Laws 443, An Act to Amend the Penal Law, in Relation to the Sale and
           Carrying of Dangerous Weapons. ch. 195, §1.
           Any person over the age of sixteen years, who shall have in his possession in any
           city, village or town of this state, any pistol, revolver or other firearm of a size
           which may be concealed upon the person, without a written license therefor, issued
           to him by a police magistrate of such city or village, or by a justice of the peace of
           such town, or in such manner as may be prescribed by ordinance in such city,
           village or town, shall be guilty of a misdemeanor.


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           1911 N.Y. Laws 444-45, An Act to Amend the Penal Law, in Relation to the Sale
           and Carrying of Dangerous Weapons. ch. 195, § 2.
           Such chapter is hereby amended . . . § 1914. Sale of pistols, revolvers and other
           firearms. Every person selling a pistol, revolver or other firearm of a size which
           may be concealed upon the person whether such seller is a retail dealer,
           pawnbroker or otherwise, shall keep a register in which shall be entered at the time
           of sale, the date of sale, name, age, occupation and residence of every purchaser of
           such a pistol, revolver or other firearm, together with the calibre [sic], make,
           model, manufacturer’s number or other mark of identification on such pistol,
           revolver or other firearm. Such person shall also, before delivering the same to the
           purchaser, require such purchaser to produce a permit for possessing or carrying
           the same as required by law, and shall also enter in such register the date of such
           permit, the number thereon, if any, and the name of the magistrate or other officer
           by whom the same was issued. Every person who shall fail to kep a register and
           enter therein the facts required by this section, or who shall fail to exact the
           production of a permit to possess or carry such pistol, revolver or other firearm, if
           such permit is required by law, shall be guilty of a misdemeanor. Such register
           shall be open at all reasonable hours for the inspection of any peace officer. Every
           person becoming the lawful possessor of such pistol, revolver or other firearm,
           who shall sell, give or transfer the same to another person without first notifying
           the police authorities, shall be guilty of a misdemeanor. This section shall not
           apply to wholesale dealers.

           1923 N.Y. Laws 140–141, An Act to Amend the Conservation Law in Relation to
           Aliens, ch. 110, § 2.
           2. It shall be unlawful for any unnaturalized foreign born person to hunt for, or
           capture or kill, in this state any wild bird or animal, either game or otherwise, of
           any description except in defense of person or property or except under a special
           license issued directly by the conservation commission; and to that end it shall be
           unlawful for any unnaturalized foreign born person within this state, to own or be
           possessed of a shotgun or rifle of any make, unless he possess such special license.

           NORTH CAROLINA

           James Iredell, A Digested Manual of the Acts of the General Assembly of North
           Carolina, from the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of
           a Private and Local Nature, and Such as were Temporary and Whose Operation
           Has Ceased to Exist Page 73, Image 73 (1847) available at The Making of Modern
           Law: Primary Sources. 1840


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           Crimes and Punishments, 1840 – 1. – Ch. 30, If any free negro, mulatto, or free
           person of color shall wear, or carry about his or her person, or keep in his or her
           house, any shot gun, musket, rifle, pistol, sword, dagger, or bowie knife, unless he
           or she shall have obtained a license therefor from the Court of Pleas and Quarter
           Sessions of his or her county, within one year preceding the wearing, keeping or
           carrying thereof, he or she shall be guilty of a misdemeanor and may be indicted
           therefor.

           1909 N.C. Sess. Laws 777, Priv. Laws, An Act for a New Charter for the City of
           Southport, North Carolina, ch. 345, § 23, pt. 14.
           [O]n dealers in pistols, guns, dirks, bowie knives, sling shots, brass or metal
           knuckles or other like deadly weapons, in addition to all other taxes, a license tax
           not exceeding fifty dollars; on dealers in firecrackers, Roman candles, skyrockets,
           toy pistols or fireworks of any kind, a tax not exceeding fifty dollars.

           1919 N.C. Sess. Laws 397-99, Pub. Laws, An Act to Regulate the Sale of
           Concealed Weapons in North Carolina, ch. 197, §§1, 5.
           § 1. That it shall be unlawful for any person, firm, or corporation in this State to
           sell, give away or dispose of, or to purchase or receive, at any place within the
           State from any other place within or without the State, without a license or permit
           therefor shall have first been obtained by such purchaser or receiver from the clerk
           of the Superior Court of the county in which such purchase, sale, or transfer is
           intended to be made, any pistol, so-called pump-gun, bowie knife, dirk, dagger or
           metallic knucksn[sic]. . . § 5. That each and every dealer in pistols, pistol cartridges
           and other weapons mentioned in section one of this act shall keep and accurate
           record of all sales thereof, including the name, place of residence, date of sale, etc.,
           of each person, firm, or corporation, to whom or which any and all such sales are
           made, which said record shall be open to the inspection of any duly constituted
           State, county or police officer, within this State.

           NORTH DAKOTA

           1915 N.D. Laws 96, An Act to Provide for the Punishment of Any Person Carrying
           Concealed Any Dangerous Weapons or Explosives, or Who Has the Same in His
           Possession, Custody or Control, unless Such Weapon or Explosive Is Carried in
           the Prosecution of a Legitimate and Lawful Purpose, ch. 83, §§ 1-3, 5.
           § 1. Any person other than a public officer, who carries concealed in his clothes
           any instrument or weapon of the kind usually known as a black-jack, slung-shot,
           billy, sand club, sand bag, bludgeon, metal knuckles, or any sharp or dangerous
           weapon usually employed in attack or defense of the person, or any gun, revolver,


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           pistol or other dangerous fire arm loaded or unloaded, or any person who carries
           concealed nitro-glycerin, dynamite, or any other dangerous or violent explosive, or
           has the same in his custody, possession or control, shall be guilty of a felony,
           unless such instrument weapon or explosive is carried in the prosecution of or to
           effect a lawful and legitimate purpose. § 2. The possession, in the manner set forth
           in the preceeding Section, of any of the weapons or explosives mentioned therein,
           shall be presumptive evidence of intent to use the same in violation of this act. § 3.
           Penalty – Any person upon conviction of violating the provisions of this Act, shall,
           in the discretion of the court, be imprisoned in the State Penitentiary nor more than
           two years, or in the county jail not more than one year, or by a fine of not more
           than one hundred dollars, or by both such fine and imprisonment. Provided,
           however, that any citizen of good moral character may, upon application to any
           district court, municipal, or justice of the court, be granted the permission to carry
           a concealed weapon upon the showing of reasonable cause. . . . § 5. Emergency.
           An emergency is hereby declared to exist in that professional criminals are
           frequently found to carry concealed about their persons, the dangerous weapons or
           explosives mentioned in Section 1 of this Act. And, whereas, the present law is
           inadequate to prevent such criminals from carrying concealed weapons or
           explosives; therefore, this Act shall take effect and be in force from and after its
           passage and approval.

           1923 N.D. Laws 379, 380-82 ch. 266
           Sec. 2. Commiting Crime When Armed. If any person shall commit or attempt to
           commit a crime when armed with a pistol or revolver, and having no permit to
           carry the same, he shall be in addition to the punishment provided for the crime, be
           punished by imprisonment for not less than ten years.
           Sec. 6. Carrying Pistol Concealed. No person shall carry a pistol or revolver
           concealed in any vehicle or in any package, satchel, grip, suit case or carry in any
           way or upon his person, except in his dwelling house or place of business, without
           a license therefor as hereinafter provided. Violations of this section shall be
           punished by imprisonment for not less than one year, and upon conviction the
           pistol or revolver shall be confiscated or destroyed.
           Sec. 8. Issue of Licenses to Carry. The justice of a court of record, the chief of
           police of a city or town and the sheriff of a county, or persons authorized by any of
           them shall upon the application of any person having a bonafide residence or place
           of business within the jurisdiction of said licensing authority, or of any person
           having a bona fide residence or place of business within the United States and
           license to carry a fire arm concealed upon his person issued by the authorities of
           any State or sub-division of the United States, issue a license to such person to
           carry a pistol or revolver within this State for not more than one year from date of


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           issue, if it appears that the applicant has good reason to fear an injury to his person
           or property or for any other proper purpose, and that he is a suitable person to be so
           licensed . . .
           Sec. 10. SALES REGULATED. No person shall sell, deliver, or otherwise transfer
           a pistol or revolver to a person who he has reasonable cause to believe either is an
           unnaturalized foreign born person or has been convicted of a felony against the
           person or property of another, or against the Government of the United States or
           any State or subdivision thereof, nor in any event shall he deliver a pistol or
           revolver on the day of the application for the purchase thereof, and when delivered,
           said pistol or revolver shall be securely wrapped and shall be unloaded. Before a
           delivery be made the purchaser shall sign in triplicate and deliver to the seller a
           statement containing his full name, address, occupation, and nationality, the date of
           sale, the caliber, make, model, and manufacturer’s number of the weapon. The
           seller shall, within seven days, sign and forward by registered mail one copy
           thereof to the Secretary of State, and one copy thereof to the chief of police of the
           city or town, or the sheriff of the county of which the seller is a resident, and shall
           retain the other copy for six years. This section shall not apply to sales at
           wholesale. Where neither party to the transaction holds a dealer’s license, no
           person shall sell or otherwise transfer a pistol or revolver to any person not
           personally known to him. Violations of this section shall be punished by a fine of
           not less than $100 or imprisonment for not less than one year, or by both such fine
           and imprisonment.
           Sec. 11. DEALERS TO BE LICENSED. Whoever, without being licensed as
           hereinafter provided, sells, or otherwise transfers, advertises, or exposes for sale, or
           transfers or has in his possession with intent to sell, or otherwise transfer, pistols or
           revolvers, shall be punished by imprisonment for not less than two years.
           Sec. 12. DEALERS’ LICENSES: By WHOM GRANTED, AND CONDmoNs
           THEREOF.) The duly constituted licensing authorities of any city, town or
           subdivision of this state, may grant licenses in form prescribed by the Secretary of
           State, effective for not more than one year from date of issue, permitting the
           licensee to sell at retail within the said city or town or political subdivision, pistols
           and revolvers, subject to the following conditions, for breach of any of which the
           license shall be subject to forfeiture:
              The business shall be carried on only in the building designated in the license.
              The license or a copy thereof, certified by the issuing authority, shall be
           displayed on the premises where it can easily be read.
              No pistol or revolver shall be delivered-
           (a) On the day of the application for the purchase, and when delivered shall be
           unloaded and securely wrapped; nor



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           (b) Unless the purchaser either is personally known to the seller or shall present
           clear evidence of his identity; nor
           (c) If the seller has reasonable cause to believe that the purchaser either is an
           unnaturalized foreign born person or has been convicted of a felony against the
           person or property of another, or against the Government of the United States or
           any State or subdivision thereof.
              A true record, in triplicate, shall be made of every pistol or revolver sold, said
           record to be made in a book kept for the purpose, the form of which may be
           prescribed by the Secretary of State, and shall be personally signed by the
           purchaser and by the person affecting the sale, each in the presence of the other,
           and shall include the date of sale, the caliber, make, model, and manufacturer’s
           number of the weapon, the name, address, occupation, and nationality of the
           purchaser. One copy of said record shall, within seven days, be forwarded by
           registered mail to the Secretary of State and one copy thereof to the chief of police
           of the city or town or the sheriff of the county of which the seller is a resident, and
           the other copy retained for six years.
              No pistol or revolver, or imitation thereof, or placard advertising the sale or
           other transfer thereof, shall be displayed in any part of said premises where it can
           readily be seen from the outside.

           1925 N.D. Laws 216–17, Pistols and Revolvers, ch. 174, § 2.
           § 2 Committing Crime When Armed. If any person shall commit, or attempt to
           commit, a crime when armed with a pistol or revolver, and has no permit to carry
           the same, he may be punished by imprisonment for not more than ten years, in
           addition to the punishment provided for the crime. Such imprisonment, if not
           exceeding one year, to be in the County jail, and if exceeding one year to be in the
           State Penitentiary.

           1931 N. D. Laws 305-06, An Act to Prohibit the Possession, Sale and Use of
           Machine Guns, Sub-Machine Guns, or Automatic Rifles and Defining the Same . .
           . , ch. 178, §§ 1-2.
           § 1. The term “machine gun, sub-machine gun or automatic rifle” as used in this
           act shall be construed to mean a weapon mechanism or instrument not requiring
           the trigger be pressed for each shot and having a reservoir, belt or other means of
           storing and carrying ammunition which can be loaded into the said weapon,
           mechanism or instrument and fired therefrom at a rate of five or more shots to the
           second. § 2. Any person who shall sell, give, loan, furnish or deliver any machine
           gun, sub-machine gun, automatic rifle of a caliber larger than twenty-two, or a
           bomb loaded with explosives or poisonous or dangerous gases to another person,
           or any person who shall purchase, have or possess any machine gun, sub-machine


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           gun¸ automatic rifle, or a caliber larger than twenty-two or a bomb loaded with
           explosives or poisonous or dangerous gases, shall be guilty of a felony and shall be
           punished by imprisonment in the state penitentiary not to exceed ten years, or by a
           fine of not more than three thousand dollars, or both. Provided, that the provisions
           of this act shall not apply to any person who has procured and possesses a license
           to purchase, sell, have or possess a machine gun, sub-machine gun, automatic rifle,
           of a caliber larger than twenty-two, or bomb loaded with explosives or poisonous
           or dangerous gases, as hereinafter provided for, nor to the authorized agents and
           servants of such licensee or to the officers and members of any duly authorized
           military organization, nor to the officers and members of the police force of any
           municipality, nor to any Sheriff, deputy sheriff, nor any other officer having police
           powers under the laws of the State.

           OHIO

           The Act of Incorporation, and the Ordinances and Regulations of the Town of
           Marietta, Washington County, Ohio Page 17-18, Image 17-18 (1837) available at
           The Making of Modern Law: Primary Sources. 1823
           [Ordinances of Marietta, Ohio; An Ordinance For Preventing the Wanton Use of
           Fire Arms, Etc., § 1. Be it ordained by the Town of Marietta, in Town meeting
           legally assembled, and by the authority thereof it is ordained and enacted , That if
           any person, after this ordinance takes effect, shall discharge or explode, or aid or
           assist in discharging or exploding any gun powder, from guns, fire arms, or by any
           other means, within the limits of the town plot of Marietta, where by the quiet of
           any of the inhabitants may be disturbed, or their lives and safety endangered
           (unless such firing shall by authorized by permission in writing from the town
           council then in office, or by the command of some military officer in discharge of
           his duty as such,) the person so offending may be complained of before any justice
           of the peace for the town and upon conviction, shall be fined by such justice not
           than less one dollar (sic), nor more than five dollars for the first offence, and for
           the second and all subsequent offences against this ordinance, such person shall be
           fined not less than five, nor more than ten dollars, and pay all costs, to be collected
           as other penalties by law are. . .

           An Act Incorporating the City of Cincinnati: And a Digest of the Ordinances of
           Said City, of a General Nature, Now in Force, with an Appendix Page 57-58,
           Image 58-59 (1835) available at The Making of Modern Law: Primary Sources.
           1835
           Ordinances of the City of Cincinnati, An Ordinance to Regulate the Keeping of
           Gunpowder, § 1. Be it ordained by the City Council of the City of Cincinnati, That


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           no person or persons in the city of Cincinnati, shall keep, have, or possess, in any
           house, warehouse, shop, shed, or other building, nor in any street, side walk, lane,
           alley, passage, way, or yard, nor in any cellar, wagon, cary, or carriage, of any kind
           whatever; nor in any other place, within said city, Gun Powder, in any way or
           manner, other than as provided for by this ordinance; nor in any quantity exceeding
           twenty-five pounds, to be divided into six equal parts. § 2. Be it further ordained,
           That it shall not be lawful for any person or persons to sell gun powder by retail
           within said city, without having first obtained a license from the city council for
           that purpose; and every person obtaining a grant for a license to sell gun powder,
           shall receive a certificate of such grant from the city clerk, and pay into the city
           treasury, a sum not exceeding one hundred dollars, nor less than ten dollars;
           besides fifty cents to the Mayor for issuing the same; Provided that license be
           granted to not more than four persons in any one ward, and so that they be
           separated from each other, by at least two entire blocks or squares; and all
           applications for such license, shall be in writing, stating the situation where such
           gunpowder is to be kept. § 3. Be it further ordained, That every person who obtains
           a license as aforesaid to retail gun powder, shall keep the same in tin canisters, well
           secured with good and sufficient covers; and shall place on the store or building
           containing the same, a sign with the words, LICENSED TO SELL GUN
           POWDER, Provided that nothing in this ordinance shall be so construed to prevent
           any person from carrying gun powder through the streets in its exportation, or to
           some place of deposit, without the limits of the corporation, if the same be put up
           in tight and well secured kegs or vessels. § 4. Be it further ordained, That it shall
           be the duty of the city marshal and his deputies, and any of the fire wardens, on
           any day, (Sundays excepted) between sun rising and setting, to enter into any
           house or building, or any other place within said city, where gun powder is kept or
           suspected to be kept, and examine the premises, and if they or either of them shall
           find any gun powder, contrary to the provisions of this ordinance, they or either of
           them shall seize such powder, together with the vessel containing the same, in the
           name of the city of Cincinnati; and the officer making such seizure, if he be other
           than the marshal, shall forthwith report such seizure to the marshal, who shall
           immediately take charge of the gun powder so seized, as if in case of seizure by
           himself; and in either case he shall immediately take charge of the gun powder so
           seized; to be conveyed to some safe place of deposit without the limits of the city.
           And the marshal shall, moreover, forthwith report such seizure to the mayor, with
           the name of the person in whose possession such gun powder was seized, or with
           the name of the owner, if his name be known, whereupon the mayor shall issue a
           citation against the owner, if known and within his jurisdiction, and if not, then
           against the person whose possession such gunpowder was seized, citing the
           defendant to appear on a day to be named in such citation, and show cause, if any


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           he have, why the gun powder so seized should not be forfeited to the city, and a
           fine imposed agreeably to the provisions of this ordinance; upon which citation
           proceedings shall be had as in other cases upon the city ordinances, and if a final
           judgment of forfeiture be pronounced against the gun powder so seized, the
           marshal shall proceed to sell and dispose of the same for the benefit of said city,
           after having given three days notice of such sale, by advertisement in at least three
           public places in the city, and at one of the market houses on market day, to the
           highest bidder; and the net proceeds thereof shall be credited on the execution
           against the person fined for keeping the same contrary to the provisions of this
           ordinance: Provided, that, of any lot of powder seized according to the provisions
           of this ordinance, not more shall be sold by the marshal than will pay the fine and
           costs of suit and expense attending the seizure.

           George W. Malambre, Laws and General Ordinances of the City of Dayton,
           Containing the Laws of the State upon Municipal Government; All the General
           Ordinances in Force August 30th, 1855; a List of the Officers of the City under the
           New Act of Incorporation, Together with the Amount of Taxes Levied in Each
           Year for General and Special Purposes, since 1851, and the Total Amount in Each
           Year, of Property Subject to Taxation Page 214, Image 219 (1855) available at The
           Making of Modern Law: Primary Sources. 1855
           Ordinances of the City of Dayton. Offenses. § 38. Sec. XXXIX. If any person, or
           persons, shall fire any cannon, gun, or other firearms, within the bounds of the
           building lots, or cemetery ground in this city, or within one hundred yards of any
           public road, within this corporation, except by permission of council, and except in
           proper situations for firing salutes, or by command of a military officer in
           performance of military duty, every person, so offending, on conviction thereof,
           shall pay a fine not exceeding ten dollars, and costs.

           W. H. Gaylord, Standing Rules of Order of the Cleveland City Council: With a
           Catalogue of the Mayors and Councils of the City of Cleveland, from Its
           Organization, April, 1836, to April, 1871, and Officers of the City Government for
           1872 Page 101, Image 124 (1872) available at The Making of Modern Law:
           Primary Sources. 1856
           [Ordinances of the City of Cleveland,] An Ordinance to Prevent the Firing of Guns
           and Fire-works, § 1. Be it ordained by the City Council of the City of Cleveland,
           That no person shall fire any cannon, gun, rifle, pistol, or fire-arms of any kind, or
           fire or explode any squib, rocket, cracker, Roman candle, or other combustible
           fire-works within the city. § 2. This ordinance shall not apply to any military
           company, when drilling under command of any officer thereof, or to the use of
           fire-arms in the lawful defense of the person, family or property of any person, or


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           to the killing of any dog whose owner or possessor has not complied with the
           provisions of the ordinance relating to dogs. § 3. The board of city improvements
           may, at its discretion, give permission to any person or persons to discharge fire-
           arms or fire-works on the fourth day of July; such permission may be given
           through any public paper of the city, or otherwise. § 4. That any person violating
           any provision of this ordinance shall, on conviction thereof, be fined in any sum
           not exceeding twenty dollars.

           1878 Ohio Laws 199, An Act to Amend, Revise, and Consolidate the Statutes
           Relating to Municipal Corporations, to Be Known as Title Twelve, Part One, of the
           Act to Revise and Consolidate the General Statutes of Ohio, div. 3, ch. 3, § 1, pt.
           14.
           To regulate the transportation and keeping of gunpowder, and other explosive and
           dangerous combustibles, and to provide or license magazines for the same.

           M. Augustus Daugherty, Supplement to the Revised Statutes of the State of Ohio
           Containing All the Statutes Amendatory of or Supplementary to the Revised
           Statutes, Together with the Miscellaneous Acts, General or Permanent in Their
           Nature, In Force January 1, 1884. 3d ed. Edited by James M. Williams Page 633,
           Image 641 (1884) available at The Making of Modern Law: Primary Sources. 1884
           Licenses, § 24. All vendors of gunpowder shall pay a license fee of fifteen (15)
           dollars per annum. All keepers or owners of gunpowder magazines shall pay a
           license fee of one hundred (100) dollars per annum.

           1889 Ohio Laws 164, An Act to Amend Section 2669 of the Revised Statutes, as
           Amended April 22, 1885, § 1.
           The council of the city or village may provide by ordinance for licensing all
           exhibiters of shows or performances of any kind, not prohibited by law, hawkers,
           peddlers, auctioneers of horses and other animals on the highways or public
           grounds of the corporation, venders [sic] of gun powder and other explosives,
           taverns and houses of public entertainment, and hucksters in the public streets or
           markets, and in granting such license, may extract and receive such sum of money
           as it may think reasonable[.]

           1900 Ohio Laws 730, An Act to Provide a License on Trades, Business and
           Professions Carried on . . . , §§24-25.
           § 24. All keepers or owners of gun powder magazines shall pay a license fee of one
           hundred dollars ($100) per annum, and shall notify the chief of the fire department,
           in writing, of the place where the same is kept or stored; but no license shall be
           issued under this section without the consent of the mayor. § 25. All keepers of


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           shooting galleries shall pay a license fee of fifty dollars ($50) per annum, or for a
           less period of one year at a rate of ten dollars ($10) per month, no license to be
           issued for a less period than one month.

           1902 Ohio Laws 23, Extraordinary Sess., An Act to Provide for the Organization
           of Cities and Incorporated Villages . . . and to Repeal All Sections of the Revised
           Statutes Inconsistent Herewith, § 7, pt. 11.
           To regulate the transportation, keeping and sale of gunpowder and other explosives
           or dangerous combustibles and materials and to provide or license magazines for
           the same.

           1933 Ohio Laws 189-90, Reg. Sess., An Act. . . Relative to the Sale and Possession
           of Machine Guns, § 1.
           That § 12819 of the General Code be supplemented . . . to read as follows:
           Definitions. § 12819-3. For the purpose of this act, a machine gun, a light machine
           gun or a sub-machine gun shall be defined as any firearm which shoots
           automatically, or any firearm which shoots more than eighteen shots semi-
           automatically without reloading. Automatically as above used means that class of
           firearms which, while the trigger on the firearm is held back continues to fire
           successive shots. Semi-automatically means that class of firearm which discharges
           one shot only each time the trigger is pulled, no manual reloading operation being
           necessary between shots. Machine gun permit; application; bond or applicant;
           exceptions. § 12819-4. No person shall own, possess, transport, have custody of or
           use a machine gun, light machine gun or sub-machine gun, unless he first procures
           a permit therefor from and at the direction of the adjutant general of Ohio, who
           shall keep a complete record of each permit so issued. A separate permit shall be
           obtained for each gun so owned, possessed or used. The adjutant general shall
           require each applicant for such permit to give an accurate description of such
           weapon, the name of the person from whom it was or is to be obtained, the name of
           the person or persons to have custody thereof and the place of residence of the
           applicant and custodian. Before obtaining such permit each applicant shall give
           bond to the state of Ohio, to be approved by the adjutant general in the sum of five
           thousand dollars, conditioned to save the public harmless by reason of any
           unlawful use of such weapon while under the control of such applicant or under the
           control of another with his consent; and any person injured by such improper use
           may have recourse on said bond. Provided, however, that this section shall not
           affect the right of the national guard of Ohio, sheriffs, regularly appointed police
           officers of incorporated cities and villages, regularly elected constables, wardens
           and guards of penitentiaries, jails, prisons, penal institutions or financial
           institutions maintaining their own police force and such special officers as are now


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           or may be hereafter authorized by law to possess and use such weapons when on
           duty. Any person who owns, possesses or has custody of a machine gun, light
           machine gun or sub-machine gun at the time when this section shall become
           effective, shall have thirty days thereafter in which to comply with the provisions
           of this section. Penalty for possession, transportation, etc., without permit. §
           12819-5. Whoever owns, possesses, transports or has custody of or uses a machine
           gun, light machine gun or sub-machine gun without a permit, as provided by
           section 12819-4 of the General Code, or whoever having such permit, uses or
           consents to the use by another of such weapon in an unlawful manner, shall be
           guilty of a felony and upon conviction thereof, shall be imprisoned in the
           penitentiary not less than one nor more than ten years. [War trophies excepted].

           OKLAHOMA

           General Laws Relating to Incorporated Towns of Indian Territory Page 43, Image
           39 (1890) available at The Making of Modern Law: Primary Sources. 1890
           Revised Ordinances of the Town of Checotah, [An Ordinance Requiring Persons
           Engaged in Certain Businesses or Avocations to Procure a License for so Doing
           and Providing of Penalty for Failure so to do, § 1. That the licenses hereinafter
           named shall be fixed, imposed and collected at the following rates and sums, and it
           shall be unlawful for any person or persons to exercise or pursue any of the
           following avocations or businesses within the corporate limits of Checotah without
           having first obtained a license therefor from the proper authority, having paid for
           the same in lawful money of the united States as hereinafter provided,] 29th. Pistol
           or shooting Gallery – For each and every pistol and shooting gallery, per month,
           five dollars.

           OREGON

           Charter of the City of Portland, Street and Fire Department Laws, Ordinances,
           Regulations &C. Page 205-206, Image 206-207 (1872) available at The Making of
           Modern Law: Primary Sources.
           1868
           [Concerning Offences and Disorderly Conduct, § 2. That any person or persons
           who shall fire any pistol, gun or rifle, or any other species of fire-arms within the
           following limits: the Willamette river on the east and (10) Tenth Street on the west,
           Caruther’s Addition on the south nd F Street on Couch’s Addition on the north,
           shall on conviction thereof before the Recorder, be subject to a penalty of not less
           than five nor more than fifty dollars, or imprisonment, at the discretion of the
           Recorder, not exceeding twenty days. Provided that the Marshal shall permit upon


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           the national holidays and other days of public celebration, any appropriate display
           of fire-arms and other instruments named in this section.]

           Charter of the City of Portland, Street and Fire Department Laws, Ordinances,
           Regulations &C. Page 225-227, Image 226-228 (1872) available at The Making of
           Modern Law: Primary Sources.
           1872
           Ordinances of the City of Portland, To Regulate the Storage and Sale of
           Gunpowder, and Other Explosive Materials, § 1. No person shall keep for sale any
           gunpowder in any building, store or place in the City of Portland, without having
           first obtained a license therefor. § 2. The license for selling gunpowder shall be
           five dollars per quarter, to be issued as other licenses are issued under the
           provisions of Ordinance 984, entitled “An Ordinance to impose and regulate
           licenses in the City of Portland.” § 3. No person shall receive, keep or store, or aid
           or assist any person in receiving, keeping or storing gunpowder in a larger quantity
           than five pounds, in or into any building, or upon any premises, unless the person
           receiving, keeping or storing the same is duly licensed to sell gunpowder. § 4. No
           person or persons duly authorized to sell gunpowder, as hereinbefore provided,
           shall keep, store, or have in any one place more than twenty five pounds of
           powder, which shall be kept in any air-tight metallic vessel marked with the word
           “Gunpowder,” in plain Roman letters, not less than three inches in height, and of
           proportionate width, which vessel shall be placed or kept at all times,
           conspicuously in view near the entrance of the premises where kept, and
           convenient for removal therefrom. § 5. Upon the front of every building or
           premises where powder is kept in a conspicuous place a sign with the word
           “gunpowder” painted thereon in Roman letters, not less than three inches in height.
           § 6. No person shall convey, cause to be conveyed, or assist in conveying in any
           vehicle and gunpowder, unless the same shall be securely packed in close
           packages, nor unless such packages shall be securely covered while on the vehicle.
           § 7. No vessel shall be allowed to remain at any wharf more than twenty-four
           hours with gunpowder on board, except such as may be kept for ship’s use, and if
           such vessel shall be at the wharf overnight, a watchman shall be kept on duty on
           board all night. All gunpowder landed or placed on a wharf, sidewalk, street or
           public way for forwarding or shipment shall be forwarded or shipped immediately
           after it shall be so landed or placed. § 8. The provisions of this Ordinance shall be
           deemed to apply to “giant powder” “gun cotton” or any other explosive substance
           having an explosive power equal to that of ordinary gunpowder. § 9. Any person or
           persons violating any of the provisions of this ordinance, shall be deemed guilty of
           a misdemeanor, and on conviction before the Police Judge, shall be fined not less
           than ten nor more than one hundred dollars, or by imprisonment in the city jail not


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           less than two nor more than twenty days, or both, at the discretion of the Police
           Judge. § 10. The officers of the Fire Department and Police are directed to see that
           the provisions of this Ordinance are enforced, and to make complaint before the
           Police Judge for the violation of its provisions.

           J.C. Moreland, Charter and Ordinances of the City of Portland and Table of
           Grades: Together with the Rules of Order, Reports of officers, etc. Page 207,
           Image 212 (1879) available at The Making of Modern Law: Primary Sources. 1879
           Ordinances [of the City of Portland], Concerning Offenses and Disorderly
           Conduct, § 2. The City of Portland does ordain as follows… That any person or
           persons who shall fire any pistol, gun or rifle, or any other species of fire-arms,
           within the corporate limits of the city, shall, on conviction thereof before the Police
           Court, be fined not less than five dollars nor more than fifty dollars: Provided, That
           all circumstances of necessity may be plead as a defense to the offense described in
           this section; and, provided further, that the Chief of Police may permit upon the
           national holidays and other days of public celebration any appropriate display of
           firearms named in this section.

           The Charter of Oregon City, Oregon, Together with the Ordinances and Rules of
           Order Page 259, Image 261 (1898) available at The Making of Modern Law:
           Primary Sources.
           Carrying Weapons | Oregon | 1898
           An Ordinance Providing for the Punishment of Disorderly Persons, and Keepers
           and Owners of Disorderly Houses, § 2.
           It shall be unlawful for any person to carry any sling shot, billy, dirk, pistol or any
           concealed deadly weapon or to discharge any firearms, air gun, sparrow gun,
           flipper or bean shooter within the corporate limits of the city, unless in self-
           defense, in protection of property or an officer in the discharge of his duty;
           provided, however, permission may be granted by the mayor to any person to carry
           a pistol or revolver when upon proper representation it appears to him necessary or
           prudent to grant such permission.

           1913 Or. Laws 497
           Section 1. It shall be unlawful for any person, firm or corporation to display for
           sale at retail any pocket pistol or revolver or to sell at retail, barter, give away or
           dispose of the same to any person whomsoever, excepting a policeman, member of
           the militia or peace officer of the State of Oregon, unless the purchaser or person
           attempting to procure the same shall have a permit for the purpose of procuring
           such pocket pistol or revolver signed by the municipal judge or city recorder of the



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           city or county judge or a justice of the peace of the county wherein such person
           resides.
           Section 2. Provided, that no judge, city recorder or justice of the peace shall issue
           such permit until said applicant has furnished him with an affidavit from at least
           two reputable freeholders as to the applicant’s good moral character.
           Section 3. All persons, firms or corporations engaged in the retail sale of pocket
           pistols or revolvers shall keep a record of the sale of such pocket pistols or
           revolvers by registering the name of the person or persons and the number of the
           pocket pistol or revolver and shall transmit same to the sheriff of the county in
           which purchase is made on the 1st and 15th day of each calendar month.

           1917 Or. Sess. Laws 804-808, An Act Prohibiting the manufacture, sale,
           possession, carrying, or use of any blackjack, slungshot, billy, sandclub, sandbag,
           metal knuckles, dirk, dagger or stiletto, and regulating the carrying and sale of
           certain firearms, and defining the duties of certain executive officers, and
           providing penalties for violation of the provisions of this Act, § 9.
           Section 1. No person shall carry in any city, town, or municipal corporation of this
           State any pistol, revolver or other firearm concealed upon his or her person, or of a
           size which may be concealed upon his or her person, without a license or permit
           therefor, issued to him or her by a chief of police or sheriff of such city, town or
           municipal corporation, or in such manner as may be prescribed by ordinance of
           such city, town or municipal corporation. This section, however, shall not apply to
           sheriffs and their deputies, constables, marshals, police officers or any other duly
           appointed peace officers, nor to any person or persons summoned by such officers
           to assist in making arrest or preserving the peace while said person or persons are
           engaged in assisting such officers; nor to duly authorized military organizations
           when parading, nor to members thereof when going to and from places of meeting
           of their respective organizations.
           Section 3-A. Any person who violates the provisions of Section 1, Section 2, or
           Section 3 of this Act, shall be fined in a sum no greater than $100.00, or be
           imprisoned in the county jail for a term no longer than three months, or by both
           such fine and imprisonment.
           Section 4. Any person who violates the provisions of Section 1, Section 2 or
           Section 3 of this Act, who theretofore has once been convicted of a violation of
           any of said sections, is guilty of a misdemeanor, and upon conviction thereof shall
           be imprisoned in a county jail or reformatory for not less than thirty days nor for
           more than one year.
           Section 4-A. Any person who violates the provisions of Section 1, Section 2 or
           Section 3 of this Act, who theretofore has more than once been convicted of a



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           violation of any of said sections, is guilty of a felony, and shall be punished by
           imprisonment in the State prison for a term not exceeding three years.
           Section 4-B. Any person who violates any of the provisions of Section 1, Section 2
           or Section 3 of this Act, who theretofore has been convicted of a felony, upon
           conviction thereof shall be imprisoned in the penitentiary of this State for a period
           not exceeding five years.
           Section 4-C. For the purposes of this Act any pistol, revolver, or other firearm of a
           size which may be concealed upon his or her person shall be deemed a dangerous
           weapon.
           Section 9. It shall be lawful for the sheriff of any county, chief of police, city or
           town marshal, or other head of the police department of any city, town or other
           municipal corporation of this State, upon proof before him that the person applying
           therefor is of good moral character, and that proper cause exists for the issuance
           thereof, to issue to such person a license for one year, to have and carry concealed
           a pistol, revolver or other firearm; provided, however, that no such license shall be
           issued to any person under the age of twenty-one years.
           The person obtaining a permit to carry a concealed pistol or revolver shall pay to
           the officer issuing such permit the sum of One Dollar. Said license for carrying a
           concealed pistol or revolver is revocable at any time and must be immediately
           surrendered on demand. The license while in force entitles the holder to carry the
           said arm in any county in the State of Oregon.

           1925 Or. Laws 468, 469-471
           Section 5. Except as otherwise provided in this act, it shall be unlawful for any
           person within this state to carry concealed upon his person or within any vehicle
           which is under his control or direction any pistol, revolver or other firearm capable
           of being concealed upon the person without having a license to carry such firearm,
           as hereinafter provided in section 8 hereof. Any person who violates the provisions
           of this section shall be guilty of a misdemeanor, and if he has been convicted
           previously of any felony, or of any crime made punishable by this act, he is guilty
           of a felony. This section shall not be construed to prohibit any citizen of the United
           States, over the age of eighteen years, who resides or is temporarily sojourning
           within this state, and who is not within the excepted classes prescribed by section 2
           hereof, from owning, possessing or keeping within his place of residence or place
           of business any pistol, revolver or other firearm capable of being concealed upon
           the person, and no permit or license to purchase, own, possess or keep any such
           firearm at his place of residence or place of business shall be required of any such
           citizen. Firearms carried openly in belt holsters shall not be deemed to be
           concealed within the meaning of this section.



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           PENNSYLVANIA

           Charter To William Penn, And Laws Of The Province Of Pennsylvania, Passed
           Between The Years 1682 And 1700 Page 32, Image 37 (1879) available at The
           Making of Modern Law: Primary Sources. 1676
           Laws of the Duke of York, Indians (1676). No person shall sell give or barter
           directly or indirectly any gun or guns powder, bullet, shot, lead nor any vessel of
           burthen, or row boat canoes only excepted without license first had and obtained
           under the Governor’s hand and Seal, to any Indian whatsoever, nor to any person
           inhabiting out of this government nor shall amend or repair any gun belonging to
           any Indian, nor shall sell any armor or weapons, upon penalty of ten pounds for
           every gun, armor, weapons, vessel or boat, so sold given or bartered, five pounds
           for every pound of shot or lead and proportionally for any greater or lesser
           quantity.

           Pennsylvania Archives. Selected And Arranged From Original Documents In The
           Office Of The Secretary Of The Commonwealth, Conformably To Acts Of The
           General Assembly, February 15, 1851, & March 1, 1852 Page 160, Image 162
           (1852) available at The Making of Modern Law: Primary Sources. 1713
           Pennsylvania Archives 1713, The Act for the Better Government of the City of
           Philadelphia (1713), This Act inflicts 5s penalty on persons riding a gallop and 10s
           for persons trotting, with Drays or their Teams in the streets, and 5th for suffering a
           Dog or a Bitch going at large; or firing a Gun without license, or if a Negro be
           found in any disorderly practices or other Misbehaviors may be whipped 21 lashes
           for any one offence or committed to prison, which words “other misbehaviors,” are
           very uncertain and give very arbitrary power where the punishment is great.
           [(Summary of Statute from Archive compilation)].

           Act of 26th August 1721. 1721
           [An Act of 9th of February, 1750-51, § 1. If any person or persons whatsoever,
           within any county, town or within any other town or borough in this province,
           already built and settled, or hereafter to be built and settled , not hitherto restricted
           nor provided for by our laws, shall set on fire their chimneys to cleanse them, or
           shall suffer them or any of them to take fire, and blaze out at the top, or shall fire
           any gun or other fire arm, or shall make or cause to be made, or sell or utter, or
           offer to expose to sale, and squibs, rockets, or other fire works, or shall cast, throw
           or fire any squibs, rockets, or other fire works within any of the said towns or
           boroughs without the governor’s special license for the same, every such person or
           persons so offending shall be subject to the like penalties and forfeitures, and be
           recovered in like manner, as in and by an act, passed in the eighth year of the reign


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           of king George the first, entitled ‘An act for preventing accidents that may happen
           by fire are directed to be levied and recovered.]

           John C. Lowber, Ordinances of the Corporation of the City of Philadelphia; to
           Which are Prefixed, the Original Charter, the Act of Incorporation, and Other Acts
           of Assembly Relating to the City; with an Appendix, Containing the Regulation of
           the Bank of the River Delaware, the Portraiture of the City, as Originally Laid Out
           by the Proprietor, &c. &c. Page 15-16, Image 18-19 (1812) available at The
           Making of Modern Law: Primary Sources. 1721
           [An Act for Preventing Accidents that may Happen by Fire, § IV. And whereas
           much mischief may happen by shooting of guns, throwing casting and firing of
           squibs, serpents, rockets, and other fire-works, within the city of Philadelphia, if
           not speedily prevented: Be it therefore enacted, That if any person or persons, of
           what sex, age, degree or quality soever, from and after publication hereof, shall fire
           any gun or other fire-arms, or shall make, or cause to be made, or sell or utter, or
           offer to expose to sale, any squibs, rockets or other fire works, or shall cast, throw
           or or fire, any squibs, rockets, or other fire works, within the city of Philadelphia,
           without the governor’s special license for the same, of which license due notice
           shall first be given to the mayor of the said city, such person or persons so
           offending, and being thereof convicted before any one justice of the peace of the
           said city, either by confession of the party so offending, or by the view of any of
           the said justices, or by the oath or affirmation of one or more witnesses, shall for
           every such offence forfeit and pay the sum of five shillings; one half to the use of
           the poor of the said city, and the other half to the use of him or them who shall
           prosecute, and cause such offender to be as aforesaid convicted; which forfeitures
           shall be levied by distress and sale of the offenders goods as aforesaid; and for
           want of such distress, if the offender refuse to pay the said forfeiture, he shall be
           committed to prison, for every such offence the space of two days without bail or
           main-prize; Provided, that such conviction be made within ten days after such
           offence committed [ and if such offender be a negro or Indian slave, he shall
           instead of imprisonment be publically whipped, at the discretion of the magistrate.]

           1750 Pa. Laws 208, An Act For The More Effectual Preventing Accidents Which
           May Happen By Fire, And For Suppressing Idleness, Drunkenness, And Other
           Debaucheries
           That if any persons or persons whatsoever, within any county town, or within any
           other town or borough, in this province, already built and settled, or hereafter to be
           built and settled . .. shall fire any gun or other fire-arm, or shall make or cause to
           be made, or sell or utter, or offer or expose for sale, any squibs, rockets or other
           fire-works, … within any of the said towns or boroughs without the Governor’s


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           special license for the same, every such person or persons, so offending shall be
           subject to the like penalties and forfeitures, and to be recovered in like manner, as
           in and by an act, passed in the eighth year of the reign of King George the first,
           entitled, An act for preventing accidents that may happen by fire, are directed to be
           levied and recovered.

           Ordinances of the Corporation of the District of Southwark and the Acts of
           Assembly Relating Thereto Page 49, Image 47 (1829) available at The Making of
           Modern Law: Primary Sources. 1750
           [Ordinances of the District of Southwark,] An Act for the More Effectual
           Preventing [of] Accidents, etc. § 1. Be it enacted, That if any person shall fire any
           gun or other fire-arm, or shall make, or cause to be made, or sell or utter, or offer
           to expose to sale, any squibs, rockets or other fire-works, or shall cast, throw or fire
           any squibs, rockets or other fire-works, within any of the said towns or boroughs,
           without the Governor’s special license for the same, every such person or persons,
           so offending, shall be subject to the like penalties and forfeitures, and to be
           recovered in like manner, as in and by an act, passed in the eighth year of the reign
           of King George the first, entitled, “ An Act for Preventing Accidents, Etc

           1763 Pa. Laws 319, An Act to Prohibit the Selling of Guns, Gunpowder or Other
           Warlike Stores to the Indians, § 1.
           If any person or persons whatsoever shall directly or indirectly give to, sell barter
           or exchange with any Indian or Indians whatsoever any guns, gunpowder, shot,
           bullets, lead or other warlike stores without license . . . every such person or
           persons so offending, being thereof legally convicted . . . shall forfeit and pay the
           sum of five hundred pounds . . . and shall be whipped with thirty-nine lashes on his
           bare back, well laid on, and be committed to the common gaol(jail) of the county,
           there to remain twelve months without bail or mainprise.

           An Act of Incorporation for that Part of the Northern Liberties, Lying between the
           Middle of Sixth Street and the River Delaware, and between Vine Street and
           Cohocksink Creek, with Ordinances for the Improvement of the Same Page 51,
           Image 52 (1824) available at The Making of Modern Law: Primary Sources. 1824
           [An Ordinance for the Suppression of Nuisance, and for the regulation of drivers of
           carriages and horses, in and through the streets, lanes and alleys, within the
           incorporated part of the township of the Northern Liberties, and for enforcing
           useful regulations therein.] § 8. And be it further ordained and enacted by the
           authority aforesaid, That no person or persons shall fire, or discharge any cannon,
           or piece of artillery, or small arms, or prove any pistol, gun, musket barrels, or
           cannon, or illuminate, or cause to be illuminated, any house within the regulated


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           parts, incorporated as aforesaid, in said township, without permission from the
           president of the board of commissioners, under the penalty of forfeiting and paying
           for every piece of cannon or other artillery, or small arms, or pistol, gun, or musket
           barrel so fired, or house so illuminated, the sum of two dollars.

           1903 Pa. Laws 178, An Act Requiring non-resident hunters, and unnaturalized,
           foreign born, resident-hunters, to procure a license before hunting in the
           Commonwealth … §§1 and 2
           § 1. . . . every non-resident and every unnaturalized foreign-born resident of this
           Commonwealth shall be required to take out a license from the treasurer of the
           county in which he proposes to hunt. . . § 2. Possession of a gun, in the fields or in
           the forests or on the waters of this Commonwealth, by an unnaturalized, foreign-
           born resident or a non-resident of this Commonwealth, without having first secured
           the license required by this act, shall be prima facie evidence of a violation of its
           provisions; and any person so offending shall be liable to a penalty of twenty-five
           dollars for each offense. . .

           1929 Pa. Laws 777, An Act prohibiting the sale, giving away, transfer, purchasing,
           owning, possession and use of machine guns: §§1 and 2
           § 1. Be it enacted, etc., That the term “machine gun” as used in this act, shall mean
           any firearm that fires two or more shots consecutively at a single function of the
           trigger or firing device. § 2. It shall be unlawful for any person, copartnership,
           association or corporation to sell, or give, or transfer, any machine gun to any
           person, copartnership, association or corporation within this Commonwealth; and it
           shall be unlawful for any person, copartnership, association, or corporation to
           purchase, own or have in possession any machine gun. Any person violating any of
           the provisions of this section shall be guilty of a felony, and, on conviction thereof,
           shall be sentenced to pay a fine not exceeding one thousand dollars, and undergo
           imprisonment by separate or solitary confinement at labor not exceeding five
           years. § 3. Any person who shall commit, or attempt to commit, any crime within
           this Commonwealth, when armed with a machine gun, shall, upon conviction of
           such crime or attempt to commit such crime, in addition to the punishment for the
           crime for which he has been convicted, be sentenced to separate and solitary
           confinement at labor for a term not exceeding ten years. Such additional penalty of
           imprisonment shall commence upon the expiration or termination of the sentence
           imposed for the crime of which he stands convicted, and shall not run concurrently
           with such sentence. § 4. Nothing contained in this act shall prohibit the
           manufacture for, and sale of, machine guns to the military forces of the United
           States, or of the Commonwealth of Pennsylvania, or to any police department of
           this Commonwealth, or of any political subdivision thereof, nor to the purchase or


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           possession of machine guns by such governments and departments; and nothing
           contained in this act shall prohibit any organization, branch, camp or post of
           veterans, or any veteran of any war in which the United States was engaged, from
           owning and possessing a machine gun as a relic, if a permit for such ownership or
           possession has been obtained from the sheriff of the county, which permit is at all
           times attached to such machine gun. The sheriffs of the several counties are hereby
           authorized, upon application and the payment of a fee of one dollar, to issue
           permits for the ownership and possession of machine guns by veteran and
           organizations, branches, camps or posts of veterans and organizations, branches,
           camps or posts of veterans, upon production to the sheriff of such evidence as he
           may require that the organization, branch, camp or post is a bona fide organization
           of veterans, or that any such veteran applicant is a veteran of good moral character
           and reputation, and that the ownership and possession of such machine gun is
           actually desired as a relic.

           1931 PA. Laws 498, No. 158
           Sec. 4. No person who has been convicted in this Commonwealth or elsewhere of a
           crime of violence shall own a firearm, or have one in his possession or under his
           control.
           Sec. 5. No person shall carry a firearm in any vehicle or concealed on or about his
           person, except in his place of abode or fixed place of business, without a license
           therefor as hereinafter provided.

           RHODE ISLAND

           The Charter and Ordinances of the City of Providence, Together with the Acts of
           the General Assembly Relating to the City Page 89-96, Image 89-96 (1854)
           Available at The Making of Modern Law: Primary Sources. 1821
           An Act Regulating the Storage, Safe Keeping and Transportation of Gunpowder in
           the Town of Providence, (1821) § 2. And be it further enacted, That is shall not be
           lawful for any person or persons to sell any gunpowder which may at the time be
           within the town of Providence in any quantity, by wholesale or retail, without first
           having obtained from the town council of said town a license to sell gunpowder;
           and every such license shall be written or printed, and signed by the president of
           said council or their clerk, on a paper upon which shall be written or printed a copy
           of this act; and every such license shall be in force for one year from the date
           thereof, unless annulled by said council, and no longer; but such license may, prior
           to the expiration of that time, be renewed, by endorsement thereon, for a further
           term of one year, and so from year to year: provided, always, that the said town
           council may annul any such license, if in their opinion the person or persons


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           licensed have forfeited the right of using the same by any violation of the law
           relative thereto; and every person who shall receive a license as aforesaid shall pay
           therefor the sum of five dollars, and on having the same renewed shall pay therefor
           the sum of one dollar, which shall be paid to the clerk of said council, for their use,
           for the purpose of defraying the expense of carrying this act into execution. § 3.
           And be it further enacted, That any person or persons who shall keep, have,
           possess or transport any gunpowder within the town of Providence, contrary to the
           provisions of this act, or who shall sell any gunpowder therein, without having a
           license therefor, then in force, shall forfeit and pay a fine of not less than twenty
           dollars, and not exceeding five hundred dollars, for each and every offence; and if
           any gunpowder kept contrary to the provisions of this act shall explode in any
           shop, store, dwelling-house, ware-house or other building, or in any place in said
           town, the occupant, tenant or owner of which has not a license in force to keep and
           sell gunpowder therein, or which gunpowder shall have been kept in a manner
           contrary to the terms and conditions of such license, such occupant tenant or owner
           shall forfeit and pay a fine of not less than twenty dollars nor more than five
           hundred dollars. . . § 6. And be it further enacted, That the said firewards, or any of
           them, may enter the store or place of any person or persons licensed to sell
           gunpowder, to examine and ascertain whether the laws relating thereto are strictly
           observed; and also whenever there may be an alarm or fire; and in such last case
           may cause the powder there deposited to be removed to a place of safety, or to be
           destroyed by wetting or otherwise, as the exigency of the case may require; and it
           shall be lawful for any one or more of the firewards aforesaid to enter any dwelling
           house, store, building or other place in said town to search for gunpowder which
           they may have reason to suspect to be concealed or unlawfully kept therein; first
           having obtained from some justice of the peace of said town a search warrant
           therefor; which warrant any one of the justices of said town is hereby respectively
           authorized to issue, upon the complaint of such fireward or firewards, supported by
           his or their oath or affirmation. . . And be it further enacted, That all persons who
           wish have a license to keep and sell gunpowder within the town shall make
           application to the town council in writing, stating the place of business and
           whether they wish to sell by wholesale or retail, or both; and to each person or firm
           who may be approbated, a certificate of license shall be granted, on payment of the
           fee established by law. § 14. And be it further enacted, That every person or firm
           who may be licensed to sell gunpowder by retail, shall be allowed to keep in the
           place or building designated in the license, twenty-five pounds of gunpowder, and
           no more, at one time, which shall always be kept in tin or copper canisters, capable
           of containing no more than twelve and a half pounds each with a small aperture at
           the top, and a tin or copper cover thereto. § 15. And be it further enacted, That
           every person or firm who may be licensed to sell gunpowder by wholesale, shall


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           provide and keep a tine or copper chest, with two handles and a tight cover,
           furnished with a hinge, and secured with a padlock, all of tin or copper chest, with
           two handles and a tight cover furnished with a hinge and secured padlock, all of tin
           or copper; such chest shall always be kept on the lower floor, on the right side of
           and close to the principal door or entrance from the street into the building so
           licensed, except when otherwise designated by the council and shall always be kept
           locked, except when powder is put in or taken out; and such person or firm, so
           licensed shall be allowed to deposit and keep, in such tin or copper chest, a
           quantity of gunpowder not exceeding four casks of twenty-five pounds each; the
           heads of each cask not to be opened, and each cask to be kept in a strong leather
           bag, closely tied and marked as aforesaid. § 16. And be it further enacted, that
           every person or firm licensed to keep and sell gunpowder as aforesaid, by
           wholesale or retail, shall have and keep a signboard placed over the door or
           building in which such powder is kept, on which shall be painted in Roman
           capitals the words “Licensed to sell Gunpowder”

           1902 R.I. Pub. Laws 67, An Act in addition to chapter 40 of the General Laws,
           Entitled “Of the Town Council”: § 1.
           Town councils and city councils may from time to time make and ordain all
           ordinances and regulations for their respective towns, not repugnant to law, which
           they may deem necessary for the safety of their inhabitants from the manufacture,
           storage, keeping, having in possession, transportation, sale, or use of gunpowder,
           gun-cotton, dynamite, nitro-glycerine, nitro-gelatine, lyddite, chlorate of potash,
           picric acid, sodium calcium carbide, acetylene gas, gasoline gas, and any and all
           other explosives and explosive chemicals; and may prohibit the manufacture,
           storage, keeping having in possession, transportation , sale , or use by any and all
           persons or persons of any or all said substances and gases in their respective towns,
           unless a license for the same shall be first obtained from the town council or board
           of aldermen, which license shall be for the term of one years from the date thereof
           unless sooner revoked by order of said town council or board of aldermen. Any
           person violating any provision of any such ordinance or regulation, or any such
           prohibition, shall be fined not less than twenty dollars nor more than one hundred
           dollars for each such offense.

           1907 R.I. Pub. Laws 66, An Act for the Protection of Deer
           § 1. It shall be unlawful to pursue or shoot deer in this state except in accordance
           with the provisions of this act. § 2. Any person owning or occupying any farm or
           orchard and any person in his employ may, while on his own premises or the
           premises of his employer, kill any deer which shall be found destroying any crops,
           vegatables, or fruit trees belonging to such person or his employer: Provided,


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           however, that no such person shall shoot any deer unless he has obtained from the
           secretary of state a permit so to do; and the secretary of state shall, upon
           application, issue to any responsible land owner, or his employees, a permit
           authorizing such person to shoot deer in accordance with the provisions of this
           section. No person shall pursue or shoot any deer except with a shot gun, or
           employ any missile larger than buck shot. § 3. Any person violating the provisions
           of this act shall be fined not less than one hundred dollars nor more than five
           hundred dollars for each offence.

           1927 (January Session) R.I. Pub. Laws 256, An Act to Regulate the Possession of
           Firearms: § § 1, 4, 5 and 6
           § 1. When used in this act the following words and phrases shall be construed as
           follows: “Pistol” shall include any pistol or revolver, and any shot gun, rifle or
           similar weapon with overall less than twenty-six inches, but shall not include any
           pistol without a magazine or any pistol or revolver designed for the use of blank
           cartridges only. “machine gun” shall include any weapon which shoots
           automatically and any weapon which shoots more than twelve shots semi-
           automatically without reloading. “Firearm shall include any machine gun or pistol.
           . . “Crime of violence” shall mean and include any of the following crimes or any
           attempt to commit any of the same, viz.: murder, manslaughter, rape, mayhem,
           assault or battery involving grave bodily injury, robbery, burglary, and breaking
           and entering. “Sell” shall include let or hire, give, lend and transfer, and the word
           “purchase” shall include hire, accept and borrow, and the expression “purchasing”
           shall be construed accordingly.
           § 2. If any person shall commit or attempt to commit a crime of violence when
           armed with or having available any firearm, he may in addition to the punishment
           provided for such crime of violence be punished as provided in this act. In the trial
           of a person for committing or attempting to commit a crime of violence the fact
           that he was armed with or had available a pistol without license to carry the same,
           or was armed with or had available a machine gun, shall be prima facie evidence of
           his intention to commit said crime of violence.
           § 4. No person shall, without a license therefor, issued as provided in section six
           hereof, carry a pistol in any vehicle or concealed on or about his person, except in
           his dwelling house or place of business or on land possessed by him, and no person
           shall manufacture, sell, purchase or possess a machine gun except as otherwise
           provided in this act. § 5. The provisions of section four shall not apply to sheriffs,
           deputy sheriffs, the superintendent and members of the state police, prison or jail
           wardens or their deputies, members of the city or town police force or other duly
           appointed law enforcement officers, nor to members of the army, navy or marine
           corps of the United States, or of the national guard, when on duty, or of


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           organizations by law authorized to purchase or receive firearms from the United
           States or this state, nor to officers or employees of the United States authorized by
           law to carry a concealed firearm, nor to duly authorized military organizations
           when on duty, nor to members thereof when at or going to or from their customary
           places of assembly, nor to the regular and ordinary transportation of pistols as
           merchandise, nor to any person while carrying a pistol unloaded in a wrapper from
           the place of purchase to his home or place of business, or to a place of repair or
           back to his home or place of business, or in moving goods from one place or abode
           or business to another. § 6. The licensing authorities of any city or town shall upon
           application of any person having a bona fide residence or place of business within
           such city or town, or of any person having a bona fide residence or place of
           business within the United States and a license to carry a pistol concealed upon his
           person issued by the authorities of any other state or subdivision of the United
           States, issue a license to such person to carry concealed upon his person a pistol
           within this state for not more than one years from date of issue, if it appears the
           applicant has good reason to fear an injury to his person or property or has any
           other proper reason for carrying a pistol, and that he is a suitable person to be so
           licensed. The license shall be in triplicate, in form to be prescribed by the attorney-
           general and shall bear the fingerpring, name, address, description and signature of
           the licensee and the reason given for desiring a license. The original thereof shall
           be delivered to the licensee, the duplicate shall within seven days be sent to the
           attorney-general and the triplicate shall be preserved for six years by the licensing
           authorities issuing said license. A fee of two dollars may be charged and shall be
           paid for each license, to the officer issuing the same. Before issuing any such
           permit the applicant for the same shall be required to give bond to the city or town
           treasurer in the penal sum of three hundred dollars, with surety satisfactory to the
           authority issuing such permit, to keep the peace and be of good behavior. Every
           such permit shall be valid for one year from the date when issued unless sooner
           revoked. The fee charged for the issuing of such license or permit shall be applied
           in accordance with the provisions of section thirty-three of chapter 401 of the
           general laws.
           § 7. The attorney-general may issue a permit to any banking institution doing
           business in this state or to any public carrier who is engaged in the business of
           transporting mail, money, securities or other valuables, to possess and use machine
           guns under such regulations as the attorney general may prescribe.
           § 8. It shall be unlawful within this state to manufacture, sell, purchase or possess
           except for military or police purposes, any muffler, silencer or device for
           deadening or muffling the sound of a firearm when discharged.

           SOUTH CAROLINA


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           1731-43 S.C. Acts 168, § 23. 1740
           It shall not be lawful for any slave, unless in the presence of some white person, to
           carry or make use of firearms or any offensive weapon whatsoever, unless such
           negro or slave shall have a ticket or license in writing from his master, mistress or
           overseer, to hunt and kill game, cattle, or mischievous birds or beasts of prey, and
           that such license be renewed once every month, or unless there be some white
           person of the age of 16 or upwards, in the company of such slave when he is
           hunting or shooting; or that such slave be actually carrying his masters arms to or
           from his masters plantation, by a special ticket, for that purpose, or unless such
           slave be found in the day time actually keeping off rice birds, or other birds within
           the plantation to which such slave belongs, lodging the same gun at night within
           the dwelling house of his master, mistress or white overseer. And provided also
           that no negro or other slave shall have liberty to carry any guns, cutlass, pistol or
           other weapon abroad form at any time between Saturday evening after sunset and
           Monday morning before sunrise notwithstanding a license or ticket for so doing.
           And in case any person shall find any slave using or carrying fire-arms, or other
           offensive weapons, contrary to the true intention of this act; every such person may
           lawfully seize and take away such fire-arms or offensive weapons; but before the
           property of such goods shall be vested in the person who shall seize the same, such
           person shall, within 48 hours next after such seizure, go before the next justice of
           the peace, and shall make oath of the manner of the taking; and if such justice of
           the peace after such oath shall be made, or upon any other examination, he shall be
           satisfied, that the said fire-arms or other offensive weapons, shall have been seized
           according to the directions and agreeable to the true intent and meaning of this act,
           the said justice shall, by certificate under his hand and seal, declare them forfeited,
           and that the property is lawfully vested in the person who seized the same.
           Provided that no such certificate shall be granted by any justice of the peace until
           the owner or owners of such fire-arms or other offenisve weapons so to be seized
           as aforesaid, or the overseer or overseers who shall or may have the charge of such
           slave or slaves from, whom such fire-arms or other offensive weapons shall be
           taken or seized shall be duly summoned, to show cause (if any such they have)
           why the same should not be condemned as forfeited; or until 48 hours after the
           service of such summons and oath made of the service thereof before the said
           justice.

           Alexander Edwards, Ordinances of the City Council of Charleston, in the State of
           South-Carolina, Passed since the Incorporation of the City, Collected and Revised
           Pursuant to a Resolution of the Council Page 289, Image 299 (1802) available at
           The Making of Modern Law: Primary Sources. 1802


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           [Ordinances of the City of Charleston, An Ordinance for Appointing
           Commissioners of the Streets, Defining their Powers, and for other Purposes
           therein Mentioned, § 8. And be it further ordained by the authority aforesaid, That
           no person or persons, shall fire any squibs, crackers, or other fireworks, except at
           times of public rejoicing, and at such places as the intendant for the time being
           may permit, by license under his hand; nor burn any chips, shavings, or other
           combustible matters, in any of the streets, lanes, wharves, alleys, or open or
           enclosed lots of the city, nor fire any gun, pistol, or fire arms, within the limits of
           the city, except on occasion of some military parade, and then by the order of some
           officer having the command, under the penalty of ten dollars, for every such
           offense; nor shall any person or persons, raise or fly any paper or other kite, within
           the said city, under the said penalty of ten dollars.]

           John E. Breazeale, The Revised Statutes of South Carolina, Containing the Code of
           Civil Procedure, and the Criminal Statutes. Also The Constitutions of the United
           States and of the State, and the Rules of the Supreme and of the Circuit Courts of
           the State Page 431, Image 529 (Vol. 2, 1894) available at The Making of Modern
           Law: Primary Sources. 1890
           Chapter XXVIII Violations of the License Laws by Insurance and Other
           Companies, Emigrant Agents, owners or shows, etc., Persons Selling Pistols, etc.
           §490. No person or corporation within the limits of this State shall sell or offer for
           sale any pistol, rifle, cartridge or pistol cartridge less than .45 caliber, or metal
           knuckles, without first obtaining a license from the county in which such person or
           corporation is doing business so to do. The County Board of Commissioners of the
           several Counties of this State are authorized to issue licenses in their respective
           Counties for the sale of pistols and pistol and rifle cartridges of less than .45
           caliber, and metal knuckles, upon the payment to the County Treasurer by the
           person or corporation so applying for said license of the sum of twenty-five dollars
           annually; and any person who shall sell or offer for sale any pistol, or pistol or rifle
           cartridge of less than .45 caliber, or metal knuckles, without having obtained the
           license provided in this Section shall be deemed guilty of a misdemeanor, and on
           conviction shall be punished by a fine not exceeding five hundred dollars, or by
           imprisonment not exceeding one year, or both, at the discretion of the court.

           1893 S.C. Acts 426, An Act To Amend An Act Entitled “An Act To Provide For A
           License For The Sale Of Pistols Or Pistol Cartridges Within The Limits Of This
           State”, § 2
           . . . That the County Commissioners of the Several Counties of the State be, and
           they are herby, authorized to issue licenses in their respective Counties for the sale
           of pistols and pistol cartridges upon the payment to County Treasurer by the person


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           or corporation so applying for said licenses of the sum of twenty-five dollars
           annually.

           1923 S.C. Acts 19-20, License Tax on Ammunition — Candy — Admissions —
           Regulations to have force of law.
           That every person, firm or corporation doing business within the State of South
           Carolina and engaging in the business of selling at retail or in any individual
           instance selling to the final consumer, such articles as are named in this section, for
           the privilege of carrying on such business, shall be subject to the payment of a
           license tax which shall be measured by and graduated in accordance with the
           volume of sales of such person, firm or corporation as follows: (a) There shall be
           levied, assessed, collected and paid upon all ammunition, including shells for
           shotguns and cartridges for rifles, pistols, revolvers, automatic pistols, rifles and
           machine guns, and upon such shells and cartridges partially prepared for use but
           lacking powder or shot or other necessary constituent, and upon blank shells and
           cartridges (but not upon powder or shot or caps not prepared and not in form to use
           in modern firearms), when sold at retail or to the ultimate consumer, the following:
           Upon all shotgun or other shells, two ($2.00) dollars per thousand rounds; Upon all
           cartridges, twenty-five (25) caliber or greater, two ($2.00) dollars per thousand
           rounds. (b) The license taxes imposed upon ammunition shall be paid by stamps to
           be affixed and cancelled by the retailer or other final seller, and said stamps shall
           be affixed to the smallest container in which or from which articles are sold, as
           soon as the original packages are opened or broken, or if received in no other form
           than that in which sold, as soon as the containers are placed in the place of business
           of the retailer; in the case of articles inteneded for sale in the packages in which
           received from outside the State of South Carolina without opening or alteration of
           any sort, each package must be immediately marked with the date of receipt and
           the place from which received and no stamps need be affixed so long as such
           package remains unopened and unaltered.

           1934 S.C. Acts 1288, An Act regulating the use and possession of Machine Guns:
           §§ 1 to 6.
           § 1. “Machine gun” defined. – Be it enacted by the General Assembly of the State
           of South Carolina: For the purposes of this Act the word “machine gun” applies to
           and includes all firearms commonly known as machine rifles, machine guns and
           sub-machine guns of any caliber whatsoever, capable of automatically discharging
           more than eight cartridges successively without reloading, in which the
           ammunition is fed to such gun from or by means of clips, disks, belts or other
           separable mechanical device. § 2. Transportation of Machine Gun. – It shall be
           unlawful for any person or persons in any manner to transport from one place to


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           another in this State, or from any railroad company, or express company, or other
           common carrier, or any officer, agent or employee of any of them, or any other
           person acting in their behalf knowingly to ship or to transport form one place to
           another in this State in any manner or by any means whatsoever, except as
           hereinafter provided, any firearm as described hereinabove or commonly known as
           a machine gun. § 3. Storing, Keeping, and/or Possessing Machine Gun. – It shall
           be unlawful for any person to store, keep, possess, or have in possession, or permit
           another to store, keep, possess, or have in possession, except as hereinafter
           provided, any firearem of the type defined above or commonly known as a
           machine gun. § 4. Selling, Renting or Giving away Machine Gun. – It shall be
           unlawful for any person to sell, rent, or give away, or be interested directly or
           indirectly, in the sale, renting or giving away, or otherwise disposing of any
           firearm of the type above described or commonly known as a machine gun. § 5.
           Exceptions – Register Machine Guns. – The provisions of this Act shall not apply
           to the army, navy or marine corps of the United States, the National Guard, and
           organizations authorized by law to purchase or received machine guns from the
           United States, or from this State, and the members of such corps. National Guard
           and organizations while on duty or at drill, may possess, carry and transport
           machine guns, and, Provided, further, That any peace officer of the State, counties
           or political sub-division thereof. State Constable, member of the Highway patrol,
           railway policemen, warden, superintendents, headkeeper or deputy of any State
           prison, penitentiary, workhouse, county jail, city jail, or other institution for
           detention of persons convicted or accused of crime, or held as witnesses in
           criminal cases, or persons on duty in the postal service of the United States, or
           common carrier while transporting direct to any police department, military or
           naval organization, or persons authorized by law to possess or use a machine gun,
           may possess machine guns when required in the performance of their duties, nor
           shall the provisions of this Act be construed to apply to machine guns kept for
           display as relics and which are rendered harmless and not useable. Within thirty
           days after the passage of this Act every person permiteed by this Act to possess a
           machine gun or immediately after any person is elected to or appointed to any
           office or position which entitles such person to possess a machine gun, shall file on
           the office of the Secretary of State on a blank to be supplied by the Secretary of
           State on application therefor, an application to be properly sworn to, which shall be
           approved by the Sheriff of the county in which the applicant resides or has its
           principal place of business, which shall include the applicants name, residence and
           business address, description including sex, race, age weight, height, color of eyes,
           color of hair, whether or not ever charged or convicted of any crime, municipal,
           State or otherwise, and where, if so charged, and when same was disposed of. The
           applicant shall also give the description including the serial number and make the


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           machine gun which he possesses or desires to possess. Thereupon the Secretary of
           State shall file such application in his office, registering such applicant togther with
           the information required in the application in a book or index to be kept for that
           purpose, and assign to him a number, an dissue to him a card which shall bear the
           signature of the applicant, and which he shall keep with him while he has such
           machine gun in his possession. Such registeration shall be made on the date
           application is received and filed iwth the Secretary of State, and shall expire on
           December 31, of the year in which said license is issued. § 6. Penalty – Any person
           violating any of the provisions of this Act shall be guilty of a felony, and, on
           conviction thereof shall be sentenced to pay a fine not exceeding One Thousand
           Dollars, and undergo imprisonment by separate or solitary confinement at labor not
           exceeding twenty (20) years.

           SOUTH DAKOTA

           1899 S.D. Sess. Laws 112, An Act For The Protection Of Game And The
           Appointment Of Wardens, And The Licensing Of Hunters And Prescribing
           Penalties For The Violation Of Its Provisions, pt. 3
           At any time kills or shoots any wild duck, goose or brant with any swivel gun or
           other gun, except as is commonly shot form the shoulder, or in hunting such birds
           makes us of any artificial light or battery. . .

           TENNESSEE

           William H. Bridges, Digest of the Charters and Ordinances of the City of
           Memphis, Together with the Acts of the Legislature Relating to the City, with an
           Appendix Page 148-149, Image 149-150 (1863) available at The Making of
           Modern Law: Primary Sources. 1863
           [Ordinances of the City of Memphis, Shooting Galleries, § 1. That no person or
           persons shall set up or use any pistol gallery, or place for the discharging of pistols,
           guns or other firearms in the first story of any building in the city; nor shall any
           gallery be used in any manner involving risk or danger to any person in the city;
           nor shall any person setting up or using such pistol gallery be exempt from the
           ordinance and penalties now in force, for discharging or shooting any pistol, gun or
           firearms within the city limits, until such person or persons have applied and paid
           for license to set up and use such pistol gallery, according to the provisions of this
           ordinance. § 2. That the person or persons applying for license to keep such pistol
           gallery, shall, at the time of obtaining such license, enter into bond with good
           security, to be approved by the City Register, in the sum of three thousand dollars,
           payable as other city bonds, conditioned that no gambling of any kind be permitted


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           in such pistol gallery, or in the room used for such pistol gallery, or any room
           adjacent thereto, under the control and connected with said pistol gallery, or its
           proprietors or keepers; and that all shooting or discharging of firearms shall be
           done only with the perfect security against any harm to persons or property in the
           vicinity of such pistol gallery; such penalty to be recoverable for every violation of
           this section of this ordinance, and of the conditions of said bond. § 3. That the
           proprietors or persons keeping such pistol gallery shall not permit any minors to
           shoot in such gallery without the written consent of the lawful guardian of such
           minor, unless such guardian be personally present, and consenting to such
           shooting; nor shall the proprietors or keepers of such gallery permit any shooting in
           the same after eleven o’clock at night, or on Sunday, nor shall such shooting
           gallery be allowed to be kept open for shooting after eleven o’clock at night or on
           Sunday. Any violation of this ordinance is hereby declared a misdemeanor, and
           each offender, on conviction shall be fined in any sum not less than five nor more
           than fifty dollars for any violation of this ordinance, recoverable as other fines. § 4.
           Any person or persons shall before putting up or using such pistol or shooting
           gallery, first apply for, and obtain license, as other licenses are obtained, and shall
           pay for such license the sum of one hundred dollars per annum for each and every
           pistol or shooting gallery establishment under the provision of this ordinance. § 5.
           That the board of Mayor and Aldermen retain the power and right to, at any time,
           repeal this ordinance and revoke and recall any license to keep a pistol gallery, by
           refunding a pro rata part of the amount paid for any license then outstanding.]

           1879 Tenn. Pub. Acts 135-36, An Act to Prevent the Sale of Pistols, chap. 96, § 1.
           It shall be a misdemeanor for any person to sell, or offer to sell, or to bring into the
           State for the purpose of selling, giving away, or otherwise disposing of belt or
           pocket pistols, or revolvers, or any other kind of pistols, except army or navy
           pistol; Provided that this act shall not be enforced against any persons now having
           license to sell such articles until the expiration of such present license.

           TEXAS

           Charter and Revised Ordinances of the City of Galveston, and All Ordinances in
           Force to April 2d, 1872 Page 94, Image 107 (1873) available at The Making of
           Modern Law: Primary Sources.
           1872
           [Ordinances of the City of Galveston, Taxes – License Tax and Ad-Valorem Tax,]
           Art. 418, § 26. Every keeper of a billiard or other like table, for public use, a tax of
           twenty dollars for each and every table so kept; and every keeper of a tenpin alley,



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           a tax of thirty dollars for each and every alley so kept for public use. Every keeper
           of a pistol or rifle gallery, a tax of twenty-five dollars.

           Revised Ordinances of the City of Fort Worth, Texas, 1873-1884 Page 64-65,
           Image 62-63 (1885) available at The Making of Modern Law: Primary Sources.
           1880
           Ordinances of the City of Fort Worth, An Ordinance prohibiting the shooting off,
           firing or discharging of Fire-arms; the firing, exploding or setting off of Squibs,
           Firecrackers, Torpedoes, Roman Candles, Sky-rockets or other things containing
           powder or other explosive matter, or the throwing of any fire balls, or making of
           any bon-fires in the corporate limits of the City of Fort Worth. Be it ordained by
           the City Council of the City of Fort Worth: § 1. It shall be unlawful for any person
           or persons to shoot off, fire, or discharge any gun, pistol, revolver or any firearm of
           any description, or to fire, explode or set off any squib, firecracker, torpedo, roman
           candle, sky-rocket, or other thing containing powder or other explosive matter, or
           to throw any fire-ball or make any bon-fire in the corporate limits of this city, and
           that any person or persons violating the provisions of this ordinance, shall be
           deemed guilty of a misdemeanor, and, on conviction thereof, shall be fined in any
           sum not less than one dollar nor more than one hundred dollars. Provided that this
           shall not apply to any licensed shooting gallery nor to the shooting of dogs running
           at large in violation of the city ordinances

           The Laws of Texas 1822-1897. Austin’s Colonization Law and Contract; Mexican
           Constitution of 1824; Federal Colonization Law; Colonization Laws of Coahuila
           and Texas; Colonization Law of State of Tamaulipas; Fredonian Declaration of
           Indpendence; Laws and Decrees, with Constitution of Coahuila and Texas; San
           Felipe Convention; Journals of the Consultation; Proceedings of the General
           Council; Goliad Declaration of Independence; Journals of the Convention at
           Washington; Ordinances and Decrees of the Consultation; Declaration of
           Independence; Constitution of the Republic; Laws, General and Special, of the
           Republic; Annexation Resolution of the United States; Ratification of the Same by
           Texas; Constitution of the United States; Constitutions of the State of Texas, with
           All the Laws, General and Special, Passed Thereunder, Including Ordinances,
           Decrees, and Resolutions, with the Constitution of the Confederate States and the
           Reconstruction Acts of Congress Page 234-235, Image 734-735 (Vol. 6, 1898)
           available at The Making of Modern Law: Primary Sources. 1898
           [An Act to Incorporate the Town of Round Top, County of Fayette, . . . Article
           Tenth. That from and after the passage of this act it shall be unlawful to fire any
           pistol, rifle, shot gun, or other kind of fire-arms, within the limits of the town of
           Round Top, and any person violating this act shall be guilty of a misdemeanor, and


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           on conviction thereof shall be fined not less than five nor more than twenty-five
           dollars, to be collected by the mayor of the town; but this act shall not prevent any
           gunsmith, within the limits of the town, from discharging on the premises thereof,
           fire-arms made or repaired in his shop, for the purpose of training such fire-arms;
           provided, that none but gunsmiths shall have the privilege of being authorized to
           discharge fire-arms; and for that purpose each gunsmith shall build a rock wall, in
           front of which he shall cause a target to be placed, The mayor shall issue a permit
           to any gunsmith applying for the same, for the period of one year, which permit
           may be renewed after its expiration.]

           Revised Ordinances of the City of Victoria Texas Page 75, Image 77 (1899)
           available at The Making of Modern Law: Primary Sources. 1899
           [Ordinances of the City of Victoria,] Revised Penal Ordinances: Discharging
           Firearms, § 1. If any person shall discharge any gun, pistol or firearm of any
           description on or across any public square, street or alley, or elsewhere within the
           corporate limits of the City of Victoria, whether the premises on or across which
           such fire arm is discharged be public or private he shall be fined in any sum not to
           exceed ten dollars. § 2. Exceptions. The provisions of the foregoing section shall
           not be construed to apply to gunsmiths discharging fire arms brought to them for
           repairs, or to training guns or pistols of their own make, when done with the
           permission and at a place approved by the City Marshal; nor shall parties shooting
           in galleries licensed by the city come within the meaning of the preceding article. §
           3. If any person shall discharge any gun, pistol or fire arm of any description as
           alarm for fire, or upon the discovery of any fire, or during the progress of any fire,
           he shall be fined in any sum not to exceed twenty-five dollars.

           1919 Tex. Gen. Laws 297-98, An Act to Preserve, Propagate, Distribute, and
           Protect the Wild Game, Wild Birds, Wild Fowl of the State . . . , ch. 157, § 42.
           It shall be unlawful for any citizen of this State to hunt outside of the county of his
           residence with a gun without first having procured from the Game, Fish and Oyster
           Commissioner or one of his deputies or from the County Clerk of the County in
           which he resides a license to hunt, and for which he shall pay to the officer from
           whom he secures such license the sum of two ($2.00) dollars. . . Any person
           hunting any game or birds protected by the laws of the State, and who shall refuse
           to show his license herein provided for to any sheriff . . . on demand shall be
           deemed guilty of a violation of the provisions of this law, and any person violating
           any of the provisions of this Section shall be deemed guilty of a misdemeanor, and
           upon conviction shall be fined in a sum of not less than ten (10.00) dollars nor
           more than one hundred (100.00) dollars.



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           UTAH

           An Ordinance Prohibiting the Sale of Arms, Ammunition, or Spiritous Liquors to
           the Indians, in Acts, Resolutions and Memorials Passed at the Several Annual
           Sessions of the Legislative Assembly of the Territory of Utah 63 (Henry McEwan
           1866). 1850
           “Sec. 1. Be it ordained by the General Assembly of the State of Deseret: That if
           any person shall hereafter trade or give any guns, rifles, pistols or any other deadly
           weapons, ammunition or spirituous liquors to any Indian, without having a license,
           he shall, on conviction thereof before any Justice of the Peace, he fined in a sum
           not exceeding one hundred dollars for each offense, and also forfeit all the property
           received from the Indian, which shall be sold and the proceeds thereof paid into the
           public treasury.”

           Revised Ordinances and Resolutions of the City Council of Salt Lake City, in the
           Territory of Utah, with Congressional and Territorial Laws on Townsites and Great
           Salt Lake City Charter, and Amendments Page 161-162, Image 196-197 (1875)
           available at The Making of Modern Law: Primary Sources. 1875
           Ordinances of Salt Lake City, Relating to Gunpowder, Gun Cotton and Nitro-
           Glycerine, § 1. Be it ordained, by the City Council of Salt Lake City, that it shall
           not be lawful for any person or persons to keep, sell or give away, gunpowder,
           gun-cotton, or nitro-glycerine, in any quantity without permission of the City
           Council; Provided, any person may keep, for his own use, not exceeding five
           pounds of gun powder, one pound of gun cotton, or one ounce of nitro-glycerine. §
           2. All permits , when issued , shall be registered by the Recorder, and shall state
           the name and place of business, and date of permit, and the same shall not be
           granted for a longer time than one year; and no person to whom any permits may
           be issued, shall have or keep, at his place of business or elsewhere, within the city,
           (except in such places as may be approved by the City Council), a greater quantity
           of gunpowder or guncotton than twenty-five pounds, and the same shall be kept in
           tin canisters or cases, and nitro-glycerine not to exceed five ounces, and in a
           situation remote from fires lighted lamps or candles. Nor shall any person sell or
           weigh gunpowder, gun cotton, or nitro-glycerine, after the lighting of lamps or gas
           in the evening , unless in sealed canisters or cases. It shall be the duty of every
           person to whom a permit shall be given to keep a sign at the front door of his place
           of business, with the word gunpowder painted or printed thereon in large letters. §
           3. No person shall convey or carry any gunpowder exceeding one pound in
           quantity through any street or alley in the city, unless the said gunpowder is
           secured in tight cans, kegs or cases, sufficient to prevent the same from being
           spilled or scattered , and in no quantity exceeding one hundred pounds, except


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           under the direction of a police officer. § 4. A violation of any clause of this
           ordinance shall subject the offender to a fine, for each offence, in any sum not
           exceeding one hundred dollars.

           The Revised Ordinances of Salt Lake City, Utah, Chapter XXVI, Misdemeanors,
           p. 283 Sec. 14 (1888)
           Dangerous and Concealed Weapons.
           SEC. 14. Any person who shall carry any slingshot, or any concealed deadly
           weapon , without the permission of the mayor first had and obtained, shall, upon
           conviction, be liable to a fine not exceeding fifty dollars.

           1905 Utah Laws 197, An Act for the Protection of Fish, Game, and Birds . . . , ch.
           118, § 30.
           It shall be unlawful for any non-resident person or for resident who is not a citizen
           of the United States to kill any game, animals, birds or fish in this State, without
           first having procured the license to do so hereinafter provided for. Any non-
           resident person or any resident who is not a citizen of the United States, upon the
           payment to the State Commissioner, of the sum of twenty-five dollars, shall be
           entitled to receive a license, from said commissioner, which will entitle him to hunt
           and kill game, animals, birds and fish, for the period of one year subject to all the
           laws of this State for the protection of fish and game.

           VERMONT

           Act of Incorporation and By-Laws of the Village of Bradford Page 14, Image 15
           (1890 ) available at The Making of Modern Law: Primary Sources. 1890
           [Ordinances of the Village of Bradford] By-laws, Miscellaneous, § 6. Any person
           who shall fire any cannon, swivel gun, pistol, torpedo, squib, cracker, or throw any
           fire ball, in any street, alley or lane, except by permission of the trustees, shall be
           fined five dollars.

           Act of Incorporation and By-Laws of the Village of Bradford. 1890 Page 12-13,
           Image 13-14 (1891) available at The Making of Modern Law: Primary Sources.
           Ordinances of the Village of Bradford, § 11. The Trustees may grant licenses, for
           one year or less, to keep gun powder or gun cotton or other explosives for sale, if
           in their opinion the public safety is not endangered thereby. Said gun powder or
           gun cotton or other explosive shall be kept in close tin canisters which shall only
           be opened in the day time. § 12. The license shall specify the quantity allowed and
           the place where such gun powder or gun cotton and other explosives shall be kept,
           and on every building in which such gunpowder or gun cotton or other explosives


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           is kept for sale shall be placed in a conspicuous position a sign with the words,
           “Licensed to sell Powder,” printed or painted thereon. § 13. The Trustees may also
           grant licenses to store gun powder and other explosives in larger quantities in
           places used for no other purpose which they consider at a safe distance from other
           buildings. § 14. The Trustees may at any time inspect the premises where gun
           powder, gun cotton and other explosives are kept, in order to satisfy themselves
           that the regulations are complied with. § 15. Any person who shall without license
           keep in any building in the Village any nitro-glycerine, or more than half a pound
           of gun powder or two ounces of gun cotton, which shall be only for his own use,
           shall be fined five dollars for every day so offending. § 16. All licenses granted by
           the Trustees by virtue of these by-laws shall be signed by a majority of the
           Trustees and recorded in the office of the Clerk of the Corporation at the expense
           of the person licensed and shall not become valid until so recorded. § 17. The
           Trustees are authorized to revoke any license mentioned in these by-laws, whether
           granted by themselves or their predecessors in office, whenever in their opinion the
           public good requires it. Such revocation shall be recorded in the Clerk’s office, and
           shall become operative whenever the Trustees shall deliver a written notice thereof
           to the person whose license is revoked.

           Act of Incorporation and By-Laws of the Village of Northfield Page 19-20, Image
           19-20 (1894) available at The Making of Modern Law: Primary Sources. 1894
           Regulations for Handling Explosives, Artcle XV., § 1. No person shall at any time
           keep within the limits of said Village, any powder, or guncotton, without a written
           license, signed by a majority of the trustees, who shall have discretionary power to
           grant the same for retailing purposes ; not, however, exceeding twenty pounds
           shall be kept in any one building at a time, and that to be kept in close metal cans,
           or flasks, which are not to be opened except in the day time, Said license specify
           the building, or place where said powder or guncotton shall or may be kept, the
           quantity such person may keep, and shall be conditional that any Trustee may at
           any time make inspection of the quantity of powder or gun-cotton kept, and the
           manner of keeping the same; said license to be in force until revoked by a majority
           of the Trustees. And it shall be the duty of the person or persons so licensed to
           procure said license to be recorded in the records of said Village, and to put up, in
           some conspicuous place on every building within the limits of the Village in which
           he has powder or guncotton stored, a sign with the words “LICENSED TO SELL
           GUNPOWDER.” Provided, that a majority of the Trustees may grant license for
           storing or keeping larger quantities, and that any person may keep not over two
           pounds which shall be kept in a metallic flask or a powder horn. Article XVI.
           PENALTY FOR VIOLATION OF ABOVE ARTICLE. § 1. If any person shall
           keep, without a license therefore, or as provided in the XVth article, any powder,


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           or gun cotton, or either of said articles, or shall keep either of said articles in any
           buildings or places except those mentioned in his license, he shall forfeit and pay
           to the treasurer of said Village Five dollars for each day said powder or guncotton
           shall be suffered to remain within the limits of said village.

           Quoted in Brief of Amicus Curiae Patrick J. Charles at App. 13, N.Y. State Rifle &
           Pistol Ass’n, v. City of New York (Ordinances of the City of Barre, Vermont).
           1895
           CHAPTER 16, SEC. 18. No person, except on his own premises, or by the consent
           and permission of the owner or occupant of the premises, and except in the
           performance of some duty required by law, shall discharge any gun, pistol, or other
           fire arm loaded with ball or shot, or with powder only, or firecrackers, serpent, or
           other preparation whereof gunpowder or other explosive substance is an ingredient,
           or which consists wholly of the same, nor shall make any bonfire in or upon any
           street, lane, common or public place within the city, except by authority of the city
           council.
           CHAPTER 38, SEC. 7. No person shall carry within the city any steel or brass
           knuckles, pistol, slung shot, stilletto, or weapon of similar character, nor carry any
           weapon concealed on his person without permission of the mayor or chief of police
           in writing.

           1908 Vermont Session Laws 132, § 1.
           No person shall at any time hunt, shoot, pursue, take or kill any of the wild
           animals, wild fowl or birds of this state, nor use a gun for hunting the same,
           without having first procured a license therefor as hereinafter provided, and then
           only during the respective periods of the year when it shall be lawful, and subject
           to all the provisions of chapter 220 of the Public Statutes. . .

           VIRGINIA

           Collection of All Such Acts of the General Assembly of Virginia, of a Public and
           Permanent Nature, as Are Now in Force; with a New and Complete Index. To
           Which are Prefixed the Declaration of Rights, and Constitution, or Form of
           Government Page 187, Image 195 (1803) available at The Making of Modern Law:
           Primary Sources. 1792
           [An Act to Reduce into one, the Several Acts Concerning Slaves, Free Negroes,
           and Mulattoes (1792),] § 8. No negro or mulatto whatsoever shall keep or carry
           any gun, powder, shot, club, or other weapon whatsoever, offensive or defensive,
           but all and every gun, weapon, and ammunition found in the possession or custody
           of any negro or mulatto, may be seized by any person, and upon due proof thereof


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           made before any Justice of the Peace of the County or Corporation where such
           seizure shall be, shall by his order be forfeited to the seizor for his own use ; and
           moreover, every such offender shall have and receive by order of such Justice, any
           number of lashes not exceeding thirty-nine, on his or her bare back, well laid on,
           for every such offense. § 9. Provided, nevertheless, That every free negro or
           mulatto, being a house-keeper, may be permitted to keep one gun, powder and
           shot; and all negroes and mulattoes, bond or free, living at any frontier plantation,
           may be permitted to keep and use guns, powder, shot, and weapons offensive or
           defensive, by license from a Justice of Peace of the County wherein such
           plantation lies, to be obtained upon the application of free negroes or mulattoes, or
           of the owners of such as are slaves.

           1805 Va. Acts 51, An Act Concerning Free Negroes and Mulatoes
           That no free negro or mulato shall be suffered to keep or carry any firelock of any
           kind… without first obtaining a license from the court…

           1806 Va. Acts 51, ch. 94
           Required every “free negro or mulatto” to first obtain a license before carrying or
           keeping “any fire-lock of any kind, any military weapon, or any powder or lead.”

           The Charters and Ordinances of the City of Richmond, with the Declaration of
           Rights, and Constitution of Virginia Page 227, Image 274 (1859) available at The
           Making of Modern Law: Primary Sources. 1859
           [Ordinances of Richmond,] Nuisances Not in Streets, § 11. If any person shall sell,
           or expose for sale in this city, any torpedos, popcrackers, squibs, or other fire-
           works, of any kind whatever, except in packages containing each at least one
           hundred, or shall without permission in writing from the mayor, discharge, or set
           off, in any street or alley of the city, any balloon, rocket, torpedo, popcracker,
           fireworks or any combination of gunpowder, or any other combustible or
           dangerous material; or if any person shall, except under the fortieth section of the
           ordinance concerning streets, without necessity fire or discharge in this city any
           cannon, gun, pistol, or other fire-arms of any kind, or shall make therein any
           unusual noise, whereby the inhabitants thereof may be alarmed, or raise or fly a
           kite in this city, or if any auctioneer shall use any bell or herald to notify the public
           of any sale, except of real property, every such person herein offending, shall pay a
           fine of not less than one nor more than twenty dollars.

           1908 Va. Laws 381, An Act To Amend And Re-Enact Section 3780 Of The Code
           In Relation To Carrying Concealed Weapons, § 3780



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           If any person carry about his person, hid from common observation, any pistol,
           dirk, bowie knife, razor, slungshot, or any weapon of like kind he shall be fined not
           less than twenty dollars nor more than one hundred dollars, or be committed to jail
           not more than thirty days, or both, in the discretion of the court, or jury, trying the
           case: and such pistol, dirk, bowie knife, razor, slungshot, or any weapon of like
           kind, shall be forfeited to the Commonwealth and may be seized by an officer as
           forfeited. Upon conviction of the offender the said weapon shall be sold by the
           officer and the proceeds accounted for and paid over as provided in section twenty-
           one hundred and ninety; provided, that this section shall not apply to any police
           officer, town or city sergeant, constable, sheriff, conservator of the peace,
           collecting officer while in the discharge of his official duty: provided the judge of
           any circuit or hustings court in term time, upon a written application and
           satisfactory proof of the good character and necessity of the applicant to carry
           concealed weapon may grant such permission for one year; the order making same
           shall be entered in the order book of such court.

           1926 Va. Acts. 285-87, CHAP. 158-An ACT to improve a license tax on pistols
           and revolvers; to regulate the sale thereof and of ammunition therefor; and to
           provide that the proceeds of such tax shall be used for the establishment of a
           diseased and crippled children’s hospital, §§ 1-9.
           1. Be it enacted by the general assembly of Virginia, That it shall be the duty of
           every person residing in this State and owning a pistol or revolver therein, to pay
           on or before the first day of January of each year a license tax of one dollar on each
           pistol or revolver so owned, or in the event that such pistol or revolver shall be
           acquired by any such person on or after the first day of February, such license tax
           shall be forthwith paid thereon. The application for the license shall give the name
           of the owner, and the number, make and calibre [sic] of such pistol or revolver,
           which shall be set forth in the license. All pistol or revolver licenses shall run from
           the first day of January to the first day of the following January. Such license taxes
           shall be paid to the treasurer of the city or county whrein the said owner resides,
           and the said treasurer shall not receive more for handling the funds arising from the
           tax imposed by this act than he receives for handling other State funds. The
           treasurers shall not receive compensation for their services in issuing the license
           cards herein provided for. Upon payment of the tax provided for in this section the
           person paying the same shall be entitled to a license card therefor, showing the
           year for which the license is paid, the county or city issuing the card, the serial
           number of the license, and the number, calibre [sic], make and owner of the pistol
           or revolver. When the license card is issued the treasurer shall record the name of
           the owner of the pistol or revolver, and the number, calibre [sic] and make thereof
           with the number of the license, in a book prepared for the purpose. The license


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           cards and book shall be furnished by the boards herein provided and shall be paid
           out of the funds derived from the pistol and revolver licenses. If any such card
           should be lost the owner of the card shall pay to the treasurer twenty-five cents for
           a duplicate card.
           2. It shall be the duty of every retailer selling a pistol or revolver in this State, at
           the time of such sale, to keep a record of the name and address of the purchaser
           and the number, make and calibre [sic] of the pistol or revolver, and to report once
           a month to the treasurer of his county or city the names of such purchasers, if any,
           together with the number, make and calibre [sic] of each pistol or revolver
           purchased; and all persons receiving or having in their possession a pistol or
           revolver for the purpose of repairing the same shall report to the treasurer of his
           county or city once a month giving the name and address of the owner and the
           calibre [sic], make and serial number of such pistol or revolver.
           3. It shall be unlawful for any retailer in this State to sell ammunition for any pistol
           or revolver to any person unless the person desiring to make such purchase
           displays the license card for the current year provided for in this act.
           4. Any person violating any provision of this act or using a license card not issued
           to him, for the purpose of purchasing ammunition, or using a license card for the
           purchase of pistol or revolver ammunition unless the ammunition is intended to be
           used for the weapon mentioned in the license card shall be guilty of a
           misdemeanor, and upon conviction shall be fined not less than twenty-five nor
           more than fifty dollars, or sentenced to the State convict road force for not less
           than thirty or not more than sixty days, or both, in the discretion of the tribunal
           trying the case.
           5. The provisions of this act shall not apply to any officer authorized by law to
           carry a pistol or revolver nor to the pistol or revolver of such officer when such
           pistol or revolver is carried in discharge of his official duty, except that every
           officer shall list his pistol or revolver with the treasurer of his county or city
           annually by January first; nor to a pistol of an obsolete type kept as a souvenir,
           memento or relic, such as cap and ball type, etcetera, or souvenir used or captured
           by any person or relative in any war. But such pistol shall be registered as herein
           provided, upon satisfactory proof to the officer issuing such license that the pistol
           in question comes properly within this exception, in which case, no license tax
           shall be charged.
           6. The tax hereby imposed shall be in lieu of all other taxes on such pistols and
           revolvers; but nothing in this act shall be construed to apply to such weapons in the
           stocks of licensed wholesaler or retailers.
           7. All funds arising from pistol and revolver licenses, except as hereinbefore
           provided, shall be kept separate from other funds and shall be paid into the State
           treasury to establish a fund known as the diseased and crippled children’s hospital


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           fund, which shall be used for the purpose of establishing and maintaining within
           the State at such place or places as may be selected by the board hereinafter
           provided for, a hospital or hospitals for the care, treatment and vocational training
           of diseased and crippled children resident in Virginia, or for any such rehabilitation
           work that the board may deem wise.
           Each treasurer shall between the first and fifteenth of July and between the first
           and fifteenth of January report to the auditor of public accounts collections, which
           he is required to make by this act, and shall at the same time pay into the State
           treasury the amount collected less the commissions which he is authorized to retain
           for collecting same as provided for in this act, and the auditor of public accounts
           shall keep said funds separate from other funds to be designated and known as “the
           diseased and cripple children’s hospital fund.”
           8. The adminsitration of the aid fund shall be under the direction of a board of
           seven physicians to be appointed by the governor. . . . [Description of board and its
           functions].
           9. The State treasurer shall make payments from the fund hereinabove created on
           warrants from the auditor of pulic accounts, issued on vouchers certified by the
           chairman of the board hereinabove created on authority of the board.

           WASHINGTON STATE

           1881 Wash. Sess. Laws 76, An Act to Confer a City Govt. on New Tacoma, ch. 6,
           § 34, pt. 15.
           [T]o regulate the transportation, storage and sale of gunpowder, giant powder,
           dynamite, nitro-glycerine, or other combustibles, and to provide or license
           magazines for the same, and to prevent by all possible and proper means, danger or
           risk of injury or damages by fire arising from carelessness, negligence or otherwise
           . . . to regulate and prohibit the carrying of deadly weapons in a concealed manner;
           to regulate and prohibit the use of guns, pistols and firearms, firecrackers, and
           detonation works of all descriptions[.]

           1881 Wash. Sess. Laws 93, An Act to Incorporate the City of Dayton, chap. 2, §
           20.
           The city of Dayton shall have power to prevent injury or annoyance from anything
           dangerous, offensive, or unhealthy, and . . . to regulate the transportation, storing
           and keeping of gunpowder and other combustibles and to provide or license
           magazines for the same[.]

           1881 Wash. Sess. Laws 121-22, An Act to Incorporate the City of Port Townsend,
           ch. 2, § 21.


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           The City of Port Townsend has power to prevent injury or annoyance from
           anything dangerous, offensive, or unhealthy, and . . . to regulate the transportation
           and keeping of gunpowder, or other combustibles, and to provide or license
           magazines for the same[.]

           1883 Wash. Sess. Laws 161, An Act to Incorporate the City of Ellensburgh, ch. 2,
           § 20.
           The city of Ellensburg shall have power to prevent injury or annoyance from
           anything dangerous, offensive, or unhealthy . . . to regulate the transportation
           storing and keeping of gunpowder and other combustibles and to provide or license
           magazines for the same[.]

           Del Cary Smith, Ordinances of the City of Port Townsend, Washington,
           Comprising the General Ordinances of the City, Together with the Private
           Ordinances Now in Force Page 27, Image 28 (1890) available at The Making of
           Modern Law: Primary Sources. 1890
           [Ordinances of Port Townsend, WA,] Division III, Offenses Against Public Safety,
           Convenience and Health, § 15. Whoever shall fire or discharge any cannon, gun,
           pistol revolver or any firearm of any description, or shall fire, or explode or set off
           any squib, firecracker, torpedo or other thing containing powder or other explosive
           material, without permission from the Mayor or common council so to do, within
           the city limits, shall, on conviction, be punished by a fine of not less than five nor
           more than twenty dollars; provided that such permission, when given, shall
           definitely limit the time of such firing, and may at any time be revoked. But
           nothing in this section shall prevent the ordinary and usual fireworks
           demonstration on National holidays; subject, however, to such regulation, control
           and orders as the City Marshal may deem proper to make for the protection of
           property from fire.

           Albert R Heilig, Ordinances of the City of Tacoma, Washington Page 334, Image
           335 (1892) available at The Making of Modern Law: Primary Sources. 1892
           Ordinances of Tacoma, Defining Disorderly persons and Prescribing the
           Punishment for disorderly conduct within the city of Tacoma, § 1. . . . All persons
           (except police officers as aforesaid) who shall draw, exhibit or attempt to use any
           deadly weapon upon, to or against another person, in said city with intent to do
           bodily injury to such person; and All persons (except peace officers as aforesaid
           and persons practicing at target shooting in a shooting gallery duly licensed) who
           shall, within the city limits, fire off or discharge any gun, pistol or fire arm of any
           kind, or bomb, shall be deemed and are disorderly persons, and guilty of a
           misdemeanor.


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           Rose M. Denny, ed., The Municipal Code of the City of Spokane, Washington
           (Spokane, WA; W.D. Knight, 1896), p. 309-10, Ordinance No. A544, Sec. 1. 1895
           ORDINANCE No. A544. AN ORDINANCE TO PUNISH THE CARRYING OF
           CONCEALED WEAPONS WITHIN THE CITY OF SPOKANE.
           The City of Spokane does ordain as follows:
           SECTION I. If any person within the City of Spokane shall carry upon his person
           any concealed weapon, consisting of either a revolver, pistol or other fire-arms, or
           any knife (other than an ordinary pocket knife ), or any dirk or dagger, sling-shot
           or metal knuckles, or any instrument by the use of which injury could be inflicted
           upon the person or property of any other person, shall be deemed guilty of a
           misdemeanor, and upon conviction thereof shall be fined not less than twenty
           dollars, nor more than one hundred dollars and costs of prosecution, and be
           imprisoned until such fine and costs are paid; provided, that this section shall not
           apply to police officers and other persons whose duty it is to execute process or
           warrants or make arrests, or persons having a special written permit from the
           Superior Court to carry weapons.
           SECTION 2. This ordinance shall take effect and be in force ten days after its
           passage.
           Passed the City Council January 2, 1895.

           Rose M. Denny, The Municipal Code of the City of Spokane, Washington.
           Comprising the Ordinances of the City (Excepting Ordinances Establishing Street
           Grades) Revised to October 22, 1896 Page 309-310, Image 315-316 (1896)
           available at The Making of Modern Law: Primary Sources. 1896
           Ordinances of Spokane, An Ordinance to Punish the Carrying of Concealed
           Weapons within the City of Spokane, § 1. If any person within the City of Spokane
           shall carry upon his person any concealed weapon, consisting of either a revolver,
           pistol or other fire-arms, or any knife (other than an ordinary pocket knife) or any
           dirk or dagger, sling-shot or metal knuckles, or any instrument by the use of which
           injury could be inflicted upon the person or property of any other person, shall be
           deemed guilty of a misdemeanor, and upon conviction thereof shall be fined not
           less than twenty dollars, nor more than one hundred dollars and costs of
           prosecution, and be imprisoned until such fine and costs are paid; provided, that
           this section shall not apply to police officers and other persons whose duty is to
           execute process or warrants or make arrests, or persons having a special written
           permit from the Superior Court to carry weapons.




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           1911 Wash. Sess. Laws 303, An Act Relating to the Carrying of Firearms,
           Requiring Licenses of Certain Persons, and Fixing a Penalty for the Violation
           Thereof, ch. 52, § 1.
           It shall be unlawful for any person who is not a citizen of the United States, or who
           has not declared his intention to become a citizen of the United States, to carry or
           have in his possession at any time any shot gun, rifle or other firearm, without first
           having obtained a license from the state auditor, and said license is not to be issued
           by said state auditor except upon the certificate of the consul domiciled in the State
           of Washington and representing the country of such alien, that he is a responsible
           person and upon the payment for said license of the sum of fifteen dollars
           ($15.00)[.]

           WEST VIRGINIA

           J. Nelson Wisner, Ordinances and By-Laws of the Corporation of Martinsburg:
           Berkeley Co., West Virginia, Including the Act of Incorporation and All Other
           Acts of a Special or General Nature Page 25, Image 25 (1875) available at The
           Making of Modern Law: Primary Sources.
           1875
           [Ordinances of Martinsburg, An Ordinance to Prevent Certain Improper Practices
           Therein Specified,] § 3. If any person shall fire or discharge within such parts of
           the town which are or shall be laid out into lots, or within two hundred yards of
           said limits, any cannon, gun, pistol or fire-arms, or any cracker, squib, rocket or
           fire-works, except it be in case of necessity, or in the discharge of some public
           duty, or at a military parade by order of the officer in command, or with the
           permission of the Mayor or Council of the town, such person for every such
           offence shall forfeit any pay to the town not less than one nor more than five
           dollars.

           J. Nelson Wisner, Ordinances and By-Laws of the Corporation of Martinsburg:
           Berkeley Co., West Virginia, Including the Act of Incorporation and All Other
           Acts of a Special or General Nature Page 76, Image 76 (1875) available at The
           Making of Modern Law: Primary Sources.
           1876
           [Ordinances of Martinsburg,] An Ordinance in Relation to Pistol Galleries, § 1. Be
           it ordained by the Council of the Corporation of Martinsburg, That no pistol
           gallery, in which air guns or pistols, or guns or pistols in which are fired powder, is
           used, shall be established or carried on within the limits of the Corporation of
           Martinsburg by any person or persons, until the person or persons desiring to
           establish or carry on the same shall first obtain from the Mayor, attested by the


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           Clerk of the Corporation, a permit authorizing the person or persons therein named
           to prosecute said business, and designating the place at which the same is to be
           carried on. § 2. That the Mayor shall not issue the permit authorized by the first
           section of this ordinance, unless the building to be used for said pistol gallery, is so
           detached from adjacent or surrounding private dwellings, that the noise incident to
           the carrying on of said business, shall not render the said gallery a nuisance to the
           surrounding or adjacent dwellings. § 3. Any person or persons violating the
           provisions of this ordinance, shall be fined for the first offense, not less than two
           nor more than ten dollars, at the discretion of the Mayor, and for any subsequent
           offence, not less than two or more than thirty dollars, and commitment in the
           county jail not exceeding thirty days, either or both of said punishment, at the
           discretion of the Mayor.

           Laws and Ordinances for the Government of the City of Wheeling, West Virginia
           (Wheeling, WV: W. Va. Printing 1891), p.206. 1881
           An Ordinance in relation to offenses . . .
           SEC. 14. It shall be unlawful for any person to carry any slung shot, colt, or
           knucklers of lead, brass or other metal or material, or to carry about his person, hid
           from common observation, any pistol, dirk , bowie knife, or weapon of the like
           kind, without a permit in writing from the mayor so to do. It shall also be unlawful
           for any person or persons to sell or give away to a person not of age, any slung
           shot, colt, or knuckler or knucklers of lead, brass or other metal or material, or any
           pistol, dirk, bowie knife or weapon of the like kind.

           1909 W.Va. Acts 479-80, An Act to Amend and Re-Enact Sections . . . Relating to
           the Protection and Preservation of Certain Animals, Birds, and Fishes and of
           Forests and Streams, ch. 60, § 19.
           The carrying of any uncased gun in any of the fields or woods of this state, by any
           person not having the lawful right to hunt, pursue or kill game, birds or animals in
           such fields or woods shall, as to such person, other than the bona fide owner, or
           owners of such fields or woods, his or their child or children, tenant or tenants,
           lessee or lessees, be deemed prima facie evidence of a violation of this section; and
           any person claiming to hold a license to hunt in this state, having in his possession
           any gun or other hunting paraphernalia in such woods, or fields, shall, on failure to
           produce such license for inspection to any warden of this state or owner or agent of
           the owner of such woods and fields on demand, be deemed guilty of a
           misdemeanor and shall be punished on conviction, as provided later in this section.
           Provided, however, that any resident owner, or owners, of farm lands, their
           resident child or children, or bona fide tenants, shall have the right to hunt, kill and
           pursue birds or game on such farm lands of which he, or they, are the bona fide


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           owners or tenants, during the season when it is lawful to kill, catch or pursue birds
           or game, without securing such resident license; and provided, further, that the
           owners of adjoining lands may each have the privilege of reciprocating the non-
           licensed privilege, by giving each other written privilege to exchange hunting
           rights only, on land immediately joining each other, and upon which each party
           resides.

           1925 W.Va. Acts 25-30, 1st Extraordinary Sess., An Act to Amend and Re-Enact
           Section Seven . . . Relating to Offenses Against the Peace; Providing for the
           Granting and Revoking of Licenses and Permits Respecting the Use,
           Transportation and Possession of Weapons and Fire Arms. . . , ch. 3, § 7, pt. a.
           Section 7 (a). If any person, without a state license therefor, carry about his person
           any revolver or other pistol, dirk, bowie-knife, slung shot, razor, billy, metallic or
           other false knuckles, or any other dangerous or deadly weapon of like kind or
           character, he shall be guilty of a misdemeanor and upon conviction thereof be
           confined in the county jail for a period of not less than six nor more than twelve
           months for the first offense; but upon conviction of the same person for the second
           offense in this state, he shall be guilty of a felony and be confined in the
           penitentiary not less than one or more than five years, and in either case fined not
           less than fifty nor more than two hundred dollars, in the discretion of the court; and
           it shall be the duty of the prosecuting attorney in all cases to ascertain whether or
           not the charge made by the grand jury is the first or second offense, and if it shall
           be the second offense, it shall be so stated in the indictment returned, and the
           prosecuting attorney shall introduce the record evidence before the trial court of
           said second offense, and shall not be permitted to use his discretion in charging
           said second offense nor in introducing evidence to prove the same on the trial;
           provided, that boys or girls under the age of eighteen years, upon the second
           conviction, may, at the discretion of the court, be sent to the industrial homes for
           boys and girls, respectively, of the state. Any person desiring to obtain a state
           license to carry any such weapon within one or more counties in this state shall
           first publish a notice in some newspaper, published in the county in which he
           resides, setting forth his name, residence and occupation, and that on a certain day
           he will apply to the circuit court of his county for such state license; and after the
           publication of such notice for at least ten days before said application is made and
           at the time stated in said notice upon application to said court, it may grant such
           person a license in the following manner, to-wit: The applicant shall file with said
           court his application in writing, duly verified, which said application shall show:
           First: That said applicant is a citizen of the United States of America. Second: That
           such applicant has been a bona fide resident of this state for at least one year next
           prior to the date of such application, and of the county sixty days next prior thereto.


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           Third: That such applicant is over twenty-one years of age; that he is a person of
           good moral character, of temperate habits, not addicted to intoxication, and has not
           been convicted of a felony nor of any offense involving the use on his part of such
           weapon in an unlawful manner. Fourth: The purpose or purposes for which the
           applicant desires to carry such weapon and the necessity therefor and the county or
           counties in which said license is desired to be effective. Upon the hearing of such
           application the court shall hear evidence upon all matters stated in such application
           and upon any other matter deemed pertinent by the court, and if such court be
           satisfied from the proof that there is good reason and cause for such person to carry
           such weapon, and all of the other conditions of this act be complied with, said
           circuit court or the judge thereof in vacation, may grant said license for such
           purposes, and no other, as said a circuit court may set out in the said license (and
           the word “court” as used in this act shall include the circuit judge thereof, acting in
           vacation); but before the said license shall be effective such person shall pay to the
           sheriff, and the court shall so certify in its order granting the license, the sum of
           twenty dollars, and shall also file a bond with the clerk of said court, in the penalty
           of three thousand five hundred dollars, with good security, signed by a responsible
           person or persons, or by some surety company, authorized to do business in this
           state, conditioned that such applicant will not carry such weapon except in
           accordance with his said application and as authorized by the court, and that he
           will pay all costs and damages accruing to any person by the accidental discharge
           or improper, negligent or illegal use of said weapon or weapons. Any such license
           granted after this act becomes effective shall be good for one year, unless sooner
           revoked, as hereinafter provided, and be co-extensive with the county in which
           granted, and such other county or counties as the court shall designate in the order
           granting such license; except that regularly appointed deputy sheriffs having
           license shall be permitted to carry such revolver or other weapons at any place,
           within the state, while in the performance of their duties as such deputy sheriffs
           and except that any such license granted to regularly appointed railway police shall
           be co-extensive with the state, and all license fees collected hereunder shall be paid
           by the sheriff and accounted for to the auditor as other license taxes are collected
           and paid, and the state tax commissioner shall prepare all suitable forms for
           licenses and bonds and certificates showing that such license has been granted and
           to do anything else in the premises to protect the state and see to the enforcement
           of this act. The clerk of the court shall immediately after license is granted as
           aforesaid, furnish the superintendent of the department of public safety a certified
           copy of the order of the court granting such license, for which service the clerk
           shall be paid a fee of two dollars which shall be taxed as cost in the proceeding;
           within thirty days after this act becomes effective it shall be the duty of the clerks
           of each court in this state having jurisdiction to issue pistol licenses to certify to the


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           superintendent of the department of public safety a list of all such licenses issued
           in his county. Provided, that nothing herein shall prevent any person from carrying
           any such weapon, in good faith and not for a felonious purpose, upon his own
           premises, nor shall anything herein prevent a person from carrying any such
           weapon (unloaded) from the place of purchase to his home or place of residence, or
           to a place of repair and back to his home or residence; but nothing herein shall be
           construed to authorize any employee of any person, firm or corporation doing
           business in this state to carry on or about the premises of such employer any such
           pistol, or other weapon mentioned in this act for which a license is herein required,
           without having first obtained the license and given the bond as herein provided;
           and, provided, further, that nothing herein shall prevent agents, messengers and
           other employees of express companies doing business as common carriers, whose
           duties require such agents, messengers and other employees to have the care,
           custody or protection of money, valuables and other property for such express
           companies, from carrying any such weapon while actually engaged in such duties,
           or in doing anything reasonably incident to such duties; provided, such express
           company shall execute a continuing bond in the penalty of thirty thousand dollars,
           payable unto the state of West Virginia, and with security to be approved by the
           secretary of state of the state of West Virginia, conditioned that said express
           company will pay all damages, accruing to anyone by the accidental discharge or
           improper, negligent or illegal discharge or use of such weapon or weapons by such
           agent, messenger or other employee while actually engaged in such duties for such
           express company, in doing anything that is reasonably incident to such duties; but
           the amount which may be recovered for breach of such condition shall not exceed
           the sum of three thousand five hundred dollars in any one case, and such bond
           shall be filed with and held by the said secretary of state, for the purpose aforesaid,
           but upon the trial of any cause for the recovery of damages upon said bond, the
           burden of proof shall be upon such express company to establish that such agent,
           messenger or other employee was not actually employed in such duties for such
           express company nor in doing anything that was reasonably incident to such duties
           at the time such damages were sustained; and, provided further, that nothing herein
           shall prevent railroad police officers duly appointed and qualified under authority
           of section thirty-one of chapter one hundred forty-five of Barnes’ code or duly
           qualified under the laws of any other state, from carrying any such weapon while
           actually engaged in their duties or in doing anything reasonably incident to such
           duties; provided, such railroad company shall execute a continuing bond in the
           penalty of ten thousand dollars payable unto the state of West Virginia and with
           security to be approved by the secretary of state of the state of West Virginia
           conditioned that said railroad company will pay all damages accruing to anyone by
           the accidental discharge or improper, negligent or illegal discharge or use of such


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           weapon or weapons by such railroad special police officer whether appointed in
           this or some other state while actually engaged in such duties for such railroad
           company, in doing anything that is reasonably incident to such duties, but the
           amount which may be recovered for breach of such condition shall not exceed the
           sum of three thousand five hundred dollars in any one case, and such bond shall be
           filed with and held by the said secretary of state for the purpose aforesaid but upon
           the trial of any cause for the recovery of damages upon said bond, the burden of
           proof shall be upon such railroad company to establish that such railroad police
           officer was not actually employed in such duties for such railroad company nor in
           doing anything that was reasonably incident to such duties at the time such
           damages were sustained; and provided, further, that in case of riot, public danger
           and emergency, a justice of the peace, or other person issuing a warrant, may
           authorize a special constable and his posse whose names shall be set forth in said
           warrant, to carry weapons for the purpose of executing a process, and a sheriff in
           such cases may authorize a deputy or posse to carry weapons, but the justice shall
           write in his docket the cause and reasons for such authority and the name of the
           person, or persons, so authorized, and index the same, and the sheriff or other
           officer shall write out and file with the clerk of the county court the reasons and
           causes for such authority and the name, or names of the persons so authorized, and
           the same shall always be open to public inspection, and such authority shall
           authorize such special constable, deputies and posses to carry weapons in good
           faith only for the specific purposes and times named in such authority, and upon
           the trial of every indictment the jury shall inquire into the good faith of the person
           attempting to defend such indictment under the authority granted by any such
           justice, sheriff or other officer, and any such person or persons so authorized shall
           be personally liable for the injury caused to any person by the negligent or
           unlawful use of any such weapon or weapons. It shall be the duty of all ministerial
           officers, consisting of the justices of the peace, notaries public and other
           conservators of the peace of this state, to report to the prosecuting attorney of the
           county the names of all persons guilty of violating this section, and any person
           willfully failing so to do, shall be guilty of a misdemeanor and shall be fined not
           exceeding two hundred dollars, and shall, moreover, be liable to removal from
           office for such willful failure; and it shall likewise be the duty of every person
           having knowledge of the violation of this act, to report the same to the prosecuting
           attorney, and to freely and fully give evidence concerning the same, and any one
           failing so to do, shall be guilty of a misdemeanor and upon conviction thereof shall
           be fined not exceeding one hundred dollars; provided, further, that nothing herein
           contained shall be so construed as to prohibit sheriffs, their regularly appointed
           deputies, who actually collect taxes in each county, and all constables in their
           respective counties and districts, and all regularly appointed police officers of their


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           respective cities, towns or villages, all jailors and game protectors who have been
           duly appointed as such, and members of the department of public safety of this
           state, from carrying such weapons as they are now authorized by law to carry, who
           shall have given bond in the penalty of not less than three thousand five hundred
           dollars, conditioned for the faithful performance of their respective duties, which
           said officers shall be liable upon their said official bond, for the damages done by
           the unlawful or careless use of any such weapon or weapons, whether such bond is
           so conditioned or not. It shall be unlawful for any person armed with a pistol, gun,
           or other dangerous or deadly weapon, whether licensed to carry same or not, to
           carry, expose, brandish, or use, such weapon in a way or manner to cause, or
           threaten, a breach of the peace. Any person violating this provision of this act shall
           be guilty of a misdemeanor, and upon conviction, shall be fined not less than fifty
           nor more than three hundred dollars or imprisoned in the county jail not less than
           thirty nor more than ninety days, or be punished by both fine and imprisonment in
           the discretion of the court. Any circuit court granting any such license to carry any
           of the weapons mentioned in this act, the governor, or the superintendent of the
           department of public safety, with the consent of the governor, may, for any cause
           deemed sufficient by said court, or by the governor or by the superintendent of the
           department of public safety with the approval of the governor aforesaid, as the case
           may be, revoke any such license to carry a pistol or other weapon mentioned in this
           act for which a license is required, and immediate notice of such revocation shall
           be given such licensee in person, by registered mail or in the same manner as
           provided by law for the service of other notices, and no person whose license has
           been so revoked shall be re-licensed within one year thereafter; provided, that the
           authority so revoking such license may, after a hearing, sooner reinstate such
           licensee.

           1925 W.Va. Acts 30-31, 1st Extraordinary Sess., An Act to Amend and Re-Enact
           Section Seven . . . Relating to Offenses Against the Peace; Providing for the
           Granting and Revoking of Licenses and Permits Respecting the Use,
           Transportation and Possession of Weapons and Fire Arms . . . , ch. 3, § 7, pt. b.
           (b) It shall be unlawful for any person to carry, transport, or have in his possession
           any machine gun, sub-machine gun, and what is commonly known as a high
           powered rifle, or any gun of a similar kind or character, or any ammunition
           therefor, except on his own premises or premises leased to him for a fixed term,
           until such person shall have first obtained a permit from the superintendent of the
           department of public safety of this state, and approved by the governor, or until a
           license therefore shall have been obtained from the circuit court as in the case of
           pistols and all such licenses together with the numbers identifying such rifle shall
           be certified to the superintendent of the department of public safety. Provided,


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           further, that nothing herein shall prevent the use of rifles by bona fide rifle club
           members who are freeholders or tenants for a fixed term in this state at their usual
           or customary place of practice, or licensed hunters in the actual hunting of game
           animals. No such permit shall be granted by such superintendent except in cases of
           riot, public danger, and emergency, until such applicant shall have filed his written
           application with said superintendent of the department of public safety, in
           accordance with such rules and regulations as may from time to time be prescribed
           by such department of public safety relative thereto, which application shall be
           accompanied by a fee of two dollars to be used in defraying the expense of issuing
           such permit and said application shall contain the same provisions as are required
           to be shown under the provisions of this act by applicants for pistol licenses, and
           shall be duly verified by such applicant, and at least one other reputable citizen of
           this state. Any such permit as granted under the provisions of this act may be
           revoked by the governor at his pleasure upon the revocation of any such permit the
           department of public safety shall immediately seize and take possession of any
           such machine gun, sub-machine gun, high powered rifle, or gun of similar kind and
           character, held by reason of said permit, and any and all ammunition therefor, and
           the said department of public safety shall also confiscate any such machine gun,
           sub-machine gun and what is commonly known as a high powered rifle, or any gun
           of similar kind and character and any and all ammunition therefor so owned,
           carried, transported or possessed contrary to the provisions of this act, and shall
           safely store and keep the same, subject to the order of the governor.

           1925 W.Va. Acts 31-32, 1st Extraordinary Sess., An Act to Amend and Re-Enact
           Section Seven . . . Relating to Offenses Against the Peace . . . , ch. 3, § 7, pt. b.
           It shall be unlawful for any person, firm or corporation to place or keep on public
           display to passersby on the streets, for rent or sale, any revolver, pistol, dirk, bowie
           knife, slung shot or other dangerous weapon of like kind or character or any
           machine gun, sub-machine gun or high powered rifle or any gun of similar kind or
           character, or any ammunition for the same. All dealers licensed to sell any of the
           forgoing arms or weapons shall take the name, address, age and general
           appearance of the purchaser, as well as the maker of the gun, manufacturer’s serial
           number and caliber, and report the same at once in writing to the superintendent of
           the department of public safety. It shall be unlawful for any person to sell, rent,
           give or lend any of the above mentioned arms to an unnaturalized person.

           WISCONSIN




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           Charter and Ordinances of the City of La Crosse [WI], with the Rules of the
           Common Council Page 202, Image 205 (1888) available at The Making of Modern
           Law: Primary Sources. 1888
           An Ordinance in Relation to the Discharge of Firearms and firecrackers and to the
           use and exhibition of fireworks, § 1. No person shall fire or discharge any cannon,
           gun, fowling piece, pistol or firearms of any description, or fire, explode or set off
           any squib, cracker or other thing containing powder or other combustible or
           explosive material, or set off or exhibit any fireworks within the limits of the city
           of La Crosse, without having first obtained written permission from the mayor,
           which permission shall limit the time and fix the place of such firing, and shall be
           subject to be revoked at any time after the same may have been granted. Any
           violation of this ordinance shall subject the person or persons so violating the same
           to a fine of not less than one dollar nor exceeding twenty-five dollars; but this
           ordinance shall not be construed to prohibit the discharge of firearms by the chief
           of police or any of his subordinates or any peace officer when required or made
           necessary in the performance of any duty imposed by law.

           Charter and Ordinances of the City of La Crosse, with the Rules of the Common
           Council Page 239-242, Image 242-245 (1888) available at The Making of Modern
           Law: Primary Sources. 1888
           Ordinances of La Crosse, An Ordinance to Provide for Licensing Vendors of
           Gunpowder and Other Explosive Substances and to Regulate the Storing, Keeping
           and Conveying of all Dangerous and Explosive Materials and Substances within
           the City of La Crosse, and in relation to the Storage and Sale of Lime Therein, § 1.
           It shall be unlawful for any person to keep for sale, sell or give away any
           gunpowder, giant powder, nitro-glycerine, gun-cotton, dynamite or any other
           explosive substance of like nature or use without having first obtained a license
           therefor from the city of La Crosse in the manner hereinafter provided. Any person
           convicted of a violation of this section shall be punished by a fine of twenty-five
           dollars for each offense. . . § 3. It shall be unlawful for any person licensed
           pursuant to the foregoing sections of this ordinance to have or keep at his or her
           place of business an amount of gunpowder or other explosive material greater in
           the aggregate than fifty pounds at any one time, or to keep the same in any other
           than cases or canisters made of tin, or other metal holding not to exceed ten pounds
           each. Such gunpowder or other explosive materials shall be kept in places remote
           from fires and lighted lamps or candles, and where the same may be easily
           accessible so as to be removed in case of fire. No person shall sell any gunpowder
           or other explosive material after the lighting of lamps in the evening unless in
           sealed canisters or cases; and all places where business is carried on under any
           such license shall have a sign put up in a conspicuous place at or near the front


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           door thereof with the word “gunpowder” painted thereon in large letters. Any
           person violating any provision of this section shall, upon conviction, be punished
           by a fine of not less than five dollars nor more than fifty dollars for each offense;
           and upon any such conviction the common council may at its discretion by
           resolution duly passed revoke the license of the person so convicted. This
           ordinance shall not be construed as to prevent persons who are not vendors of the
           articles mentioned in the title thereof from keeping gunpowder in quantities not
           exceeding one pound for their own use.

           Charles H. Hamilton, ed., The General Ordinances of the City of Milwaukee to
           January 1, 1896: With Amendments Thereto and an Appendix (Milwaukee, WI: E.
           Keough, 1896), pp.692-93, Sec. 25. 1896
           Chapter XX. Misdemeanors.
           Section 25. It shall be unlawful for any person except policemen, regular or
           special, or any officer authorized to serve process, to carry or wear concealed about
           his person, any pistol or colt, slung-shot, cross-knuckles, knuckles of lead, brass or
           other metal, or bowie -knife, dirk knife, or dirk or dagger, or any other dangerous
           or deadly weapon, within the limits of the city of Milwaukee; provided, however,
           that the chief of police of said city may upon any written application to him made,
           issue and give a written permit to any person residing within the city of
           Milwaukee, to carry within the said city a pistol or revolver when it is made to
           appear to said chief of police that it is necessary for the personal safety of such
           person or for the safety of his property or of the property with which he may be
           entrusted, to carry such weapon; and the holding of such permit by such person
           shall be a bar to prosecution under this ordinance. Said chief of police shall keep
           the names and residences of all persons to whom he may grant such permits, in a
           book to be kept for that purpose, and he shall have power to revoke such permit at
           any time.
           Said chief of police shall, upon granting each and every such permit, collect from
           the person to whom the same is granted, the sum of three ( 3 ) dollars, and he shall
           pay all moneys so collected by him upon granting such permits, into the city
           treasury.
           Any person who shall wear or carry any such pistol , slung-shot, cross-knuckles,
           knuckles of brass, lead or other metal, knife, dirk or dagger, or any other dangerous
           or deadly weapon, within the limits of the city of Milwaukee, contrary to the
           provisions of this chapter, shall be liable to a penalty of not less than ten nor more
           than one hundred dollars for each and every offense.

           WYOMING



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           A. McMicken, The Revised Ordinances of the City of Rawlins, Carbon County,
           Wyoming Page 115-116, Image 116-117 (1893) available at The Making of
           Modern Law: Primary Sources. 1893
           [Ordinances of the] City of Rawlins, Article II, Protection of Persons and Property,
           § 1. If any person shall within this city fire or discharge any cannon, gun, fowling
           piece, pistol or firearms of any description, or fire, explode, or set off any squib,
           cracker, or anything containing powder or other combustible or explosive material,
           without permission of the Board of Trustees, or the written permission of the
           mayor (which permission shall limit the time of the firing and shall be subject to be
           revoked by the mayor or Board of Trustees at any time after the same has been
           granted) every such person shall, on conviction, be fined in a sum of not less than
           five dollars and not exceeding one hundred dollars.

           1899 Wyo. Sess. Laws 32-33, An Act for the Better Protection of the Game and
           Fish of this State . . . , ch. 19, § 14.
           Any person who is a bona fide citizen of the State of Wyoming shall, upon
           payment of one dollar to any Justice of the Peace of the county in which he resides,
           be entitled to receive from said Justice of the Peace, a gun license, which license
           shall permit such person to pursue, hunt and kill any of the animals mentioned in
           this Section, during the time allowed therefor. . . . Any person who is not a resident
           of the State of Wyoming, shall upon payment to any Justice of the Peace of this
           State of the sum of forty dollars to be entitled to receive from such Justice of the
           Peace a license, which license shall permit such person to pursue, hunt and kill any
           of the animals mentioned in this Section, during the time allowed therefor of the
           current year.

           1913 Wyo. Sess. Laws 165, An Act . . . Relating to the Duties of the State Game
           Warden, Assistant and Deputy Game Wardens, and the Preservation of the Game
           Animals and Game Birds and Fish of the State of Wyoming . . . , ch. 121, § 38.
           That Section 20 . . . be . . . amended . . . § 20. Any person who is not a bona fide
           elector of this state, or the child or legal ward of a bona fide elector of this state, or
           a soldier or sailor who is a bona fide elector of the United States, and has been
           stationed at a government post within this state for one year past, or non-residents
           having property in this state on which they pay taxes to the amount of $100.00 or
           over annually, but who shall be a citizen of the United States or a free-holder in
           this state, shall upon payment of five dollars to any Justice of the Peace . . . be
           entitled to receive from such officer a gunner’s license, which license shall permit
           such person to kill any of the game birds of this state during the current season
           under the restrictions heretofore and hereinafter imposed.



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           1915 Wyo. Sess. Laws 91, An Act Relating to the Preservation of the Game
           Animals, Game Birds, and Fish of the State of Wyoming . . . , ch. 91, § 13.
           There is hereby created a special gun and fish license for aliens. No person, not a
           bona fide citizen of the United States, shall own or have in his possession, in the
           State of Wyoming, any gun, pistol or other firearm, or any fishing tackle, without
           first having obtained the specified license therefor, which such special gun and fish
           license shall cost the owner the sum of Twenty-five Dollars[.]

           1933 Wyo. Sess. Laws 117, An Act Relating to the Registering and Recording of
           Certain Facts Concerning the Possession and Sale of Firearms by all Wholesalers,
           Retailers, Pawn Brokers, Dealers and Purchasers, Providing for the Inspection of
           Such Register, Making the Violation of the Provisions Hereof a Misdemeanor, and
           Providing a Penalty Therefor, ch. 101, §§ 1-4.
           § 1. All wholesalers, retailers, dealers and pawn brokers are hereby required to
           keep a record of all firearms which may come into their possession, whether new
           or second hand, which record shall be known as the Firearms Register. Such
           register shall contain the following information, to wit: the name of the
           manufacturer, person, persons, firm or corporation from whom the firearm was
           obtained, the date of its acquisition, its manufacturer’s number, its color, its
           caliber, whether the same is new or second hand, whether it is automatic, a
           revolver, a single shot pistol, a rifle, a shot gun or a machine gun, the name of the
           party to whom said firearm is sold in such purchasers handwriting and the date of
           such sale. § 2. Every person who purchases any firearm from any retailer, pawn
           broker or dealer, shall sign his name or make his mark properly witnessed, if he
           cannot write, on said Firearm Register, at the time of the delivery to him of any
           firearm so purchased. § 3. The firearm register, herein required to be kept, shall be
           prepared by every wholesaler, retailer, pawn broker and dealer in firearms in the
           state of Wyoming within 30 days after this Act shall become effective and shall
           thereafter be continued as herein provided. It shall be kept at the place of business
           of said wholesaler, retailer, pawn broker or dealer, and shall be subject to
           inspection by any peace officer at all reasonable times. § 4. Any person, firm or
           corporation who shall fail or refuse to comply with the provisions of this Act shall
           be deemed guilty of a misdemeanor and upon conviction thereof shall be fined in a
           sum not to exceed $100.00, or imprisoned in the County Jail for a period of not to
           exceed six months, or by both such fine and imprisonment.

           Source: https://firearmslaw.duke.edu/repository/search-the-repository/




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                         Kentucky      1834,1904  1798#
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                                                  1746,1776,
                                                  1783†,1787,
                                                  1801†,1919
                         Michigan
                         Minnesota                1882, 1888
                         Mississippi              1867
                         Missouri                 1818#
                         Montana                  1905
                         Nebraska                 1899
                         Nevada
                         New           1905       1708,1786†,
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                                                            1923
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                              New Mexico
                              New York                    1656#
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                              North Dakota                  1923
                              Ohio                          1788
                              Oklahoma
                              Oregon                        1925,1933
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                              State
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                                                            1888
                              Wyoming
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                              STATES
                              TOTAL            16           83
                              LAWS


           * Source: https://firearmslaw.duke.edu/repository/search-the-repository/
           #
               Laws pertaining to enslaved/persons of color, Indians.
           †
               Gunpowder laws.



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